       Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 1 of 111




· · · · · · · · IN THE UNITED STATES BANKRUPTCY COURT
· · · · · · · · ·FOR THE SOUTHERN DISTRICT OF TEXAS
· · · · · · · · · · · · · HOUSTON DIVISION
·
· · In Re:
· · HOUSTON REAL ESTATE· · · · · ·Case No. 22-32998
· · PROPERTIES, LLC,
· · Debtor.· · · · · · · · · · · ·Chapter 7
·
· · JOHN QUINLAN, OMAR KHAWAJA, AND OSAMA ABDULLATIF,
· · · · · · · Plaintiffs,
· · v.· · · · · · · · · · · · · · Adversary Cause No. 23-03141
· · JETALL COMPANIES, INC., ARABELLA PH 3201 LLC, 9201 MEMORIAL
· · DR. LLC, 2727 KIRBY 26L LLC, TEXAS REIT LLC, DALIO HOLDINGS
· · I, LLC, DALIO HOLDINGS II, LLC, HOUSTON REAL ESTATE
· · PROPERTIES, LLC, SHAHNAZ CHOUDHRI, ALI CHOUDHRI, SHEPHERD-
· · HULDY DEVELOPMENT I, LLC, SHEPHERD-HULDY DEVELOPMENT II,
· · LLC, GALLERIA LOOP NOTE HOLDER LLC, A. KELLY WILLIAMS,
· · MAGNOLIA BRIDGECO, LLC, CYPRESS BRIDGECO, LLC, MOUNTAIN
· · BUSINESS CENTER, LLC, RANDY WILLIAMS CH7 TRUSTEE, OTISCO
· · RDX LLC, MCITBE, LLC, JETALL/CROIX PROPERTIES LP, AND
· · JETALL/CROIX GP, LLC,
· · · · · · · Defendants.
·
                                                                    EXHIBIT
·                                                                      21
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 2 of 111
OMAR KHAWAJA                                                                                                           2 to 5
78755
                                                        Page 2                                                            Page 4
·1· ·IN THE UNITED STATES BANKRUPTCY COURT                       ·1· · · · · · · · · · · APPEARANCES (CONT'D)
·2· · FOR THE SOUTHERN DISTRICT OF TEXAS                         ·2
·3· · · · · · ·HOUSTON DIVISION                                  ·3· Appearing on behalf of Defendant Jetall Companies:
·4                                                               ·4· JENNIFER MACGEORGE, ESQUIRE
·5· · · · · · · · · · · · · ·VIDEOTAPED DEPOSITION OF            ·5· MacGeorge Law Firm PLLC
·6                                                               ·6· 701 Tillery Street, Suite 12
·7· · · · · · · · · · · · · · · · · · · ·OMAR KHAWAJA            ·7· Austin, TX· 78702
·8· · · · · · · · · · · · · · · · · · · · · ·VOLUME I            ·8· (512) 215-4129
·9                                                               ·9· (713) 583-9686 (Fax)
10· · · · · · · · · · · · · · · · · · · · · ·TAKEN ON            10· jmac@jlm-law.com
11· · · · · · · · · · · · · THURSDAY, OCTOBER 3, 2024            11
12· · · · · · · · · · · · · · · · · · · · ·11:03 A.M.            12· Appearing on behalf of Defendant 2727 Kirby 26L LLC:
13                                                               13· PAUL S. KIRKLIN, ESQUIRE
14· · · · · · · · · · · · · · · · · · 515 RUSK STREET            14· Kirklin Law Firm PC
15· · · · · · · · · · · LAWYER'S LOUNGE, FOURTH FLOOR            15· 12600 North Featherwood Drive, Suite 225
16· · · · · · · · · · · · · · · ·HOUSTON, TEXAS 77002            16· Houston, TX· 77034
17                                                               17· (832) 969-1821
18                                                               18· (281) 922-6420 (Fax)
19                                                               19· Pkirklin@kirklinlaw.com
20                                                               20
21                                                               21
22                                                               22
23                                                               23
24                                                               24
25                                                               25

                                                        Page 3                                                            Page 5
·1· · · · · · · · · · · · · ·APPEARANCES                         ·1· · · · · · · · · · · APPEARANCES (CONT'D)
·2                                                               ·2
·3· Appearing on behalf of the Plaintiffs:                       ·3· Appearing on behalf of Defendant Shahnaz Choudhri:
·4· T. MICHAEL BALLASES, ESQUIRE                                 ·4· LENARD M. PARKINS, ESQUIRE
·5· Hoover Slovacek                                              ·5· Parkins & Rubio LLP
·6· 5051 Westheimer, Suite 1200                                  ·6· 100 Park Avenue, Suite 1600
·7· Houston, TX· 77056                                           ·7· New York, NY· 10017
·8· (713) 977-8686                                               ·8· (713) 715-1666
·9· (713) 977-5395 (Fax)                                         ·9· jparkins@parkinsrubio.com
10· Ballases@hooverslovacek.com                                  10
11                                                               11· ALSO PRESENT:
12· Appearing on behalf of the Defendants:                       12· John Quinlan, Plaintiff
13· JAMES POPE, ESQUIRE                                          13· Osama Abdullatif, Plaintiff
14· The Pope Law Firm                                            14· Ali Choudhri, Defendant
15· 6161 Savoy Drive, Suite 1125                                 15· Dward Darjean, Corp. Representative, 9201 Memorial
16· Houston, TX· 77034                                           16· Gene McGubbin, Corp. Representative, 2727 Kirby
17· (713) 999-8917                                               17
18· jamesp@thepopelawfirm.com                                    18
19                                                               19
20                                                               20
21                                                               21
22                                                               22
23                                                               23
24                                                               24
25                                                               25




                                                                                                                                   YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 3 of 111
OMAR KHAWAJA                                                                                                          6 to 9
78755
                                                      Page 6                                                            Page 8
·1· · · · · · · · · · · · EXAMINATION INDEX                    ·1· · · · · · · · · · · · · DEPOSITION OF
·2· · · · · · · · · · · · · · · · · · · · · · · · · · Page     ·2· · · · · · · · · · · · · OMAR KHAWAJA
·3                                                             ·3· · · · · · · · · · · · · · TAKEN ON
·4· EXAMINATION BY MR. POPE· · · · · · · · · · · · · · ·9      ·4· · · · · · · · · · THURSDAY, OCTOBER 3, 2024
·5                                                             ·5· · · · · · · · · · · · · ·11:03 A.M.
·6                                                             ·6
·7                                                             ·7· · · · · · THE VIDEOGRAPHER:· We are now on the record.
·8                                                             ·8· Today's date is Thursday, October 3rd, 2024.· The time is
·9                                                             ·9· 11:03 a.m.· This is the deposition of Omar Khawaja taken in
10                                                             10· the matter of Quinlan v. Houston Real Estate Properties.
11                                                             11· · · · · · Would counsel please introduce yourselves and
12                                                             12· state whom you represent, after which the court reporter
13                                                             13· will swear in the witness.
14                                                             14· · · · · · MR. POPE:· James Pope, P-o-p-e, here on behalf of
15                                                             15· the Defendants.
16                                                             16· · · · · · MR. LEYH:· Steven Leyh, Hoover Slovacek, here on
17                                                             17· behalf of the Plaintiffs.
18                                                             18· · · · · · THE REPORTER:· Mr. Khawaja, will you please raise
19                                                             19· your right hand?· Do you affirm under penalty of perjury
20                                                             20· that the testimony you are about to give will be the truth,
21                                                             21· the whole truth, and nothing but the truth?
22                                                             22· · · · · · THE DEPONENT:· I do.
23                                                             23· · · · · · THE REPORTER:· Thank you, sir.
24                                                             24· · · · · · Counsel, please proceed.
25                                                             25· OMAR KHAWAJA, having been first duly affirmed to tell the
                                                      Page 7                                                            Page 9
·1· · · · · · · · · · · · · EXHIBIT INDEX                      ·1· truth, was examined, and testified as follows:
·2· Exhibit· · · · · · · · · · · · · · · · · · · · · ·Page     ·2· EXAMINATION
·3                                                             ·3· BY MR. POPE:
·4· 1· · · · · · · · · ·WYATT UNSWORN DECLARATION· · · 29      ·4· · · ·Q.· ·Mr. Khawaja, can you state your full name for the
·5                                                             ·5· record?
·6                                                             ·6· · · ·A.· ·Omar Khawaja.
·7                                                             ·7· · · ·Q.· ·What's your current address?
·8                                                             ·8· · · ·A.· ·Current address is 5177 Richmond, Suite 1065,
·9                                                             ·9· Houston, Texas, 77056.
10                                                             10· · · ·Q.· ·What's your date of birth?
11                                                             11· · · ·A.· ·9/12/78.
12                                                             12· · · ·Q.· ·What's your educational background?
13                                                             13· · · ·A.· ·Lawyer.
14                                                             14· · · ·Q.· ·How long have you been a lawyer?
15                                                             15· · · ·A.· ·Since 2010.
16                                                             16· · · ·Q.· ·Licensed in which state?
17                                                             17· · · ·A.· ·Texas.
18                                                             18· · · ·Q.· ·Can you describe your employment history?· Are
19                                                             19· you a solo practitioner?· You work for a firm?
20                                                             20· · · ·A.· ·Solo practitioner.
21                                                             21· · · ·Q.· ·What's the name of your firm?
22                                                             22· · · ·A.· ·Law Offices of and my name.
23                                                             23· · · ·Q.· ·What's your connection to Hoover Slovacek?
24                                                             24· · · ·A.· ·They are my attorneys.
25                                                             25· · · ·Q.· ·They're your attorneys.· What's your relationship



                                                                                                                                 YVer1f
         Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 4 of 111
OMAR KHAWAJA                                                                                                          10 to 13
78755
                                                        Page 10                                                           Page 12
·1· to John Quinlan?                                              ·1· · · ·A.· ·I don't know what that is.
·2· · · ·A.· ·John's a business partner.                          ·2· · · ·Q.· ·Okay.· How about ADMP, LLC?
·3· · · ·Q.· ·Of yours?                                           ·3· · · ·A.· ·Yeah, that's -- I'm a managing member of that.
·4· · · ·A.· ·Yes.                                                ·4· · · ·Q.· ·All right.· Does it have any other members?
·5· · · ·Q.· ·And what's your relation to Osama Abdullatif?       ·5· · · ·A.· ·I think my sister is also a member of that one.
·6· · · ·A.· ·He's also a business partner.                       ·6· · · ·Q.· ·What's your sister's name?
·7· · · ·Q.· ·Of yours?                                           ·7· · · ·A.· ·Sovat Khawaja.
·8· · · ·A.· ·Correct.                                            ·8· · · ·Q.· ·Can you spell that first name for me?
·9· · · ·Q.· ·Okay.· Are you familiar with a company called       ·9· · · ·A.· ·S-o-v-a-t.
10· Khawaja Law Group, PLLC?                                      10· · · ·Q.· ·S-o-v-a-t.· How about the Law Offices of Omar
11· · · ·A.· ·Yes.                                                11· Khawaja, PLLC?
12· · · ·Q.· ·What -- what is that company?                       12· · · ·A.· ·Yes, that's my entity.
13· · · ·A.· ·I think it's my corporate entity.                   13· · · ·Q.· ·Okay.· So are you currently operating both
14· · · ·Q.· ·Your corporate entity?· It's a PLLC; is that        14· Khawaja Law Group, PLLC and the Law Offices of Omar
15· correct?                                                      15· Khawaja, PLLC?
16· · · ·A.· ·That's right.                                       16· · · ·A.· ·Yes.
17· · · ·Q.· ·All right.· Are you the only member of that?        17· · · ·Q.· ·What practice areas does Khawaja Law Group, PLLC
18· · · ·A.· ·Yes.                                                18· cover?
19· · · ·Q.· ·Are you its managing member?                        19· · · ·A.· ·Personal injury.
20· · · ·A.· ·Yes.                                                20· · · ·Q.· ·What practice areas does the Law Offices of Omar
21· · · ·Q.· ·Okay.· How about Marathon Creative Collective,      21· Khawaja, PLLC cover?
22· LLC?                                                          22· · · ·A.· ·Personal injury.
23· · · ·A.· ·Yes.                                                23· · · ·Q.· ·Are you a lawyer for Mr. John Quinlan?
24· · · ·Q.· ·What is that?                                       24· · · ·A.· ·Yes.
25· · · ·A.· ·It's just another entity that I own that I'm part   25· · · ·Q.· ·Since when?· How long?
                                                        Page 11                                                           Page 13
·1· of.                                                           ·1· · · ·A.· ·I can't remember now.· Since I met him maybe a
·2· · · ·Q.· ·What does it do?                                    ·2· few years back.
·3· · · ·A.· ·It is entertainment.                                ·3· · · ·Q.· ·When did -- what year did you meet him?
·4· · · ·Q.· ·Who are its members?                                ·4· · · ·A.· ·Maybe 2020, 2019.
·5· · · ·A.· ·You know, I am not quite sure.· It's been a while   ·5· · · ·Q.· ·Okay.· Are you also the attorney for Osama
·6· since we looked at that one.                                  ·6· Abdullatif?
·7· · · ·Q.· ·Are you a member?                                   ·7· · · ·A.· ·Yes.
·8· · · ·A.· ·I think I am, yes.                                  ·8· · · ·Q.· ·Okay.· And how long have you been Osama
·9· · · ·Q.· ·Are you a managing member?                          ·9· Abdullatif's attorney?
10· · · ·A.· ·That, I'm not sure of.                              10· · · ·A.· ·Maybe since 2013 perhaps.
11· · · ·Q.· ·Is it member-managed or managed by a manager?       11· · · ·Q.· ·How long have you known Osama Abdullatif?
12· · · ·A.· ·I think it's managed by a manager if I'm not        12· · · ·A.· ·Since 2013.
13· mistaken.                                                     13· · · ·Q.· ·How did you come to meet Mr. Abdullatif?
14· · · ·Q.· ·How about JMLH Investments, LLC?                    14· · · ·A.· ·I met him in the context of he was litigating
15· · · ·A.· ·That's another corporate entity that I own.         15· against Mr. Choudhri.
16· · · ·Q.· ·You own that one?                                   16· · · ·Q.· ·Did he call you, or did you call him?
17· · · ·A.· ·Yes.                                                17· · · ·A.· ·I -- I think we were introduced.· I think we were
18· · · ·Q.· ·And what does it do?                                18· introduced to one another.· I -- I can't remember who
19· · · ·A.· ·Manages real estate.                                19· called.· Maybe I called him, actually.
20· · · ·Q.· ·Manages real estate.· Does it have any members?     20· · · ·Q.· ·Who introduced you two?
21· · · ·A.· ·Just me, I believe.                                 21· · · ·A.· ·I don't remember.· It was a long time ago.
22· · · ·Q.· ·Okay.· How about Great Peace Generation             22· · · ·Q.· ·Were you introduced in a courtroom, over dinner?
23· Foundation ADMP, LLC?                                         23· Where -- do you remember where you --
24· · · ·A.· ·Are those two different ones?                       24· · · ·A.· ·From what I recall, it was a dinner, a lunch, or
25· · · ·Q.· ·Oh, Great Peace Generation Foundation.              25· something like that.



                                                                                                                                    YVer1f
         Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 5 of 111
OMAR KHAWAJA                                                                                                          14 to 17
78755
                                                        Page 14                                                           Page 16
·1· · · ·Q.· ·With just you and Mr. -- you and Mr. Abdullatif?    ·1· own?
·2· · · ·A.· ·Correct.                                            ·2· · · ·A.· ·Office real estate in Sugar Land.
·3· · · ·Q.· ·Okay.· How about the company Eastern Med            ·3· · · ·Q.· ·Office real estate in Sugar Land.· So most all of
·4· Enterprise, LLC?                                              ·4· these entities, you're the only member of them, correct?
·5· · · ·A.· ·Not familiar with that one.                         ·5· · · ·A.· ·Sounds like it, yes.
·6· · · ·Q.· ·How about MKZ Foods, LLC?                           ·6· · · ·Q.· ·Are they each the alter ego of the other?
·7· · · · · · MR. LEYH:· I'm sorry.· I couldn't understand what   ·7· · · ·A.· ·No.
·8· you said.                                                     ·8· · · ·Q.· ·Are they your alter ego?
·9· · · · · · MR. POPE:· M, as in Mary, K, as in kite, Z, as in   ·9· · · ·A.· ·No.
10· zebra, Foods, LLC.                                            10· · · ·Q.· ·Where is the bank account held for Khawaja Law
11· · · · · · MR. LEYH:· Thank you.                               11· Group, PLLC?
12· · · · · · THE DEPONENT:· Yes, that's another entity that I    12· · · ·A.· ·The bank account?· I'm not --
13· --                                                            13· · · ·Q.· ·Does it have a bank account?
14· BY MR. POPE:                                                  14· · · ·A.· ·I'm sure it does.
15· · · ·Q.· ·And what does it do?                                15· · · ·Q.· ·And what entity holds that account?
16· · · ·A.· ·Operates food businesses.                           16· · · ·A.· ·I'm going to -- I'm not going to answer these
17· · · ·Q.· ·And how long have you -- has that business been     17· questions.
18· in existence?                                                 18· · · · · · MR. LEYH:· Objection, form.
19· · · ·A.· ·I think this year maybe.                            19· BY MR. POPE:
20· · · ·Q.· ·Okay.· Does it have any members?                    20· · · ·Q.· ·Okay.· Does JMLH Investments have a bank account?
21· · · ·A.· ·Just me.                                            21· · · · · · MR. LEYH:· Objection, form.
22· · · ·Q.· ·Just you.· How about Khawaja Brothers, LLC?         22· · · · · · THE DEPONENT:· Yeah, I'm done -- not going to
23· · · ·A.· ·That is a real estate company.                      23· answer those questions.
24· · · ·Q.· ·Does it have any members?                           24· BY MR. POPE:
25· · · ·A.· ·I believe myself and also Ibrahim Khawaja.          25· · · ·Q.· ·You're not going to answer any questions
                                                        Page 15                                                           Page 17
·1· · · ·Q.· ·And say that name for me again?                     ·1· regarding the bank accounts --
·2· · · ·A.· ·Ibrahim Khawaja.                                    ·2· · · ·A.· ·No.
·3· · · ·Q.· ·Is that your brother?                               ·3· · · ·Q.· ·-- of any of the entities?
·4· · · ·A.· ·No, he's just a good friend of mine.                ·4· · · ·A.· ·Not at all.
·5· · · ·Q.· ·Okay.· Rahim Wows, LLC?                             ·5· · · ·Q.· ·Okay.· Maybe a better question is has Khawaja Law
·6· · · ·A.· ·Yes.                                                ·6· Group, PLLC made any financial transfers to Marathon
·7· · · ·Q.· ·What is that company?                               ·7· Creative Collective, LLC?
·8· · · ·A.· ·Just -- it makes furniture.                         ·8· · · · · · MR. LEYH:· I'm sorry.· I -- try again. I
·9· · · ·Q.· ·Okay.· And how long has it been in existence?       ·9· couldn't understand the question.
10· · · ·A.· ·I think this year.                                  10· · · · · · MR. POPE:· Oh, not a problem.
11· · · ·Q.· ·This year.· All right.· Does it have any members?   11· BY MR. POPE:
12· · · ·A.· ·I believe myself and Rahim.                         12· · · ·Q.· ·Has Khawaja Law Group, PLLC transferred any funds
13· · · ·Q.· ·Rahim -- what's Rahim's last name?                  13· to Marathon Creative Collective, LLC?
14· · · ·A.· ·Akbar.                                              14· · · · · · MR. LEYH:· Objection, form.
15· · · ·Q.· ·Akbar.· How about Sugar Creek SWF, LLC?             15· BY MR. POPE:
16· · · ·A.· ·Yes, that's an entity that I own.                   16· · · ·Q.· ·Have you put any of your personal funds into a
17· · · ·Q.· ·Okay.· And does it have any members?                17· financial account for Khawaja Law Group, PLLC?
18· · · ·A.· ·Just myself.                                        18· · · · · · MR. LEYH:· Objection, form.
19· · · ·Q.· ·Just yourself.· And what does it do?                19· · · · · · THE DEPONENT:· Sorry.· I'm -- I'm not going to
20· · · ·A.· ·Real estate.                                        20· answer those questions.
21· · · ·Q.· ·It's a real estate.· Do you have any other          21· BY MR. POPE:
22· companies other than the ones that we've gone through         22· · · ·Q.· ·Do you know Hira Azhar?
23· today?                                                        23· · · ·A.· ·Not going to answer that question, either.
24· · · ·A.· ·I believe that's it.                                24· · · ·Q.· ·Okay.· Do you know Azeemeh Zaheer?
25· · · ·Q.· ·Okay.· What real estate does Sugar Creek SWF, LLC   25· · · · · · MR. LEYH:· Objection, form.



                                                                                                                                    YVer1f
         Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 6 of 111
OMAR KHAWAJA                                                                                                          18 to 21
78755
                                                        Page 18                                                           Page 20
·1· · · · · · THE DEPONENT:· Also not answering that question.    ·1· · · · · · THE DEPONENT:· You know --
·2· BY MR. POPE:                                                  ·2· BY MR. POPE:
·3· · · ·Q.· ·Do you know Chris Wyatt?                            ·3· · · ·Q.· ·Okay.
·4· · · · · · MR. LEYH:· Objection, form.                         ·4· · · ·A.· ·You know you can't ask that question.
·5· · · · · · THE DEPONENT:· I'm not answering that question.     ·5· · · · · · MR. LEYH:· Attorney-client.
·6· BY MR. POPE:                                                  ·6· BY MR. POPE:
·7· · · ·Q.· ·So you're refusing to answer any questions          ·7· · · ·Q.· ·Can you describe any specific actions taken by
·8· regarding Azeemeh Zaheer, Hira Azhar, or Christopher -- or    ·8· Jetall Companies that you believe improper in its
·9· Chris Wyatt?                                                  ·9· relationship with the other Defendants?
10· · · ·A.· ·That's --                                           10· · · ·A.· ·I -- I mean I think all of our allegations are
11· · · · · · MR. LEYH:· Objection, form.                         11· outlined in our claims and the petition, and I believe you
12· BY MR. POPE:                                                  12· have the petition in front of you.· I'm happy to read it if
13· · · ·Q.· ·Are you being instructed not to answer, or are      13· you'd like me to.
14· you choosing not to answer?                                   14· · · ·Q.· ·So you can't state any at the moment.
15· · · ·A.· ·I'm choosing not to answer.                         15· · · ·A.· ·I mean not to my memory, no.
16· · · ·Q.· ·Why?                                                16· · · ·Q.· ·Okay.
17· · · ·A.· ·They're outside the scope of this deposition.       17· · · ·A.· ·If you want me to recite what we filed against
18· · · ·Q.· ·Okay.· Have you -- how about Harold Polk?· Do you   18· them, I don't know.
19· know Harold Polk?                                             19· · · ·Q.· ·Okay.· Do you have any examples -- are you aware
20· · · · · · MR. LEYH:· Objection, form.                         20· of any examples of instances when assets were transferred
21· · · · · · THE DEPONENT:· I'm not going to answer that         21· between Jetall and any other entity named as a Defendant or
22· question.                                                     22· person?
23· BY MR. POPE:                                                  23· · · · · · MR. LEYH:· Objection, form.
24· · · ·Q.· ·Okay.· Have you -- how about Wayne Dolcefino?       24· · · · · · THE DEPONENT:· Again, I think that's going to be
25· · · ·A.· ·Also not going to answer that question.             25· part of our discovery.· I don't have anything specific that
                                                        Page 19                                                           Page 21
·1· · · ·Q.· ·Okay.· How do we know that any reference to any     ·1· I've looked at.· That's my attorneys -- or my attorneys are
·2· of these individuals is outside the scope of today's          ·2· reviewing that.
·3· deposition?                                                   ·3· BY MR. POPE:
·4· · · ·A.· ·Because the deposition is about the claims that I   ·4· · · ·Q.· ·Who drafted the complaint?
·5· hold as a --                                                  ·5· · · ·A.· ·My attorneys.
·6· · · ·Q.· ·What -- what claims do you hold?                    ·6· · · ·Q.· ·Did you take any part in drafting of the
·7· · · ·A.· ·-- as a judgment creditor.                          ·7· complaint?
·8· · · ·Q.· ·A judgment creditor for whom?                       ·8· · · ·A.· ·Privileged.
·9· · · ·A.· ·Against general companies.                          ·9· · · · · · MR. LEYH:· Objection, form, privileged.
10· · · ·Q.· ·Individually?                                       10· BY MR. POPE:
11· · · ·A.· ·I hold them, yeah, individually.· Yes.              11· · · ·Q.· ·And I just want to confirm.· You're choosing not
12· · · ·Q.· ·Okay.                                               12· to answer, or are you being instructed not to answer
13· · · ·A.· ·Yes.                                                13· because of --
14· · · ·Q.· ·You hold judgments from which cases?                14· · · · · · MR. LEYH:· The last -- the last one, he was
15· · · ·A.· ·The cases that -- I mean they're referenced in      15· instructed not to answer.· It's attorney-client privileged.
16· the petition.· So you have the petition in front of you.      16· BY MR. POPE:
17· · · ·Q.· ·Okay.· You don't remember the cases?                17· · · ·Q.· ·Can you point to any specific act or actual fraud
18· · · ·A.· ·I -- I mean I don't have the case number on my --   18· committed by Jetall Companies?
19· no.                                                           19· · · ·A.· ·In what context.
20· · · ·Q.· ·Not the case number per say.· You remember the      20· · · ·Q.· ·In any context.
21· parties to the cases?                                         21· · · ·A.· ·I believe there's been findings of fraud against
22· · · ·A.· ·I think Hoover Slovacek is one of the cases.        22· Jetall Companies and your client in the past, but I'm not
23· · · ·Q.· ·When -- when did you first begin communications     23· sure when or where.
24· with Hoover Slovacek?                                         24· · · ·Q.· ·Have you had any direct business relationship
25· · · · · · MR. LEYH:· Objection.                               25· with Jetall Companies?



                                                                                                                                    YVer1f
         Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 7 of 111
OMAR KHAWAJA                                                                                                          22 to 25
78755
                                                        Page 22                                                           Page 24
·1· · · ·A.· ·Yes.                                                ·1· · · ·A.· ·And then Sovat.
·2· · · ·Q.· ·And what is that contact or relationship?           ·2· · · ·Q.· ·All have the same last name?
·3· · · ·A.· ·It's in the context of other pending litigation,    ·3· · · ·A.· ·Same last name.
·4· so I'm not going to talk about that.                          ·4· · · ·Q.· ·Okay.· Do you have any direct dealings with
·5· · · ·Q.· ·Okay.· And with you as the -- with you as the       ·5· Arabella PH 3201 LLC?
·6· defendant or you as the attorney?                             ·6· · · ·A.· ·I do not.
·7· · · ·A.· ·I think I am a party, just a party in that.         ·7· · · ·Q.· ·Having any dealings with 9201 Memorial Drive,
·8· · · ·Q.· ·As a plaintiff or defendant?                        ·8· LLC?
·9· · · ·A.· ·Plaintiff or defendant, counter defendant,          ·9· · · ·A.· ·I do not.
10· something like that.                                          10· · · ·Q.· ·Any direct dealings with 2727 Kirby 26L?
11· · · ·Q.· ·Okay.· How much litigation do you have with         11· · · ·A.· ·Just for clarification, what do you mean direct
12· Jetall?                                                       12· dealings?
13· · · ·A.· ·I think that's it.                                  13· · · ·Q.· ·Have you had any connection with them, whether a
14· · · ·Q.· ·Just one?                                           14· transaction or business dealings or agreements with them or
15· · · ·A.· ·Just that one case.                                 15· contracts with them in any capacity?
16· · · ·Q.· ·Okay.· What's -- what's the style of the case?      16· · · ·A.· ·Other than their status as Defendants in this
17· · · ·A.· ·I don't have that on me.                            17· case, no.
18· · · ·Q.· ·Did you sue them in your individual capacity or     18· · · ·Q.· ·Okay.· How about Texas Reit LLC?
19· in -- in -- in the name of one of your entities?              19· · · ·A.· ·No.
20· · · ·A.· ·In the name of an entity.                           20· · · ·Q.· ·Dalio Holdings I, LLC.
21· · · ·Q.· ·What's the name -- what entity is that?             21· · · ·A.· ·No.
22· · · ·A.· ·I think it's Khawaja Partners.                      22· · · ·Q.· ·Dalio Holdings II, LLC.
23· · · ·Q.· ·Khawaja Partners.· Is that an LLC or a              23· · · ·A.· ·No.
24· corporation?                                                  24· · · ·Q.· ·Shepherd-Huldy Development I.
25· · · ·A.· ·I believe it's a partnership.                       25· · · ·A.· ·No.
                                                        Page 23                                                           Page 25
·1· · · ·Q.· ·It's a partnership with whom?                       ·1· · · ·Q.· ·Shepherd-Huldy Development II.
·2· · · ·A.· ·Now it's -- it's -- I believe I'm the only          ·2· · · ·A.· ·No.
·3· partner.                                                      ·3· · · ·Q.· ·And Galleria Loop Note Holder.
·4· · · ·Q.· ·You're the only partner?                            ·4· · · ·A.· ·No.
·5· · · ·A.· ·Correct.                                            ·5· · · ·Q.· ·How about Shahnaz Choudhri?
·6· · · ·Q.· ·Who were the previous partners?                     ·6· · · ·A.· ·No.
·7· · · ·A.· ·At one point, it was my family members, my          ·7· · · ·Q.· ·Why did you add them as Defendants in this case
·8· parents.                                                      ·8· if you had no dealings with them?
·9· · · ·Q.· ·And what's your parents' names?· What's your        ·9· · · ·A.· ·I believe they're -- the -- the petition says
10· mom's name?                                                   10· that they are alter egos of your client.
11· · · ·A.· ·Yeah, Teskeen Khawaja.                              11· · · · · · MR. LEYH:· Can we take a break?
12· · · ·Q.· ·Can you spell the first name?                       12· · · · · · THE VIDEOGRAPHER:· All parties in agreement.
13· · · ·A.· ·Yes, T-e-s-k-e-e-n.                                 13· We're going off the record.
14· · · ·Q.· ·And your dad's name?                                14· · · · · · (WHEREUPON, a recess was taken.)
15· · · ·A.· ·Mahmood, M-a-h-m-o-o-d.                             15· · · · · · THE VIDEOGRAPHER:· We're going back on the record
16· · · ·Q.· ·Any other partners any other time?                  16· at 11:32 a.m.
17· · · ·A.· ·You know, I think my siblings were partners at      17· · · · · · (WHEREUPON, Mr. Ballases joined the deposition.)
18· some point.                                                   18· · · · · · MR. BALLASES:· This is Michael Ballases.· I just
19· · · ·Q.· ·And how many siblings would that have been?         19· got here from another hearing.· I represent the Plaintiffs
20· · · ·A.· ·Three.                                              20· Omar Khawaja, Osama Abdullatif, and John Quinlan.· I just
21· · · ·Q.· ·Three.· Sibling number one is male, female?         21· want to have appearances for the record because there's a
22· · · ·A.· ·Male, Jamal, J-a-m-a-l.                             22· lot of people in this room who I don't recognize.
23· · · ·Q.· ·And the second sibling?                             23· · · · · · So I've announced who I am.· I know who Mr. Leyh
24· · · ·A.· ·Jawad, J-a-w-a-d, male.                             24· is, who's representing the witness.
25· · · ·Q.· ·And the last sibling.                               25· · · · · · Can everyone go around the room and announce who



                                                                                                                                    YVer1f
         Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 8 of 111
OMAR KHAWAJA                                                                                                          26 to 29
78755
                                                        Page 26                                                           Page 28
·1· they are, identify themselves?                                ·1· yourself, Mr. Choudhri?
·2· · · · · · MS. MACGEORGE:· We identified ourselves for the     ·2· · · · · · MR. CHOUDHRI:· I'm here, Ali Choudhri.
·3· court reporter.                                               ·3· · · · · · MR. PARKINS:· Lenard Parkins of Parkins and Rubio
·4· · · · · · MR. BALLASES:· She already said not everyone made   ·4· appearing for the purpose of this deposition for Shahnaz
·5· appearance on the record, so I want to get that on the        ·5· Choudhri.· That's Mrs. Choudhri, Mr. Ali Choudhri's mother.
·6· record.                                                       ·6· · · · · · MR. DARJEAN:· Dward Darjean, corporate rep.
·7· · · · · · MR. POPE:· All right.· Starting here, James Pope,   ·7· · · · · · MR. BALLASES:· Corporate rep with who?· Corporate
·8· P-O-P-E.                                                      ·8· representative of who?
·9· · · · · · MR. BALLASES:· And counsel for?                     ·9· · · · · · MR. DARJEAN:· It's 9201 Memorial.
10· · · · · · MR. POPE:· Counsel for the Defendants Jetall        10· · · · · · THE REPORTER:· I'm sorry.· What was that? I
11· Companies, Arabella PH 3201 LLC, 9201 Memorial Drive LLC,     11· didn't hear.
12· 2727 Kirby 26L LLC, Dalio Holdings I, LLC, Dalio Holdings     12· · · · · · MR. DARJEAN:· 9201 Memorial.
13· II, LLC, Shepherd-Huldy Development I, LLC, Shepherd-Huldy    13· · · · · · MR. MCCUBBIN:· Gene McCubbin, 2727 Kirby.
14· Development II, LLC, and Galleria Loop Note Holder LLC.       14· · · · · · MR. BALLASES:· In -- in what capacity are you
15· · · · · · MR. BALLASES:· So you didn't announce all the       15· here?· Are you --
16· parties you've already made an appearance for.· So that's a   16· · · · · · MR. MCCUBBIN:· Corporate representative.
17· motion to dismiss you filed in this case that lists the       17· · · · · · MR. POPE:· And who else is in the room?
18· parties.                                                      18· · · · · · MR. BALLASES:· So we have Mr. -- my three
19· · · · · · MR. POPE:· Yeah, I'm -- yeah, I'm just listing      19· clients, who have already announced, John Quinlan, who's a
20· them here.· I'm going to show them to everybody.· Jetall      20· party to this case, Osama Abdullatif, who's a party to this
21· Companies, Arabella --                                        21· case, and the deponent, Omar Khawaja, who's a party to this
22· · · · · · MR. PARKINS:· James?                                22· case, and then Steve Leyh from my law firm.
23· · · · · · MR. POPE:· Yes?                                     23· · · · · · I'm going to go ahead and invoke the rule, Rule
24· · · · · · MR. PARKINS:· Do you have a second before you       24· 615, and so to the extent there are any witnesses in here
25· finish?· Can I just whisper -- I can't -- I can't get         25· that are not allowed to be in here, I'm going to invoke
                                                        Page 27                                                           Page 29
·1· through.· Can I whisper in your ear when you get --           ·1· that and ask them to leave.
·2· · · · · · MR. KIRKLIN:· Before you finish, he wants to talk   ·2· · · · · · MR. CHOUDHRI:· Are we starting the depo or --
·3· to you outside.                                               ·3· · · · · · MR. POPE:· I'm ready.
·4· · · · · · MS. MACGEORGE:· Yeah, just in your ear.             ·4· · · · · · MR. BALLASES:· We're on the record.
·5· · · · · · MR. KIRKLIN:· Just for a second.                    ·5· · · · · · MR. POPE:· You ready?
·6· · · · · · MR. PARKINS:· Just for a second.                    ·6· · · · · · MR. LEYH:· Yeah.
·7· · · · · · MS. MACGEORGE:· He just wants to --                 ·7· · · · · · MR. POPE:· All right.· Give the court reporter
·8· · · · · · MR. PARKINS:· Excuse us.                            ·8· back the list.· I'm going to mark as Exhibit 1 is an -- is
·9· · · · · · MR. POPE:· Okay.· Yeah, no problem.                 ·9· an unsworn declaration of Christopher Wyatt that was
10· · · · · · MR. PARKINS:· You don't have to stop the record.    10· attached to the complaint in case number 23-03141 in this
11· · · · · · MR. POPE:· All right.· Let me start that list       11· case, document 1-7.
12· over again.· James Pope, P-o-p-e, here on behalf of Jetall    12· · · · · · (WHEREUPON, Exhibit 1 was marked for
13· Companies, Inc., Arabella PH 3201 LLC, 9201 Memorial Drive    13· identification.)
14· LLC, 2727 Kirby 26L LLC, Dalio Holdings I, LLC, Dalio         14· BY MR. POPE:
15· Holdings II, LLC, Shahnaz Choudhri, Ali Choudhri, Shepherd-   15· · · ·Q.· ·Do you recognize that complaint, Mr. Khawaja -- I
16· Huldy Development I, LLC, Shepherd-Huldy Development II,      16· mean that exhibit?
17· LLC, and Galleria Loop Note Holder LLC.                       17· · · · · · MR. LEYH:· I'm -- I'm -- I'm objecting to Exhibit
18· · · · · · I will announce for the record that Texas Reit      18· 1 from the court's order of June the 20th, 2024.· Due to
19· LLC also appears on this list, but it was severed from the    19· violation of Federal Rule of Civil Procedure 37 and not
20· case, and so I'm not representing them today.· They're in     20· producing any documents, you're prohibited from introducing
21· the bankruptcy in the Western District of Texas.              21· designated matters in evidence that are directly or
22· · · · · · MS. MACGEORGE:· Jennifer MacGeorge appearing in a   22· indirectly related to any production requests that were not
23· limited capacity for Jetall Companies, Inc.                   23· timely produced.
24· · · · · · MR. KIRKLIN:· Paul Kirklin for 2727 Kirby.          24· · · · · · So I've objected to the exhibit.
25· · · · · · MR. BALLASES:· Are you going to announce            25· · · · · · MR. POPE:· This is your exhibit to the original



                                                                                                                                    YVer1f
         Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 9 of 111
OMAR KHAWAJA                                                                                                          30 to 33
78755
                                                        Page 30                                                           Page 32
·1· complaint.                                                    ·1· · · ·Q.· ·Do you have any direct dealings with 5700
·2· · · · · · MR. LEYH:· I'm not introducing it in the -- in      ·2· Thousand Oaks LLC?
·3· the depo today.· You're trying to.                            ·3· · · ·A.· ·No.
·4· · · · · · MR. POPE:· Can I see a copy of the order that       ·4· · · ·Q.· ·Do you have any direct dealings with Avondale
·5· you're reading from?                                          ·5· Living LLC?
·6· · · · · · MR. LEYH:· No.                                      ·6· · · ·A.· ·No.
·7· · · · · · MR. POPE:· Is that the discovery conference         ·7· · · ·Q.· ·Any direct dealings with Broad Oaks Villas LLC?
·8· order?                                                        ·8· · · ·A.· ·No.
·9· · · · · · MR. LEYH:· Yeah.                                    ·9· · · ·Q.· ·Any direct dealings with Board Acres LLC?
10· · · · · · MR. POPE:· What's the docket number?                10· · · ·A.· ·No.
11· · · · · · MR. LEYH:· 187.                                     11· · · ·Q.· ·Any direct dealings with Greenville Tower Medical
12· · · · · · MR. POPE:· Okay.                                    12· Investors LLC?
13· BY MR. POPE:                                                  13· · · ·A.· ·No.
14· · · ·Q.· ·Are you not going to answer the question about      14· · · ·Q.· ·Any direct dealings with Harwin Plaza
15· whether you recognize Exhibit Number 1?                       15· International LLC?
16· · · ·A.· ·On advice of counsel, yes.                          16· · · ·A.· ·No.
17· · · ·Q.· ·Do you have any direct dealings with Christopher    17· · · ·Q.· ·Any direct dealings with Houston Real Estate
18· Wyatt?                                                        18· Properties LLC?
19· · · ·A.· ·What do you mean by direct dealings?                19· · · ·A.· ·No.
20· · · ·Q.· ·Have you talked to him?                             20· · · ·Q.· ·Any direct dealings with Inner Belt Holdings LLC?
21· · · ·A.· ·Anything I've discussed with Chris Wyatt is         21· · · ·A.· ·No.
22· attorney-client privilege.                                    22· · · ·Q.· ·Any direct dealings with Jetall GP LLC?
23· · · ·Q.· ·With you as his counsel?                            23· · · ·A.· ·No.
24· · · ·A.· ·Correct.                                            24· · · ·Q.· ·Any direct dealings with Memorial Glen Cove LLC?
25· · · ·Q.· ·Okay.· You represent Chris Wyatt in what            25· · · ·A.· ·No.
                                                        Page 31                                                           Page 33
·1· instance?· In which case?                                     ·1· · · ·Q.· ·Any direct dealings with Memorial Park LLC?
·2· · · · · · MR. LEYH:· Objection, form, relevance.              ·2· · · ·A.· ·No.
·3· · · · · · THE DEPONENT:· Not -- not this case.                ·3· · · ·Q.· ·Any direct dealings with Office North Belt LLC?
·4· BY MR. POPE:                                                  ·4· · · ·A.· ·No.
·5· · · ·Q.· ·Not this case.· How many cases do you represent     ·5· · · ·Q.· ·Any direct dealings with 1001 West Loop LLC?
·6· Chris Wyatt in?                                               ·6· · · ·A.· ·No.
·7· · · · · · MR. LEYH:· Objection, form.                         ·7· · · ·Q.· ·Any direct dealings with Jetall Investment and
·8· BY MR. POPE:                                                  ·8· Realty, Inc.?
·9· · · ·Q.· ·You can answer the question.                        ·9· · · ·A.· ·No.
10· · · ·A.· ·I'm not going to answer that question.              10· · · ·Q.· ·Any direct dealings with 2425 West Loop LP?
11· · · ·Q.· ·Why are you not going to answer the question?       11· · · ·A.· ·No.
12· · · ·A.· ·Because I don't -- it's not relevant to the         12· · · ·Q.· ·Any direct dealings with 1001 West Loop LP?
13· deposition here today.                                        13· · · ·A.· ·No.
14· · · ·Q.· ·However, it's attached to the complaint that is a   14· · · ·Q.· ·Any direct dealings with Texas Reit LLC?
15· subject of the deposition today.                              15· · · ·A.· ·No.
16· · · ·A.· ·He -- I'm not going to answer that question.        16· · · ·Q.· ·Any direct dealings with 1001 WLGP LLC?
17· · · · · · MR. POPE:· Okay.· Can we mark that, reporter?       17· · · ·A.· ·No.
18· May want to come back to that.                                18· · · ·Q.· ·Any direct dealings with 2425 WLGP LLC?
19· · · · · · THE REPORTER:· Yes, sir.                            19· · · ·A.· ·No.
20· BY MR. POPE:                                                  20· · · ·Q.· ·Any direct dealings with 411 North Belt LLC?
21· · · ·Q.· ·Do you have any direct dealings with 50 BH LLC?     21· · · ·A.· ·No.
22· · · ·A.· ·No.                                                 22· · · ·Q.· ·And just because my eyes could be -- how about
23· · · ·Q.· ·Do you have any direct dealings with 50 Briar       23· 411 North BKLT LLC?
24· Hollow LLC?                                                   24· · · ·A.· ·No, I don't think so.
25· · · ·A.· ·No.                                                 25· · · ·Q.· ·All right.· How about West Loop Hospitality LLC?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 10 of 111
OMAR KHAWAJA                                                                                                          34 to 37
78755
                                                        Page 34                                                           Page 36
·1· · · ·A.· ·No.                                                 ·1· · · ·Q.· ·Any direct relation with UMBSGP LLC?
·2· · · ·Q.· ·Any direct dealings with Worldwide Lending Fund     ·2· · · ·A.· ·No.
·3· LLC?                                                          ·3· · · ·Q.· ·Any direct relation with Uniform Medical Billing
·4· · · ·A.· ·No.                                                 ·4· Solutions LLC?
·5· · · ·Q.· ·Any direct dealings with Worldwide Lending          ·5· · · ·A.· ·No.
·6· Organization LLC?                                             ·6· · · ·Q.· ·And with those companies that we went through, do
·7· · · ·A.· ·No.                                                 ·7· you have any personal knowledge of them -- give me a
·8· · · ·Q.· ·Any direct dealings with Worldwide Office           ·8· second.
·9· Management LLC?                                               ·9· · · · · · Do you have any personal knowledge of any fraud
10· · · ·A.· ·No.                                                 10· committed by any of these entities?
11· · · ·Q.· ·Any direct dealings with AIGWT, Inc.?               11· · · ·A.· ·No, I don't -- I mean --
12· · · ·A.· ·No.                                                 12· · · ·Q.· ·Do -- do you have any personal knowledge of any
13· · · ·Q.· ·Any direct dealings with Jetall Construction and    13· misrepresentations made by any corporate representative of
14· Development GP, Inc.?                                         14· these entities?
15· · · ·A.· ·No.                                                 15· · · ·A.· ·Corporate representative.· I mean Ali Choudhri
16· · · ·Q.· ·Any direct dealings with Jetall Lending, Inc.?      16· maybe.
17· · · ·A.· ·No.                                                 17· · · ·Q.· ·And so you have personal knowledge of that?· Can
18· · · ·Q.· ·Any direct dealings with Office Enterprises         18· you give an example of -- of what that is?
19· Unlimited, Inc.?                                              19· · · ·A.· ·There have been court findings, jury verdicts.
20· · · ·A.· ·No.                                                 20· · · ·Q.· ·As it relates to these entities that I just
21· · · ·Q.· ·Any direct dealings with M Exec S LLC?              21· listed.
22· · · ·A.· ·No.                                                 22· · · ·A.· ·I don't -- I don't know about these entities.
23· · · ·Q.· ·Any direct dealings with Houston Metro Executive    23· · · ·Q.· ·Do you have any personal knowledge of any
24· Suites LLC?                                                   24· racketeering between these entities?
25· · · ·A.· ·No.                                                 25· · · ·A.· ·Not personal knowledge, no.
                                                        Page 35                                                           Page 37
·1· · · ·Q.· ·Any direct dealings with Office Construction        ·1· · · ·Q.· ·Do you have any personal knowledge that they are
·2· Services LLC?                                                 ·2· corrupt in any way?· The entities.
·3· · · ·A.· ·No.                                                 ·3· · · ·A.· ·Speculation or personal knowledge?
·4· · · ·Q.· ·Any direct dealings with North Park Office Tower    ·4· · · ·Q.· ·Do you have personal knowledge?
·5· Group LLC?                                                    ·5· · · ·A.· ·No, not personal knowledge.
·6· · · ·A.· ·No.                                                 ·6· · · ·Q.· ·Okay.· Any personal knowledge of wire tapping
·7· · · ·Q.· ·Any direct dealings with North Park Office Tower    ·7· between the entities?
·8· LP?                                                           ·8· · · ·A.· ·I wouldn't know that.
·9· · · ·A.· ·No.                                                 ·9· · · ·Q.· ·Any personal knowledge of -- when did you start
10· · · ·Q.· ·Any direct dealings with 2401 Fountain View         10· representing Christopher Wyatt?
11· Houston GP LLC?                                               11· · · · · · MR. LEYH:· Objection, attorney-client.
12· · · ·A.· ·No.                                                 12· BY MR. POPE:
13· · · ·Q.· ·Any direct dealings with 2401 Fountain View         13· · · ·Q.· ·Are you going to answer or not answer at your
14· Houston GP LLC?                                               14· client's --
15· · · ·A.· ·No.                                                 15· · · ·A.· ·Not -- not answer on advice of counsel.
16· · · ·Q.· ·Any direct dealings with 2401 Fountain View         16· · · ·Q.· ·Do you have any personal knowledge of any
17· Limited Partner LLC?                                          17· fraudulent transfer of assets between any of the entities
18· · · ·A.· ·No.                                                 18· mentioned?
19· · · ·Q.· ·Any direct dealings with StarTex Power LLC?         19· · · ·A.· ·I -- I don't know that.
20· · · ·A.· ·No.                                                 20· · · · · · MR. LEYH:· Objection, form.
21· · · ·Q.· ·Any direct dealings with 1415 NLW LLC?              21· BY MR. POPE:
22· · · ·A.· ·No.                                                 22· · · ·Q.· ·Okay.· Do you have any personal knowledge of any
23· · · ·Q.· ·Any direct relation with Jetall Construction and    23· fraudulent transfers between Jetall Investment and Realty,
24· Development LP?                                               24· Inc., 1001 West Loop LP, 2425 West Loop LP, Texas Reit LLC,
25· · · ·A.· ·No.                                                 25· 1001 WLGP LLC, 2425 WLGP LLC, 411 North Belt LLC, 50 BH



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 11 of 111
OMAR KHAWAJA                                                                                                          38 to 41
78755
                                                        Page 38                                                           Page 40
·1· LLC, 50 Briar Hollow LLC, 5700 Thousand Oaks LLC, Avondale    ·1· · · · · · MR. POPE:· I'm not going to spend all day with
·2· Living LLC, Broad Acres Villas LLC, Broad Acres LLC,          ·2· all the entities on your Exhibit 15.
·3· Greenville Tower Medical Investors LLC, Harwin Flex           ·3· · · · · · MR. BALLASES:· Yeah, fair enough.
·4· International LLC, Houston Real Estate Properties LLC,        ·4· · · · · · MR. POPE:· Okay.· So --
·5· Inner Belt Holdings LLC, Jetall GP LLC, Memorial Glen Cove    ·5· · · · · · THE DEPONENT:· Can you please re-ask the
·6· LLC, Memorial Park LLC, Office Belt -- Office North Belt      ·6· question?
·7· LLC, West Loop Hospitality LLC, Worldwide Lending Fund LLC,   ·7· BY MR. POPE:
·8· Worldwide Lending Organization LLC, Worldwide Office          ·8· · · ·Q.· ·The question is, any of the entities that I've
·9· Management LLC, AIGWT, Inc., Jetall Construction and          ·9· just referenced, do you have any personal knowledge of any
10· Development GP, Inc., Jetall Lending, Inc., Office            10· fraudulent transferred assets?
11· Enterprises Unlimited, Inc., M Exec S LLC, Houston Metro      11· · · · · · MR. LEYH:· Objection, form.
12· Executive Suites LLC, Office Construction Services LLC,       12· · · · · · THE DEPONENT:· I don't beyond what my attorneys
13· North Park Office Tower GP LLC, North Park Office Tower LP,   13· have martialed in discovery.· I don't -- I don't have any -
14· 2401 Fountain View Houston GP LLC, 2401 Fountain View         14· - I haven't reviewed the discovery.
15· Houston LP, 2401 Fountain View Limited Partner LLC, StarTex   15· BY MR. POPE:
16· Power LLC, 1415 NLW LLC, Jetall Construction and              16· · · ·Q.· ·Okay.· Have you reviewed the complaint?
17· Development LP, UMBS GP LLC, Uniform Medical Billing          17· · · ·A.· ·I have reviewed the complaint, but I don't have
18· Solutions, Inc., Arabella PH 3201 LLC, 9201 Memorial Drive    18· it in front of me.
19· LLC, 2727 Kirby 26L LLC, Dalio Holdings I, LLC, Dalio         19· · · ·Q.· ·Have you reviewed the exhibits to the complaint?
20· Holdings II, LLC, Shahnaz Choudhri, Ali Choudhri, Shepherd-   20· · · · · · THE REPORTER:· Just as a reminder, if I can get
21· Huldy Development I, LLC, Shepherd-Huldy Development II,      21· one at a time for a clean record.
22· LLC, Galleria Loop Note Holder LLC?                           22· · · · · · THE DEPONENT:· I have not looked at the exhibits
23· · · · · · Do you have any personal knowledge of any           23· and the complaint for a while.
24· fraudulent transferred assets --                              24· BY MR. POPE:
25· · · ·A.· ·Counsel, just before I answer that question, can    25· · · ·Q.· ·Do you have any personal knowledge about the
                                                        Page 39                                                           Page 41
·1· we just agree that you say all previous -- previously         ·1· facts -- do you have any personal knowledge regarding all
·2· mentioned Defendants so that --                               ·2· the facts alleged in the complaint?
·3· · · ·Q.· ·They're not all defendants.                         ·3· · · · · · MR. LEYH:· Objection, form.
·4· · · · · · MR. BALLASES:· Objection, form.                     ·4· · · · · · THE DEPONENT:· I'm not sure if I have personal
·5· · · · · · THE DEPONENT:· Okay.· Okay.· So you're going to     ·5· knowledge of all of the facts alleged in the complaint.
·6· go through this list every single time we talk about --       ·6· I'd refer that to my attorneys.
·7· BY MR. POPE:                                                  ·7· BY MR. POPE:
·8· · · ·Q.· ·No, I was -- if we can agree that when I say the    ·8· · · ·Q.· ·Do you have any personal knowledge of any fraud
·9· prior entities and individuals, that we mean everyone just    ·9· between all the Defendants and all the entities listed on
10· named?                                                        10· the Exhibit 5 that we just went through -- on Exhibit 15
11· · · ·A.· ·I'm okay with that.                                 11· that we just went through?
12· · · ·Q.· ·Okay with that?· Okay.                              12· · · · · · MR. LEYH:· Objection, form.
13· · · · · · MR. BALLASES:· I'm going to object to the form.     13· · · · · · THE DEPONENT:· I don't have --
14· I mean I guess.· So every entity that you just named, even    14· · · · · · MR. LEYH:· And -- and I don't know what exhibit
15· though lots of them are not parties, you're saying when you   15· that is.
16· say previous entities, it means them, too.                    16· · · · · · MR. POPE:· This is an exhibit to the complaint,
17· · · · · · MR. POPE:· Just in this question here.              17· Exhibit 15 to the complaint filed and lost by the
18· · · · · · MR. BALLASES:· Okay.                                18· Plaintiff, document 1-16.
19· · · · · · MR. POPE:· This question here.· The next round of   19· · · · · · THE DEPONENT:· I don't have personal knowledge
20· questions, what I'll say is any entities previously listed    20· beyond what courts have determined and juries have
21· today when I mean all the entities.· I'll say any             21· determined and public record.
22· defendants when I mean all defendants.· I think that's the    22· BY MR. POPE:
23· best way to -- to kind of deal with it, but I don't have a    23· · · ·Q.· ·Do you have any personal knowledge about any
24· --                                                            24· joint enterprise liability between the Defendants?
25· · · · · · MR. BALLASES:· Fair enough.                         25· · · · · · MR. LEYH:· Objection --



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 12 of 111
OMAR KHAWAJA                                                                                                          42 to 45
78755
                                                        Page 42                                                           Page 44
·1· · · · · · THE DEPONENT:· I don't.                             ·1· a spreadsheet?
·2· · · · · · MR. LEYH:· -- form.                                 ·2· · · ·A.· ·It's subpoenas.
·3· BY MR. POPE:                                                  ·3· · · · · · MR. LEYH:· Objection, form.
·4· · · ·Q.· ·Do you have any personal knowledge of any --        ·4· · · · · · THE DEPONENT:· Subpoenas provided by the banks
·5· scratch that.· Do you have any personal knowledge of any      ·5· because your client didn't give us discovery.
·6· facts that would form the basis of your alter ego claims in   ·6· BY MR. POPE:
·7· the petition?                                                 ·7· · · ·Q.· ·Which banks did you subpoena?
·8· · · · · · MR. LEYH:· Objection, form.                         ·8· · · ·A.· ·Not sure.
·9· · · · · · THE DEPONENT:· You're asking me to make legal       ·9· · · ·Q.· ·Are you attempting to collect on any judgments in
10· conclusions, so I'm going to --                               10· this case?
11· BY MR. POPE:                                                  11· · · · · · MR. LEYH:· I'm sorry?· James, I just couldn't
12· · · ·Q.· ·So you don't have any personal knowledge?           12· understand.
13· · · ·A.· ·I don't have any personal knowledge.                13· BY MR. POPE:
14· · · ·Q.· ·How long have you been an attorney again?           14· · · ·Q.· ·Are you attempting to collect on any judgments in
15· · · ·A.· ·Since 2010.                                         15· this case?
16· · · ·Q.· ·And what areas have you practiced in?               16· · · ·A.· ·I think that's why we're all here today.
17· · · · · · MR. LEYH:· Objection, asked and answered.           17· · · ·Q.· ·Judgments entered on behalf of whom?
18· · · · · · MR. POPE:· I think the earlier question was what    18· · · ·A.· ·The entities -- on behalf of -- on behalf of
19· practice --                                                   19· whom?
20· · · · · · THE DEPONENT:· I do personal injury.· I was a       20· · · ·Q.· ·Mm-hmm.
21· prosecutor before that?                                       21· · · ·A.· ·I mean on my own behalf.
22· BY MR. POPE:                                                  22· · · ·Q.· ·So to the extent we would ask any questions
23· · · ·Q.· ·Do you have any personal knowledge that Jetall      23· regarding Chris Wyatt, Azeemeh Zaheer, or Wayne Dolcefino,
24· Companies or any of the other named Defendants diverted any   24· or Harold Polk, or Osama Abdullatif, or Michael Ballases,
25· assets in any way that directly harmed you individually?      25· John Quinlan, or Hoover Slovacek --
                                                        Page 43                                                           Page 45
·1· · · · · · MR. LEYH:· Objection, form.                         ·1· · · · · · MR. LEYH:· I didn't --
·2· · · · · · THE DEPONENT:· Again, legal conclusion.· I mean I   ·2· BY MR. POPE:
·3· -- I -- I -- I don't know the answer to that question.        ·3· · · ·Q.· ·-- would you be answering --
·4· BY MR. POPE:                                                  ·4· · · · · · MR. LEYH:· I don't --
·5· · · ·Q.· ·Are you aware of any facts that would lead you to   ·5· BY MR. POPE:
·6· -- are you aware of any facts of which you have personal      ·6· · · ·Q.· ·-- would you be answering any questions regarding
·7· knowledge that would support your allegation that funds       ·7· any of those individuals?
·8· were diverted between the Defendants?                         ·8· · · · · · MR. BALLASES:· Objection, form.
·9· · · · · · MR. LEYH:· Objection, form.                         ·9· · · · · · MR. LEYH:· I -- wait, wait.· I didn't understand
10· · · · · · THE DEPONENT:· Beyond what's in our discovery, I    10· the question.
11· -- I don't know.                                              11· BY MR. POPE:
12· BY MR. POPE:                                                  12· · · ·Q.· ·The question is, if I were to ask any questions
13· · · ·Q.· ·What's in your discovery?                           13· regarding Chris Wyatt -- okay.· Were you a party to the
14· · · ·A.· ·Our discovery would show that there's assets        14· case of Osama Abdullatif and Abdullatif and Company LLC
15· being transferred back and forth between the entities.        15· versus Ali Choudhri and Houston Real Estate Properties LLC
16· · · ·Q.· ·Have you reviewed your discovery?                   16· filed under 334?
17· · · ·A.· ·I've -- I've looked at it briefly.                  17· · · ·A.· ·I -- I don't think that has anything to do with
18· · · ·Q.· ·What did it consist of?                             18· this case, Counsel.· I'm going to --
19· · · · · · MR. LEYH:· Objection, form.                         19· · · ·Q.· ·Okay.· Were you a -- do you have -- were you a
20· · · · · · THE DEPONENT:· Asset transfers between entities.    20· party at all in the case of Jetall Companies, Inc. and
21· BY MR. POPE:                                                  21· Declaration Title Company LLC --
22· · · ·Q.· ·Between which entities?                             22· · · ·A.· ·No.
23· · · ·A.· ·I -- I can't recall.· We have the discovery         23· · · ·Q.· ·-- versus --
24· available.                                                    24· · · ·A.· ·Sorry.
25· · · ·Q.· ·The discovery is in what form?· Is it a -- is it    25· · · ·Q.· ·Okay.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 13 of 111
OMAR KHAWAJA                                                                                                          46 to 49
78755
                                                        Page 46                                                           Page 48
·1· · · ·A.· ·Let me finish.                                      ·1· · · · · · MR. BALLASES:· Objection, form.
·2· · · ·Q.· ·I'll finish the -- the cite -- versus Allan B.      ·2· · · · · · THE DEPONENT:· I mean if it's not in our
·3· Daughtry, Attorney at Law, Richard Heil, Todd Oakum, Renee    ·3· discovery, I wouldn't know, and I -- I -- I don't -- I
·4· Davy, f/k/a Renee Oakum, but I think your answer is no?       ·4· haven't reviewed the discovery, but I don't have any
·5· · · ·A.· ·Correct.                                            ·5· personal knowledge as we sit here today.
·6· · · ·Q.· ·Okay.· Were you a party in any way to Jetall        ·6· BY MR. POPE:
·7· Companies, Inc. v. Hoover Slovacek LLP referenced by case     ·7· · · ·Q.· ·Okay.· Do you have any personal knowledge that
·8· number 20238738?                                              ·8· any named Defendant filed a fraudulent lien?
·9· · · ·A.· ·No, I wasn't.                                       ·9· · · · · · MR. LEYH:· Objection, form.
10· · · · · · MR. LEYH:· Objection, form.                         10· · · · · · MR. BALLASES:· Objection, form.
11· · · · · · THE DEPONENT:· No, I was not.                       11· · · · · · MR. LEYH:· And I think also asked and answered.
12· BY MR. POPE:                                                  12· · · · · · THE DEPONENT:· No.
13· · · ·Q.· ·You were not?· Were you counsel to any party in     13· · · · · · MR. POPE:· And I would like to -- to determine
14· that case?                                                    14· are you both attorneys going to be objecting, or is only
15· · · · · · MR. LEYH:· Objection, form.                         15· one going to be objecting.· How are we doing that today?
16· · · · · · THE DEPONENT:· I don't believe so, no.              16· Are we tag-teaming?
17· BY MR. POPE:                                                  17· · · · · · MR. KIRKLIN:· So can we all object?
18· · · ·Q.· ·Okay.· Did you participate in any way in that       18· · · · · · MR. POPE:· I think we need to just have one.· Can
19· case?                                                         19· we determine which attorney will be objecting here?
20· · · · · · MR. LEYH:· Objection, form.                         20· · · · · · MR. BALLASES:· Yeah.· You want to --
21· · · · · · THE DEPONENT:· I did not.                           21· · · · · · MR. LEYH:· Whatever you want to do.
22· BY MR. POPE:                                                  22· · · · · · MR. BALLASES:· Yeah, you can do it.
23· · · ·Q.· ·Were you a witness in that case?                    23· · · · · · MR. POPE:· So that "you can do it", for the
24· · · · · · MR. LEYH:· Objection, form.                         24· record, is Mr. Leyh is going to be the one objecting,
25· · · · · · THE DEPONENT:· I was not.                           25· correct?
                                                        Page 47                                                           Page 49
·1· BY MR. POPE:                                                  ·1· · · · · · MR. BALLASES:· Yes.
·2· · · ·Q.· ·When did you obtain an assignment of the judgment   ·2· · · · · · MR. POPE:· Okay.
·3· for that case?                                                ·3· BY MR. POPE:
·4· · · ·A.· ·That's attorney-client privilege.                   ·4· · · ·Q.· ·Have you directly incurred any monetary damages
·5· · · ·Q.· ·When you obtained an assignment is attorney-        ·5· as a result of any action of any of the named Defendants?
·6· client privilege?                                             ·6· · · · · · MR. LEYH:· Objection, form.
·7· · · · · · MR. BALLASES:· So let me just interject.· It's      ·7· · · · · · THE DEPONENT:· I mean I -- I'm a judgment
·8· attached to our complaint, so the answer is there.            ·8· creditor, and the judgment hasn't been paid, so yes.
·9· BY MR. POPE:                                                  ·9· BY MR. POPE:
10· · · ·Q.· ·So you don't know when?                             10· · · ·Q.· ·Which judgment hasn't been paid?
11· · · ·A.· ·If it's in our complaint, it's in our complaint.    11· · · ·A.· ·The judgments that were assigned to me.
12· · · ·Q.· ·Until your -- until Mr. Ballases told you, were     12· · · ·Q.· ·Which ones were assigned to you?
13· you aware it was in your complaint?                           13· · · ·A.· ·The judgments that are in our petition.
14· · · ·A.· ·Not sure.                                           14· · · ·Q.· ·Okay.· But earlier, you said one of the judgments
15· · · ·Q.· ·Do you have any personal knowledge that any         15· you were no party to, which was in your petition.
16· Defendant falsified promissory note or lien?                  16· · · ·A.· ·The first two judgments.· Sorry.
17· · · ·A.· ·Do I have personal knowledge?                       17· · · ·Q.· ·The first two judgments.
18· · · ·Q.· ·Do you have personal knowledge that any of the      18· · · ·A.· ·Yes.· Not the Texas Reit judgment.
19· named Defendants falsified any promissory notes or liens?     19· · · ·Q.· ·Okay.· However, it -- however, it was the first
20· · · · · · MR. LEYH:· Objection, form.                         20· judgment that you said you had no --
21· · · · · · THE DEPONENT:· I don't have any personal            21· · · · · · MR. LEYH:· Objection, form.
22· knowledge.                                                    22· · · · · · THE DEPONENT:· If you want to show me the
23· BY MR. POPE:                                                  23· petition, I can reference it.
24· · · ·Q.· ·Do you have any personal knowledge that any of      24· BY MR. POPE:
25· the named Defendants falsified any agreements?                25· · · ·Q.· ·I think your attorneys told us we can't do that.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 14 of 111
OMAR KHAWAJA                                                                                                          50 to 53
78755
                                                        Page 50                                                           Page 52
·1· · · ·A.· ·What's your -- what's your question, Counsel?       ·1· · · ·Q.· ·Okay.· Do you have any personal knowledge of any
·2· Sorry.                                                        ·2· of the named Defendants being a bad actor as to incur debt
·3· · · ·Q.· ·I have no question on the table at the moment.      ·3· or liability?
·4· · · ·A.· ·Okay.· Counsel, if you can tell your client to      ·4· · · · · · MR. LEYH:· Objection, form.
·5· stop pointing and gesticulating over there and whispering     ·5· · · · · · THE DEPONENT:· I don't.
·6· while you're -- while you're doing this, it would be          ·6· BY MR. POPE:
·7· better.· It's disrupting me.                                  ·7· · · ·Q.· ·Do you have any personal knowledge of any agency
·8· · · ·Q.· ·I'd like you just to focus on me.                   ·8· agreements being utilized to conceal a transfer?
·9· · · ·A.· ·I'll do that.                                       ·9· · · · · · MR. LEYH:· Objection, form.
10· · · ·Q.· ·Do you have any personal knowledge of any intent    10· · · · · · THE DEPONENT:· I think your client uses agency
11· to defraud a creditor -- do you have any personal knowledge   11· agreements to conceal transfers, yes.
12· that any of the named Defendants had ever intended to         12· BY MR. POPE:
13· defraud a creditor?                                           13· · · ·Q.· ·Do you have personal knowledge?
14· · · · · · MR. LEYH:· Objection, form.                         14· · · ·A.· ·I -- I --
15· · · · · · THE DEPONENT:· I -- I don't.                        15· · · · · · MR. LEYH:· Objection, form.
16· BY MR. POPE:                                                  16· · · · · · THE DEPONENT:· -- witnessed testimony in courts,
17· · · ·Q.· ·Do you have any personal knowledge that any of      17· yes.
18· the named Defendants transferred assets to an insider?        18· BY MR. POPE:
19· · · · · · MR. LEYH:· Objection, form.                         19· · · ·Q.· ·So you're saying yes, you have personal
20· · · · · · THE DEPONENT:· Unless it's in our discovery, I      20· knowledge?
21· don't.                                                        21· · · ·A.· ·I -- if I've heard testimony about it, I would
22· BY MR. POPE:                                                  22· say yes.
23· · · ·Q.· ·Do you have any personal knowledge that any of      23· · · ·Q.· ·So you're saying yes, you have personal
24· the named Defendants retained control or possession of an     24· knowledge?
25· asset after an alleged transfer?                              25· · · ·A.· ·Yes, I do.
                                                        Page 51                                                           Page 53
·1· · · · · · MR. LEYH:· Objection, form.                         ·1· · · ·Q.· ·Do you have personal knowledge of which agency
·2· · · · · · THE DEPONENT:· I don't.                             ·2· agreement in particular?
·3· BY MR. POPE:                                                  ·3· · · · · · MR. LEYH:· Objection, form.
·4· · · ·Q.· ·Do you have any personal knowledge that any of      ·4· · · · · · THE DEPONENT:· He has agency agreements between
·5· the named Defendants concealed a transfer?                    ·5· himself and Chris Wyatt --
·6· · · · · · MR. LEYH:· Objection, form.                         ·6· BY MR. POPE:
·7· · · · · · THE DEPONENT:· I don't.                             ·7· · · ·Q.· ·So you have personal knowledge of an agency
·8· BY MR. POPE:                                                  ·8· agreement between Mr. Choudhri and --
·9· · · ·Q.· ·Do you have any personal knowledge that any of      ·9· · · · · · MR. LEYH:· I don't think you let him finish his
10· the named Defendants failed to receive like or reasonable     10· answer.
11· value for any transferred asset?                              11· · · · · · THE DEPONENT:· Chris Wyatt is one, Azeemeh
12· · · · · · MR. LEYH:· Objection, form.                         12· Zaheer, Drew Dennett.· I believe he has one with Shahnaz as
13· · · · · · THE DEPONENT:· I don't.                             13· well, Choudhri, his -- his mother.
14· BY MR. POPE:                                                  14· BY MR. POPE:
15· · · ·Q.· ·Do you have any personal knowledge that any of      15· · · ·Q.· ·And do you have personal knowledge of those
16· the named Defendants encumbered an asset with debt or         16· agency agreements?
17· liabilities?                                                  17· · · · · · MR. LEYH:· Objection, form.
18· · · · · · MR. LEYH:· Objection, form.                         18· · · · · · THE DEPONENT:· I've seen a few of them.
19· · · · · · THE DEPONENT:· I don't.                             19· BY MR. POPE:
20· BY MR. POPE:                                                  20· · · ·Q.· ·Which ones have you --
21· · · ·Q.· ·Do you have any personal knowledge that any of      21· · · · · · THE REPORTER:· I'm sorry.· What was your answer?
22· the named Defendants made a transfer?                         22· I didn't catch it.· There was overtalk.
23· · · · · · MR. LEYH:· Objection, form.                         23· · · · · · THE DEPONENT:· I've seen a few of them.
24· · · · · · THE DEPONENT:· I don't.                             24· BY MR. POPE:
25· BY MR. POPE:                                                  25· · · ·Q.· ·Which ones have you seen?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 15 of 111
OMAR KHAWAJA                                                                                                          54 to 57
78755
                                                        Page 54                                                           Page 56
·1· · · ·A.· ·I've seen --                                        ·1· BY MR. POPE:
·2· · · · · · MR. LEYH:· Objection, form.                         ·2· · · ·Q.· ·What was the finding of the court?
·3· · · · · · THE DEPONENT:· I've seen the agency agreements      ·3· · · · · · MR. LEYH:· Objection, form.
·4· between Drew Dennett and Ali, Brad Parker and Ali.· I've      ·4· · · · · · THE DEPONENT:· That the marriage was invalid, but
·5· seen the Chris Wyatt agency agreement as well, and I can't    ·5· that's on appeal.
·6· recall if I've seen any others.                               ·6· BY MR. POPE:
·7· BY MR. POPE:                                                  ·7· · · ·Q.· ·So in spite of the fact that the court has ruled
·8· · · ·Q.· ·And how did you come to see these agreements?       ·8· that the marriage was invalid, you still believe them to be
·9· · · · · · MR. LEYH:· Objection, form.                         ·9· married?
10· · · · · · THE DEPONENT:· I've -- it came across my desk in    10· · · ·A.· ·Yes.
11· discovery, not sure which case -- not sure which case. I      11· · · · · · MR. LEYH:· Objection, form.
12· represent a lot of people.                                    12· BY MR. POPE:
13· BY MR. POPE:                                                  13· · · ·Q.· ·How many plaintiffs have you represented against
14· · · ·Q.· ·So it came across your desk in your capacity as     14· -- yeah, that's a different question.· Let me strike that.
15· an attorney?                                                  15· · · · · · Are you representing any clients right now who
16· · · ·A.· ·As an attorney.                                     16· has any open and active litigation against any of the named
17· · · ·Q.· ·As an attorney for whom?                            17· Defendants?
18· · · ·A.· ·I've represented Chris Wyatt.· I've represented     18· · · · · · MR. LEYH:· Objection, form.
19· Azeemeh Zaheer.                                               19· · · · · · THE DEPONENT:· I'm not sure.
20· · · ·Q.· ·Who else have you represented against any of the    20· BY MR. POPE:
21· named Defendants?                                             21· · · ·Q.· ·Why -- why aren't you sure?
22· · · · · · MR. LEYH:· Objection, form.                         22· · · · · · MR. LEYH:· Objection, form.
23· · · · · · THE DEPONENT:· Mr. Abdullatif -- who else -- I      23· · · · · · THE DEPONENT:· Your client has a lot of
24· think that's it.                                              24· litigation against him, and I'm not sure if I'm involved in
25· BY MR. POPE:                                                  25· any of the pending litigation against him.· I don't think I
                                                        Page 55                                                           Page 57
·1· · · ·Q.· ·Have you ever represented Hira Azhar --             ·1· am.
·2· · · ·A.· ·Yes.                                                ·2· BY MR. POPE:
·3· · · ·Q.· ·-- against any of the named -- okay.                ·3· · · ·Q.· ·How -- how many lawsuits have you been involved
·4· · · · · · MR. LEYH:· Let me object.                           ·4· with as either counsel or a party that involved Mr.
·5· · · · · · THE DEPONENT:· Sorry.· Sorry, Steve.                ·5· Choudhri or any of the named Defendants?
·6· BY MR. POPE:                                                  ·6· · · · · · MR. LEYH:· Objection, form.
·7· · · ·Q.· ·Who is she?                                         ·7· · · · · · THE DEPONENT:· Maybe three or four.
·8· · · ·A.· ·Mr. Choudhri's wife.                                ·8· BY MR. POPE:
·9· · · ·Q.· ·His current wife?                                   ·9· · · ·Q.· ·Maybe three or four.
10· · · ·A.· ·I believe so.                                       10· · · ·A.· ·Yes.
11· · · ·Q.· ·You believe her to be his current wife?             11· · · ·Q.· ·And are all -- which ones are those?
12· · · ·A.· ·Correct.                                            12· · · · · · MR. LEYH:· Objection, form.
13· · · ·Q.· ·Based on what?                                      13· · · · · · THE DEPONENT:· I've represented clients against
14· · · ·A.· ·Based on their marriage.                            14· him in his divorce and this case and another case involving
15· · · ·Q.· ·Based on their marriage?                            15· 2425 West Loop, and I think that's it.
16· · · ·A.· ·Yes.                                                16· BY MR. POPE:
17· · · ·Q.· ·Okay.· And when did they get married?               17· · · ·Q.· ·Yeah, earlier, you also mentioned that you were
18· · · · · · MR. LEYH:· Objection, form.                         18· counsel for John Quinlan and Osama Abdullatif in this case.
19· · · · · · THE DEPONENT:· I'm not sure.· I think 2011 or       19· · · ·A.· ·Correct.
20· '10.· Not sure.                                               20· · · ·Q.· ·Just so the record is clear, you said yes, you
21· BY MR. POPE:                                                  21· represent John Quinlan and Osama Abdullatif in this case?
22· · · ·Q.· ·How do you know they're still married?              22· · · ·A.· ·Yes, I've -- I've provided legal advice to them.
23· · · · · · MR. LEYH:· Objection, form.                         23· · · ·Q.· ·Do you hold any contingency claims against any of
24· · · · · · THE DEPONENT:· I think there was a divorce and      24· the Defendants?
25· that she has appealed now the -- the finding of the court.    25· · · · · · MR. LEYH:· Objection, form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 16 of 111
OMAR KHAWAJA                                                                                                          58 to 61
78755
                                                        Page 58                                                           Page 60
·1· · · · · · THE DEPONENT:· I don't think so.                    ·1· · · · · · MR. LEYH:· Objection, form.
·2· BY MR. POPE:                                                  ·2· · · · · · THE DEPONENT:· Yes.
·3· · · ·Q.· ·Have you filed any lis pendenses against any of     ·3· BY MR. POPE:
·4· the Defendants?                                               ·4· · · ·Q.· ·Can you -- can you tell us what that is?
·5· · · · · · MR. LEYH:· Objection, form.                         ·5· · · ·A.· ·He has pending claims against him for fraudulent
·6· · · · · · THE DEPONENT:· Personally?· I am not -- I have      ·6· transfer.
·7· not filed a personal, I don't believe.                        ·7· · · ·Q.· ·What are the facts that you are aware of
·8· BY MR. POPE:                                                  ·8· personally that support that contention?
·9· · · ·Q.· ·Have you filed any on behalf of any other party     ·9· · · · · · MR. LEYH:· Objection, form.
10· --                                                            10· · · · · · THE DEPONENT:· It's a good faith basis based on
11· · · · · · MR. LEYH:· Objection, form.                         11· public record.
12· BY MR. POPE:                                                  12· BY MR. POPE:
13· · · ·Q.· ·-- against any of the named Defendants?             13· · · ·Q.· ·What public records?
14· · · ·A.· ·No, I have not.                                     14· · · · · · MR. LEYH:· Objection, form.
15· · · · · · MR. LEYH:· Objection, form.                         15· · · · · · THE DEPONENT:· We can go through the Harris
16· BY MR. POPE:                                                  16· County District Clerk and see how many cases are filed
17· · · ·Q.· ·Have you caused any lis pendenses to be filed       17· against him.
18· against any of the named Defendants?                          18· BY MR. POPE:
19· · · · · · MR. LEYH:· Objection, form.                         19· · · ·Q.· ·Have you done that?
20· · · · · · THE DEPONENT:· Not that I'm aware of.               20· · · ·A.· ·I have.
21· BY MR. POPE:                                                  21· · · ·Q.· ·How many cases are filed?
22· · · ·Q.· ·Are you aware of any lis pendenses being filed      22· · · ·A.· ·Over 50.
23· against any of the named Defendants?                          23· · · ·Q.· ·Over 50.· How many of those are you involved in?
24· · · · · · MR. LEYH:· Objection, form.                         24· · · · · · MR. LEYH:· Objection, form.
25· · · · · · THE DEPONENT:· I believe so.· I believe some lis    25· · · · · · THE DEPONENT:· Maybe three or four.
                                                        Page 59                                                           Page 61
·1· pendens have been filed in order to prevent your client       ·1· BY MR. POPE:
·2· from transferring assets.                                     ·2· · · ·Q.· ·And -- and you believe all of those relate to
·3· BY MR. POPE:                                                  ·3· fraudulent transfers?
·4· · · ·Q.· ·And you believe they were filed by whom?            ·4· · · · · · MR. LEYH:· Form.
·5· · · · · · MR. LEYH:· Objection, form.                         ·5· · · · · · THE DEPONENT:· Not all of them.· Fraud --
·6· · · · · · THE DEPONENT:· Not sure.· Maybe my attorney.· Not   ·6· BY MR. POPE:
·7· sure.                                                         ·7· · · ·Q.· ·Which ones?
·8· BY MR. POPE:                                                  ·8· · · · · · MR. LEYH:· Form.
·9· · · ·Q.· ·Well, what -- who's your attorney?                  ·9· · · · · · THE DEPONENT:· Couldn't say for sure.· It's a lot
10· · · · · · MR. LEYH:· Objection, form.                         10· of fraud, though.
11· · · · · · THE DEPONENT:· Hoover Slovacek.                     11· BY MR. POPE:
12· BY MR. POPE:                                                  12· · · ·Q.· ·Are there any written agreements between you and
13· · · ·Q.· ·And you believe they filed lis pendenses against    13· Mr. Abdullatif?
14· some of the named Defendants?                                 14· · · · · · MR. LEYH:· Objection, form.
15· · · ·A.· ·I believe so.                                       15· · · · · · THE DEPONENT:· If there were, I wouldn't disclose
16· · · · · · MR. LEYH:· Objection, form.                         16· them.
17· BY MR. POPE:                                                  17· BY MR. POPE:
18· · · ·Q.· ·Which ones?                                         18· · · ·Q.· ·So are you refusing to answer the question?
19· · · ·A.· ·I don't know.                                       19· · · ·A.· ·Yes.
20· · · ·Q.· ·What's the basis for them?                          20· · · ·Q.· ·Why?
21· · · · · · MR. LEYH:· Objection, form.                         21· · · · · · MR. LEYH:· Objection, form.
22· · · · · · THE DEPONENT:· Because your client fraudulently     22· · · · · · THE DEPONENT:· Attorney-client privilege.
23· transfers assets.                                             23· BY MR. POPE:
24· BY MR. POPE:                                                  24· · · ·Q.· ·So the only relation you have with Mr. Abdullatif
25· · · ·Q.· ·Do you have personal knowledge of that?             25· is an attorney-client relationship?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 17 of 111
OMAR KHAWAJA                                                                                                          62 to 65
78755
                                                        Page 62                                                           Page 64
·1· · · · · · MR. LEYH:· Objection, form.                         ·1· BY MR. POPE:
·2· · · · · · THE DEPONENT:· Not the only relationship.           ·2· · · ·Q.· ·Which entity?
·3· BY MR. POPE:                                                  ·3· · · · · · MR. LEYH:· Objection, form.
·4· · · ·Q.· ·What are the other relationships?                   ·4· · · · · · THE DEPONENT:· I think it's SLS.
·5· · · · · · MR. LEYH:· Objection, form.                         ·5· BY MR. POPE:
·6· · · · · · THE DEPONENT:· Business investments.                ·6· · · ·Q.· ·Who are the owners of SLS?
·7· BY MR. POPE:                                                  ·7· · · · · · MR. LEYH:· Objection, form.
·8· · · ·Q.· ·Which ones?                                         ·8· · · · · · THE DEPONENT:· Mr. Abdullatif.· I think Danny
·9· · · · · · MR. LEYH:· Objection, form.                         ·9· Sheena as well.
10· · · · · · THE DEPONENT:· I'm not going to get into those.     10· BY MR. POPE:
11· BY MR. POPE:                                                  11· · · ·Q.· ·Anyone else?
12· · · ·Q.· ·Any of the named entities that we went through      12· · · ·A.· ·Not --
13· earlier?                                                      13· · · · · · MR. LEYH:· Objection, form.
14· · · · · · MR. LEYH:· Objection, form.                         14· BY MR. POPE:
15· · · · · · THE DEPONENT:· The claims that are a part of this   15· · · ·Q.· ·What other investments do you have with Mr. Osama
16· case, yes.                                                    16· Abdullatif?
17· BY MR. POPE:                                                  17· · · · · · MR. LEYH:· Objection, form.
18· · · ·Q.· ·Which business that you have an interest in has a   18· · · · · · THE DEPONENT:· I believe that's it.
19· relationship with Osama Abdullatif?                           19· BY MR. POPE:
20· · · · · · MR. LEYH:· Objection, form.                         20· · · ·Q.· ·Do -- do you have any -- other than the attorney-
21· · · · · · THE DEPONENT:· He's my landlord.                    21· client relationship with you and Mr. Quinlan, do you have
22· BY MR. POPE:                                                  22· any other relationships with Mr. Quinlan?
23· · · ·Q.· ·Representing what entity?· He's your landlord in    23· · · · · · MR. LEYH:· Objection, form.
24· his individual capacity or --                                 24· · · · · · THE DEPONENT:· I do not.
25· · · ·A.· ·Yeah, my business' landlord.                        25· · · · · · MR. KIRKLIN:· Basis?
                                                        Page 63                                                           Page 65
·1· · · ·Q.· ·He's your -- which business?                        ·1· · · · · · MR. LEYH:· Say what?
·2· · · · · · MR. LEYH:· Objection, form.                         ·2· · · · · · MR. KIRKLIN:· What is the basis --
·3· · · · · · THE DEPONENT:· The law office.                      ·3· · · · · · MR. POPE:· What's the basis?
·4· BY MR. POPE:                                                  ·4· · · · · · MR. KIRKLIN:· -- of your objection.
·5· · · ·Q.· ·Which law office?                                   ·5· · · · · · MR. LEYH:· Relevance.
·6· · · ·A.· ·The Law Offices of Omar Khawaja.                    ·6· · · · · · MR. BALLASES:· Hang on one second.· Why is he
·7· · · · · · MR. POPE:· Well, he did testify he had two.         ·7· getting to make --
·8· · · · · · MR. LEYH:· I'm sorry.· Are you going to speak up,   ·8· · · · · · MR. LEYH:· You're done.· You're not -- you're
·9· James?· I can't hear you.· I'm old.                           ·9· supposed to be quiet.
10· · · · · · MR. POPE:· Oh, I'm sorry.· I was -- I was           10· · · · · · MS. MACGEORGE:· Mr. Pope posed it.
11· informing Mr. Ballases in response to his gesture that Mr.    11· · · · · · MR. LEYH:· Mr. Pope is supposed to be doing this.
12· Khawaja had announced earlier he had two law entities,        12· · · · · · THE DEPONENT:· He hasn't been doing it for a
13· legal entities while practicing, so I was just wondering      13· while.
14· which one Mr. Abdullatif was the landlord for.                14· BY MR. POPE:
15· BY MR. POPE:                                                  15· · · ·Q.· ·Do you have a contingency agreement with Hoover
16· · · ·Q.· ·And is Mr. Abdullatif, in his individual name,      16· Slovacek?
17· the landlord or one of his entities?                          17· · · · · · MR. LEYH:· Objection, form.
18· · · · · · MR. LEYH:· Objection, form.                         18· · · · · · THE DEPONENT:· I do not.
19· · · · · · THE REPORTER:· I'm sorry.· I didn't catch the       19· BY MR. POPE:
20· last part of your question, sir.                              20· · · ·Q.· ·How are you paying them?
21· BY MR. POPE:                                                  21· · · · · · MR. LEYH:· Objection, form.
22· · · ·Q.· ·Is Mr. Abdullatif personally the landlord, or is    22· · · · · · THE DEPONENT:· I think that's --
23· one of Mr. Abdullatif's entities the landlord?                23· · · · · · MR. LEYH:· I think that's privileged.· Don't
24· · · · · · MR. LEYH:· Objection, form.                         24· answer it.
25· · · · · · THE DEPONENT:· Entity.                              25· · · · · · THE DEPONENT:· Yeah, I think that's privileged.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 18 of 111
OMAR KHAWAJA                                                                                                          66 to 68
78755
                                                        Page 66                                                           Page 68
·1· BY MR. POPE:                                                  ·1· of --
·2· · · ·Q.· ·Well, your complaint is also alleging attorney's    ·2· BY MR. POPE:
·3· fees.· I'm trying to determine how are they amassing these    ·3· · · ·Q.· ·You don't recall?
·4· fees.· Are you being billed by the hour?                      ·4· · · ·A.· ·I have a lot of businesses and litigations.
·5· · · · · · MR. LEYH:· Objection, form.                         ·5· · · ·Q.· ·Did you make a payment to Hoover Slovacek --
·6· · · · · · THE DEPONENT:· Hourly billing.                      ·6· · · · · · THE REPORTER:· Just as a reminder, if I can make
·7· BY MR. POPE:                                                  ·7· sure I have one at a time for a clean record.
·8· · · ·Q.· ·You're hourly billing?· You said there was hourly   ·8· · · · · · MR. POPE:· Yeah.
·9· billing?                                                      ·9· BY MR. POPE:
10· · · ·A.· ·Yes.                                                10· · · ·Q.· ·Have you made -- have you made any payments to
11· · · ·Q.· ·How much have you paid so far in attorney's fees?   11· Hoover Slovacek in the month of September 2024?
12· · · · · · MR. LEYH:· Objection, form.                         12· · · · · · MR. LEYH:· Objection, form.
13· · · · · · THE DEPONENT:· Hundreds of thousands of dollars.    13· · · · · · THE DEPONENT:· I'm not sure.· I'm sure I have,
14· I'm not sure.                                                 14· but I don't recall specifically.
15· · · · · · MR. POPE:· What -- what's the basis of your         15· · · · · · MR. POPE:· Can we take a 10-minute break?
16· objection?                                                    16· · · · · · THE DEPONENT:· Sure.
17· · · · · · MR. LEYH:· Relevance --                             17· · · · · · MR. LEYH:· Sure.
18· · · · · · MR. POPE:· The relevance is --                      18· · · · · · THE VIDEOGRAPHER:· All parties in agreement,
19· · · · · · MR. LEYH:· -- or attorney-client privilege.         19· going off the record.· Going off the record at 12:19 p.m.
20· · · · · · MR. POPE:· Okay.· Your complaint references         20· · · · · · (WHEREUPON, a recess was taken.)
21· attorney's fees.                                              21
22· · · · · · MR. LEYH:· Yeah.                                    22
23· · · · · · MR. POPE:· And so you're saying attorney's fees     23
24· and questioning regarding attorney's fees are irrelevant?     24
25· · · · · · MR. LEYH:· They are now.· We don't have the -- we   25
                                                        Page 67
·1· don't have the invoices.· We don't have anything to prove
·2· it right here -- here.
·3· · · · · · MR. POPE:· So no -- no attorney's fees have been
·4· incurred to date?
·5· · · · · · MR. LEYH:· Pardon?
·6· · · · · · MR. POPE:· No attorney's fees have been incurred
·7· to date?
·8· · · · · · MR. LEYH:· I didn't say that.
·9· · · · · · MR. POPE:· Okay.
10· BY MR. POPE:
11· · · ·Q.· ·To your knowledge, has any attorney's fees been
12· incurred to date?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·How much?
15· · · ·A.· ·I don't know how much my attorneys bill.· It's
16· significant.
17· · · ·Q.· ·Have you ever received an invoice?
18· · · ·A.· ·I have, of course.
19· · · ·Q.· ·When did -- when was your last invoice?
20· · · ·A.· ·A monthly billing.
21· · · ·Q.· ·Do you pay monthly, or you're billed monthly?
22· · · ·A.· ·Oh, no, I pay monthly.
23· · · ·Q.· ·How much do you pay monthly?
24· · · · · · MR. LEYH:· Objection, form.
25· · · · · · THE DEPONENT:· I -- I don't recall.· I have a lot
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 19 of 111
OMAR KHAWAJA                                       October 03, 2024                                                69 to 72
78755
                                                      Page 69                                                         Page 71
·1· · · · · · ·THE VIDEOGRAPHER:· We're going back on the       ·1· · · · Q.· ·All right.· Another statement of fact from the
·2· ·record at 12:33 p.m.                                       ·2· ·complaint do you have any personal evidence of any
·3· ·BY MR. POPE:                                               ·3· ·co-mingling of funds between the defendant entities?
·4· · · · Q.· ·All righty.· What personal knowledge do you      ·4· · · · A.· ·Yes, Choudhri issues -- Mr. Choudhri issues
·5· ·have that any of the named entity defendants are sham      ·5· ·checks.
·6· ·business entities?                                         ·6· · · · · · ·MR. POPE:· Objection.
·7· · · · · · ·MR. LEYH:· Objection.· Form.                     ·7· ·BY MR. POPE:
·8· · · · · · ·THE DEPONENT:· In reviewing the discovery,       ·8· · · · Q.· ·However, when you say Mr. Choudhri, in regard
·9· ·we've seen co-mingled assets.· We've seen checks.          ·9· ·to which entity or in his individual capacity because my
10· ·BY MR. POPE:                                               10· ·question is regarding the entity.
11· · · · Q.· ·You've personally seen?                          11· · · · A.· ·Yeah, I -- I believe the evidence shows that
12· · · · A.· ·In the discovery, yes.· I personally reviewed    12· ·he issues checks between entities, one entity to
13· ·some of the discovery, and we've seen asset transfers.     13· ·another, to pay for personal obligations.
14· ·We've seen agency agreements where an agent is being       14· · · · · · ·MR. POPE:· Okay.· Objection.· Nonresponsive.
15· ·purported to hold something in a concealed way for the     15· ·BY MR. POPE:
16· ·benefit of Mr. Choudhri.· We've seen assets being          16· · · · Q.· ·Do you have any personal knowledge of any of
17· ·retained after a purported foreclosure.                    17· ·the named entity defendants co-mingling funds?
18· · · · · · ·So that's the basis of my knowledge.             18· · · · · · ·MR. LEYH:· Objection.· Form.
19· · · · Q.· ·And which of the business entity named           19· · · · · · ·THE DEPONENT:· I believe it's in our
20· ·defendants do you have personal knowledge that it is a     20· ·discovery, yes.
21· ·sham business entity?                                      21· ·BY MR. POPE:
22· · · · · · ·I think you answered that question.              22· · · · Q.· ·You believe you have personal knowledge?
23· · · · · · ·MR. LEYH:· Objection.· Form.                     23· · · · A.· ·I do.· Yes.
24· · · · · · ·THE DEPONENT:· Counsel, I think it is a          24· · · · Q.· ·Okay.· What personal knowledge do you have of
25· ·document intensive case.· It is in the documents. I        25· ·the named entity defendants?
                                                      Page 70                                                         Page 72
·1· ·don't -- I don't have it in front of me sitting here       ·1· · · · A.· ·Again, we have thousands of documents that
·2· ·today.                                                     ·2· ·show various transfers from banks to various entities,
·3· ·BY MR. POPE:                                               ·3· ·checks.
·4· · · · Q.· ·So you have no personal knowledge of which       ·4· · · · Q.· ·Which?
·5· ·business entity that's a named defendant you believe to    ·5· · · · A.· ·I don't -- I can't tell you which one. I
·6· ·be a sham?                                                 ·6· ·can't tell you which one specifically, but I believe the
·7· · · · · · ·MR. LEYH:· Objection.· Form.                     ·7· ·documents show that there's been multiple incidents of
·8· · · · · · ·THE DEPONENT:· I don't have a specific entity    ·8· ·co-mingling of funds.
·9· ·that I can name right now sitting here right now.          ·9· · · · Q.· ·Do you have any -- what personal knowledge do
10· ·BY MR. POPE:                                               10· ·you have that any of these instances are improper
11· · · · Q.· ·Okay.                                            11· ·co-mingling that you referenced that you've seen in the
12· · · · · · ·MR. POPE:· What's the basis of your objection?   12· ·discovery?
13· · · · · · ·MR. LEYH:· I'm sorry.                            13· · · · · · ·MR. LEYH:· Objection.· Form.
14· · · · · · ·MR. POPE:· What was the basis of your            14· · · · · · ·MR. POPE:· What's the basis of your objection?
15· ·objection?                                                 15· · · · · · ·MR. LEYH:· Calls for a legal conclusion.
16· · · · · · ·MR. LEYH:· Relevance.                            16· · · · · · ·MR. POPE:· In what way?
17· · · · · · ·MR. POPE:· It's on page 5 of your complaint      17· · · · · · ·MR. BALLASES:· We argue those objections in
18· ·that there's a belief that these are sham -- quote,        18· ·front of the judge.
19· ·unquote, sham business entities, which I think is very     19
20· ·relevant that we ask the question regarding sham           20· · · · · · ·MR. POPE:· Is that Mr. Leyh's response?
21· ·business entities that's on page 5 of the complaint.       21· · · · · · ·MR. BALLASES:· No, he's engaging in improper
22· · · · · · ·MR. LEYH:· Well, calls for a legal conclusion.   22· ·tactics in the middle of deposition.· I'm just reminding
23· · · · · · ·MR. POPE:· It's in the preliminary statement     23· ·him of the rules.
24· ·fact section.                                              24· · · · · · ·MS. MACGEORGE:· Well, you have a lawyer
25· ·BY MR. POPE:                                               25· ·representing the client that's responsible for making



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 20 of 111
OMAR KHAWAJA                                       October 03, 2024                                                73 to 76
78755
                                                      Page 73                                                         Page 75
·1· ·those objections.· We all agreed on the record that only   ·1· · · · A.· ·I think I saw that his mother's IRS debt was
·2· ·one lawyer would be doing it.                              ·2· ·paid from a corporate check.
·3· · · · · · ·THE REPORTER:· Counsel.                          ·3· · · · Q.· ·Which corporation?
·4· · · · · · ·MR. BALLASES:· So I understand.· I wasn't        ·4· · · · A.· ·Jetall Companies.
·5· ·making an objection.· I was merely telling him the time    ·5· · · · Q.· ·Was that a corporate debt or his mom's debt?
·6· ·to argue about the basis of it --                          ·6· · · · A.· ·His mom's debt.
·7· · · · · · ·MR. KIRKLIN:· We're allowed --                   ·7· · · · Q.· ·Okay.· So what personal knowledge do you have
·8· · · · · · ·MR. BALLASES:· I'm not talking to you.           ·8· ·of any alleged corporate debts being paid with a
·9· · · · · · ·MR. KIRKLIN:· Well, I'm talking to you.          ·9· ·personal check?
10· · · · · · ·MR. BALLASES:· So the basis to argue that        10· · · · A.· ·I don't have specific knowledge of that, but,
11· ·objection --                                               11· ·again, I haven't reviewed -- this is very document
12· · · · · · ·MR. KIRKLIN:· We're allowed to talk.             12· ·intensive.· I believe the documents will show that.
13· · · · · · ·MR. BALLASES:· -- is in front of the judge,      13· · · · Q.· ·So you have no personal knowledge of that?
14· ·not in the deposition.                                     14· · · · A.· ·Not if I don't have the documents in front of
15· · · · · · ·MS. MACGEORGE:· Okay.· And Mr. Leyh is           15· ·me to review them.
16· ·certainly able to raise that.· He's a competent lawyer,    16· · · · Q.· ·So what personal knowledge do you have of any
17· ·and he can raise that argument.                            17· ·representations by any individual being financially
18· · · · · · ·MR. BALLASES:· Mr. Leyh, when should we argue    18· ·backed by a corporation?
19· ·over the basis of an objection?                            19· · · · A.· ·I'm sorry.· Can you repeat the question? I
20· · · · · · ·MR. LEYH:· When we get in front of a judge       20· ·don't understand that question.
21· ·because I don't really care about these people's opinion   21· · · · Q.· ·Okay.· I'm going to read from page 9 of your
22· ·so.                                                        22· ·complaint.
23· · · · · · ·MR. KIRKLIN:· Are we on the record?              23· · · · A.· ·Okay.
24· ·BY MR. POPE:                                               24· · · · Q.· ·Quote, unquote, representations that the
25· · · · Q.· ·What personal knowledge -- I'm going back to     25· ·individual will financially back the corporation.· What
                                                      Page 74                                                         Page 76
·1· ·the question.                                              ·1· ·personal knowledge do you have that supports that
·2· · · · · · ·What personal knowledge do you have that any     ·2· ·statement?
·3· ·of the instances you've seen in the discovery are          ·3· · · · A.· ·I think Mr. Choudhri has stated in depositions
·4· ·improper co-mingling of funds?                             ·4· ·that's the corporation and the corporation is him.
·5· · · · · · ·MR. LEYH:· Objection.· Asked and answered.       ·5· · · · Q.· ·Were you present at the deposition?
·6· · · · · · ·THE DEPONENT:· Yeah, I will -- I think I         ·6· · · · A.· ·I was not.
·7· ·answered the question previously, but the various bank     ·7· · · · Q.· ·What personal knowledge do you have that
·8· ·accounts from the various entities that we've seen show    ·8· ·supports that statement?
·9· ·money going back and forth in some cases for personal      ·9· · · · A.· ·I've read deposition transcripts.
10· ·obligations not related to the entity.                     10· · · · Q.· ·Which deposition transcript?
11· ·BY MR. POPE:                                               11· · · · A.· ·I'm not sure which ones to be honest.
12· · · · Q.· ·Going back and forth between whom?               12· · · · Q.· ·Read another statement.· The diversion of
13· · · · A.· ·Between Ali Choudhri, his mother, the various    13· ·company profits to the individual for his personal use.
14· ·entities, Jetall Companies.· It's like an ATM machine      14· ·What personal knowledge do you have that supports that
15· ·for the family.                                            15· ·statement?
16· · · · Q.· ·But how do you know that the transfer is         16· · · · · · ·MR. LEYH:· Objection.· Form.
17· ·improper?                                                  17· · · · · · ·THE DEPONENT:· I think the --
18· · · · A.· ·Good faith basis.                                18· · · · · · ·MR. POPE:· What's the basis of your objection?
19· · · · Q.· ·Based on what?                                   19· · · · · · ·What's the basis of the objection?
20· · · · A.· ·Based on his pattern of committing fraud.        20· · · · · · ·MR. LEYH:· I think it calls for a legal
21· · · · Q.· ·What personal knowledge do you have of any       21· ·conclusion.
22· ·alleged corporate debts being paid with personal checks?   22· · · · · · ·MR. POPE:· I'm reading from a statement of
23· · · · A.· ·I believe the discovery will show that his       23· ·facts in the complaint.
24· ·personal debts are paid with corporate funds.              24· ·BY MR. POPE:
25· · · · Q.· ·What personal knowledge do you have?             25· · · · Q.· ·Okay.· I'll ask the question again.



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 21 of 111
OMAR KHAWAJA                                       October 03, 2024                                                77 to 80
78755
                                                      Page 77                                                         Page 79
·1· · · · · · ·The statement is:· The diversion of company      ·1· · · · A.· ·Not sitting here today.· No.
·2· ·profits to the individual for his personal use.· What      ·2· · · · Q.· ·Thank you.
·3· ·personal knowledge do you have of that statement?          ·3· · · · · · ·Another statement.· You referenced gaining or
·4· · · · · · ·MR. LEYH:· Objection.· Form.                     ·4· ·reviewing discovery.· Did you have any personal
·5· · · · · · ·THE DEPONENT:· I believe the documents, the      ·5· ·knowledge of any of the facts alleged in your complaint
·6· ·discovery that we have will show that he uses corporate    ·6· ·before the complaint was filed?
·7· ·debts -- corporate funds to pay for personal debts.        ·7· · · · A.· ·Yes.
·8· ·BY MR. POPE:                                               ·8· · · · Q.· ·Okay.· Did you review those bank statements
·9· · · · Q.· ·But what personal knowledge do you have of       ·9· ·before or after the complaint was filed?
10· ·that statement?                                            10· · · · A.· ·No, afterwards.
11· · · · A.· ·I've looked at the discovery, but, again, I      11· · · · · · ·MR. LEYH:· Objection.· I don't understand that
12· ·don't have it in front of me.· There's thousands of        12· ·reference.
13· ·documents in this case.                                    13· · · · · · ·MR. POPE:· The question was:· Did he review
14· · · · Q.· ·So you do not have any personal knowledge that   14· ·the bank statements he referred to earlier before or
15· ·supports the statement.                                    15· ·after the complaint was filed?
16· · · · · · ·MR. LEYH:· Objection.· Form.                     16· · · · · · ·I think his answer was after.
17· · · · · · ·THE DEPONENT:· Sitting here today, I don't       17· · · · · · ·THE DEPONENT:· After.
18· ·have any knowledge of a specific incident, but I believe   18· ·BY MR. POPE:
19· ·the discovery will show that he does.                      19· · · · Q.· ·Right.· Did you review the discovery you
20· ·BY MR. POPE:                                               20· ·referenced before or after the complaint was filed?
21· · · · Q.· ·Okay.· Another statement.· Inadequate            21· · · · A.· ·After.
22· ·capitalization.· What personal knowledge do you have on    22· · · · Q.· ·Did you review the corporate documents that
23· ·inadequate capitalization?                                 23· ·you referenced before or after the complaint was filed?
24· · · · A.· ·Again, I think the documents will show that he   24· · · · A.· ·Unless they were public record, after.
25· ·states that an asset is worth a certain amount of money    25· · · · Q.· ·Another statement.· Other failures to keep
                                                      Page 78                                                         Page 80
·1· ·when it isn't, or that it is worthless than what it is     ·1· ·corporate and personal assets separate.· What personal
·2· ·in order to gain some kind of advantage.                   ·2· ·knowledge do you have that supports that statement?
·3· · · · Q.· ·What personal knowledge do you have of that?     ·3· · · · A.· ·Again, I -- the documents show that he makes
·4· · · · A.· ·Public record.                                   ·4· ·personal payments out of corporate entities.
·5· · · · Q.· ·What public record?                              ·5· · · · Q.· ·What personal knowledge do you have that
·6· · · · A.· ·I believe he's given testimony where he          ·6· ·supports this statement?
·7· ·inflated his personal financial statement in order to      ·7· · · · A.· ·He gave testimony that he made mortgages from
·8· ·obtain credit.· And then another incident he showed        ·8· ·a corporate entity.
·9· ·losses or showed less of a personal financial statement    ·9· · · · Q.· ·Which corporate entity?
10· ·in order to pay taxes.                                     10· · · · A.· ·I think it was Jetall Investment and Realty.
11· · · · Q.· ·So your statement there is about Ali Choudhri.   11· · · · Q.· ·What personal knowledge do you have for the
12· ·But let's talk about Jetall Companies.· What personal      12· ·statement as it relates to the other named entity
13· ·knowledge do you have of inadequate capitalization of      13· ·defendants?
14· ·Jetall Companies?                                          14· · · · A.· ·I don't know.
15· · · · A.· ·Again, I think the discovery will show that it   15· · · · Q.· ·So you have none?
16· ·is.                                                        16· · · · A.· ·It's in the discovery.
17· · · · Q.· ·Do you have any personal knowledge of            17· · · · · · ·MR. LEYH:· That's not what he said.
18· ·inadequate capitalization of Jetall Companies?             18· ·Objection.
19· · · · A.· ·Not sitting here today, no.                      19· ·BY MR. POPE:
20· · · · Q.· ·Do you have any personal knowledge of any        20· · · · Q.· ·So what personal knowledge do you have that
21· ·inadequate capitalization of Arabella?                     21· ·supports this statement as it pertains to any of the
22· · · · A.· ·I do not.                                        22· ·named entity defendants?
23· · · · Q.· ·Do you have any personal knowledge of any        23· · · · A.· ·Sitting here right now, I don't have the
24· ·inadequate capitalization of Memorial, Kirby, any of the   24· ·documents, the benefit of all the discovery in front of
25· ·other named entity defendants?                             25· ·me, but I believe the discovery will show that.



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 22 of 111
OMAR KHAWAJA                                       October 03, 2024                                                81 to 84
78755
                                                      Page 81                                                         Page 83
·1· · · · Q.· ·So do you have any personal knowledge that       ·1· ·BY MR. POPE:
·2· ·supports this statement as it pertains to the other        ·2· · · · Q.· ·But who gave it to you?
·3· ·named entity defendants?                                   ·3· · · · · · ·MR. LEYH:· Objection.
·4· · · · A.· ·Sitting here right now, I do not.                ·4· · · · · · ·THE DEPONENT:· Nobody.
·5· · · · Q.· ·Okay.· At the time the complaint was filed,      ·5· ·BY MR. POPE:
·6· ·did you have personal knowledge at that time?              ·6· · · · Q.· ·So how did you get it?
·7· · · · A.· ·Yes.                                             ·7· · · · A.· ·I reviewed it with my attorneys.
·8· · · · Q.· ·Based on?                                        ·8· · · · Q.· ·How did your attorney get it?
·9· · · · A.· ·Personal knowledge of?                           ·9· · · · · · ·MR. LEYH:· Objection.
10· · · · Q.· ·How this statement, other failures to keep       10· · · · · · ·THE DEPONENT:· That, I don't know.· They're
11· ·corporate and personal assets separate?                    11· ·pretty good.
12· · · · A.· ·Yes.                                             12· ·BY MR. POPE:
13· · · · Q.· ·As it pertained to the other named entity        13· · · · Q.· ·The assignment of Nason's Galleria LLC and
14· ·defendants?                                                14· ·Nason's Capital Real Estate LTD attached to the unsworn
15· · · · A.· ·Again, public record shows that he co-mingles    15· ·declaration, how did you get that document?
16· ·assets and does between entities.                          16
17· · · · Q.· ·Which public records?                            17· · · · · · ·MR. LEYH:· Objection.
18· · · · A.· ·I mean there's various judgments against him     18· · · · · · ·THE DEPONENT:· I don't know how my attorneys
19· ·out there prior to me obtaining one.                       19· ·obtained it, but I rely on it.
20· · · · Q.· ·Okay.· The other documents that you reference,   20· ·BY MR. POPE:
21· ·bank statements, discovery.· You made constant reference   21· · · · Q.· ·And when did you retain Hoover Slovacek to
22· ·to discovery.· Where did you get those documents?          22· ·represent you in this case?
23· · · · A.· ·I believe via subpoena in this case.             23· · · · · · ·MR. LEYH:· Objection.
24· · · · Q.· ·From any person?                                 24· · · · · · ·THE DEPONENT:· Prior to filing of the
25· · · · A.· ·From banks.                                      25· ·complaint.
                                                      Page 82                                                         Page 84
·1· · · · Q.· ·Only from banks?                                 ·1· ·BY MR. POPE:
·2· · · · A.· ·I believe so.                                    ·2· · · · Q.· ·What year?
·3· · · · Q.· ·Did you get any document from any personal?      ·3· · · · · · ·MR. LEYH:· Objection.
·4· · · · · · ·MR. LEYH:· Objection.· Attorney/client           ·4· · · · · · ·THE DEPONENT:· Maybe 2021.· I'm not sure.
·5· ·privilege.                                                 ·5· ·2022.· I don't recall specifically.· It's been awhile.
·6· ·BY MR. POPE:                                               ·6· ·BY MR. POPE:
·7· · · · Q.· ·Any documents attached to the complaint, did     ·7· · · · Q.· ·Do you have assigned engagement agreement with
·8· ·you get any of those from any person?                      ·8· ·Hoover Slovacek?
·9· · · · A.· ·I don't know.· I think a human being would       ·9· · · · A.· ·I'm sure we do.
10· ·have had to have provided them to us.                      10· · · · Q.· ·How much did you pay for the judgment entered
11· · · · Q.· ·Did Chris Wyatt provide you this statement?      11· ·in 201341273 to be assign to you?
12· · · · · · ·MR. LEYH:· Objection.· Form.                     12· · · · · · ·MR. LEYH:· Objection.· Form.
13· ·BY MR. POPE:                                               13· · · · · · ·THE DEPONENT:· The documents that we filed
14· · · · Q.· ·The unsworn declaration of Christopher Wyatt,    14· ·speaks for itself.· I don't know how much I paid for it.
15· ·was that provided by Mr. Wyatt?                            15· ·BY MR. POPE:
16· · · · A.· ·I think the document speaks for itself.          16· · · · Q.· ·Okay.· Do you know how much you paid to have
17· · · · Q.· ·Who drafted the unsworn declaration of           17· ·the judgment entered in 201710832 assigned to you?
18· ·Christopher Wyatt?                                         18· · · · A.· ·I don't know.
19· · · · · · ·MR. LEYH:· Objection.                            19· · · · · · ·MR. LEYH:· Objection.· Form.
20· · · · · · ·THE DEPONENT:· I have no knowledge of that.      20· · · · · · ·THE DEPONENT:· But I believe -- I don't know
21· ·BY MR. POPE:                                               21· ·how much I paid, but I believe we have an offer of
22· · · · Q.· ·Who gave it to you?                              22· ·payoff for Mr. Choudhri.
23· · · · · · ·MR. LEYH:· Objection.                            23· ·BY MR. POPE:
24· · · · · · ·THE DEPONENT:· I reviewed it with my             24· · · · Q.· ·How much is it?
25· ·attorneys.                                                 25· · · · A.· ·I think it's 1.2 million.



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 23 of 111
OMAR KHAWAJA                                       October 03, 2024                                                85 to 88
78755
                                                      Page 85                                                         Page 87
·1· · · · Q.· ·What's the basis of that number?                 ·1· ·that in front of me.
·2· · · · A.· ·Whatever is in the documents that we provided.   ·2· ·BY MR. POPE:
·3· · · · Q.· ·The document didn't -- did the document          ·3· · · · Q.· ·Do you often make payments from your corporate
·4· ·provide a breakdown of the number?                         ·4· ·account for assets that you obtained individually?
·5· · · · A.· ·I believe so.                                    ·5· · · · A.· ·I think it depends on my accounting.· Like if
·6· · · · Q.· ·How much did you pay for the assignment of the   ·6· ·my accountant advises me to do something, then I would
·7· ·judgment in 202038738?                                     ·7· ·do that.
·8· · · · · · ·MR. LEYH:· Objection.· Form.                     ·8· · · · Q.· ·Would that create an alter ego situation for
·9· · · · · · ·THE DEPONENT:· I'm not sure.                     ·9· ·you?
10· · · · · · ·MR. POPE:· What's the basis of the objection?    10· · · · A.· ·I don't think so.
11· · · · · · ·MR. LEYH:· Best evidence.· And the order of --   11· · · · Q.· ·So you don't believe that the mere use of
12· ·best evidence and order from Judge Norman from June        12· ·corporate funds for personal gains creates an alter ego
13· ·20th, 2024.                                                13· ·situation?
14· ·BY MR. POPE:                                               14· · · · A.· ·You're asking me to make a legal conclusion,
15· · · · Q.· ·Did you pay anything for the judgments?          15· ·and I don't have the statute in front of me.
16· · · · A.· ·Yes.                                             16· · · · Q.· ·Were you involved in any transfer of funds
17· · · · Q.· ·Do you have any idea how much you paid for       17· ·listed in your complaint or any of its exhibits?
18· ·these judgments?                                           18· · · · · · ·MR. LEYH:· Objection.· Form.· I don't even
19· · · · · · ·MR. LEYH:· Objection.· Form.                     19· ·understand that question.
20· · · · · · ·THE DEPONENT:· I don't know how much we paid.    20· ·BY MR. POPE:
21· ·We paid a substantial amount of money for these            21· · · · Q.· ·You can still answer.
22· ·judgments.                                                 22· · · · A.· ·I'm not sure what the question is.· It sounded
23· ·BY MR. POPE:                                               23· ·compound.
24· · · · Q.· ·When you say we, who is the we that you          24· · · · Q.· ·There are transfers that -- you're complaint
25· ·reference?                                                 25· ·references different transfers made within the entities,
                                                      Page 86                                                         Page 88
·1· · · · A.· ·Myself and the other judgment creditors.         ·1· ·correct?
·2· · · · Q.· ·Who are?                                         ·2· · · · A.· ·Yes.
·3· · · · A.· ·Osama Abdullatif and John Quinlan.               ·3· · · · Q.· ·Were you a party to any of those transfers?
·4· · · · Q.· ·Did you all split the payment equally?           ·4· · · · · · ·MR. LEYH:· Objection.· Form.
·5· · · · A.· ·I think so.                                      ·5· · · · · · ·THE DEPONENT:· I don't think so.
·6· · · · · · ·MR. LEYH:· Object --                             ·6· ·BY MR. POPE:
·7· · · · · · ·THE DEPONENT:· Sorry.                            ·7· · · · Q.· ·Did you receive any of the monies that are
·8· ·BY MR. POPE:                                               ·8· ·involved in those transfers?· Did you give any of the
·9· · · · Q.· ·Did you make the payment by wire transfer or     ·9· ·money --
10· ·check or cash?                                             10· · · · A.· ·No.
11· · · · · · ·MR. LEYH:· Objection.· Form.                     11· · · · Q.· ·-- that were involved in those transfers?· Did
12· · · · · · ·THE DEPONENT:· I don't know that question.       12· ·any of your entities?
13· ·Not cash.                                                  13· · · · A.· ·I don't think so.
14· ·BY MR. POPE:                                               14· · · · Q.· ·Is there going to be a transaction from any of
15· · · · Q.· ·You said not cash?                               15· ·your entities on any of those bank statements that are
16· · · · A.· ·Yeah.                                            16· ·part of your discovery?
17· · · · Q.· ·On what account would that transfer have been    17· · · · A.· ·No.
18· ·made?                                                      18· · · · · · ·MR. LEYH:· Objection.· Form.
19· · · · · · ·MR. LEYH:· Objection.· Form.                     19· ·BY MR. POPE:
20· · · · · · ·THE DEPONENT:· I wouldn't know.· Maybe my        20· · · · Q.· ·Do you have any personal knowledge of Jetall
21· ·corporate account.                                         21· ·paying any real property taxes for Memorial?
22· ·BY MR. POPE:                                               22· · · · A.· ·I think it's -- I'm not sure if it's specific.
23· · · · Q.· ·Which corporate account?                         23· ·Again, document intensive case.· I don't know, but he
24· · · · · · ·MR. LEYH:· Objection.· Form.                     24· ·co-mingles assets so it's quite possible.
25· · · · · · ·THE DEPONENT:· I'm not sure.· I don't have       25· · · · Q.· ·Do you have any personal knowledge?



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 24 of 111
OMAR KHAWAJA                                       October 03, 2024                                                89 to 92
78755
                                                      Page 89                                                         Page 91
·1· · · · A.· ·I don't.                                         ·1· ·knowledge do you have that their property taxes were
·2· · · · Q.· ·Do you have any personal knowledge that Jetall   ·2· ·paid by another entity other than themselves?
·3· ·paid any real property tax for any property owned by       ·3· · · · · · ·MR. LEYH:· Objection.· Form.
·4· ·Kirby?                                                     ·4· · · · · · ·MR. POPE:· What's the basis of your objection?
·5· · · · · · ·MR. LEYH:· Owned by who?                         ·5· · · · · · ·MR. LEYH:· I couldn't even understand the
·6· · · · · · ·MR. POPE:· Kirby?                                ·6· ·question.
·7· · · · · · ·THE DEPONENT:· I don't know.                     ·7· ·BY MR. POPE:
·8· ·BY MR. POPE:                                               ·8· · · · Q.· ·Okay.· Do you have any personal knowledge that
·9· · · · Q.· ·Okay.· Again, reading from the complaint.        ·9· ·real property taxes for real property owned by Kirby was
10· ·Jetall paid the -- do you have any personal knowledge of   10· ·paid by someone other than Kirby, some entity or person
11· ·any real property taxes paid by Jetall for any property    11· ·other than Kirby?
12· ·owned by Arabella?                                         12· · · · A.· ·I don't specifically.
13· · · · A.· ·If it's in our complaint, then I believe that    13· · · · Q.· ·Okay.· Do you have any personal knowledge that
14· ·we have determined either based on public record or some   14· ·any real property taxes owned by property for real
15· ·other evidence, but I don't have it sitting here in        15· ·property owned by Memorial was paid by any entity other
16· ·front of me.· I don't have the complaint in front of me.   16· ·than Memorial?
17· · · · Q.· ·Do you have any personal knowledge?              17· · · · A.· ·I don't.
18· · · · A.· ·If it's in our complaint, at some point I did    18· · · · Q.· ·Do you have any personal knowledge that any
19· ·when I reviewed the complaint.                             19· ·real property taxes for real property owned by Kirby was
20· · · · Q.· ·Before or after the complaint was drafted?       20· ·paid by any entity other than Kirby?
21· · · · A.· ·Before.                                          21· · · · A.· ·I don't know if he paid those taxes.· He
22· · · · Q.· ·Okay.· What did you review before the            22· ·defaulted on everything.
23· ·complaint was drafted?                                     23· · · · Q.· ·I'm talking about Kirby?
24· · · · A.· ·Public record.                                   24· · · · A.· ·He defaulted on that.
25· · · · Q.· ·Which public record?                             25· · · · Q.· ·I'm not talking about Mr. Choudhri
                                                      Page 90                                                         Page 92
·1· · · · A.· ·The various, you know, dozens of cases that      ·1· ·individually.· I'm talking about Kirby.
·2· ·have been filed against your client.                       ·2· · · · A.· ·Whoever the Kirby is is defaulted on their
·3· · · · Q.· ·Proof of payment of taxes would be in one of     ·3· ·payments.
·4· ·the dozens of cases filed against the client?              ·4· · · · Q.· ·On which payments?
·5· · · · A.· ·I would believe so, yes.                         ·5· · · · A.· ·Their own payments.
·6· · · · Q.· ·Which case?                                      ·6· · · · Q.· ·I'm talking about real property taxes?
·7· · · · A.· ·I'm not sure which case sitting here today.      ·7· · · · A.· ·I'm not -- I'm assuming if they didn't pay the
·8· · · · Q.· ·Which cases did you review?                      ·8· ·loan payments, they didn't pay property taxes.· I could
·9· · · · A.· ·Everything in the Harris County District         ·9· ·be wrong.
10· ·Court.                                                     10· · · · Q.· ·Okay.· So do you have any personal knowledge
11· · · · Q.· ·Which cases were those?                          11· ·that any real property taxes for real property owned by
12· · · · A.· ·I mean, they go back to 2009 or '10.             12· ·Kirby was not paid by Kirby?
13· · · · · · ·MR. LEYH:· Objection.· Form.                     13· · · · A.· ·Other than what's in our complaint in
14· · · · · · ·THE DEPONENT:· There's dozens of them.           14· ·evidence, no.
15· ·BY MR. POPE:                                               15· · · · Q.· ·So do you have any personal knowledge?
16· · · · Q.· ·So you've read the docket reports for all the    16· · · · A.· ·I don't know if I did have it at one point.
17· ·dozens of cases that you referenced?                       17· ·Based on our complaint, I would have -- I don't have it
18· · · · A.· ·Most of them for sure.                           18· ·sitting here today.
19· · · · Q.· ·Which ones?                                      19· · · · Q.· ·So as you sit here today, do you have personal
20· · · · A.· ·Everything going back from 2008 to now.          20· ·knowledge?
21· · · · Q.· ·And you've read all the pleadings in each of     21· · · · A.· ·No.
22· ·those cases?                                               22· · · · Q.· ·As you sit here today, do you have personal
23· · · · A.· ·Most likely, yes.                                23· ·knowledge that any of the real property taxes paid for
24· · · · Q.· ·Okay.· What about the other named defendants     24· ·any of the named entity defendants was paid by anyone
25· ·that weren't in those complaints?· What personal           25· ·other than those named defendants?



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 25 of 111
OMAR KHAWAJA                                       October 03, 2024                                                93 to 96
78755
                                                      Page 93                                                         Page 95
·1· · · · A.· ·I know it's a pattern and practice of what he    ·1· ·evading judgments, creditors like myself.· So there is
·2· ·does.                                                      ·2· ·no practical difference between them.
·3· · · · Q.· ·Do you have personal knowledge that that         ·3· · · · Q.· ·You don't think there is a practical
·4· ·happened?                                                  ·4· ·difference between Ali Choudhri and Shahnaz Choudhri?
·5· · · · A.· ·Not specifically, no.                            ·5· · · · A.· ·That's correct.
·6· · · · Q.· ·It's 12:58.· Are you opposed to breaking for     ·6· · · · Q.· ·And you base that on what?
·7· ·lunch?                                                     ·7· · · · A.· ·So far from what I've seen from bank accounts.
·8· · · · A.· ·I'd like to finish up, keep going.               ·8· · · · Q.· ·And what have you seen in bank accounts?
·9· · · · Q.· ·You'd like to keep going?                        ·9· · · · A.· ·Both of them on the same bank accounts.· Her
10· · · · · · ·MR. KIRKLIN:· It's not all up to him.            10· ·debts being paid by entities controlled by him and vice
11· · · · · · ·MS. MACGEORGE:· Yeah, I'd --                     11· ·versa.
12· · · · · · ·MR. BALLASES:· He's got two days pursuant to     12· · · · Q.· ·So you believe that Ali Choudhri is a
13· ·the court order.· So use them how you want.· If you all    13· ·puppeteer controlling Shahnaz Choudhri?
14· ·want to take a break, great.· You all want to keep         14· · · · A.· ·Yes.
15· ·going, we keep going.                                      15· · · · Q.· ·You believe Shahnaz Choudhri is a business
16· · · · · · ·MR. POPE:· Be back in an hour.                   16· ·entity or westbound of business entities?
17· · · · · · ·THE VIDEOGRAPHER:· All parties in agreement      17· · · · · · ·MR. BALLASES:· Objection.· Form.
18· ·going off the record?                                      18· · · · · · ·THE DEPONENT:· I don't know what she is.
19· · · · · · ·MR. POPE:· Yes.                                  19· ·That's speculation on what I, you know, I can only look
20· · · · · · ·THE VIDEOGRAPHER:· We're going off the record    20· ·at what's been produced in discovery and that's what
21· ·at 12:48 p.m.                                              21· ·we've been able to obtain because neither your client
22· · · · · · ·(WHEREUPON, a recess was taken.)                 22· ·nor Mrs. Choudhri has provided any discovery to us.
23· · · · · · ·THE VIDEOGRAPHER:· We're going back on the       23· ·BY MR. POPE:
24· ·record at 2:06 p.m.                                        24· · · · Q.· ·So all your knowledge about the allegations
25· ·BY MR. POPE:                                               25· ·here came from discovery items you obtained --
                                                      Page 94                                                         Page 96
·1· · · · Q.· ·All righty.· Mr. Khawaja, so the -- in this      ·1· · · · · · ·MR. BALLASES:· Objection.
·2· ·lawsuit you're attempting to collect on the three          ·2· ·BY MR. POPE:
·3· ·judgments that's listed in the complaint, correct?         ·3· · · · Q.· ·-- before the complaint?
·4· · · · A.· ·That's correct.                                  ·4· · · · · · ·MR. BALLASES:· Objection.· Form.
·5· · · · Q.· ·But isn't it true that one of these              ·5· · · · · · ·THE DEPONENT:· Yes.· That's correct.
·6· ·complaints, one of these judgment is has already been      ·6· ·BY MR. POPE:
·7· ·superseded?                                                ·7· · · · Q.· ·That's correct.
·8· · · · A.· ·I'm not aware of that.                           ·8· · · · A.· ·And public record.· Sorry.· And public record.
·9· · · · Q.· ·You're not aware that in case number 202038738   ·9· · · · Q.· ·And you didn't have access to any of that
10· ·that judgment was superseded?                              10· ·discovery prior to filing of the petition, correct?
11· · · · · · ·MR. BALLASES:· Objection.· Form.                 11· · · · A.· ·Well, the public record information, we did.
12· · · · · · ·THE DEPONENT:· I have no knowledge of that.      12· ·And some of the discovery -- strike that.· The public
13· ·BY MR. POPE:                                               13· ·record information we had access to.
14· · · · Q.· ·Are you aware that any of the judgments are on   14· · · · Q.· ·You did not have access though to the bank
15· ·appeal?                                                    15· ·records, correct?
16· · · · A.· ·I'm not aware of that, no.                       16· · · · A.· ·No, I did not.
17· · · · Q.· ·But you are alleging alter ego in this           17· · · · Q.· ·And it's the bank records that has the
18· ·proceeding against Mr. Choudhri and his mother Shahnaz     18· ·transfer you're complaining of, correct?
19· ·Choudhri, correct?                                         19· · · · · · ·MR. BALLASES:· Objection.· Form.
20· · · · A.· ·Yes.                                             20· · · · · · ·THE DEPONENT:· I believe so.· There might be
21· · · · Q.· ·Okay.· And what personal knowledge do you have   21· ·something beyond that, as well.
22· ·that Mrs. Choudhri intentionally acted in a manner to      22· · · · · · ·MR. POPE:· What's the basis of the objection?
23· ·defraud her creditors?                                     23· · · · · · ·MR. BALLASES:· Vague, ambiguous, confusing,
24· · · · A.· ·Well, Mrs. Choudhri is the same as               24· ·overly broad, misleading.· Take your pick.
25· ·Mr. Choudhri for purposes of defrauding creditors or       25· ·BY MR. POPE:



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 26 of 111
OMAR KHAWAJA                                       October 03, 2024                                              97 to 100
78755
                                                      Page 97                                                         Page 99
·1· · · · Q.· ·What personal knowledge do you have that         ·1· · · · A.· ·Not to my knowledge.
·2· ·Shahnaz Choudhri has a sham business entity that she       ·2· · · · Q.· ·Why is that answer different, not to my
·3· ·owns?                                                      ·3· ·knowledge, and not just no?
·4· · · · A.· ·Again, I'm going to refer you back to bank       ·4· · · · A.· ·I just don't have the case number in front of
·5· ·records, her involvement in, you know, being a member of   ·5· ·me so I'm relying on what you're telling me.
·6· ·multiple entities that Mr. Choudhri's involved in.         ·6· · · · Q.· ·Did you have the other case numbers in front
·7· · · · Q.· ·So you don't have any personal knowledge, do     ·7· ·of you?
·8· ·you?                                                       ·8· · · · A.· ·I didn't.
·9· · · · · · ·MR. BALLASES:· Objection.· Form.                 ·9· · · · Q.· ·Okay.
10· · · · · · ·THE DEPONENT:· I think that qualifies as         10· · · · A.· ·I just didn't want you to slip in a case where
11· ·personal knowledge.                                        11· ·she was a defendant.
12· ·BY MR. POPE:                                               12· · · · Q.· ·Gotcha.· What personal knowledge do you have
13· · · · Q.· ·You think what qualifies as personal             13· ·of any intentional acts Miss Shahnaz Choudhri made to
14· ·knowledge?                                                 14· ·defraud you?
15· · · · A.· ·The review of bank records that has her listed   15· · · · A.· ·Well, she's an alter ego of Ali Choudhri so
16· ·as an account holder on entities that Mr. Choudhri         16· ·any assets that he's hiding behind her with her on them
17· ·controls.                                                  17· ·is an attempt to defraud any judgment creditor, myself
18· · · · Q.· ·What personal knowledge did you have before      18· ·included.
19· ·the complaint was filed?                                   19· · · · Q.· ·Again, there's been no finding of alter ego
20· · · · A.· ·Before the complaint was filed, I had personal   20· ·yet, correct?
21· ·knowledge that she defrauded my friend.                    21· · · · A.· ·Correct.· But there's plenty of discovery that
22· · · · Q.· ·What's your friend?                              22· ·shows that he's hiding assets with his mother.
23· · · · A.· ·Mr. Abdullatif with an entity called AIG WT      23· · · · Q.· ·Do you have any personal knowledge of any
24· ·where Mr. Choudhri and Mrs. Choudhri both conspired to     24· ·intentional acts of Miss Shahnaz Choudhri absent your
25· ·defraud him out of his earnest money.                      25· ·theory of alter ego?
                                                      Page 98                                                        Page 100
·1· · · · Q.· ·And you were present when that happened?         ·1· · · · A.· ·Personal acts so, yes, I do because she has
·2· · · · A.· ·I wasn't present.· I was told about it.          ·2· ·taken proceeds from various entities that we've obtained
·3· · · · Q.· ·You were told about it from who?                 ·3· ·in discovery for her benefit, and entities have been
·4· · · · A.· ·Mr. Abdullatif.                                  ·4· ·transferred under her control.
·5· · · · Q.· ·When?                                            ·5· · · · Q.· ·Which entities?
·6· · · · A.· ·I'm sure around the time we met, 2013, 2014.     ·6· · · · A.· ·I think Otisco rDX, various entities.· Again,
·7· · · · Q.· ·How much earnest money are we talking about?     ·7· ·I don't have them in front of me, but this is not --
·8· · · · A.· ·Millions of dollars.· Maybe two million.         ·8· ·this is a pattern of behavior.· This isn't a one or two
·9· · · · Q.· ·Of the three judgments named in the complaint,   ·9· ·instance.
10· ·are any of them against Miss Shahnaz Choudhri?             10· · · · Q.· ·She has a pattern of behavior with you
11· · · · A.· ·Well, if she's alter ego, then I would say       11· ·personally?
12· ·yes.                                                       12· · · · A.· ·With Mr. Choudhri, not with me.
13· · · · Q.· ·Has there been a finding of alter ego in this    13· · · · Q.· ·Have you had any personal dealings with
14· ·case here?                                                 14· ·Miss Shahnaz Choudhri?
15· · · · A.· ·Not yet.                                         15· · · · A.· ·I think she came over once when we had a
16· · · · Q.· ·Okay.                                            16· ·previous lawsuit and she tried to imply that we
17· · · · A.· ·Hopefully soon.                                  17· ·shouldn't be suing her son, something along those lines.
18· · · · Q.· ·So in case number 201341273, was Miss Shahnaz    18· · · · Q.· ·She came over where?
19· ·Choudhri a named defendant?                                19· · · · A.· ·To my home, to my parents' home.
20· · · · A.· ·No.                                              20· · · · Q.· ·To your parents' home.
21· · · · Q.· ·In case number 201710832, was Miss Shahnaz       21· · · · A.· ·So she's very involved in his business.
22· ·Choudhri a named defendant?                                22· · · · Q.· ·So as you sit here today, you believe Ali
23· · · · A.· ·No.                                              23· ·Choudhri controls Shahnaz Choudhri?
24· · · · Q.· ·In case number 202038738, was Miss Shahnaz       24· · · · · · ·MR. BALLASES:· Objection.· Form.
25· ·Choudhri a named defendant?                                25· · · · · · ·THE DEPONENT:· Yes.



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 27 of 111
OMAR KHAWAJA                                       October 03, 2024                                             101 to 104
78755
                                                     Page 101                                                        Page 103
·1· ·BY MR. POPE:                                               ·1· · · · A.· ·Again, I don't have the discovery in front of
·2· · · · Q.· ·What evidence do you have of that?               ·2· ·me.· This is a document intensive case.· I would have to
·3· · · · · · ·MR. BALLASES:· Objection.· Form.                 ·3· ·have that in front of me to be able to point out, hey,
·4· · · · · · ·THE DEPONENT:· Everything I've stated            ·4· ·this piece of property that's in her name is really his,
·5· ·previously and what we've obtained in discovery so far     ·5· ·but I don't have that in front of me.
·6· ·and I think we're waiting on her deposition.               ·6· · · · Q.· ·Which bank accounts?
·7· ·BY MR. POPE:                                               ·7· · · · A.· ·Same thing.· I don't have the discovery in
·8· · · · Q.· ·When have you personally seen Ali Choudhri       ·8· ·front of me, but there's bank accounts that have her
·9· ·control Shahnaz Choudhri?                                  ·9· ·name, his name.· Checks going out to various entities
10· · · · · · ·MR. BALLASES:· Objection.· Form.                 10· ·under his control.
11· · · · · · ·THE DEPONENT:· She came to court with him many   11· · · · Q.· ·But you base your knowledge on discovery,
12· ·times.                                                     12· ·correct?
13· ·BY MR. POPE:                                               13· · · · · · ·MR. BALLASES:· Objection.· Form.
14· · · · Q.· ·She came to court with him several times?        14· · · · · · ·THE DEPONENT:· I mean, discovery and whatever
15· · · · A.· ·Several times.                                   15· ·information I've encountered over the years.
16· · · · Q.· ·And you have personal knowledge that he          16· ·BY MR. POPE:
17· ·controlled her while in court?                             17· · · · Q.· ·What information have you encountered over the
18· · · · · · ·MR. BALLASES:· Objection.· Form.                 18· ·years that would support an assertion that Shahnaz
19· · · · · · ·THE DEPONENT:· I don't have personal knowledge   19· ·Choudhri fraudulently made -- made fraudulent transfers
20· ·of that.                                                   20· ·to prevent creditors, her creditors, from collecting?
21· ·BY MR. POPE:                                               21· · · · A.· ·I will -- to make -- sorry.· Made an attempt
22· · · · Q.· ·Do you have any personal knowledge -- have you   22· ·to -- I'm sorry.· Can you repeat that.
23· ·ever seen Ali Choudhri control Shahnaz Choudhri?           23· · · · Q.· ·What personal knowledge do you have of any
24· · · · · · ·MR. BALLASES:· Objection.· Form.                 24· ·fraudulent transfers made by Shahnaz Choudhri to prevent
25· · · · · · ·THE DEPONENT:· Control is very vague and         25· ·her own creditors from collecting?
                                                     Page 102                                                        Page 104
·1· ·ambiguous.· You need to explain what you mean by that.     ·1· · · · · · ·MR. BALLASES:· Objection.· Form.
·2· ·BY MR. POPE:                                               ·2· · · · · · ·THE DEPONENT:· Well, I mean, I don't have any
·3· · · · Q.· ·Control's --                                     ·3· ·personal knowledge specifically beyond what we've
·4· · · · A.· ·I mean, have I seen him write her a check        ·4· ·obtained in discovery which shows money going to and
·5· ·personally?· No.· But I've seen bank accounts that show    ·5· ·from her from various Choudhri affiliated entities.
·6· ·entities giving or distributing proceeds and funds to      ·6· ·BY MR. POPE:
·7· ·her and vice versa.                                        ·7· · · · Q.· ·What personal knowledge did you have before
·8· · · · Q.· ·And you saw that happen where?· On what          ·8· ·the complaint was filed that Shahnaz Choudhri made any
·9· ·document?                                                  ·9· ·effort to conceal any assets?
10· · · · A.· ·In this case in the discovery we obtained.       10· · · · A.· ·Conceal assets.· So --
11· · · · Q.· ·What evidence do you have?· What personal        11· · · · Q.· ·Before the complaint was filed.
12· ·knowledge do you have of mom's attempt to defraud --       12· · · · A.· ·Before the complaint was filed, I mean,
13· ·mom's -- Miss Shahnaz Choudhri's attempt to defraud her    13· ·there's entities that have her name on them that
14· ·own creditor?                                              14· ·Choudhri claims to own, you know.· Things I've seen in
15· · · · A.· ·Well, she's hiding assets for her son.· Then     15· ·the public record.
16· ·she's helping her son evade judgment creditors.            16· · · · Q.· ·Which entities are those?
17· · · · Q.· ·Are they her judgment creditors or her son's     17· · · · A.· ·I think are Otisco rDX is one.· I think she
18· ·judgment creditors?                                        18· ·was a manager of Jetall Companies at one point.· She's
19· · · · A.· ·Same question?                                   19· ·part of AIG WT, you know.· So there's plenty of evidence
20· · · · Q.· ·Yes.· Her creditors or her son's creditors?      20· ·there.· And then the discovery that we obtained so far
21· · · · A.· ·I they are his creditors are her creditors as    21· ·shows that that was -- there was a good reason for the
22· ·a result of him hiding assets with her.                    22· ·good faith opinion that she was hiding assets for him.
23· · · · Q.· ·And what assets do you believe she's hiding?     23· · · · Q.· ·What evidence did you have, what personal
24· · · · A.· ·Real estate, bank accounts, you know.            24· ·knowledge did you have before the complaint was filed of
25· · · · Q.· ·What real estate?                                25· ·any agency agreements between Shahnaz Choudhri and any



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 28 of 111
OMAR KHAWAJA                                       October 03, 2024                                             105 to 108
78755
                                                     Page 105                                                        Page 107
·1· ·third party?                                               ·1· · · · · · ·MR. BALLASES:· Objection.· Form.
·2· · · · A.· ·Again, I don't know if I'd -- have that          ·2· · · · · · ·THE DEPONENT:· I don't think -- I'm not sure.
·3· ·agreement in front of me.· I don't know if I've seen       ·3· ·We probably had a faith reason to believe that she was
·4· ·that agreement, but I vaguely recall some agreement that   ·4· ·hiding assets for her son.
·5· ·has -- maybe it wasn't between Ali and Shahnaz.· I'm not   ·5· ·BY MR. POPE:
·6· ·sure.                                                      ·6· · · · Q.· ·Based on what before the complaint was filed?
·7· · · · Q.· ·So you don't know of any agency agreements?      ·7· · · · A.· ·Based on her involvement with his business.
·8· · · · A.· ·I don't know.                                    ·8· · · · Q.· ·Were you aware of her involvement with any
·9· · · · · · ·MR. BALLASES:· Objection.· Form.                 ·9· ·businesses before the complaint was filed?
10· · · · · · ·THE DEPONENT:· I don't know.                     10· · · · A.· ·Yes.· Absolutely.
11· ·BY MR. POPE:                                               11· · · · Q.· ·How did you obtain that awareness?
12· · · · Q.· ·What personal knowledge do you have of Mrs.      12· · · · A.· ·In my dealings with Jetall over the years and
13· ·Shahnaz Choudhri attempts to hide Mr. Ali Choudhri's       13· ·my knowledge of litigation against Ali.
14· ·involvement in any transaction?                            14· · · · Q.· ·Did you have any dealings with Shahnaz
15· · · · · · ·MR. BALLASES:· Objection.· Form.                 15· ·Choudhri prior to the complaint being filed?
16· · · · · · ·THE DEPONENT:· Again, money going to and from    16· · · · A.· ·Dealings?· Other than her trying to tell us
17· ·her account.                                               17· ·not to sue her son, I've never written a check to her.
18· ·BY MR. POPE:                                               18· ·I've never had any other business with her, but she is
19· · · · Q.· ·Before -- did you have any knowledge of that     19· ·part of his business.
20· ·before the complaint was filed, personal knowledge?        20· · · · Q.· ·So why did you sue her son, Ali Choudhri?
21· · · · A.· ·Personal knowledge, I mean, like I said,         21· · · · · · ·MR. BALLASES:· Objection.· Form.
22· ·Mr. Abdullatif told me how she helped defraud him out of   22· · · · · · ·THE DEPONENT:· Why?· I'm sorry.
23· ·money with AIG WT.· She is part of Jetall's corporate      23· ·BY MR. POPE:
24· ·structure or was at some point, various bank accounts.     24· · · · Q.· ·Yeah, why did you sue Ali Choudhri?
25· ·She's been part of the business from day one.· This        25· · · · A.· ·Are you talking about this case?
                                                     Page 106                                                        Page 108
·1· ·isn't someone that's unfamiliar with the business.         ·1· · · · Q.· ·In this case.
·2· · · · Q.· ·What personal knowledge do you have prior to     ·2· · · · A.· ·We bought a judgment.· A judgment was assigned
·3· ·filing of the complaint that Ms. Shahnaz Choudhri was      ·3· ·to us, and we're just trying to collect our money.· I'm
·4· ·not a credible witness?                                    ·4· ·a judgment creditor.
·5· · · · A.· ·Was not a credible witness.                      ·5· · · · Q.· ·If it turns out the judgment was superseded,
·6· · · · Q.· ·Or not credible as a witness?                    ·6· ·what happens to that money if you win?
·7· · · · A.· ·She's got bias.· It's her son, right, so.        ·7· · · · · · ·MR. BALLASES:· Objection.· Form.
·8· · · · Q.· ·What personal knowledge do you have of           ·8· · · · · · ·THE DEPONENT:· Calls for speculation.
·9· ·Miss Shahnaz Choudhri's -- well, scratch that.             ·9· ·BY MR. POPE:
10· · · · · · ·What personal knowledge do you have that         10· · · · Q.· ·In your experience as a lawyer, isn't it true
11· ·Miss Shahnaz Choudhri knowingly committed a fraud          11· ·that a supersedeas bond would be awarded to the victor
12· ·against you?                                               12· ·of the litigation?
13· · · · · · ·MR. BALLASES:· Objection.· Form.                 13· · · · · · ·MR. BALLASES:· Objection.· Form.
14· · · · · · ·THE DEPONENT:· I'm a judgment creditor, and so   14· · · · · · ·THE DEPONENT:· It's possible.· I don't do
15· ·assets that are in her name, they actually belong to Ali   15· ·business litigation so I'm not sure.
16· ·and she's helping him defraud me out of the judgment       16· ·BY MR. POPE:
17· ·that I need to collect.                                    17· · · · Q.· ·You do personal injury litigation, correct?
18· ·BY MR. POPE:                                               18· · · · A.· ·Yes, I do.
19· · · · Q.· ·Which assets?                                    19· · · · Q.· ·And that involves monetary judgments; is that
20· · · · A.· ·You know, like I mentioned, she's -- there's     20· ·correct?
21· ·been money going in and out of bank accounts.· We have     21· · · · A.· ·Correct.
22· ·those bank accounts.· They're in the same discovery that   22· · · · Q.· ·So it would be possible that a loser or the
23· ·you have access to.                                        23· ·person who lost could possibly put up a supersedeas
24· · · · Q.· ·Were you aware of that before the complaint      24· ·bond; is that correct?
25· ·was filed?                                                 25· · · · A.· ·That's --



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 29 of 111
OMAR KHAWAJA                                       October 03, 2024                                             109 to 112
78755
                                                     Page 109                                                        Page 111
·1· · · · · · ·MR. BALLASES:· Objection.· Form.                 ·1· · · · · · ·MR. BALLASES:· Objection.· Form.
·2· · · · · · ·THE DEPONENT:· Sure.· That's possible.           ·2· · · · · · ·THE DEPONENT:· I don't know how much it is.
·3· ·BY MR. POPE:                                               ·3· ·BY MR. POPE:
·4· · · · Q.· ·Have you ever had a case where that's            ·4· · · · Q.· ·What percentage of ownership do you have in
·5· ·happened?                                                  ·5· ·the judgment obtained in Jetall Companies, Inc. versus
·6· · · · A.· ·No.                                              ·6· ·Hoover Slovacek?
·7· · · · Q.· ·You've never had a case ever where there's       ·7· · · · A.· ·I believe about a third.
·8· ·been a supersedeas bond put up?                            ·8· · · · Q.· ·And what -- and what dollar amount -- how much
·9· · · · · · ·MR. BALLASES:· Objection.· Form.                 ·9· ·is your interest worth?
10· · · · · · ·THE DEPONENT:· I have not.· No.                  10· · · · · · ·MR. BALLASES:· Objection.· Form.
11· · · · · · ·MR. BALLASES:· Were the other two judgments      11· · · · · · ·THE DEPONENT:· I'm not sure.· The total payoff
12· ·superseded?· I'm not sure if something happened today.     12· ·is 1.2 million so.
13· · · · · · ·MS. MACGEORGE:· This is not a question and       13· ·BY MR. POPE:
14· ·answer session.                                            14· · · · Q.· ·Does that include attorney's fees?
15· · · · · · ·MR. BALLASES:· Sorry.                            15· · · · A.· ·I believe so.
16· ·BY MR. POPE:                                               16· · · · Q.· ·Does that include costs?
17· · · · Q.· ·How did you become aware of the three            17· · · · A.· ·I think so.
18· ·judgments?                                                 18· · · · · · ·MR. BALLASES:· Objection.· Form.
19· · · · A.· ·I became aware of the two judgments, the first   19· ·BY MR. POPE:
20· ·initial two judgments because I have the relationship      20· · · · Q.· ·Do you know the amount of the actual judgment
21· ·with Hoover Slovacek.· And the third judgment I became     21· ·itself prior to attorney's fees and costs?
22· ·aware of because I have a relationship with                22· · · · A.· ·I don't offhand.
23· ·Mr. Abdullatif.                                            23· · · · Q.· ·Does that include attorney's fees both before
24· · · · Q.· ·Do you have a relationship with Hoover           24· ·and after the filing of this complaint?
25· ·Slovacek beyond attorney/client?                           25· · · · A.· ·I believe so --
                                                     Page 110                                                        Page 112
·1· · · · A.· ·No.                                              ·1· · · · · · ·MR. BALLASES:· Objection.· Form.
·2· · · · Q.· ·So as a client of Hoover Slovacek, they told     ·2· · · · · · ·THE DEPONENT:· Actually, I'm not sure.· I'll
·3· ·you about another client's judgment?                       ·3· ·refer to my counsel for that.
·4· · · · A.· ·Well, I wouldn't talking about --                ·4· ·BY MR. POPE:
·5· · · · · · ·MR. BALLASES:· I'm going to object to.· I'm      ·5· · · · Q.· ·Have you ever worked for jet -- have you ever
·6· ·not going to object.· I'm going to assert the              ·6· ·worked for Jetall Companies?
·7· ·attorney/client privilege and instruct you not to answer   ·7· · · · A.· ·Have I ever worked for Jetall Companies?· No.
·8· ·anything about what we've communicated about.              ·8· ·No, I haven't.
·9· ·BY MR. POPE:                                               ·9· · · · Q.· ·Did you ever seek employment with Jetall
10· · · · Q.· ·How much of the judgment obtained in the case    10· ·Companies?
11· ·of Osama Abdullatif and Abdullatif and Company versus      11· · · · A.· ·No.
12· ·Ali Choudhri and Houston Real Estate Property do you       12· · · · Q.· ·Did you ever inquire about working for Jetall
13· ·own?                                                       13· ·Companies or any of its principals?
14· · · · A.· ·I don't believe --                               14· · · · A.· ·In the context of developing the property that
15· · · · · · ·MR. BALLASES:· Objection.· Form.                 15· ·they defrauded me out of, yes.
16· · · · · · ·THE DEPONENT:· I don't believe I own that        16· · · · Q.· ·Developing which property?
17· ·judgment.                                                  17· · · · A.· ·Avondale.
18· ·BY MR. POPE:                                               18· · · · Q.· ·And you wanna work for them in what capacity?
19· · · · Q.· ·Okay.· Do you believe you own the judgment       19· · · · A.· ·To help develop the property.
20· ·obtained in Jetall Companies, Inc. and Declaration Title   20· · · · Q.· ·Help develop it how?
21· ·Company versus Allan Daughtry?                             21· · · · A.· ·You know, this is the subject of other
22· · · · A.· ·Yes.                                             22· ·litigation so I'm not going to be answering questions
23· · · · Q.· ·Okay.· How much of that judgment do you own?     23· ·about this.
24· · · · A.· ·A third of it.                                   24· · · · Q.· ·Well, you were seeking employment as counsel,
25· · · · Q.· ·A third.· And how much is that judgment?         25· ·litigation counsel?· What was the job?



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 30 of 111
OMAR KHAWAJA                                       October 03, 2024                                             113 to 116
78755
                                                     Page 113                                                        Page 115
·1· · · · A.· ·No, not litigation counsel.· Developing a        ·1· ·statements, what specific information you have about
·2· ·property together.                                         ·2· ·those transfers?
·3· · · · Q.· ·Property development?                            ·3· · · · · · ·MR. BALLASES:· Objection.· Form.
·4· · · · A.· ·Yes.                                             ·4· · · · · · ·THE DEPONENT:· I don't have them in front of
·5· · · · Q.· ·In your individual capacity or one of your       ·5· ·me.
·6· ·companies?                                                 ·6· ·BY MR. POPE:
·7· · · · A.· ·No, individual.                                  ·7· · · · Q.· ·Who were they made to?
·8· · · · Q.· ·And when was that?                               ·8· · · · · · ·MR. BALLASES:· Objection.· Form.
·9· · · · A.· ·I think that was 2010 or '11, something like     ·9· · · · · · ·THE DEPONENT:· I believe they were made to and
10· ·that.                                                      10· ·from Mrs. Choudhri to various entities.
11· · · · Q.· ·Before or after you met Mr. Abdullatif?          11· ·BY MR. POPE:
12· · · · A.· ·Oh, it was definitely before.                    12· · · · Q.· ·Which entities?
13· · · · Q.· ·Were you ever the lawyer for Ali Choudhri?       13· · · · A.· ·I don't know.
14· · · · A.· ·No, absolutely not.                              14· · · · Q.· ·More than one?
15· · · · Q.· ·Were you ever a lawyer representing any of the   15· · · · A.· ·More than one.
16· ·named defendants?                                          16· · · · Q.· ·More than ten?
17· · · · A.· ·No.· Never.                                      17· · · · A.· ·I'd say more than ten.
18· · · · Q.· ·Did you ever provide legal advice or legal       18· · · · Q.· ·What specific knowledge that you have that any
19· ·counsel to any of the named defendants?                    19· ·of those transfers were actually fraudulent?
20· · · · A.· ·Never.                                           20· · · · · · ·MR. BALLASES:· Objection.· Form.
21· · · · Q.· ·Do you have any personal knowledge that          21· · · · · · ·THE DEPONENT:· Again, I'm going to base it on
22· ·Shahnaz Choudhri made fraudulent transfers of personal     22· ·my previous knowledge of the relationship between
23· ·property?                                                  23· ·Mr. Choudhri and Mrs. Choudhri.· She's defrauded or he
24· · · · · · ·MR. BALLASES:· Objection.· Form.                 24· ·has defrauded through her people that I know and various
25· · · · · · ·THE DEPONENT:· Based upon the bank statements,   25· ·entities has her name listed as a member.· So that's my
                                                     Page 114                                                        Page 116
·1· ·that's what it appears to be.                              ·1· ·knowledge.
·2· ·BY MR. POPE:                                               ·2· ·BY MR. POPE:
·3· · · · Q.· ·Before obtaining the bank statements after the   ·3· · · · Q.· ·You only named one entity.· What are the other
·4· ·complaint was filed.· So before the complaint was filed    ·4· ·entities?
·5· ·-- better question.                                        ·5· · · · A.· ·I don't have them in front of me.
·6· · · · · · ·Do you have any personal knowledge of            ·6· · · · Q.· ·Have you filed a suit separate from this
·7· ·fraudulent transfers of personal property --               ·7· ·lawsuit against Shahnaz Choudhri?
·8· · · · · · ·MR. BALLASES:· Objection.                        ·8· · · · A.· ·No.
·9· ·BY MR. POPE:                                               ·9· · · · Q.· ·Have you filed any lis pendenses against any
10· · · · Q.· ·-- by Shahnaz Choudhri before the complaint      10· ·of her properties?
11· ·was filed?                                                 11· · · · A.· ·I -- to my -- I'm not sure.· Maybe we have.
12· · · · · · ·MR. BALLASES:· Objection.· Form.                 12· ·If there are other properties in her name, I will file
13· · · · · · ·THE DEPONENT:· This has been asked and           13· ·them.· Yes.
14· ·answered, but I want to go back to the history.· She's     14· · · · Q.· ·Have you authorized the filings of any lis
15· ·involved in all aspects of the business.· She's part of    15· ·pendenses against her properties?
16· ·AIG WT which defrauded Mr. Abdullatif.· She's got          16· · · · A.· ·I don't know if we have personally.· But if
17· ·various entities under her name -- she's the member of     17· ·there are, then we will.
18· ·various entities which he controls.                        18· · · · Q.· ·But you have authorized the filings of certain
19· · · · Q.· ·Did you have personal knowledge of that before   19· ·lis pendenses?
20· ·the complaint was filed?                                   20· · · · A.· ·Yes.
21· · · · A.· ·Yes.                                             21· · · · Q.· ·And those lis pendenses are against properties
22· · · · Q.· ·Yes or no.                                       22· ·owned by whom?
23· · · · · · ·MR. BALLASES:· Objection.· Form.                 23· · · · A.· ·Ali Choudhri and his related entities
24· ·BY MR. POPE:                                               24· ·including Shahnaz Choudhri.
25· · · · Q.· ·If you've seen the transfers and the bank        25· · · · Q.· ·And they were filed why?· For what basis?



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 31 of 111
OMAR KHAWAJA                                       October 03, 2024                                             117 to 120
78755
                                                     Page 117                                                        Page 119
·1· ·What reason?                                               ·1· ·BY MR. POPE:
·2· · · · A.· ·So that I don't get defrauded as a judgment      ·2· · · · Q.· ·Do you have any personal knowledge of outside
·3· ·creditor.                                                  ·3· ·of this case Shahnaz Choudhri owes John Quinlan any
·4· · · · Q.· ·So you were filing them to collect on your       ·4· ·money?
·5· ·judgment?                                                  ·5· · · · A.· ·I don't have any personal knowledge of that.
·6· · · · A.· ·I'm filing them to prevent the fraudulent        ·6· · · · Q.· ·Do you have any personal knowledge that
·7· ·transfer of assets where I have money owed to me.          ·7· ·outside of this case Shahnaz Choudhri owes Abdullatif
·8· · · · Q.· ·So you're filing them to prevent transfer of     ·8· ·any money?
·9· ·assets?                                                    ·9· · · · A.· ·Possibly she owes him money.
10· · · · A.· ·Correct.· If the judgment's paid, we'll          10· · · · Q.· ·Do you have any personal knowledge of that?
11· ·release them.· Simple.                                     11· · · · A.· ·I don't.
12· · · · Q.· ·Do you plan to continue to file lis pendens?     12· · · · Q.· ·Do you have any personal knowledge that
13· · · · · · ·MR. BALLASES:· Objection.· Form.                 13· ·Shahnaz Choudhri encumbered any of her assets or
14· · · · · · ·THE DEPONENT:· If I'm not paid the money that    14· ·liabilities to dissuade a creditor, to dissuade one of
15· ·I'm owed, yes.                                             15· ·her own creditors?
16· ·BY MR. POPE:                                               16· · · · A.· ·I don't have any discovery in front of me so
17· · · · Q.· ·Have you assisted anyone else in filing a lis    17· ·I'm not able to answer that question.
18· ·pendens against any of the named defendants?               18· · · · Q.· ·So you don't have any personal knowledge of
19· · · · A.· ·I don't recall.                                  19· ·that, do you?
20· · · · Q.· ·Have you assisted Hira Azhar in filing any lis   20· · · · A.· ·Not that I -- not that I'm aware of sitting
21· ·pendenses against any of the named defendants?             21· ·here right now.
22· · · · · · ·MR. BALLASES:· Objection.· Form.                 22· · · · Q.· ·Did you assist Hira Azhar in suing Shahnaz
23· · · · · · ·THE DEPONENT:· Not to my knowledge.              23· ·Choudhri prior to this?
24· ·BY MR. POPE:                                               24· · · · · · ·MR. BALLASES:· Objection.· Form.
25· · · · Q.· ·Have you assisted -- scratch that question.      25· · · · · · ·THE DEPONENT:· That's a subject of other
                                                     Page 118                                                        Page 120
·1· · · · · · ·After your alter ego claim, you don't have any   ·1· ·pending litigation.· I can't get into that.
·2· ·personal knowledge of Shahnaz Choudhri making any          ·2· ·BY MR. POPE:
·3· ·fraudulent transfers, do you?                              ·3· · · · Q.· ·That litigation in pending in which county?
·4· · · · · · ·MR. BALLASES:· Objection.· Form.                 ·4· · · · A.· ·Appellate Court Harris County.
·5· · · · · · ·THE DEPONENT:· I don't understand the            ·5· · · · Q.· ·Appellate Court.· Are you counsel in that
·6· ·question.                                                  ·6· ·case?
·7· ·BY MR. POPE:                                               ·7· · · · A.· ·No.
·8· · · · Q.· ·If we remove your alter ego theory, you don't    ·8· · · · Q.· ·Are you a party in that case?
·9· ·have any personal knowledge of Shahnaz Choudhri making     ·9· · · · A.· ·No.
10· ·any fraudulent transfers, do you?                          10· · · · Q.· ·So you're just refusing to answer even though
11· · · · · · ·MR. BALLASES:· Objection.· Form.                 11· ·you're not counsel or party to the case?
12· · · · · · ·THE DEPONENT:· It would still be a fraudulent    12· · · · A.· ·I am a consulting attorney to Ms. Azhar.
13· ·transfer.· If the judgment -- if I'm the judgment          13· · · · Q.· ·So Ms. Azhar?
14· ·creditor, if the debtor owes me money and he transfers     14· · · · A.· ·Yes.
15· ·assets to anyone and it's an arm's length transaction,     15· · · · Q.· ·Okay.· Did you in your -- have you ever been a
16· ·then that's a fraudulent transfer, right?                  16· ·consulting attorney to Chris Wyatt?
17· ·BY MR. POPE:                                               17· · · · A.· ·He's a client.
18· · · · Q.· ·But Shahnaz Choudhri does not owe you any        18· · · · Q.· ·He is a client.· He was a client prior to the
19· ·money, does she?                                           19· ·filing of the complaint?
20· · · · A.· ·No, she does not.                                20· · · · A.· ·Yes.
21· · · · Q.· ·Shahnaz Choudhri doesn't owe Quinlan any money   21· · · · Q.· ·And when did he become your client?
22· ·either, does she?                                          22· · · · · · ·MR. BALLASES:· Objection.· Form.
23· · · · · · ·MR. BALLASES:· Objection.· Form.                 23· · · · · · ·THE DEPONENT:· I don't recall exactly.
24· · · · · · ·THE DEPONENT:· In what -- I mean, outside of     24· ·Sometime after he left the employment of Mr. Choudhri.
25· ·this case?                                                 25· ·BY MR. POPE:



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 32 of 111
OMAR KHAWAJA                                       October 03, 2024                                             121 to 124
78755
                                                     Page 121                                                        Page 123
·1· · · · Q.· ·2023?                                            ·1· · · · · · ·MR. BALLASES:· Objection.· Form.
·2· · · · · · ·MR. BALLASES:· Objection.· Form.                 ·2· · · · · · ·THE DEPONENT:· No.
·3· · · · · · ·THE DEPONENT:· I think before that.              ·3· ·BY MR. POPE:
·4· ·BY MR. POPE:                                               ·4· · · · Q.· ·Do you have any personal knowledge of any
·5· · · · Q.· ·2022?                                            ·5· ·fraudulent acts Miss Shahnaz Choudhri committed against
·6· · · · A.· ·I'm not sure to be honest with you.              ·6· ·you?
·7· · · · Q.· ·Before or after 2020?                            ·7· · · · · · ·MR. BALLASES:· Objection.· Form.
·8· · · · A.· ·I think after he was wrongfully terminated       ·8· · · · · · ·THE DEPONENT:· Again, in the context of this
·9· ·from Jetall from what I understand.                        ·9· ·case, if she is helping hide assets or entities
10· · · · Q.· ·When do you believe he was wrongfully            10· ·connected to Ali Choudhri, which she is, then she's
11· ·terminated from Jetall?                                    11· ·committing fraud against me.
12· · · · · · ·MR. BALLASES:· Objection.· Form.                 12· ·BY MR. POPE:
13· · · · · · ·THE DEPONENT:· I don't know.· I'm not sure.      13· · · · Q.· ·Okay.· But since you said if, are we to assume
14· ·BY MR. POPE:                                               14· ·you do not have any personal knowledge of the fraudulent
15· · · · Q.· ·So as you sit here today, you don't know when    15· ·acts?
16· ·he became your client?                                     16· · · · · · ·MR. BALLASES:· Objection.· Form.
17· · · · A.· ·As I sit here today --                           17· · · · · · ·THE DEPONENT:· To the best of my personal
18· · · · · · ·MR. BALLASES:· Objection.· Form.                 18· ·knowledge.
19· · · · · · ·THE DEPONENT:· As I sit here today, I don't      19· ·BY MR. POPE:
20· ·know exactly when.                                         20· · · · Q.· ·So you have zero personal knowledge of that?
21· ·BY MR. POPE:                                               21· · · · A.· ·No, I do have personal knowledge.
22· · · · Q.· ·Were you ever given a server or hard drive       22· · · · Q.· ·Of which alleged fraudulent act against you?
23· ·that belonged to Mr. Ali Choudhri?                         23· · · · A.· ·Well, if we look at the -- I'm a judgment
24· · · · · · ·MR. BALLASES:· Objection.· Form.                 24· ·creditor in this case.· If you look at the money that's
25· · · · · · ·THE DEPONENT:· No.· I'm not going to answer      25· ·been transferred back and forth between the entities and
                                                     Page 122                                                        Page 124
·1· ·that question.                                             ·1· ·Mrs. Choudhri, those are assets that would belong to me
·2· ·BY MR. POPE:                                               ·2· ·as judgment creditor.
·3· · · · Q.· ·Is the answer no or is it you're not going to    ·3· · · · Q.· ·But the bank statements that would contain
·4· ·answer that question?                                      ·4· ·those alleged transfers you obtained after the complaint
·5· · · · A.· ·I'm not going to answer that question.           ·5· ·was filed, correct?
·6· · · · Q.· ·Are you refusing to answer?                      ·6· · · · A.· ·Yes.
·7· · · · A.· ·Yes.                                             ·7· · · · Q.· ·So before the complaint was filed, what
·8· · · · Q.· ·On what basis?                                   ·8· ·personal knowledge did you have?
·9· · · · · · ·MR. BALLASES:· You're asserting your             ·9· · · · A.· ·Again, going back to what I --
10· ·attorney/client or attorney work product privilege for     10· · · · · · ·MR. BALLASES:· Objection.· Form.
11· ·Chris Wyatt?                                               11· · · · · · ·THE DEPONENT:· My previous answer, which is a
12· · · · · · ·THE DEPONENT:· Yes, I am.                        12· ·good faith basis that she helps Mr. Choudhri defraud
13· ·BY MR. POPE:                                               13· ·creditors.
14· · · · Q.· ·So you're asserting the privilege that did you   14· ·BY MR. POPE:
15· ·or did not receive a hard drive?                           15· · · · Q.· ·And what did you base that good faith belief
16· · · · A.· ·Yes.· We can take it up with the judge if we     16· ·on before the complaint was filed if you had not yet
17· ·need to.                                                   17· ·received and reviewed the bank statements?
18· · · · Q.· ·Did you include Miss Shahnaz Choudhri in this    18· · · · · · ·MR. BALLASES:· Objection.· Form.
19· ·complaint just to put pressure on Ali Choudhri to pay      19· · · · · · ·THE DEPONENT:· There's an entity called AIG WT
20· ·the debt?                                                  20· ·where they defrauded Mr. Abdullatif out of millions of
21· · · · A.· ·Not at all.                                      21· ·dollars with her son.· She is active -- actively
22· · · · · · ·MR. BALLASES:· Objection.· Form.                 22· ·involved in every aspect of the Jetall business.· She
23· ·BY MR. POPE:                                               23· ·has an office there.· And there are entities where she
24· · · · Q.· ·Was the complaint filed to harass Shahnaz        24· ·is listed as a member that we can show you.
25· ·Choudhri?                                                  25· ·BY MR. POPE:



                                                                                                                                YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 33 of 111
OMAR KHAWAJA                                       October 03, 2024          125 to 126
78755
                                                     Page 125
·1· · · · Q.· ·Are you aware that Chris Wyatt stole a hard
·2· ·drive from Jetall or Ali?
·3· · · · A.· ·No, I'm not.
·4· · · · · · ·MR. BALLASES:· Objection.· Form.
·5· · · · · · ·THE REPORTER:· I'm sorry.· I couldn't hear
·6· ·your answer.
·7· · · · · · ·THE DEPONENT:· Sorry.· I'm not aware of it,
·8· ·no.
·9· ·BY MR. POPE:
10· · · · Q.· ·Did you receive a hard drive from Chris Wyatt?
11· · · · · · ·MR. BALLASES:· Objection.· Form.
12· · · · · · ·THE DEPONENT:· Asked and answered.· I'm not
13· ·going to go there again.
14· ·BY MR. POPE:
15· · · · Q.· ·So did you receive a hard drive from Chris
16· ·Wyatt?
17· · · · A.· ·I'm not going to answer that question.
18· · · · · · ·MR. BALLASES:· Objection.· Form.· It's been
19· ·asked and answered, and he already asserted the
20· ·attorney/client work product legal privilege.
21· · · · · · ·MR. KIRKLIN:· Objection, form is plenty.
22· ·That's all you're allowed.
23· · · · · · ·MR. BALLASES:· Okay.· Thanks.
24· · · · · · ·MR. POPE:· Is he refusing to answer the
25· ·question?
                                                     Page 126
·1· · · · · · ·THE DEPONENT:· I've already asked the
·2· ·question.· I've already answered the question.
·3· · · · · · ·THE REPORTER:· And, Counsel, just as a
·4· ·reminder, if I can please get one at a time for a clear
·5· ·record.
·6· · · · · · ·THE DEPONENT:· These two aren't supposed to be
·7· ·talking, but they seem to want to continue.
·8· · · · · · ·MR. KIRKLIN:· You're not supposed to be
·9· ·objecting to questions.
10· · · · · · ·MR. BALLASES:· Actually, he can.· If Chris
11· ·Wyatt's his client, then he can assert the attorney/
12· ·client privilege and work product privilege and
13· ·object.
14· · · · · · ·MR. KIRKLIN:· He can't say asked and answered.
15· ·That's not for him to say.
16· · · · · · ·MR. BALLASES:· Okay.· Got it.
17
18
19
20
21
22
23
24
25



                                                                                       YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 34 of 111
OMAR KHAWAJA                                        October 03, 2024                                               127 to 130
78755
                                                       Page 127                                                          Page 129
·1· BY MR. POPE:                                                  ·1· ego cause of action?
·2· · · ·Q.· ·So do you intend to keep filing lis pendenses       ·2· · · ·A.· ·I'll let the --
·3· against properties owned by the named defendants until        ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· you're paid?                                                  ·4· · · · · · THE DEPONENT:· I'll let the Court decide that, if
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· we can or not.
·6· · · · · · THE DEPONENT:· To the extent that we can legally    ·6· BY MR. POPE:
·7· do something, yes, absolutely.                                ·7· · · ·Q.· ·What real property interest do you hold in
·8· BY MR. POPE:                                                  ·8· regards to any of the -- let me see here -- the real
·9· · · ·Q.· ·When do you feel you can legally file a lis         ·9· property interest that you hold in regards to any real
10· pendens?                                                      10· estate owned by any of the named defendants?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · ·A.· ·If Mr. Choudhri owns an interest in it, then I
12· · · · · · THE DEPONENT:· If the target of that lis pendens    12· have an interest in it.
13· is making an effort to evade a judgment.                      13· · · ·Q.· ·Okay.· And how are you determining whether or not
14· BY MR. POPE:                                                  14· he has an interest in the property?
15· · · ·Q.· ·And the target should be a defendant or a party     15· · · ·A.· ·On his -- whether he owns it or not.
16· to the judgement, or a third-party --                         16· · · ·Q.· ·Okay.· So if his name does not appear on a
17· · · ·A.· ·The defendant or an alter ego of the defendant.     17· property, do you feel you should have a lis pendens on it?
18· · · ·Q.· ·Has there been an alter ego finding in this case?   18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · · · · MR. BALLASES:· Objection.· Form.                    19· · · · · · THE DEPONENT:· If his name does not appear on a
20· · · · · · THE DEPONENT:· No.· But we anticipate one will be   20· property --
21· found.                                                        21· BY MR. POPE:
22· BY MR. POPE:                                                  22· · · ·Q.· ·If his name does not appear on the deed for the
23· · · ·Q.· ·So you believe you can file a lis pendens against   23· property, do you --
24· a third party before an alter ego find?                       24· · · ·A.· ·I don't know that that's the only thing that
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· means you have an interest in a property.
                                                       Page 128                                                          Page 130
·1· · · · · · THE DEPONENT:· We believe that we can do what we    ·1· · · ·Q.· ·Well, what is another way to have an interest in
·2· need to do to protect our interests in a property, subject    ·2· a property?
·3· property, from being transferred out of our reach.            ·3· · · ·A.· ·If he --
·4· BY MR. POPE:                                                  ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · ·Q.· ·And what do you think you can do to protect a       ·5· · · · · · THE DEPONENT:· -- has some kind of contract or
·6· property?                                                     ·6· deed on it, if he has some sort of other undisclosed
·7· · · ·A.· ·We can --                                           ·7· interest in it.
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· BY MR. POPE:
·9· · · · · · THE DEPONENT:· -- file a lis pendens.               ·9· · · ·Q.· ·Okay.· So if he has no interest in the property,
10· BY MR. POPE:                                                  10· do you think you have a right to put a lis pendens on it?
11· · · ·Q.· ·What else do you think you can do?                  11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · ·A.· ·We can sue.                                         12· · · · · · THE DEPONENT:· Only if an alter ego owns it.
13· · · ·Q.· ·What else do you think you can do?                  13· BY MR. POPE:
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · ·Q.· ·Okay.· Absent your alter ego theory, that hasn't
15· · · · · · THE DEPONENT:· I think that's it.                   15· been ruled on yet by a court, did you -- do you believe you
16· BY MR. POPE:                                                  16· can put a lis pendens on property in which Ali Choudhri has
17· · · ·Q.· ·So you believe simply believing someone has an      17· no interest?
18· alter ego gives you the right to file a lis pendens against   18· · · · · · MR. BALLASES:· Objection.· Form.
19· their property?                                               19· · · · · · THE DEPONENT:· Absent an alter ego finding, if I
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· believe he is a -- is he's fraudulently transferring that
21· · · · · · THE DEPONENT:· No.· I think you have to have a      21· property, I -- I believe we can.
22· good faith basis.                                             22· BY MR. POPE:
23· BY MR. POPE:                                                  23· · · ·Q.· ·And which properties do you believe have been
24· · · ·Q.· ·You believe you can file a lis pendens against a    24· fraudulently transferred?
25· third party before a court has ruled on an alleged alter      25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 35 of 111
OMAR KHAWAJA                                        October 03, 2024                                               131 to 134
78755
                                                       Page 131                                                          Page 133
·1· · · · · · THE DEPONENT:· Again, I don't have the petition     ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· in front of me.· But --                                       ·2· · · · · · THE DEPONENT:· Well, my theory is -- is that
·3· BY MR. POPE:                                                  ·3· whatever money her son owes is the money she owes.· So,
·4· · · ·Q.· ·You can't think of one property that you feel has   ·4· yes.
·5· been fraudulently transferred?                                ·5· BY MR. POPE:
·6· · · ·A.· ·I can't think of one.                               ·6· · · ·Q.· ·Absent your theory that whatever money her son
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· owes is what she owes, are you aware of her -- you know,
·8· BY MR. POPE:                                                  ·8· personal knowledge of her efforts or any efforts that she
·9· · · ·Q.· ·You can't think of one?                             ·9· may have made to defraud any of her own creditors?
10· · · ·A.· ·He's been able to sell a lot of them,               10· · · · · · MR. BALLASES:· Objection.· Form.
11· unfortunately.                                                11· · · · · · THE DEPONENT:· I don't know about that.
12· · · ·Q.· ·Thank you.· You make the statement, on page 21 of   12· BY MR. POPE:
13· your complaint, that "The Choudhri defendants, which, of      13· · · ·Q.· ·Have you brought any other judgements against Ali
14· all the named defendants, have utilized their corporate       14· Choudhri, other then the three mentioned here?
15· fiction for an illegitimate purpose."· You believe Shahnaz    15· · · ·A.· ·I don't think so.
16· Choudhri is a corporate fiction?                              16· · · · · · MR. BALLASES:· Objection.· Form.
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· BY MR. POPE:
18· · · · · · THE DEPONENT:· Yes.                                 18· · · ·Q.· ·Okay.· Have you made any agreements with George
19· BY MR. POPE:                                                  19· Lee?
20· · · ·Q.· ·Okay.· What facts can you convey that would lead    20· · · · · · MR. BALLASES:· Objection.· Form.
21· you to believe that Shahnaz Choudhri, the individual, is a    21· · · · · · THE DEPONENT:· No.
22· corporate fiction?                                            22· BY MR. POPE:
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· · · ·Q.· ·Do you or any of your entities have an agreement
24· · · · · · THE DEPONENT:· I mean, I don't know if she's        24· with George Lee or any of his entities?
25· an -- I don't think she's an LLC.· She's -- she's got her     25· · · · · · MR. BALLASES:· Objection.· Form.
                                                       Page 132                                                          Page 134
·1· own -- she's an individual.· But I believe that there are     ·1· · · · · · THE DEPONENT:· I don't think we do, to my
·2· entities that she's a managing member of or a controlling     ·2· knowledge.
·3· member of that -- that are a corporate fiction, because       ·3· BY MR. POPE:
·4· they're just a means for Mr. Choudhri to do whatever he       ·4· · · ·Q.· ·Do you or any of your entities have any
·5· needs to do.                                                  ·5· contingency agreements with George Lee or any of his
·6· BY MR. POPE:                                                  ·6· entities?
·7· · · ·Q.· ·So I'm going to repeat that question --             ·7· · · ·A.· ·I do not.
·8· · · ·A.· ·Yes.                                                ·8· · · · · · MR. BALLASES:· Objection.· Form.
·9· · · ·Q.· ·-- just to make sure we're on the same page.· So    ·9· BY MR. POPE:
10· you believe Shahnaz Choudhri is a corporate fiction?          10· · · ·Q.· ·Do you represent George Lee?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · ·A.· ·I do not.
12· · · · · · THE DEPONENT:· Explain what you mean by             12· · · · · · MR. BALLASES:· Objection.· Form.
13· "corporate fiction."                                          13· · · · · · THE DEPONENT:· He has his own attorneys.
14· BY MR. POPE:                                                  14· BY MR. POPE:
15· · · ·Q.· ·Just, your -- your turn.· "The -- the Choudhri      15· · · ·Q.· ·Have you ever bought claims from George Lee?
16· defendants have utilized their corporate fiction for an       16· · · · · · MR. BALLASES:· Objection.· Form.
17· illegitimate purpose."· I'm just asking, do you include       17· · · · · · THE DEPONENT:· I've bought claims from George
18· Shahnaz Choudhri individually --                              18· Lee?· No.
19· · · ·A.· ·I do.                                               19· BY MR. POPE:
20· · · ·Q.· ·-- as a corporate fiction?                          20· · · ·Q.· ·Have you ever been assigned any judgments that
21· · · ·A.· ·I mean, individually, she's a human being.· But     21· were obtained by George -- George Lee?
22· any assets she controls are a corporate fiction -- or         22· · · · · · MR. BALLASES:· Objection.· Form.
23· entities.                                                     23· · · · · · THE DEPONENT:· I don't think so.
24· · · ·Q.· ·Do you have any personal knowledge that Shahnaz     24· BY MR. POPE:
25· Choudhri has attempted to defraud any of her own creditors?   25· · · ·Q.· ·Do you represent Harold Polk?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 36 of 111
OMAR KHAWAJA                                        October 03, 2024                                               135 to 138
78755
                                                       Page 135                                                          Page 137
·1· · · ·A.· ·No, I do not.                                       ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·Q.· ·Do you represent Mansoor Chaudhry?                  ·2· · · · · · THE DEPONENT:· I don't think so.
·3· · · ·A.· ·I do not represent Mansoor.                         ·3· BY MR. POPE:
·4· · · ·Q.· ·Do you represent David Tang?                        ·4· · · ·Q.· ·Do you think it would make you an alter ego of
·5· · · ·A.· ·No.                                                 ·5· her?
·6· · · ·Q.· ·Do you represent Rodney Drinnon?                    ·6· · · ·A.· ·I don't think so.
·7· · · ·A.· ·No.                                                 ·7· · · ·Q.· ·Do you think that would make you her puppeteer?
·8· · · ·Q.· ·Have you ever used WhatsApp to communicate?         ·8· · · · · · MR. BALLASES:· Objection.· Form.
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· BY MR. POPE:
10· · · · · · THE DEPONENT:· Sure.                                10· · · ·Q.· ·Would it make you -- have you ever done business
11· BY MR. POPE:                                                  11· with your mom?
12· · · ·Q.· ·Okay.· Do you keep that app on your cell phone?     12· · · ·A.· ·No.
13· · · ·A.· ·Yes.                                                13· · · · · · MR. BALLASES:· Objection.· Form.
14· · · ·Q.· ·What's your cell phone number?                      14· BY MR. POPE:
15· · · ·A.· ·713-344-6036.                                       15· · · ·Q.· ·Okay.· Also, it was your earlier testimony that
16· · · ·Q.· ·Where do you live?                                  16· you had a partnership that your parents were once a part
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· of?
18· BY MR. POPE:                                                  18· · · ·A.· ·Yeah, I'm not sure if she was on it, to be
19· · · ·Q.· ·City, state?                                        19· honest.· I don't think she was on it.
20· · · ·A.· ·Houston, Texas.                                     20· · · ·Q.· ·Okay.· Just your dad?
21· · · ·Q.· ·What's your home address?                           21· · · ·A.· ·Yeah.· I think, just my dad was.
22· · · · · · MR. BALLASES:· Objection.· Form.· Is there a        22· · · ·Q.· ·Okay.· Has your dad ever given you any money to
23· reason you need that?                                         23· help pay a debt?
24· · · · · · THE DEPONENT:· Yeah.· Why do you need that?         24· · · ·A.· ·Sure.
25· BY MR. POPE:                                                  25· · · · · · MR. BALLASES:· Objection.· Form.
                                                       Page 136                                                          Page 138
·1· · · ·Q.· ·So you're not answering?                            ·1· BY MR. POPE:
·2· · · ·A.· ·Not answering.                                      ·2· · · ·Q.· ·Has your dad ever given you money to help him
·3· · · ·Q.· ·You're at law firm.· What's your law firm           ·3· invest in any property?
·4· address?                                                      ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · ·A.· ·5177 Richmond Avenue.                               ·5· · · · · · THE DEPONENT:· Probably, yes.
·6· · · ·Q.· ·Which law firm is that?                             ·6· BY MR. POPE:
·7· · · ·A.· ·The Law Offices of Omar Khawaja.                    ·7· · · ·Q.· ·Has your dad ever given you money or -- well, has
·8· · · ·Q.· ·Okay.· And your other law firm is called what?      ·8· your dad ever transferred money into an entity that you
·9· Law group?                                                    ·9· have an ownership interest in?
10· · · ·A.· ·That's all the same.                                10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · ·Q.· ·Oh.· It's all the same?· Same address?· Same        11· · · · · · THE DEPONENT:· I don't think so, no.
12· location?                                                     12· BY MR. POPE:
13· · · ·A.· ·Yes.                                                13· · · ·Q.· ·Have you ever transferred any money from an
14· · · ·Q.· ·Have you ever given your mom any money to pay a     14· entity where you had an ownership interest to your dad?
15· debt?                                                         15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · · · · THE DEPONENT:· No.
17· · · · · · THE DEPONENT:· I'm sure I have.· Sure.· Why not?    17· BY MR. POPE:
18· BY MR. POPE:                                                  18· · · ·Q.· ·Have you ever transferred any money from any
19· · · ·Q.· ·Has your mom ever given you any money to help       19· entity in which you have an interest to your mom?
20· with any -- to pay a debt?                                    20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · · · · THE DEPONENT:· Probably.· Sure.
22· · · · · · THE DEPONENT:· So I'm sure she has.                 22· BY MR. POPE:
23· BY MR. POPE:                                                  23· · · ·Q.· ·To your siblings?
24· · · ·Q.· ·Okay.· Do you think that would make her an alter    24· · · ·A.· ·Yes.
25· ego of you?                                                   25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 37 of 111
OMAR KHAWAJA                                        October 03, 2024                                               139 to 142
78755
                                                       Page 139                                                          Page 141
·1· BY MR. POPE:                                                  ·1· was obtained against Khawaja Partners.
·2· · · ·Q.· ·Does Jetall have a judgment against you?            ·2· BY MR. POPE:
·3· · · ·A.· ·No.                                                 ·3· · · ·Q.· ·Khawaja Partners.· When was it -- when was it
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· obtained against Khawaja Partners?
·5· BY MR. POPE:                                                  ·5· · · ·A.· ·I believe it was 2017.
·6· · · ·Q.· ·Does Jetall have a judgment against either of       ·6· · · ·Q.· ·Are you offsetting the debt owed from that
·7· your entities?                                                ·7· judgment against any of your collection attempts against
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· Mr. Choudhri or his entities?
·9· · · · · · THE DEPONENT:· I think, Khawaja Partners, yes.      ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· BY MR. POPE:                                                  10· · · · · · THE DEPONENT:· Not at all.
11· · · ·Q.· ·And what is Khawaja Partners?                       11· BY MR. POPE:
12· · · ·A.· ·It's a partnership.                                 12· · · ·Q.· ·Why not?
13· · · ·Q.· ·What does it do?                                    13· · · ·A.· ·Why should I?
14· · · ·A.· ·Real estate.                                        14· · · ·Q.· ·What was the amount of that judgment?
15· · · ·Q.· ·Okay.· Can you tell me more about that judgment?    15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · · · · THE DEPONENT:· I'm not sure.· I think it was
17· · · · · · THE DEPONENT:· I think it's a judgment based upon   17· 200,000.
18· a finding of liability, attorneys fees, something like        18· BY MR. POPE:
19· that.· Federal court.                                         19· · · ·Q.· ·This time, the judgment is final.· Correct?
20· BY MR. POPE:                                                  20· · · ·A.· ·I believe it's final.
21· · · ·Q.· ·And have you paid that judgment?                    21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · ·A.· ·No.                                                 22· BY MR. POPE:
23· · · ·Q.· ·Has any one of your entities made a payment         23· · · ·Q.· ·Why are you not paying the debt?
24· toward that judgment?                                         24· · · · · · MR. BALLASES:· Objection.· Form.
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· BY MR. POPE:
                                                       Page 140                                                          Page 142
·1· · · · · · THE DEPONENT:· No.· Why would they do that?         ·1· · · ·Q.· ·Or why is Khawaja Partners not paying the --
·2· BY MR. POPE:                                                  ·2· · · ·A.· ·Yeah.· Not me.· Khawaja Partners.· Because
·3· · · ·Q.· ·I thought it was against one of your entities.      ·3· Khawaja Partners has active claims against Jetall that are
·4· · · ·A.· ·So why would -- why would one entity pay another    ·4· being litigated.· And we -- we believe we're going to be
·5· entity a judgment?· That's what your client does.             ·5· successful in those claims.
·6· · · ·Q.· ·No.· I was asking if maybe any of your -- I mean,   ·6· · · ·Q.· ·Where are those claims filed?
·7· Khawaja Partners, have they paid anything on the judgment?    ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· · · ·A.· ·No.                                                 ·8· · · · · · THE DEPONENT:· Harris County District Court.
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· BY MR. POPE:
10· · · · · · THE DEPONENT:· It's an active lawsuit.              10· · · ·Q.· ·Which tort has Ms. Shahnaz Choudhri committed
11· BY MR. POPE:                                                  11· against you?
12· · · ·Q.· ·Okay.· So the judgment has been appealed?           12· · · · · · MR. BALLASES:· Objection.· Form.
13· · · ·A.· ·No.· The judgment hasn't been appealed.             13· · · · · · THE DEPONENT:· I'm not -- I'm not sure.
14· · · ·Q.· ·So why do you believe it's active?                  14· BY MR. POPE:
15· · · ·A.· ·Because there's another pending case with the       15· · · ·Q.· ·Well, your complaint says that she committed one
16· same facts, same defendants and plaintiffs.                   16· or more torts against you.· So I'm trying to figure out,
17· · · ·Q.· ·But that particular case that has a judgment has    17· which one did she commit?
18· not been appealed?                                            18· · · ·A.· ·I'll -- I'll refer to my attorney for that.
19· · · ·A.· ·No.· No.                                            19· · · ·Q.· ·Because you don't know of any torts, or because
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· of the word "tort," or --
21· BY MR. POPE:                                                  21· · · ·A.· ·I don't know of any particular torts, but they
22· · · ·Q.· ·When was that judgment obtained against you or      22· exist there in the petition that my attorneys filed.
23· your company?                                                 23· · · · · · MR. BALLASES:· It's fraudulent transfer, in case
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· you're wondering.
25· · · · · · THE DEPONENT:· It wasn't obtained against me.· It   25· · · · · · THE REPORTER:· I'm sorry.· What was that?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 38 of 111
OMAR KHAWAJA                                        October 03, 2024                                               143 to 146
78755
                                                       Page 143                                                          Page 145
·1· · · · · · MR. BALLASES:· I'm just helping him out.· It's      ·1· · · · · · THE VIDEOGRAPHER:· All parties agree we're going
·2· fraudulent transfer, in case he's wondering.                  ·2· off the record?
·3· · · · · · MS. MACGEORGE:· -- we didn't get an answer for      ·3· · · · · · We're going off the record at 3:02 p.m.
·4· our deponent?                                                 ·4· · · · · · (WHEREUPON, a recess was taken.)
·5· · · · · · MR. BALLASES:· I was just telling him because I     ·5· · · · · · THE VIDEOGRAPHER:· We're going back on the record
·6· thought he needed --                                          ·6· at 3:22 p.m.
·7· · · · · · MS. MACGEORGE:· I'm just --                         ·7· BY MR. POPE:
·8· · · · · · MR. BALLASES:· -- help.                             ·8· · · ·Q.· ·All righty.· All right.· Mr. Khawaja, did you
·9· · · · · · MS. MACGEORGE:· I'm just wondering.                 ·9· file or cause to be filed a notice of lis pendens on the
10· · · · · · THE DEPONENT:· Please don't answer.                 10· property at 8050 to 8098 Westheimer?
11· · · · · · MR. BALLASES:· I won't.                             11· · · ·A.· ·As a part of this case?
12· BY MR. POPE:                                                  12· · · ·Q.· ·It's part of -- yes, as part of this case.
13· · · ·Q.· ·What damage did you incur as -- as a result of      13· · · ·A.· ·Then, yes.
14· the alleged tort Ms. Choudhri committed against you?          14· · · ·Q.· ·Okay.· And do you believe that -- do you believe
15· · · ·A.· ·Well, my judgment hasn't been paid, so.             15· you have an interest in that real property?
16· · · ·Q.· ·Are your mom and dad owners of Khawaja Partners?    16· · · ·A.· ·Yes.
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· · · ·Q.· ·Okay.· And based upon what?
18· · · · · · THE DEPONENT:· I'm not sure.· I don't think so.     18· · · ·A.· ·As a judgment creditor of Choudhri.
19· BY MR. POPE:                                                  19· · · ·Q.· ·Okay.· How about the property at -- is there any
20· · · ·Q.· ·Were they ever?                                     20· other reason?
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · ·A.· ·No other reason that I can think of at this
22· · · · · · THE DEPONENT:· Maybe at some point they were.       22· moment.
23· BY MR. POPE:                                                  23· · · ·Q.· ·Okay.· Are you trying to enforce an encumbrance
24· · · ·Q.· ·Has your mother ever entered into an agreement      24· against that real property?
25· with Jetall Companies?                                        25· · · ·A.· ·It's not an encumbrance.
                                                       Page 144                                                          Page 146
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· · · ·Q.· ·Okay.· Is it a dispute involving title to real
·2· · · · · · THE DEPONENT:· The agreement subject of the         ·2· property, to that real property?· Is there a title dispute?
·3· litigation that's pending right now, yes.                     ·3· · · ·A.· ·I think it's arguable, yes.
·4· BY MR. POPE:                                                  ·4· · · ·Q.· ·But is there currently a title dispute?
·5· · · ·Q.· ·Okay.· So an agreement was made for the -- the      ·5· · · ·A.· ·I would argue that the title would belong to us,
·6· new litigation, or the old litigation?                        ·6· to satisfy our judgment.
·7· · · ·A.· ·Old litigation.                                     ·7· · · ·Q.· ·Is that -- based upon what theory?
·8· · · ·Q.· ·Old litigation.· What -- what was that agreement?   ·8· · · ·A.· ·Based upon the fact that I'm a judgment creditor
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· against Mr. Choudhri.
10· · · · · · THE DEPONENT:· It's over a -- it's a -- it's a --   10· · · ·Q.· ·Okay.· Your judgment is against Mr. Choudhri
11· now it's a dispute over real estate in Montrose.              11· individually?
12· BY MR. POPE:                                                  12· · · ·A.· ·Jetall Companies.
13· · · ·Q.· ·Which property?                                     13· · · ·Q.· ·Jetall Companies.· And is this property owned by
14· · · ·A.· ·Avondale.                                           14· Jetall Companies?
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· · · ·A.· ·It's owned by an alter ego of Jetall Companies.
16· BY MR. POPE:                                                  16· · · ·Q.· ·Is it owned by Jetall Companies?
17· · · ·Q.· ·Avondale.                                           17· · · ·A.· ·An alter ego --
18· · · · · · MR. KIRKLIN:· Jim, do you want to take a 10-        18· · · · · · MR. BALLASES:· Objection.· Form.
19· minute break at the top of the hour?                          19· BY MR. POPE:
20· · · · · · MR. BALLASES:· I'd prefer to keep going.            20· · · ·Q.· ·Is the property owned by Jetall -- so the
21· · · · · · MR. KIRKLIN:· What do -- what do you want to do,    21· property is not owned by Jetall Companies.· Correct?
22· Jim?                                                          22· · · ·A.· ·Correct.
23· · · · · · MR. POPE:· Yeah.· We'll take a 10-minute break.     23· · · ·Q.· ·Okay.· Is that property owned by any of the other
24· That'd be great.                                              24· named entity defendants?
25· · · · · · MR. BALLASES:· Okay.                                25· · · ·A.· ·I'm sorry?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 39 of 111
OMAR KHAWAJA                                        October 03, 2024                                               147 to 150
78755
                                                       Page 147                                                          Page 149
·1· · · ·Q.· ·I'll scratch that.· Is the -- did you have a        ·1· · · ·A.· ·I do.
·2· notice of lis pendens filed against a property, or cause to   ·2· · · ·Q.· ·Are you attempting to enforce an encumbrance
·3· be filed against a property at 4521 San Felipe Street,        ·3· against this real property?
·4· Unit 3201, here in Houston?                                   ·4· · · ·A.· ·I don't think it's an encumbrance.
·5· · · ·A.· ·I believe so, yes.                                  ·5· · · ·Q.· ·Okay.· And what is your basis for the alleged
·6· · · ·Q.· ·Okay.· And do you believe you have a title          ·6· title dispute or interest in real property?
·7· dispute as -- in relation to that property?                   ·7· · · ·A.· ·That I'm a judgment creditor of Jetall Companies,
·8· · · ·A.· ·Yes, arguably.                                      ·8· and those are alter egos of Jetall Companies.
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· · · ·Q.· ·But are these properties owned by Jetall --
10· BY MR. POPE:                                                  10· · · ·A.· ·No.
11· · · ·Q.· ·Arguably.· Based upon what theory?                  11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · ·A.· ·That I'm a judgment creditor of Jetall Companies,   12· BY MR. POPE:
13· and this entity is controlled by him or his entities, and     13· · · ·Q.· ·Were any lis pendenses filed against any of the
14· it's an alter ego.                                            14· named defendants, other than Jetall Companies, filed to
15· · · ·Q.· ·Is this property owned by Jetall Companies?         15· enforce an encumbrance against that real property?
16· · · ·A.· ·No.                                                 16· · · ·A.· ·I don't know if there were, that I -- that I can
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· think of, other than the ones that you just named.
18· BY MR. POPE:                                                  18· · · ·Q.· ·Okay.· Have you filed or caused to be -- we'll
19· · · ·Q.· ·Do you have a lis pendens against -- or caused a    19· take a different question -- any lis pendens, other than
20· lis pendens to be filed against a property at 2727 Kirby,     20· the ones I've just mentioned, that may be out there, filed
21· Condominium Unit 26L?                                         21· against entities that you believe are the alter ego of
22· · · ·A.· ·Yes.· Do we?· I think we -- I'm not sure if we do   22· Jetall -- of Jetall are the only basis for your alleged
23· anymore.· Yes.                                                23· title dispute or interest in the property?
24· · · ·Q.· ·Okay.· And do you believe you have a title          24· · · ·A.· ·Is that a question?
25· dispute in reference to that property?                        25· · · ·Q.· ·That's a question.
                                                       Page 148                                                          Page 150
·1· · · ·A.· ·Yes, arguably.                                      ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·Q.· ·Do you believe you have an interest in -- in that   ·2· · · · · · THE DEPONENT:· Yeah.
·3· real property?                                                ·3· · · · · · MR. POPE:· Let me ask it in a better way.
·4· · · ·A.· ·Yes.                                                ·4· · · · · · THE DEPONENT:· Please.
·5· · · ·Q.· ·Based upon what?                                    ·5· BY MR. POPE:
·6· · · ·A.· ·Being a judgment creditor of Jetall Companies.      ·6· · · ·Q.· ·Is your only claim to having an interest in any
·7· · · ·Q.· ·But is this property owned by Jetall Companies?     ·7· real property for which you have filed a lis pendens
·8· · · ·A.· ·No.                                                 ·8· against any of the named defendants simply based upon your
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· alter ego theory of liability?
10· BY MR. POPE:                                                  10· · · ·A.· ·I mean, I -- I would defer to my attorneys for
11· · · ·Q.· ·No.· The other property at 4521 San Felipe          11· that answer, if there's a legal, you know, conclusion that
12· Street, Unit 3201, do you know who lives there?               12· needs to be drawn.· But to my knowledge, that is at least
13· · · ·A.· ·I don't know who lives there.                       13· one of the bases for it.
14· · · ·Q.· ·Do you have a notice of lis pendens filed or        14· · · · · · MR. BALLASES:· Object to the form of that.
15· caused a notice of lis pendens to be filed against            15· BY MR. POPE:
16· properties at 3550 Charleston Street, 6531 Rodrigo Street,    16· · · ·Q.· ·Would you be surprised to know that the property
17· 8503 Blossom Street, 207 Malcolm Street, or 4401 Schurmier    17· at 4521 San Felipe Street, Unit 3201, is Mr. Choudhri's
18· Street, all in Houston, Texas?                                18· homestead?
19· · · ·A.· ·I believe those are lis pendens that we             19· · · · · · MR. BALLASES:· Objection.· Form.
20· authorized, yes.                                              20· · · · · · THE DEPONENT:· I would be surprised.
21· · · ·Q.· ·And you believe they're the -- that you have a      21· BY MR. POPE:
22· title dispute in reference to these properties?               22· · · ·Q.· ·Do you believe you'd have a right to put a lis
23· · · ·A.· ·Yes, arguably.                                      23· pendens on his homestead?
24· · · ·Q.· ·You believe that you are -- have an interest in     24· · · · · · MR. BALLASES:· Objection.· Form.
25· real property for these properties?                           25· · · · · · THE DEPONENT:· If he made it a homestead after a



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 40 of 111
OMAR KHAWAJA                                        October 03, 2024                                               151 to 154
78755
                                                       Page 151                                                          Page 153
·1· judgement was filed, then I would say that he may be --       ·1· being sold?· Is that why you filed the lis pendens?
·2· that may be some sort of violation.                           ·2· · · ·A.· ·The intent is to prevent being defrauded out of
·3· BY MR. POPE:                                                  ·3· money owed by the debtor.
·4· · · ·Q.· ·Do you believe you'd have the right to put a lis    ·4· · · ·Q.· ·Why did you sue BridgeCo?· Well, let me say
·5· pendens on his -- Mr. Choudhri's homestead?                   ·5· the -- the names correctly.· Why did you sue Cypress
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· BridgeCo, LLC, or Magnolia BridgeCo, LLC, which we'll refer
·7· · · · · · THE DEPONENT:· I'd defer to my attorneys for        ·7· to as "the BridgeCo entities"?
·8· that.                                                         ·8· · · ·A.· ·Because they lent money on properties that
·9· BY MR. POPE:                                                  ·9· Mr. Choudhri or his entities owned free and clear, thereby
10· · · ·Q.· ·So you're choosing not to answer the question?      10· helping him potentially defraud creditors that he owes
11· · · ·A.· ·I -- I'm --                                         11· money.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· · · ·Q.· ·Why did you sue A. Kelly Williams?
13· · · · · · THE DEPONENT:· I'm not a real estate lawyer.        13· · · ·A.· ·Same reason.
14· BY MR. POPE:                                                  14· · · ·Q.· ·Do you realize the properties can't be sold with
15· · · ·Q.· ·Have you filed or caused to be filed any lis        15· your lis pendens on them?
16· pendenses against any other entity, any other named           16· · · ·A.· ·I don't --
17· defendant other than Jetall Companies?                        17· · · · · · MR. BALLASES:· Objection.· Form.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· · · · · · THE DEPONENT:· -- agree with that.
19· · · · · · THE DEPONENT:· Not that I'm aware of.               19· BY MR. POPE:
20· BY MR. POPE:                                                  20· · · ·Q.· ·You believe properties can be sold with the lis
21· · · ·Q.· ·Have you filed any lis pendenses against property   21· pendens?
22· owned by Arabella PH 3201?                                    22· · · ·A.· ·I do.
23· · · ·A.· ·I'm not sure.                                       23· · · ·Q.· ·Have you made an agreement with the BridgeCo
24· · · ·Q.· ·Have you filed any lis pendenses against property   24· entities in this case?
25· owned by Cypress BridgeCo?                                    25· · · ·A.· ·No.
                                                       Page 152                                                          Page 154
·1· · · ·A.· ·I don't think so.                                   ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·Q.· ·Have you filed or caused to be filed any -- any     ·2· BY MR. POPE:
·3· lis pendenses against property owned by Magnolia BridgeCo,    ·3· · · ·Q.· ·Do you have any personal knowledge that MCITBE,
·4· LLC?                                                          ·4· LLC, Jetall/Croix Properties LP, and its general partner
·5· · · ·A.· ·Pretty sure we have not.                            ·5· Jetall/Croix GP have hid assets or placed assets beyond the
·6· · · ·Q.· ·How about A. Kelly Williams?                        ·6· reach of creditors?· Any personal knowledge?
·7· · · ·A.· ·I don't even know what that is.                     ·7· · · ·A.· ·I think one of those entities owns real estate or
·8· · · ·Q.· ·He's one of the named defendants --                 ·8· owns a home or is developing houses.· And our position
·9· · · ·A.· ·I don't --                                          ·9· would be that if they're developing a home under the
10· · · ·Q.· ·-- or was one of the named defendants.              10· control of Jetall Companies or Mr. Choudhri himself, then
11· · · ·A.· ·Okay.· I don't think so.                            11· we would have an interest in whatever property is being
12· · · ·Q.· ·Okay.· Considering those were also named            12· developed or sold.
13· defendants in this alter ego cause of action complaint, is    13· · · ·Q.· ·And is that home that you believe is being built
14· there a reason why you did not file any lis pendenses         14· the only asset you're aware of that they own?
15· against properties owned by any of those entities or          15· · · ·A.· ·I -- I think so.· I can't -- sitting here today,
16· Mr. Williams?                                                 16· I don't have anything in front of me.· But there may be
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· other assets.· If there are, then we'd look for them.
18· · · · · · THE DEPONENT:· I don't know.· I don't know the      18· · · ·Q.· ·Do you have any personal knowledge that -- of any
19· answer to that.· It's a legal decision, based upon advice     19· efforts by them to hide an asset or place the asset beyond
20· of counsel.                                                   20· the reach of their creditors?
21· BY MR. POPE:                                                  21· · · ·A.· ·Well, I'm a creditor.
22· · · ·Q.· ·Are you making the decision to file the lis         22· · · ·Q.· ·Do you have a judgment against MCITBE, absent
23· pendenses, or is someone else?                                23· your alter ego theory?
24· · · ·A.· ·It's advice of counsel.                             24· · · ·A.· ·Other than the alter ego theory, no.
25· · · ·Q.· ·Is it your intent to prevent the properties from    25· · · ·Q.· ·Okay.· Do you have a judgment against Jetall/



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 41 of 111
OMAR KHAWAJA                                        October 03, 2024                                               155 to 158
78755
                                                       Page 155                                                          Page 157
·1· Croix GP or the other -- Jetall/Croix Properties LP, absent   ·1· · · · · · THE DEPONENT:· Many.
·2· your alter ego theory?                                        ·2· BY MR. POPE:
·3· · · ·A.· ·No.· Or fraudulent transfer.                        ·3· · · ·Q.· ·Can you name one?
·4· · · ·Q.· ·Okay.· Do you have any personal knowledge that      ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· any of those three entities have committed these bad acts     ·5· · · · · · THE DEPONENT:· I -- I can't name one off the top
·6· against you?                                                  ·6· of my head, but I'm sure that's easy to find out.
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· BY MR. POPE:
·8· · · · · · THE DEPONENT:· I -- I don't -- sitting here right   ·8· · · ·Q.· ·Do you have an ownership interest in any title
·9· now, I don't have that.· But if they've -- hide assets from   ·9· company?
10· Mr. Choudhri or his entities, then that's a -- that's a bad   10· · · ·A.· ·I don't.
11· act.                                                          11· · · · · · MR. BALLASES:· Objection.· Form.
12· BY MR. POPE:                                                  12· BY MR. POPE:
13· · · ·Q.· ·Do you have any evidence today that any of those    13· · · ·Q.· ·Okay.· Have you ever closed a property with a lis
14· entities are a corporate fiction?                             14· pendens on it?
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · · · · THE DEPONENT:· I mean, if Mr. Choudhri has          16· · · · · · THE DEPONENT:· I have not, but I know people who
17· anything to do with it, then, yes, they are.                  17· have.
18· BY MR. POPE:                                                  18· BY MR. POPE:
19· · · ·Q.· ·Do you have any personal knowledge that -- the      19· · · ·Q.· ·Who?
20· fact -- or -- or the fact that you allege that they're a      20· · · · · · MR. BALLASES:· Objection.· Form.
21· corporate fiction?                                            21· · · · · · THE DEPONENT:· Mr. Abdullatif.· I think
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· Mr. Choudhri has, too.
23· · · · · · THE DEPONENT:· Again, I would have to look at the   23· BY MR. POPE:
24· discovery to prove that.                                      24· · · ·Q.· ·Other than those two, who else?
25· BY MR. POPE:                                                  25· · · ·A.· ·I don't know --
                                                       Page 156                                                          Page 158
·1· · · ·Q.· ·Do you have any personal knowledge that they were   ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· formed for an illegitimate purpose?                           ·2· · · · · · THE DEPONENT:· -- anybody else.
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· BY MR. POPE:
·4· · · · · · THE DEPONENT:· If they were formed by               ·4· · · ·Q.· ·Do you know which property that was?
·5· Mr. Choudhri, then they -- the purpose would likely be        ·5· · · ·A.· ·I -- I don't know.
·6· illegitimate.                                                 ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· BY MR. POPE:                                                  ·7· · · · · · THE DEPONENT:· You'd have to ask them.
·8· · · ·Q.· ·So you don't have any personal knowledge they       ·8· BY MR. POPE:
·9· were formed for illegitimate purposes?                        ·9· · · ·Q.· ·Do you have any personal knowledge of Otisco RDX
10· · · ·A.· ·No.                                                 10· hiding any assets?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · ·A.· ·I think there is some property near San Antonio
12· BY MR. POPE:                                                  12· that Otisco or another Choudhri-affiliated entity is
13· · · ·Q.· ·So it's your contention today that any entity --    13· hiding.
14· so you believe -- it's your claim that any entity Ali has     14· · · ·Q.· ·And you have personal knowledge of this?
15· or is a part of is an alter ego?                              15· · · ·A.· ·Yes.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · ·Q.· ·How did you gain that personal knowledge?
17· · · · · · THE DEPONENT:· That's how he treats them, yes.      17· · · ·A.· ·I have -- just real property records.
18· BY MR. POPE:                                                  18· · · ·Q.· ·And you reviewed that before the complaint was
19· · · ·Q.· ·Is that your claim?                                 19· filed?
20· · · ·A.· ·That's our claim.                                   20· · · ·A.· ·Yes.
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · ·Q.· ·At those direction?
22· BY MR. POPE:                                                  22· · · ·A.· ·I mean, I --
23· · · ·Q.· ·What title company will ensure the sale of a        23· · · · · · MR. BALLASES:· Objection.· Form.
24· property that has a lis pendens on it?                        24· · · · · · THE DEPONENT:· On my own.
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· BY MR. POPE:



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 42 of 111
OMAR KHAWAJA                                        October 03, 2024                                               159 to 162
78755
                                                       Page 159                                                          Page 161
·1· · · ·Q.· ·How did you find out the property was there?        ·1· · · ·Q.· ·And you wouldn't have any ownership interest in
·2· · · ·A.· ·I believe the name popped up in some other          ·2· any of the same entities, or real estate?
·3· litigation.                                                   ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· · · ·Q.· ·Litigation to which you are a party?                ·4· · · · · · THE DEPONENT:· No.
·5· · · ·A.· ·Maybe not a party.· Maybe someone called me and     ·5· BY MR. POPE:
·6· consulted with me.· I don't know who it was.· Yeah.           ·6· · · ·Q.· ·Are you aware that Jetall obtained a restraining
·7· There's dozens of lawsuits against your client, so I get      ·7· order against Chris Wyatt before?
·8· calls from people all the time.                               ·8· · · · · · MR. BALLASES:· Objection.· Form.
·9· · · ·Q.· ·Why would they call you?                            ·9· · · · · · THE DEPONENT:· That could be the case. I
10· · · ·A.· ·They probably see that I've been involved in some   10· don’t --
11· litigation against them.                                      11· BY MR. POPE:
12· · · ·Q.· ·Other than the three that are listed in the         12· · · ·Q.· ·Are you aware that they -- they obtained the
13· complaint?                                                    13· restraining order against Chris Wyatt -- Chris Wyatt to
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· prevent him from disclosing or divulging confidential
15· · · · · · THE DEPONENT:· Yeah.                                15· information?
16· BY MR. POPE:                                                  16· · · · · · MR. BALLASES:· Objection.· Form.
17· · · ·Q.· ·Can you name --                                     17· · · · · · THE DEPONENT:· Not aware of that.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· BY MR. POPE:
19· BY MR. POPE:                                                  19· · · ·Q.· ·Are you aware that Chris Wyatt was once accused
20· · · ·Q.· ·-- the other lawsuits that you have against         20· by a former employee of stealing information?
21· Mr. Choudhri?                                                 21· · · ·A.· ·No.
22· · · ·A.· ·No.                                                 22· · · · · · MR. BALLASES:· Objection.· Form.
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· BY MR. POPE:
24· · · · · · THE DEPONENT:· I -- I don't -- I don't -- I'm not   24· · · ·Q.· ·Are you aware that Chris Wyatt once worked for
25· sure which ones the are.                                      25· Optum Mortgage?
                                                       Page 160                                                          Page 162
·1· BY MR. POPE:                                                  ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·Q.· ·Are -- are they against Mr. Choudhri                ·2· BY MR. POPE:
·3· individually, or his entities that he owns, or --             ·3· · · ·Q.· ·Are you aware there's a judgment against Chris
·4· · · ·A.· ·No.· I think --                                     ·4· Wyatt of Optum Mortgage, accusing him or finding him guilty
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· of stealing information?
·6· · · · · · THE DEPONENT:· I think, entities.                   ·6· · · ·A.· ·No.
·7· BY MR. POPE:                                                  ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· · · ·Q.· ·Entities?                                           ·8· BY MR. POPE:
·9· · · ·A.· ·Yeah.                                               ·9· · · ·Q.· ·Would you be surprised to find out that Mr. Wyatt
10· · · ·Q.· ·Do you have any litigation against Mr. Choudhri     10· may have given you some of that information?
11· individually?                                                 11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· · · · · · THE DEPONENT:· No.
13· · · · · · THE DEPONENT:· Not pending.                         13· BY MR. POPE:
14· BY MR. POPE:                                                  14· · · ·Q.· ·You wouldn't be --
15· · · ·Q.· ·Do you know Ali Mikaram?                            15· · · ·A.· ·Oh.· I would be surprised, yes.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · ·Q.· ·Are you aware that there was an agreed final
17· · · · · · THE DEPONENT:· Casually.                            17· judgment and permanent injunction, preventing Chris Wyatt
18· BY MR. POPE:                                                  18· from -- by Optum Loan Servicing, preventing Chris -- Chris
19· · · ·Q.· ·How do you know him, when you say, "casually"?      19· Wyatt from divulging the information he stole from them?
20· · · ·A.· ·Yeah.· He's another -- he's an attorney.            20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · ·Q.· ·He's an attorney.· Okay.· Do you have any           21· · · · · · THE DEPONENT:· No, I was not aware of that.
22· business dealings with him?                                   22· BY MR. POPE:
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· · · ·Q.· ·Are you aware that there was a case filed under
24· · · · · · THE DEPONENT:· No.                                  24· 201679190, about Optum Loan Servicing, against Chris Wyatt?
25· BY MR. POPE:                                                  25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 43 of 111
OMAR KHAWAJA                                        October 03, 2024                                               163 to 166
78755
                                                       Page 163                                                          Page 165
·1· · · · · · THE DEPONENT:· No.· I think your client hired       ·1· BY MR. POPE:
·2· him.· Not me.                                                 ·2· · · ·Q.· ·Do you know Ashish Mahendru?
·3· BY MR. POPE:                                                  ·3· · · ·A.· ·I do.
·4· · · ·Q.· ·But didn't you get some information from Chris      ·4· · · ·Q.· ·How do you know him?
·5· Wyatt you used to form the basis of your complaint?           ·5· · · ·A.· ·He's my attorney.
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· · · ·Q.· ·He's your attorney.· Is he also Chris Wyatt's
·7· · · · · · THE DEPONENT:· Possibly.                            ·7· lawyer?
·8· BY MR. POPE:                                                  ·8· · · ·A.· ·I believe --
·9· · · ·Q.· ·Well, isn't it also possible that some of the       ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· information you received was stolen and/or subject to         10· BY MR. POPE:
11· orders where he was not to divulge that information?          11· · · ·Q.· ·Do you want to finish the question?
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· · · ·A.· ·I believe he is.
13· · · · · · THE DEPONENT:· I don't think so.                    13· · · ·Q.· ·Okay.· Are you aware that Chris Wyatt was a
14· BY MR. POPE:                                                  14· paralegal for Mr. Choudhri?
15· · · ·Q.· ·You don't think so?· Or do you know?                15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · ·A.· ·I don't --                                          16· · · · · · THE DEPONENT:· No.
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· BY MR. POPE:
18· · · · · · THE REPORTER:· I'm sorry.· I didn't catch all of    18· · · ·Q.· ·And you were aware that he worked there, though,
19· your --                                                       19· per your prior testimony.· What did you think he did?
20· · · · · · THE DEPONENT:· Sorry.· I don't think that would     20· · · ·A.· ·I think he was chief of operations, or chief --
21· be the case.                                                  21· COO or CFO or something.
22· BY MR. POPE:                                                  22· · · ·Q.· ·For which entity, to your knowledge?
23· · · ·Q.· ·Are you aware that Chris Wyatt is a convicted       23· · · ·A.· ·To my knowledge, Jetall Companies.
24· felon?                                                        24· · · ·Q.· ·Any other entities, to your knowledge?
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · · · · MR. BALLASES:· I'm going to object to the form.
                                                       Page 164                                                          Page 166
·1· · · · · · THE DEPONENT:· I have no knowledge of that.         ·1· · · · · · THE DEPONENT:· No.
·2· BY MR. POPE:                                                  ·2· BY MR. POPE:
·3· · · ·Q.· ·Chris Wyatt do any work for you?                    ·3· · · ·Q.· ·Are you aware that Texas Reit is in an active
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· bankruptcy, filed in the Western District?
·5· · · · · · THE DEPONENT:· No.                                  ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· BY MR. POPE:                                                  ·6· · · · · · THE DEPONENT:· I think I've heard about that,
·7· · · ·Q.· ·He'd never been a paralegal for you, or --          ·7· yes.
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· BY MR. POPE:
·9· · · · · · THE DEPONENT:· No.                                  ·9· · · ·Q.· ·Okay.· Have you filed a proof of claim in that
10· BY MR. POPE:                                                  10· case?
11· · · ·Q.· ·Never a legal assistant?                            11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · ·A.· ·No.                                                 12· · · · · · THE DEPONENT:· I think we did, and withdrew it.
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· BY MR. POPE:
14· BY MR. POPE:                                                  14· · · ·Q.· ·Okay.· Why did you file a claim in that case?
15· · · ·Q.· ·Have you ever paid Chris Wyatt to testify?          15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · · · · THE DEPONENT:· For the same reason we filed a
17· · · · · · THE DEPONENT:· Absolutely not.                      17· claim in this case.· Mr. Choudhri owes us money.
18· BY MR. POPE:                                                  18· BY MR. POPE:
19· · · ·Q.· ·Have you ever paid his legal fees?                  19· · · ·Q.· ·Why are you withdrawing the claim in that --
20· · · ·A.· ·No.                                                 20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · · · · THE DEPONENT:· There wasn't enough money in the
22· BY MR. POPE:                                                  22· entity to pay all the people that Mr. Choudhri owes money
23· · · ·Q.· ·Does he owe you any legal fees?                     23· to.
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· BY MR. POPE:
25· · · · · · THE DEPONENT:· No.· He doesn't owe me anything.     25· · · ·Q.· ·So you no longer believe Texas Reit has an alter



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 44 of 111
OMAR KHAWAJA                                        October 03, 2024                                               167 to 170
78755
                                                       Page 167                                                          Page 169
·1· ego?                                                          ·1· entities Mr. Choudhri creates to evade creditors.· But I
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· don't know every single one off the top of my head.
·3· · · · · · THE DEPONENT:· That's not what I said at all.       ·3· · · ·Q.· ·Which ones do you know?
·4· BY MR. POPE:                                                  ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · ·Q.· ·Do you believe Texas Reit is still an alter ego?    ·5· · · · · · THE DEPONENT:· It's -- it's in the petition.
·6· · · ·A.· ·Yes.                                                ·6· BY MR. POPE:
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· · · ·Q.· ·I'll strike that.
·8· BY MR. POPE:                                                  ·8· · · ·A.· ·Thank you.
·9· · · ·Q.· ·Then why are you withdrawing the claim?             ·9· · · ·Q.· ·Let's see here.· How did you determine which
10· · · · · · MR. BALLASES:· Objection.· Form.· He just           10· entities to sue?
11· answered that.                                                11· · · · · · MR. BALLASES:· Objection.· Form.
12· BY MR. POPE:                                                  12· · · · · · I'm going to instruct you not to answer.· That
13· · · ·Q.· ·What was your answer?                               13· gets into work product and attorney/client privilege.
14· · · ·A.· ·My answer was there wasn't enough money in the      14· BY MR. POPE:
15· claim to pay all the creditors that were owed.                15· · · ·Q.· ·Is there a reason why you attached the petition
16· · · ·Q.· ·How much money is there?                            16· to the lawsuit filed in this case of the claim filed in the
17· · · ·A.· ·I'm not sure.· It was not enough to support all     17· Texas Reit case?
18· the creditors.                                                18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · ·Q.· ·What did you review to determine that it wasn't     19· · · · · · I'm also going to instruct you not to answer.· It
20· enough to support all the creditors?                          20· gets into attorney work product and attorney/client
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· privilege.
22· · · · · · THE DEPONENT:· I think it was the judge's order.    22· BY MR. POPE:
23· I'm not sure.· It's other pending -- other litigation.        23· · · ·Q.· ·Do you have any surveillance on Ali Choudhri?
24· BY MR. POPE:                                                  24· · · · · · MR. BALLASES:· Objection.· Form.
25· · · ·Q.· ·In that case, there's litigation?                   25· · · · · · THE DEPONENT:· No.
                                                       Page 168                                                          Page 170
·1· · · ·A.· ·Yes.                                                ·1· BY MR. POPE:
·2· · · ·Q.· ·What litigation?                                    ·2· · · ·Q.· ·Are you investigating or have any private
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· investigator watching Mr. Choudhri or his mother?
·4· · · · · · THE DEPONENT:· For the sale of Texas Reit -- or     ·4· · · ·A.· ·No.
·5· the entities that Texas Reit owns, the bankruptcy.            ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· BY MR. POPE:                                                  ·6· BY MR. POPE:
·7· · · ·Q.· ·What entities does Texas Reit own?                  ·7· · · ·Q.· ·What was the answer?
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· · · ·A.· ·"No."
·9· · · · · · THE DEPONENT:· It owns property on Westheimer       ·9· · · ·Q.· ·No.· How about his entities, watching his
10· that's -- that, I believe, is either being sold or will be    10· entities?
11· sold.                                                         11· · · · · · MR. BALLASES:· Objection.· Form.
12· BY MR. POPE:                                                  12· · · · · · THE DEPONENT:· How do you watch an entity?
13· · · ·Q.· ·Okay.· But it doesn't -- to your knowledge, it      13· BY MR. POPE:
14· doesn't own any other entities?                               14· · · ·Q.· ·Watching who you believe to be the principals of
15· · · ·A.· ·Correct.                                            15· the entities.
16· · · ·Q.· ·Okay.· Did you also sue Mountain Business Center,   16· · · ·A.· ·No.
17· LLC, in this case?                                            17· · · · · · MR. BALLASES:· Objection.· Form.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· BY MR. POPE:
19· · · · · · THE DEPONENT:· I mean, not to my knowledge.         19· · · ·Q.· ·Have you, in the past?
20· Could be.· But I just don't know.· Do you have something I    20· · · ·A.· ·No.
21· can look at?                                                  21· · · · · · MR. BALLASES:· Objection.· Form.
22· BY MR. POPE:                                                  22· BY MR. POPE:
23· · · ·Q.· ·Do you know all the defendants that you sued in     23· · · ·Q.· ·Do you have any joint enterprises with Osama
24· this case?                                                    24· Abdullatif?
25· · · ·A.· ·I know there's quite a few because of all the       25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 45 of 111
OMAR KHAWAJA                                        October 03, 2024                                               171 to 174
78755
                                                       Page 171                                                          Page 173
·1· · · · · · THE DEPONENT:· I don't know.· Is that a legal       ·1· · · ·A.· ·No.· The legal --
·2· term that you're using?                                       ·2· · · · · · MR. BALLASES:· Objection.
·3· BY MR. POPE:                                                  ·3· · · · · · THE DEPONENT:· -- strategy of dismissing them or
·4· · · ·Q.· ·I don’t know; you're a lawyer.                      ·4· not dismissing them, that's my -- within my attorney's
·5· · · ·A.· ·On the business --                                  ·5· purview.
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· · · · · · THE DEPONENT:· You can ask me about torts.· You     ·7· BY MR. POPE:
·8· can do that all day.                                          ·8· · · ·Q.· ·Do you believe 9201 Memorial has any money?
·9· BY MR. POPE:                                                  ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· · · ·Q.· ·Do you an Osama Abdullatif have any --              10· · · · · · THE DEPONENT:· Well, if it's an alter ego of
11· · · ·A.· ·We -- we have this judgment together.               11· Choudhri, then it's possible that it has money that he's
12· · · ·Q.· ·Okay.· Other than this judgment, do you have        12· hiding.
13· anything else together?                                       13· BY MR. POPE:
14· · · ·A.· ·I mean --                                           14· · · ·Q.· ·Well, Texas Reit is an alter ego of Choudhri,
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· according to you.· If you believe that, then shouldn't you
16· · · · · · THE DEPONENT:· We may have some real estate         16· keep your claim in the Western District because it has
17· interests.                                                    17· money?
18· BY MR. POPE:                                                  18· · · ·A.· ·No, because --
19· · · ·Q.· ·Okay.· Which real estate interests?                 19· · · · · · MR. BALLASES:· Objection.· Form.
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · · · · THE DEPONENT:· -- in that case, there's a judge
21· · · · · · THE DEPONENT:· I don't -- I don't know, off the     21· scrutinizing everything.· So if we have the same -- if we
22· top of my head.· I don't know.· I have a lot of               22· have a judge scrutinizing every transaction on all of his
23· investments, so.                                              23· entities, then, you know, we can abide by that, for sure.
24· BY MR. POPE:                                                  24· BY MR. POPE:
25· · · ·Q.· ·So as we sit here today, you still believe Texas    25· · · ·Q.· ·Do you believe Dalio Holdings I has any money
                                                       Page 172                                                          Page 174
·1· Reit is an alter ego of Jetall, but you're choosing not to    ·1· worth pursuing?
·2· pursue it?                                                    ·2· · · ·A.· ·In the -- our theory is that it's an alter ego.
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· So, yes, we believe --
·4· · · · · · THE DEPONENT:· I would pursue it if there was       ·4· · · ·Q.· ·Outside of your alter ego theory, do you believe
·5· more money available for creditors.· Unfortunately,           ·5· Dalio I -- Holdings I has any money sufficient to satisfy
·6· there's -- all the money is gone.                             ·6· your judgment?
·7· BY MR. POPE:                                                  ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· · · ·Q.· ·So you're choosing not to pursue it?                ·8· · · · · · THE DEPONENT:· Somebody hired all these lawyers
·9· · · ·A.· ·Only because there's no money --                    ·9· here today.· Somebody's got money.
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· BY MR. POPE:
11· BY MR. POPE:                                                  11· · · ·Q.· ·But do you believe Dalio Holdings I has money
12· · · ·Q.· ·Are you willing to have it completely dismissed     12· sufficient to satisfy your judgment?
13· from this case, rather than settle?                           13· · · ·A.· ·Yes.
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · · · · MR. BALLASES:· Objection.· Form.
15· · · · · · You don't need to answer that.· We're -- that's     15· BY MR. POPE:
16· talking -- that's discussing attorney work product.           16· · · ·Q.· ·Based on what?
17· BY MR. POPE:                                                  17· · · · · · MR. BALLASES:· Objection.· Form.
18· · · ·Q.· ·Would you want to dismiss it from this case?        18· · · · · · THE DEPONENT:· Based on it being an alter ego of
19· · · · · · MR. BALLASES:· Objection.· Form.                    19· Mr. Choudhri.
20· BY MR. POPE:                                                  20· BY MR. POPE:
21· · · ·Q.· ·Well, would you want to, if it had no money?        21· · · ·Q.· ·Outside of your alter ego theory, based on, what,
22· · · ·A.· ·I -- I would -- I would defer to my counsel for     22· other than --
23· that.· It's a legal question.· They --                        23· · · ·A.· ·Then I don't know.
24· · · ·Q.· ·Whether -- whether or not Texas Reit has money is   24· · · · · · MR. BALLASES:· Objection.· Form.
25· a legal question?                                             25· BY MR. POPE:



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 46 of 111
OMAR KHAWAJA                                        October 03, 2024                                               175 to 178
78755
                                                       Page 175                                                          Page 177
·1· · · ·Q.· ·Outside of your alter ego theory, do you think      ·1· are -- that have assets in them -- right? -- such as 9201
·2· any of the named defendants have income sufficient to         ·2· Memorial, that had a certain value.· Each had values.
·3· satisfy your judgment?                                        ·3· Things like that.
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· BY MR. POPE:
·5· · · · · · THE DEPONENT:· They did, or they do, or they        ·5· · · ·Q.· ·Are all these properties in Harris County?
·6· could in the future.· We have to see.                         ·6· · · ·A.· ·Not all of them.· There's some in Austin.
·7· BY MR. POPE:                                                  ·7· · · ·Q.· ·So you -- you told me what you could have
·8· · · ·Q.· ·Did you believe they had income sufficient to       ·8· reviewed.· I'm asking, what did you review?
·9· satisfy your judgment when the complaint was filed?           ·9· · · ·A.· ·I did review --
10· · · ·A.· ·Yes.                                                10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · · · · THE DEPONENT:· I did review the -- the values of
12· BY MR. POPE:                                                  12· the properties.
13· · · ·Q.· ·Outside of your alter ego theory?                   13· BY MR. POPE:
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · ·Q.· ·For which properties?
15· · · · · · THE DEPONENT:· I don't know how you -- we divorce   15· · · ·A.· ·9201 Memorial, I think the Arabella property, I
16· the alter ego theory from our complaint.· That's -- that's    16· think the Austin properties, you know, the loan, some of
17· a core part of the complaint.                                 17· the other real estate assets -- or some of the other real
18· BY MR. POPE:                                                  18· estate owned by the entities.· I looked at all that.
19· · · ·Q.· ·How did you determine that the -- the -- did you    19· · · ·Q.· ·Are you familiar with SAL ATX, LLC?
20· make any efforts to determine the net value of Dalio          20· · · · · · MR. BALLASES:· Objection.· Form.
21· Holdings I before you filed this complaint?                   21· · · · · · THE DEPONENT:· Yes, vaguely.· But, yes.
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· BY MR. POPE:
23· · · · · · THE DEPONENT:· No.                                  23· · · ·Q.· ·Are you familiar with Maya J, LLC?
24· BY MR. POPE:                                                  24· · · ·A.· ·Yes.
25· · · ·Q.· ·Did you make an effort to determine the net value   25· · · · · · MR. BALLASES:· Objection.· Form.
                                                       Page 176                                                          Page 178
·1· of any of these entities before you filed -- any of these     ·1· MR. POPE:
·2· defendant entities before you filed your complaint?           ·2· · · ·Q.· ·Do you believe that they're also an alter ego of
·3· · · · · · MR. BALLASES:· Objection.· Form.· And to the        ·3· Jetall Companies under Ali Choudhri?
·4· extent you're getting into work product or attorney/client    ·4· · · ·A.· ·Yes.
·5· privilege, I instruct him not to answer in that regard.       ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· · · · · · THE DEPONENT:· I'm going to defer to my counsel's   ·6· BY MR. POPE:
·7· advice.                                                       ·7· · · ·Q.· ·Is there a reason why you have not included them
·8· BY MR. POPE:                                                  ·8· as a defendant in this lawsuit?
·9· · · ·Q.· ·Okay.· To the extent that it's non-privileged       ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· information, how did you --                                   10· · · · · · To the extent that gets into attorney/client or
11· · · · · · MR. BALLASES:· Well, that's --                      11· attorney work product, don't answer it.
12· · · · · · THE DEPONENT:· I don't think it's not privileged.   12· · · · · · THE DEPONENT:· Yeah.· It's attorney/client.
13· It's work product.                                            13· BY MR. POPE:
14· BY MR. POPE:                                                  14· · · ·Q.· ·Are you attempting to make any collections
15· · · ·Q.· ·Did you do any personal investigations as to --     15· against those entities for one of your three judgments?
16· before you hired your counsel -- as to what the valuations    16· · · · · · MR. BALLASES:· Objection.· Form.
17· of any of the non-entity defendants were worth?               17· · · · · · THE DEPONENT:· No.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· BY MR. POPE:
19· · · · · · THE DEPONENT:· Beyond what's in the public          19· · · ·Q.· ·Do you assert that SAL ATX and Maya J, LLC, are
20· record, no.                                                   20· alter egos of each other?
21· BY MR. POPE:                                                  21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · ·Q.· ·What public record would you have reviewed to       22· · · · · · THE DEPONENT:· I'm not aware of that.
23· determine the value?                                          23· BY MR. POPE:
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· · · ·Q.· ·I just want to refresh my memory on this.· Is it
25· · · · · · THE DEPONENT:· I mean, there are entities that      25· your contention that you only have an interest in two of



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 47 of 111
OMAR KHAWAJA                                        October 03, 2024                                               179 to 182
78755
                                                       Page 179                                                          Page 181
·1· the three judgments --                                        ·1· I won't ask stupid questions.
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · · · · MS. MACGEORGE:· So you're not going to mind if I
·3· · · · · · THE DEPONENT:· I believe, two of the three          ·3· answer questions on behalf of my deponent in our next
·4· judgments.                                                    ·4· deposition?
·5· BY MR. POPE:                                                  ·5· · · · · · MR. BALLASES:· If I ask you stuff that is
·6· · · ·Q.· ·Okay.· So you don't have an interest in the Osama   ·6· answerable from a pleading, then you can help me.
·7· Abdullatif and Abdullatif and Company, LLC versus Ali         ·7· · · · · · MS. MACGEORGE:· I think we had a whole deposition
·8· Choudhri and -- and HREP?                                     ·8· that was answerable from the documents --
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· · · · · · MR. BALLASES:· Okay.
10· · · · · · THE DEPONENT:· That's correct.                      10· · · · · · MS. MACGEORGE:· -- just two days ago.
11· BY MR. POPE:                                                  11· · · · · · MR. BALLASES:· Okay.
12· · · ·Q.· ·That's correct.· So is there a reason why you       12· BY MR. POPE:
13· claim your -- in your complaint that you hold an interest     13· · · ·Q.· ·"Plaintiff -- plaintiffs hold three judgments,
14· in all three?                                                 14· and stand in the shoes of four different judgment
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· creditors."· Who are the four different judgment creditors?
16· · · · · · THE DEPONENT:· I'd have to defer to my counsel      16· Who's the fourth judgment creditor?
17· for that.· I'm not sure.                                      17· · · ·A.· ·I -- I don't know who the fourth judgment
18· BY MR. POPE:                                                  18· creditor is.
19· · · ·Q.· ·Your complaint also references there being four     19· · · ·Q.· ·Are you aware that John Quinlan and Ali Choudhri
20· different judgment creditors.· However, only three of you     20· have done business together?
21· guys are plaintiffs.· Who's the fourth judgment creditor?     21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· · · · · · THE DEPONENT:· I'm aware that Ali Choudhri has
23· · · · · · THE DEPONENT:· I'm not sure if that's the case.     23· harassed John Quinlan; not that they've done business
24· BY MR. POPE:                                                  24· together.
25· · · ·Q.· ·On page 6, "Plaintiffs hold three judgments, and    25· BY MR. POPE:
                                                       Page 180                                                          Page 182
·1· stand in the shoes of four different judgment creditors."     ·1· · · ·Q.· ·Do you have personal knowledge of that?
·2· · · · · · MR. BALLASES:· There are two judgment creditors     ·2· · · · · · MR. BALLASES:· Objection.· Form.
·3· in the Heil judgment, Heil and Davy.· They own both.          ·3· · · · · · THE DEPONENT:· I read the complaint.
·4· · · · · · MS. MACGEORGE:· Are we answering --                 ·4· BY MR. POPE:
·5· · · · · · MR. BALLASES:· I mean --                            ·5· · · ·Q.· ·And how was he harassed?
·6· · · · · · MS. MACGEORGE:· -- again?                           ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· · · · · · MR. BALLASES:· We're just wasting time.· You're     ·7· · · · · · THE DEPONENT:· Well, Mr. Choudhri has a MO of
·8· asking silly questions.                                       ·8· trying to extort people that he thinks he can do business
·9· · · · · · MS. MACGEORGE:· They're decent questions.· He       ·9· with.· And he, I believe, threatened to sue Mr. Quinlan to
10· gets to ask them.                                             10· not sell him the building that he had no interest in, he
11· · · · · · MR. BALLASES:· Okay.                                11· had no business doing.· And it was an attempt to shake
12· · · · · · MS. MACGEORGE:· You don't get to answer on behalf   12· down.· And Mr. Quinlan rightly did not succumb to that
13· of --                                                         13· threat.
14· · · · · · MR. BALLASES:· Okay.                                14· BY MR. POPE:
15· · · · · · MS. MACGEORGE:· -- the deponent, Mr. Ballases.      15· · · ·Q.· ·How did you find out about the complaint?
16· · · · · · MR. BALLASES:· Okay.· I'm just trying to help him   16· · · ·A.· ·I read about it.
17· out.                                                          17· · · · · · MR. BALLASES:· Objection.· Form.
18· · · · · · MR. POPE:· Well, you're not allowed to --           18· BY MR. POPE:
19· · · · · · MS. MACGEORGE:· Well, am I allowed --               19· · · ·Q.· ·Where did you read about it?
20· · · · · · MR. BALLASES:· I don't need your advice, bro.       20· · · ·A.· ·District clerk's website.
21· · · · · · MS. MACGEORGE:· -- to help my clients out in the    21· · · · · · MR. BALLASES:· Form.
22· next deposition we have together?                             22· · · · · · THE REPORTER:· I'm sorry.· What was your answer?
23· · · · · · MR. BALLASES:· I won't ask stupid questions.        23· · · · · · THE DEPONENT:· District clerk's website.
24· · · · · · MS. MACGEORGE:· Can I answer on behalf of him?      24· BY MR. POPE:
25· · · · · · MR. BALLASES:· I won't answer stupid questions.     25· · · ·Q.· ·Do you regularly check to see if Mr. Choudhri is



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 48 of 111
OMAR KHAWAJA                                        October 03, 2024                                               183 to 186
78755
                                                       Page 183                                                          Page 185
·1· involved in litigation?                                       ·1· · · ·A.· ·I think that if her son owes someone money or an
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· entity controlled by her son owes someone money, and she
·3· · · · · · THE DEPONENT:· Not regularly.· I'll check every     ·3· gets paid out of that entity's bank account, then she is
·4· once in a while.                                              ·4· hindering and defrauding creditors to her son or her son's
·5· BY MR. POPE:                                                  ·5· entity.
·6· · · ·A.· ·Do you -- you check every once in a while?· Why     ·6· · · ·Q.· ·But you don't have actual personal knowledge that
·7· do you do that?                                               ·7· she's done that?
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· · · ·A.· ·I -- I think we have some --
·9· · · · · · THE DEPONENT:· To make sure that he's not evading   ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· creditors like me.                                            10· · · · · · THE DEPONENT:· -- knowledge of that in our
11· BY MR. POPE:                                                  11· discovery.
12· · · ·Q.· ·Have you referred any counsel to John Quinlan?      12· BY MR. POPE:
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· · · ·Q.· ·Did you have an personal knowledge of that before
14· · · · · · THE DEPONENT:· You know, I think, even if I did,    14· the case was filed?
15· it would be attorney/client privileged, so I wouldn't talk    15· · · · · · MR. BALLASES:· Objection.· Form.
16· about that.                                                   16· BY MR. POPE:
17· BY MR. POPE:                                                  17· · · ·Q.· ·Or the complaint was filed?
18· · · ·Q.· ·Do you have any personal knowledge that any of      18· · · ·A.· ·Just on a general basis.
19· the named corporate entity defendants or the named entity     19· · · ·Q.· ·What was the general basis?
20· defendants caused any debt to be placed on any of the         20· · · ·A.· ·Complaints against her helping her son defraud
21· assets?                                                       21· people.
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· · · ·Q.· ·You're aware of complaints against Shahnaz
23· BY MR. POPE:                                                  23· Choudhri?
24· · · ·Q.· ·Better question.· Are you aware of any of the       24· · · ·A.· ·Yes.
25· assets owned by any of the entity defendants to be            25· · · ·Q.· ·Did you file those complaints?
                                                       Page 184                                                          Page 186
·1· encumbered by any mortgage or lien?                           ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·A.· ·Yeah.· I think some of the named defendants that    ·2· · · · · · THE DEPONENT:· I did not file the complaints, no.
·3· have property associated with them -- for example, 9201       ·3· BY MR. POPE:
·4· Memorial -- they were free and clear, unencumbered.· And      ·4· · · ·Q.· ·Which complaints?
·5· then Mr. Choudhri went out and got loans against them and     ·5· · · ·A.· ·From people in the community, from
·6· encumbered them with debt, and then lost the properties to    ·6· Mr. Abdullatif, from -- from Parvine Ladamore.
·7· foreclosure.                                                  ·7· · · ·Q.· ·Say that name again?
·8· · · ·Q.· ·Do you have personal knowledge of that?             ·8· · · ·A.· ·Parvine Ladamore.
·9· · · ·A.· ·Yes.                                                ·9· · · ·Q.· ·Anyone else?
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· · · ·A.· ·I think other people in the Pakastani-American
11· BY MR. POPE:                                                  11· community have said that she's taken money from them to
12· · · ·Q.· ·Do you have any personal knowledge that Shahnaz     12· give to her son.
13· Choudhri had caused an asset to be encumbered with debt?      13· · · ·Q.· ·Do you know their names?
14· · · ·A.· ·I would have to review the bank statements that     14· · · ·A.· ·I don't.· I can --
15· we have.                                                      15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · ·Q.· ·Did you have any personal knowledge of that         16· · · · · · THE DEPONENT:· -- follow up on that.· Follow up
17· before you filed this complaint?                              17· on that.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18
19· · · · · · THE DEPONENT:· Other than what I've answered        19
20· previously about the general relationship between Ms.         20
21· Choudhri and Mr. Choudhri, no.                                21
22· BY MR. POPE:                                                  22
23· · · ·Q.· ·Do you have any personal knowledge that             23
24· Ms. Shahnaz Choudhri acted with intent to hinder, delay, or   24
25· defraud any creditors?                                        25



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 49 of 111
OMAR KHAWAJA                                        October 03, 2024                                               187 to 190
78755
                                                       Page 187                                                          Page 189
·1· BY MR. POPE:                                                  ·1· foreclosure.
·2· · · ·Q.· ·What makes you believe you're entitled to           ·2· BY MR. POPE:
·3· exemplary damages?                                            ·3· · · ·Q.· ·Do you also believe that for the property located
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· at Shepherd-Huldy?
·5· · · · · · THE DEPONENT:· I mean as a bad actor and in order   ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· to prevent that bad actor from committing further bad acts.   ·6· · · · · · THE DEPONENT:· I think David Greenberg owns that.
·7· Sometimes courts award exemplary damages, right, so we have   ·7· BY MR. POPE:
·8· a bad actor that has a history of acting badly, then          ·8· · · ·Q.· ·And why do you believe that?
·9· perhaps exemplary damages prevent that from happening in      ·9· · · · · · MR. BALLASES:· Form.
10· the future.                                                   10· · · · · · THE DEPONENT:· I saw some litigation between him
11· BY MR. POPE:                                                  11· and Mr. Choudhri.
12· · · ·Q.· ·Do you have any personal knowledge of Shahnaz       12· BY MR. POPE:
13· Choudhri having a history of acting badly?                    13· · · ·Q.· ·Before or after the Complaint was filed?
14· · · · · · MR. BALLASES:· Form.                                14· · · · · · MR. BALLASES:· Objection.· Form.
15· · · · · · THE DEPONENT:· Based upon my knowledge that I've    15· · · · · · THE DEPONENT:· I don't --
16· already discussed with you; I would say those are bad acts.   16· BY MR. POPE:
17· BY MR. POPE:                                                  17· · · ·Q.· ·I mean did you see the litigation before or after
18· · · ·Q.· ·Do you intend to add any more defendants to this    18· the --
19· lawsuit?                                                      19· · · ·A.· ·Yeah.· I don't recall when -- when it was filed
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· versus our Complaint.· Maybe it was after.· Not sure.
21· · · · · · THE DEPONENT:· Only if I need to.                   21· · · ·Q.· ·Did the foreclosures occur on those properties
22· BY MR. POPE:                                                  22· before or after your lis pendens were filed?
23· · · ·Q.· ·How will you determine if you need to?              23· · · · · · MR. BALLASES:· Objection.· Form.
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· · · · · · THE DEPONENT:· I believe they occur -- I mean I
25· · · · · · THE DEPONENT:· If there's subsequent fraudulent     25· don't know when the default occurred, so I mean the default
                                                       Page 188                                                          Page 190
·1· transfers, evading of our judgment, whoever they might be.    ·1· probably occurred the minute he got them, but the
·2· BY MR. POPE:                                                  ·2· foreclosure probably occurred after but I'm not sure.
·3· · · ·Q.· ·Who do you believe is the current holder of 9201    ·3· BY MR. POPE:
·4· Memorial?                                                     ·4· · · ·Q.· ·Have you had any conversations with the BridgeCo
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· entities --
·6· BY MR. POPE                                                   ·6· · · · · · MR. BALLASES:· Objection.
·7· · · ·Q.· ·The property located at 9201 Memorial?              ·7· BY MR. POPE:
·8· · · ·A.· ·I think Cypress Bridge co-owns it now.              ·8· · · ·Q.· ·-- or their corporate representatives?
·9· · · ·Q.· ·Why do you believe that?                            ·9· · · ·A.· ·I have not.
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · · · · THE DEPONENT:· Because I believe they foreclosed    11· BY MR. POPE:
12· on the asset.                                                 12· · · ·Q.· ·Have you had any conversations with A. Kelly
13· BY MR. POPE:                                                  13· Williams?
14· · · ·Q.· ·What personal knowledge do you have that            14· · · · · · MR. BALLASES:· Objection.· Form.
15· foreclosure took place?                                       15· · · · · · THE DEPONENT:· No; but I'd like to.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· BY MR. POPE:
17· · · · · · THE DEPONENT:· There was a foreclosure in Harris    17· · · ·Q.· ·Have you attempted to reach out to him?
18· County, and the asset was sold.                               18· · · · · · MR. BALLASES:· Objection.· Form.
19· BY MR. POPE:                                                  19· · · · · · THE DEPONENT:· I don't think so.
20· · · ·Q.· ·To your knowledge, who is the owner of the          20· BY MR. POPE:
21· property located, current owner of the property located at    21· · · ·Q.· ·Have you talked to David Greenberg?
22· 2727 Kirby?                                                   22· · · ·A.· ·Not --
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· · · · · · MR. BALLASES:· Objection.· Form.
24· · · · · · THE DEPONENT:· Same answer.· I think Cypress        24· · · · · · THE DEPONENT:· -- personally, no.
25· Bridge co-owns it, or they lost it -- they obtained it in     25· BY MR. POPE:



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 50 of 111
OMAR KHAWAJA                                        October 03, 2024                                               191 to 194
78755
                                                       Page 191                                                          Page 193
·1· · · ·Q.· ·Not personally.· Why do you say not personally?     ·1· Complaint?
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · · · · MR. BALLASES:· Objection.· Form.
·3· BY MR. POPE:                                                  ·3· · · · · · THE DEPONENT:· I'd have to defer to my counsel
·4· · · ·Q.· ·Did you have someone talk to him for you?           ·4· for that.
·5· · · ·A.· ·No.· I read the Complaint in the District Court's   ·5· BY MR. POPE:
·6· website.                                                      ·6· · · ·Q.· ·Did you make any efforts to collect prior to
·7· · · ·Q.· ·Have you had someone talk to him for you?           ·7· filing this Complaint?
·8· · · ·A.· ·I have not.                                         ·8· · · · · · MR. BALLASES:· Objection.· Form.
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· · · · · · THE DEPONENT:· I'm not aware.
10· BY MR. POPE:                                                  10· BY MR. POPE:
11· · · ·Q.· ·Have you had someone talk to George Lee on your     11· · · ·Q.· ·How soon after the judgments being assigned to
12· behalf?                                                       12· you did you actually filed the Complaint?
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· · · · · · MR. BALLASES:· Objection.· Form.
14· · · · · · THE DEPONENT:· No.· I've spoken to George Lee.      14· · · · · · THE DEPONENT:· Very soon after.
15· BY MR. POPE:                                                  15· BY MR. POPE:
16· · · ·Q.· ·Okay.· You talk to him about this litigation?       16· · · ·Q.· ·Very soon after.· So you didn't make a good faith
17· · · ·A.· ·Not about this litigation.                          17· effort to try to collect the funds before filing the
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· Complaint, did you?
19· · · · · · THE DEPONENT:· About my -- my other litigation.     19· · · · · · MR. BALLASES:· Objection.· Form.
20· BY MR. POPE:                                                  20· · · · · · THE DEPONENT:· I don't know that that's the case.
21· · · ·Q.· ·What other litigation is that?                      21· BY MR. POPE:
22· · · ·A.· ·The Avondale litigation.                            22· · · ·Q.· ·But you didn't personally attempt to make any
23· · · ·Q.· ·What's this property address for the Avondale       23· genuine effort to collect the debt before you filed suit,
24· litigation?                                                   24· is that correct?
25· · · ·A.· ·208-210 Avondale.                                   25· · · · · · MR. BALLASES:· Objection.· Form.
                                                       Page 192                                                          Page 194
·1· · · ·Q.· ·It's two properties?                                ·1· · · · · · THE DEPONENT:· I've been trying to settle with
·2· · · ·A.· ·I think it's one property.                          ·2· them for 10 years on other litigation, so I don't think
·3· · · ·Q.· ·Are you aware of any lis pendens filed by Hira      ·3· that's going to work.
·4· Azhar against any of the properties owned by any of the       ·4· BY MR. POPE:
·5· defendant entities?                                           ·5· · · ·Q.· ·On this litigation?· What other litigation were
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· you trying to collect on for 10 years?
·7· · · · · · THE DEPONENT:· I'm not.                             ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· BY MR. POPE:                                                  ·8· · · · · · THE DEPONENT:· The Avondale litigation.
·9· · · ·Q.· ·You're not aware?                                   ·9· BY MR. POPE:
10· · · ·A.· ·I'm not aware.                                      10· · · ·Q.· ·Has that litigation been pending for 10 years?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · ·A.· ·Almost, yeah.
12· BY MR. POPE:                                                  12· · · · · · MR. BALLASES:· Objection.· Form.
13· · · ·Q.· ·Have you communicated with Wayne Dolcefino          13· BY MR. POPE:
14· regarding this litigation?                                    14· · · ·Q.· ·Have you obtained a judgment in that case?
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · · · · THE DEPONENT:· No.                                  16· · · · · · THE DEPONENT:· No.· We haven't obtained a
17· BY MR. POPE:                                                  17· judgment yet, no.· My point in referencing that was that
18· · · ·Q.· ·Have you hired any counsel other than Hoover        18· settlement negotiations with Mr. Choudhri are not very
19· Slovacek to assist in post-judgment and collection of those   19· productive.
20· debts?                                                        20· BY MR. POPE:
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · ·Q.· ·Did you attempt any settlement negotiations with
22· · · · · · THE DEPONENT:· Not to my knowledge, no.             22· Shahnaz Choudhri before you filed this case?
23· BY MR. POPE:                                                  23· · · ·A.· ·I don't --
24· · · ·Q.· ·Did you seek any post-judgment discovery in         24· · · · · · MR. BALLASES:· Objection.· Form.
25· either of the underlying judgments before filing this         25· · · · · · THE DEPONENT:· -- know.· I'm not aware of that.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 51 of 111
OMAR KHAWAJA                                        October 03, 2024                                               195 to 198
78755
                                                       Page 195                                                          Page 197
·1· BY MR. POPE:                                                  ·1· · · · · · THE DEPONENT:· Basically yes.
·2· · · ·Q.· ·What are the details of that other litigation,      ·2· BY MR. POPE:
·3· the Avondale litigation you keep referencing?                 ·3· · · ·Q.· ·Any allegation of usury?
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · · · · THE DEPONENT:· I mean I can't get into that         ·5· · · · · · THE DEPONENT:· I can't get into that.
·6· because it's the subject of a jury trial coming up.           ·6· BY MR. POPE:
·7· BY MR. POPE:                                                  ·7· · · ·Q.· ·Is there a reason why you won't get into the
·8· · · ·Q.· ·What are the basic facts?                           ·8· basic facts of the case, not the legal theories, but just
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· the basic facts?
10· · · · · · THE DEPONENT:· A proper -- I can't get into that.   10· · · ·A.· ·Yes.
11· I'm sorry.                                                    11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · MR. BALLASES:· Are you refusing to answer?          12· · · · · · THE DEPONENT:· We have a jury trial coming up.
13· BY MR. POPE:                                                  13· BY MR. POPE:
14· · · ·Q.· ·What's the --                                       14· · · ·Q.· ·Do you have any other litigation pending against
15· · · · · · MR. POPE:· I'll ask him again.                      15· any other named defendant other than Jetall?
16· BY MR. POPE:                                                  16· · · · · · MR. BALLASES:· Objection.· Form.
17· · · ·Q.· ·What are the just the basic general basis of the    17· · · · · · THE DEPONENT:· Not at this stage, no.
18· lawsuit?                                                      18· BY MR. POPE:
19· · · ·A.· ·You know I can't get into that --                   19· · · ·Q.· ·Do you plan to file any lawsuits against any
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· other named defendants other than Jetall?
21· · · · · · THE DEPONENT:· -- because there's a jury trial      21· · · ·A.· ·If I --
22· coming up.                                                    22· · · · · · MR. BALLASES:· Objection.· Form.
23· BY MR. POPE:                                                  23· · · · · · THE DEPONENT:· Only if I need to.
24· · · ·Q.· ·When is the jury trial set?                         24· BY MR. POPE:
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · ·Q.· ·Are you aware of any of the other named
                                                       Page 196                                                          Page 198
·1· · · · · · THE DEPONENT:· Very soon I think.· Before the end   ·1· defendants being in a bankruptcy other than Texas REIT?
·2· of the year.                                                  ·2· · · · · · MR. BALLASES:· Objection.· Form.
·3· BY MR. POPE:                                                  ·3· · · · · · THE DEPONENT:· To my knowledge, no, but could be
·4· · · ·Q.· ·What attorney did you retain in that suit?          ·4· wrong.
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· BY MR. POPE:
·6· · · · · · THE DEPONENT:· Ashish Mahendru.                     ·6· · · ·Q.· ·Other than the alleged alter ego claim, do you
·7· BY MR. POPE:                                                  ·7· state you have any other claims against any of the other
·8· · · ·Q.· ·Ashish Mahendru.· Do you know if Chris Wyatt is a   ·8· named defendants?
·9· witness in that case?                                         ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· · · · · · THE DEPONENT:· I mean whatever the petition
11· · · · · · THE DEPONENT:· If he needs to be, he will be.       11· contains, we have those complaints alleged.· I think there
12· BY MR. POPE:                                                  12· may be other complaints.
13· · · ·Q.· ·Is Wayne Dolcefino going to be a witness in that    13· · · · · · MR. BALLASE:· Are we ready to move onto John,
14· case?                                                         14· next witness?
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· · · · · · MR. POPE:· Almost.· I want to make sure I haven't
16· · · · · · THE DEPONENT:· If anybody needs to be a witness     16· missed anything in the Complaint, and the First, Second and
17· in that case, they will be.                                   17· Third supplement.
18· BY MR. POPE:                                                  18· BY MR. POPE:
19· · · ·Q.· ·Did you sue Jetall and other entities or just       19· · · ·Q.· ·Have you spoken to Dr. Sajid Ali, or Sajid Ali?
20· Jetall in that case?                                          20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · · · · THE DEPONENT:· No.· Not recently.· He's a friend.
22· · · · · · THE DEPONENT:· I think just Jetall.                 22· BY MR. POPE:
23· BY MR. POPE:                                                  23· · · ·Q.· ·Is he also a business partner?
24· · · ·Q.· ·Is it a breach of contract case?                    24· · · ·A.· ·No.
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 52 of 111
OMAR KHAWAJA                                        October 03, 2024                                               199 to 202
78755
                                                       Page 199                                                          Page 201
·1· BY MR. POPE:                                                  ·1· BY MR. POPE:
·2· · · ·Q.· ·How is he a friend?                                 ·2· · · ·Q.· ·How many years?
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· · · · · · THE DEPONENT:· Just in the religious community.     ·4· · · · · · THE DEPONENT:· Since 2010 at least.
·5· BY MR. POPE:                                                  ·5· BY MR. POPE:
·6· · · ·Q.· ·Does he have any ownership interest in any of the   ·6· · · ·Q.· ·What happened in 2010 that made you start
·7· judgments --                                                  ·7· watching --
·8· · · · · · MR. BALLASES:· Objection.                           ·8· · · ·A.· ·I think I just went back --
·9· BY MR. POPE:                                                  ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· · · ·Q.· ·-- that were listed in the Complaint?               10· · · · · · THE REPORTER:· I'm sorry.· I didn't catch the
11· · · ·A.· ·Not in a -- no.· I doubt it, no.                    11· whole question.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· BY MR. POPE:
13· BY MR. POPE:                                                  13· · · ·Q.· ·What happened in 2010 that would make you start
14· · · ·Q.· ·Do you know who else has an interest in the first   14· watching Mr. Choudhri's --
15· judgment -- did anyone have -- better question.               15· · · ·A.· ·Nothing happened in 2010.· 2013 is when I first
16· · · · · · Has the first judgment been assigned to anyone      16· got defrauded by him, but the court -- the court history
17· else other than -- do you know who else the first judgment    17· goes backwards, sir, so.
18· may have been assigned to?                                    18· · · ·Q.· ·When did you first meet Mr. Choudhri?
19· · · ·A.· ·No.                                                 19· · · ·A.· ·I think maybe met him in 2012 or 2011 for the
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· first time maybe.
21· BY MR. POPE:                                                  21· · · ·Q.· ·Do your -- and how do your parents know Mrs.
22· · · ·Q.· ·Have you ever obtained medical records of Ali       22· Choudhri?
23· Choudhri?                                                     23· · · · · · MR. BALLASES:· Objection.· Form.
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· · · · · · THE DEPONENT:· My parents know them?· Well,
25· · · · · · THE DEPONENT:· Medical records?· No.                25· because my dad and his dad were friends.
                                                       Page 200                                                          Page 202
·1· BY MR. POPE:                                                  ·1· BY MR. POPE:
·2· · · ·Q.· ·Did you make any efforts to amend that proof of     ·2· · · ·Q.· ·Got you.· How did you get defrauded by Mr.
·3· claim filed in Texas REIT before you attempted to withdraw    ·3· Choudhri in 2013?
·4· it?                                                           ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· · · · · · THE DEPONENT:· Again, it's the subject of other
·6· · · · · · THE DEPONENT:· I don't know.                        ·6· pending litigation.· I can't get into it.
·7· BY MR. POPE:                                                  ·7· BY MR. POPE:
·8· · · ·Q.· ·Do you have any personal knowledge that would       ·8· · · ·Q.· ·Is that the Avondale litigation?
·9· lead you to believe that Shahnaz Choudhri's entities that     ·9· · · ·A.· ·Yes.
10· she has formed were formed for an improper purpose?           10· · · ·Q.· ·Oh okay.· Did you have any dealings with Mr. Ali
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· prior to the Avondale litigation?
12· · · · · · THE DEPONENT:· Again, I'm going to rely on the      12· · · ·A.· ·No.· We were cordial.
13· previous answers I've given you that there's a pattern of     13· · · ·Q.· ·Do any of the underlying judgments that form the
14· conduct involving Mr. Choudhri to defraud investors,          14· basis of the complaint have a finding of alter ego?
15· creditors, evade judgments, and I believe that's the same     15· · · · · · MR. BALLASES:· Objection.· Form.
16· for this case.                                                16· · · · · · THE DEPONENT:· I don't think so.
17· BY MR. POPE:                                                  17· BY MR. POPE:
18· · · ·Q.· ·Before obtaining the bank records, all the          18· · · ·Q.· ·Do any of the underlying judgments that made the
19· discovery that you received after filing the Complaint, did   19· basis of the complaint have any findings of fraudulent
20· mere review of HCAD records, public records, lead you to      20· transfer?
21· believe that alter ego claim was warranted?                   21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· · · · · · THE DEPONENT:· Not to my knowledge.
23· · · · · · THE DEPONENT:· I wouldn't say mere review of        23· BY MR. POPE:
24· HCAD.· I would say that it was based upon years of            24· · · ·Q.· ·Do any of those judgments have a finding of
25· knowledge of how they interact with each other.               25· fraud?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 53 of 111
OMAR KHAWAJA                                        October 03, 2024                                               203 to 206
78755
                                                       Page 203                                                          Page 205
·1· · · ·A.· ·Possibly, but I'm not -- yes, they do.              ·1· me hey, should I do business with Ali Choudhri, I'm going
·2· · · ·Q.· ·Which ones?                                         ·2· to say no, so.· But am I -- am I actively seeking out
·3· · · ·A.· ·I think the third judgment, the Texas REIT          ·3· people to, no.· No.
·4· judgment has a finding of fraud.                              ·4· BY MR. POPE:
·5· · · ·Q.· ·Texas REIT judgment?                                ·5· · · ·Q.· ·Have you ever paid Wayne Dolcefino any money or
·6· · · ·A.· ·Yes.· But I don't have it in front of me.           ·6· any consideration?
·7· · · ·Q.· ·Do you know whether or not the judgment in the --   ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· in the Texas REIT case, whether or not it's on appeal?        ·8· · · · · · THE DEPONENT:· No.
·9· · · ·A.· ·I think --                                          ·9· BY MR. POPE:
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· · · ·Q.· ·Have you sent any videos to anyone in an effort
11· · · · · · THE DEPONENT:· -- we talked about this.· It is.     11· to dissuade them from doing business with Mr. Choudhri or
12· BY MR. POPE:                                                  12· any of his entities?
13· · · ·Q.· ·Earlier I talked about the HREP --                  13· · · · · · MR. BALLASES:· Objection.· Form.
14· · · · · · (Discussion off the record.)                        14· · · · · · THE DEPONENT:· What kind of videos?
15· BY MR. POPE:                                                  15· BY MR. POPE:
16· · · ·Q.· ·Have you requested any court transcripts from any   16· · · ·Q.· ·Videos, just any of the videos produced by Wayne
17· of those underlying judgments?                                17· Dolcefino?
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · · · · THE DEPONENT:· I don't know.                        19· · · · · · THE DEPONENT:· I don't think I have, no.
20· BY MR. POPE:                                                  20· BY MR. POPE:
21· · · ·Q.· ·Have you personally requested any?                  21· · · ·Q.· ·Have you texted any videos that were prepared by
22· · · ·A.· ·No.                                                 22· Wayne Dolcefino to anyone as they relate to Ali Choudhri or
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· his entities?
24· BY MR. POPE:                                                  24· · · · · · MR. BALLASES:· Objection.· Form.
25· · · ·Q.· ·Other than discovery, which you reviewed bank       25· · · · · · THE DEPONENT:· I don't think so.· I may have.
                                                       Page 204                                                          Page 206
·1· statements that were subpoenaed, what other means have you    ·1· I'm not sure.
·2· used to collect information on Mr. Choudhri or any of the     ·2· BY MR. POPE:
·3· named defendants?                                             ·3· · · ·Q.· ·When would you have done that?
·4· · · · · · MR. BALLASES:· So I'm going to instruct him not     ·4· · · ·A.· ·I don't know.
·5· to answer because that gets into work product and also        ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· attorney-client.                                              ·6· · · · · · THE DEPONENT:· They're all over the internet, so
·7· BY MR. POPE:                                                  ·7· I don't know.
·8· · · ·Q.· ·Before you hired your attorney, did you -- what     ·8· BY MR. POPE:
·9· other -- what other means did you use to collect              ·9· · · ·Q.· ·Have you ever met Wayne Dolcefino?
10· information?                                                  10· · · ·A.· ·Yeah, I've met him.
11· · · · · · MR. BALLASES:· I'll instruct him not to answer to   11· · · · · · MR. BALLASES:· Objection.· Form.
12· the extent it calls for work product.                         12· BY MR. POPE:
13· BY MR. POPE:                                                  13· · · ·Q.· ·Have you been to his office?
14· · · ·Q.· ·Have you ever hired a private investigator to       14· · · · · · MR. BALLASES:· Objection.· Form.
15· investigate Mr. Choudhri or his mother?                       15· · · · · · THE DEPONENT:· I think in the past I have, yes.
16· · · ·A.· ·No, I have not.                                     16· BY MR. POPE:
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· · · ·Q.· ·When?
18· BY MR. POPE:                                                  18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · ·Q.· ·Have you ever communicated with anyone in an        19· · · · · · THE DEPONENT:· Maybe when he was investigating --
20· effort to dissuade them from doing business with Mr.          20· he was part of some investigation that I was interested in.
21· Choudhri or any of his entities?                              21· I can't remember which one, but I think I met him at that
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· point asking questions about that investigation.
23· · · · · · THE DEPONENT:· Have I ever communicated with        23· BY MR. POPE:
24· anyone?· I mean if someone's going to ask me -- I don't       24· · · ·Q.· ·Did you ever ask him questions about Ali Choudhri
25· know of anyone in particular, but if someone's going to ask   25· or any of the named defendants?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 54 of 111
OMAR KHAWAJA                                        October 03, 2024                                               207 to 210
78755
                                                       Page 207                                                             Page 209
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· · · ·Q.· ·Have you ever represented him?
·2· · · · · · THE DEPONENT:· Not to my knowledge.                 ·2· · · ·A.· ·Not him, no.
·3· BY MR. POPE:                                                  ·3· · · ·Q.· ·One of his entities?
·4· · · ·Q.· ·Are you aware of whether you or Mr. Quinlan or      ·4· · · ·A.· ·No.· I was a --
·5· Mr. Abdullatif have ever paid Wayne Dolcefino for             ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· information?                                                  ·6· · · · · · THE DEPONENT:· -- Treasurer for his son.
·7· · · ·A.· ·No.                                                 ·7· BY MR. POPE:
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· · · ·Q.· ·A Treasurer?
·9· BY MR. POPE:                                                  ·9· · · ·A.· ·Yes; for his son's political campaign.
10· · · ·Q.· ·For any reason whatsoever?                          10· · · ·Q.· ·What's his son's name?
11· · · ·A.· ·Never discussed that.                               11· · · ·A.· ·Abrahim Javed.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· · · · · · MR. BALLASES:· Objection.· Form.
13· BY MR. POPE:                                                  13· BY MR. POPE:
14· · · ·Q.· ·Have you ever discussed it and are you aware?       14· · · ·Q.· ·Do you know Anwar Qadeer?
15· · · ·A.· ·No, I'm not aware of it.                            15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · · · · THE DEPONENT:· Yeah.· He's a lawyer.
17· BY MR. POPE:                                                  17· BY MR. POPE:
18· · · ·Q.· ·Have any of the entity defendants made any          18· · · ·Q.· ·Outside of that, do you have any personal
19· representations or promises to you that turned out to be      19· relationship with him?
20· untrue?                                                       20· · · ·A.· ·No.
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · · · · THE DEPONENT:· Not that I'm aware of.               22· BY MR. POPE:
23· BY MR. POPE:                                                  23· · · ·Q.· ·Did you ever talk to him about this case?
24· · · ·Q.· ·Has Shahnaz Choudhri made any representations or    24· · · · · · MR. BALLASES:· Objection.· Form.
25· promises to you that turned out to be untrue?                 25· · · · · · THE DEPONENT:· No, never.
                                                       Page 208                                                             Page 210
·1· · · ·A.· ·Yes.                                                ·1· BY MR. POPE:
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · ·Q.· ·Or any case that you have -- or any case?
·3· · · · · · THE DEPONENT:· Oh.· No.· No, she hasn't.            ·3· · · ·A.· ·Never.
·4· BY MR. POPE:                                                  ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · ·Q.· ·Okay.· Have you ever seen any emails written by     ·5· BY MR. POPE:
·6· Ali Choudhri that were not obtained through legal             ·6· · · ·Q.· ·Do you know Abdul Kasim?
·7· discovery?                                                    ·7· · · ·A.· ·Yes.
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· · · · · · MR. BALLASES:· Objection.· Form.
·9· · · · · · THE DEPONENT:· I don't understand the question.     ·9· · · · · · THE DEPONENT:· His -- his nephew, yes.
10· BY MR. POPE:                                                  10· BY MR. POPE:
11· · · ·Q.· ·Have you ever seen an email from Ali Choudhri       11· · · ·Q.· ·Whose nephew?
12· that wasn't obtained through legal discovery?                 12· · · ·A.· ·Mr. Qadeer's.
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· · · ·Q.· ·Okay.· Other than being the nephew, do you have
14· · · · · · THE DEPONENT:· No.                                  14· any relationship with him?
15· BY MR. POPE:                                                  15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · ·Q.· ·Do you know Tahir Javed?                            16· · · · · · THE DEPONENT:· He's a friend.
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· BY MR. POPE:
18· · · · · · THE DEPONENT:· Yes.· I do know him.                 18· · · ·Q.· ·Just a friend.· Have you talked to him about Ali
19· BY MR. POPE:                                                  19· Choudhri?
20· · · ·Q.· ·How do you know him?                                20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · ·A.· ·He's a friend.                                      21· · · · · · THE DEPONENT:· I may -- it may have come up.· If
22· · · ·Q.· ·Do you represent him?                               22· he asked me any questions about him, I would have told him,
23· · · ·A.· ·No.                                                 23· yes.
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· BY MR. POPE:
25· BY MR. POPE:                                                  25· · · ·Q.· ·Have you talked to him about of the other named



                                                                                                                                       YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 55 of 111
OMAR KHAWAJA                                        October 03, 2024                                               211 to 214
78755
                                                       Page 211                                                          Page 213
·1· defendants?                                                   ·1· BY MR. POPE:
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · ·Q.· ·Her lawyers.· So you are aware that she has filed
·3· · · · · · THE DEPONENT:· No.                                  ·3· some lis pendens?
·4· BY MR. POPE:                                                  ·4· · · ·A.· ·I don't know --
·5· · · ·Q.· ·Have you talked to him about this case?             ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· · · ·A.· ·No.                                                 ·6· · · · · · THE DEPONENT:· I don't know that she has
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· recently.
·8· · · · · · THE REPORTER:· I'm sorry.· What was the answer?     ·8· BY MR. POPE:
·9· · · · · · THE DEPONENT:· No.                                  ·9· · · ·Q.· ·Recently.· But you're aware that has at some
10· · · · · · (Pause in the proceedings.)                         10· point?
11· BY MR. POPE:                                                  11· · · ·A.· ·At some point she did.
12· · · ·Q.· ·Are you familiar with any property that Texas       12· · · · · · MR. BALLASES:· Objection.· Form.
13· REIT owns?                                                    13· BY MR. POPE:
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · ·Q.· ·You represent her, don't you?
15· · · · · · THE DEPONENT:· Other than the Westheimer            15· · · · · · MR. BALLASES:· Objection.· Form.
16· property, no.                                                 16· · · · · · THE DEPONENT:· I'm not her primary lawyer.
17· BY MR. POPE:                                                  17· BY MR. POPE:
18· · · ·Q.· ·How did you come to become familiar with the        18· · · ·Q.· ·But you're one of her lawyers?
19· Westheimer property?                                          19· · · ·A.· ·Yes.
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · · · · THE DEPONENT:· I think there's some litigation      21· BY MR. POPE:
22· involving Osama Abdullatif.                                   22· · · ·Q.· ·Do you have a contingency agreement with her?
23· BY MR. POPE:                                                  23· · · ·A.· ·No.
24· · · ·Q.· ·Are you a named party in that litigation?           24· · · · · · MR. BALLASES:· Objection.· Form.
25· · · ·A.· ·I am not.                                           25· BY MR. POPE:
                                                       Page 212                                                          Page 214
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· · · ·Q.· ·Do you know Bobby Newman?
·2· BY MR. POPE:                                                  ·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·Are you representing anybody in that litigation?    ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· BY MR. POPE:
·5· · · · · · THE DEPONENT:· I'm not.                             ·5· · · ·Q.· ·How do you know Bobby Newman?
·6· BY MR. POPE:                                                  ·6· · · ·A.· ·He's a lawyer.
·7· · · ·Q.· ·Do you know if Hira Azhar has a lis pendens on      ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· that property?                                                ·8· BY MR. POPE:
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· · · ·Q.· ·Have you ever paid any attorney's fees for him?
10· · · · · · THE DEPONENT:· I'm not aware of that.               10· · · · · · MR. BALLASES:· Objection.· Form.
11· BY MR. POPE:                                                  11· · · · · · THE DEPONENT:· I don't know about that.
12· · · ·Q.· ·Have -- have you ever assisted her in filing any    12· BY MR. POPE:
13· lis pendens against that property?                            13· · · ·Q.· ·Has he given you ...
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · · · · (Discussion off the record.)
15· · · · · · THE DEPONENT:· I have not.                          15· · · · · · MR. BALLASES:· Ready to move onto the next
16· BY MR. POPE:                                                  16· witness?
17· · · ·Q.· ·Have you ever assisted her in filing any lis        17· · · · · · MR. POPE:· Almost.
18· pendens against any of Mr. Choudhri or the named              18· BY MR. POPE:
19· defendants' properties?                                       19· · · ·Q.· ·Are you familiar with Memorial Glen Cove LLC?
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · ·A.· ·I'm sorry.· Could you repeat the question?
21· · · · · · THE DEPONENT:· I have not.                          21· · · ·Q.· ·Are you familiar with an entity by the name of
22· BY MR. POPE:                                                  22· Memorial Glen Cove LLC?
23· · · ·Q.· ·Are you aware of someone who has?                   23· · · ·A.· ·Vaguely.· I couldn't tell you what it is.
24· · · ·A.· ·Her lawyers.                                        24· · · ·Q.· ·How about VGRP Holdings LLC?
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · ·A.· ·That I've seen.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 56 of 111
OMAR KHAWAJA                                        October 03, 2024                                               215 to 217
78755
                                                       Page 215                                                          Page 217
·1· · · ·Q.· ·And where have you seen that?                       ·1· · · · · · THE DEPONENT:· We have a lot of discovery left to
·2· · · ·A.· ·An entity affiliated with Mr. Choudhri.             ·2· do in this case.
·3· · · ·Q.· ·Is that something you found on your own before      ·3
·4· the Complaint was filed or you've seen that after, you saw    ·4
·5· it in discovery, post-Complaint?                              ·5
·6· · · ·A.· ·No.· I saw that prior to the Complaint.             ·6
·7· · · ·Q.· ·And how did you come across that prior to the       ·7
·8· Complaint?                                                    ·8
·9· · · ·A.· ·I think there was a Wayne Dolcefino video on it.    ·9
10· · · · · · THE REPORTER:· I'm sorry.· What was that?           10
11· · · · · · THE DEPONENT:· I think there was a Wayne            11
12· Dolcefino video on it.                                        12
13· BY MR. POPE:                                                  13
14· · · ·Q.· ·Is there a reason why they're not a named           14
15· defendant?                                                    15
16· · · · · · MR. BALLASES:· Objection.· Form.                    16
17· · · · · · THE DEPONENT:· I have no idea.· Should we add       17
18· them?                                                         18
19· BY MR. POPE:                                                  19
20· · · ·Q.· ·Is it your contention that every entity that Ali    20
21· Choudhri has a connection with is an alter ego?               21
22· · · · · · MR. BALLASES:· Objection.· Form.                    22
23· · · · · · THE DEPONENT:· Perhaps.                             23
24· BY MR. POPE:                                                  24
25· · · ·Q.· ·Is that your assertion?                             25
                                                       Page 216
·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · · · · THE DEPONENT:· It might be.
·3· · · · · · (Discussion off the record.)
·4· BY MR. POPE:
·5· · · ·Q.· ·Which transfers are you hoping to avoid?
·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· · · · · · THE DEPONENT:· Sitting here today, I couldn't
·8· tell you.· Any -- any transfer that results in my judgment
·9· not being paid, and that's meant to --
10· BY MR. POPE:
11· · · ·Q.· ·Which transfer is that?
12· · · ·A.· ·Any transfer --
13· · · · · · MR. BALLASES:· Objection.· Form.
14· · · · · · THE DEPONENT:· -- that is meant to evade a
15· creditor's judgment.
16· BY MR. POPE:
17· · · ·Q.· ·Well, which transfer is that?
18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · · · · THE DEPONENT:· I don't know.· I have to look.
20· BY MR. POPE:
21· · · ·Q.· ·So after your review of all the bank statements
22· in discovery, you still don't know which transfers?
23· · · ·A.· ·Correct.
24· · · ·Q.· ·Right?
25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 57 of 111
OMAR KHAWAJA                                        October 03, 2024                                               218 to 221
78755
                                                       Page 218                                                          Page 220
·1· BY MR. POPE:                                                  ·1· · · ·Q.· ·During your investigation, did you find that the
·2· · · ·Q.· ·In your opinion as a layperson, not as an           ·2· defendants kept separate bank accounts?
·3· attorney, how would you -- what is your definition of the     ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· concept of commingling?                                       ·4· · · · · · THE DEPONENT:· Separate bank accounts?· What do
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· you mean by that?
·6· · · · · · THE DEPONENT:· That calls for a legal conclusion.   ·6· BY MR. POPE:
·7· BY MR. POPE:                                                  ·7· · · ·Q.· ·That Jetall had a bank account and that Arabella
·8· · · ·Q.· ·Do you have any personal knowledge of any benefit   ·8· had a bank account and that 2727 Kirby had a bank account.
·9· any of the named defendants would have received from these    ·9· Did you find that they were all signatures on all of the
10· alleged fraudulent transfers?                                 10· bank accounts?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · THE DEPONENT:· No.                                  12· · · · · · THE DEPONENT:· I don't know about all.· That's
13· BY MR. POPE:                                                  13· pretty broad, but I think what we found is that one entity
14· · · ·Q.· ·Are any of the alleged transfers outside of the     14· is paying for another entity's payroll; one entity is
15· statute of limitations?                                       15· writing checks to another entity for whatever the purpose
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· is.· I don't know what the purpose was.
17· · · · · · THE DEPONENT:· I don't think so.                    17· BY MR. POPE:
18· BY MR. POPE:                                                  18· · · ·Q.· ·How did you determine that that was happening
19· · · ·Q.· ·How far back do the bank statements go that you     19· between one entity and another entity?· Did you find that
20· received?                                                     20· they had separate bank accounts?
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · · · · THE DEPONENT:· I'm not sure, to be honest with      22· · · · · · THE DEPONENT:· Some of them had separate.· Some
23· you.                                                          23· of them of them did, yes.
24· BY MR. POPE:                                                  24· BY MR. POPE:
25· · · ·Q.· ·What banks did you request bank statements from?    25· · · ·Q.· ·Which ones had separate bank accounts?
                                                       Page 219                                                          Page 221
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· · · ·A.· ·I don't know off the top of my head.· There's
·2· · · · · · THE DEPONENT:· I don't have them in front of me.    ·2· dozens of defendants here.
·3· Numerous.                                                     ·3· · · ·Q.· ·Were there dozens of bank accounts that you
·4· BY MR. POPE:                                                  ·4· reviewed?
·5· · · ·Q.· ·Is Galleria Loop Loop Note Holder a judgment        ·5· · · ·A.· ·Possibly.
·6· debtor to any of your judgments?                              ·6· · · ·Q.· ·More than 10?
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· · · ·A.· ·I don't -- I don't know if there were more than
·8· · · · · · THE DEPONENT:· I think so.                          ·8· 10.
·9· BY MR. POPE:                                                  ·9· · · ·Q.· ·Not more than 10 bank accounts?
10· · · ·Q.· ·Which one?                                          10· · · ·A.· ·Not sure, to be honest with you.
11· · · ·A.· ·I -- I don't know.· I’m not -- I'm not 100          11· · · ·Q.· ·Have you ever stated to anyone that you want to
12· percent sure.· There's -- there's a lot.                      12· get Ali Choudhri indicted?
13· · · ·Q.· ·What evidence do you have that the defendants did   13· · · · · · MR. BALLASES:· Objection.· Form.
14· not operate independently of each other?                      14· · · · · · THE DEPONENT:· Indicted?· No.· He can do that all
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· by himself.
16· · · · · · THE DEPONENT:· Again, would have to review the      16· BY MR. POPE:
17· voluminous documents that show that assets were commingled,   17· · · ·Q.· ·From your review of those bank statements, how
18· funds were commingled, you know, one creditor's -- excuse     18· were the finances of each defendant managed?
19· me -- one debtor's bills are being paid by another's, that    19· · · · · · MR. BALLASES:· Objection.· Form.
20· kind of stuff.                                                20· · · · · · THE DEPONENT:· I'm sorry?· How were the finances?
21· BY MR. POPE:                                                  21· BY MR. POPE:
22· · · ·Q.· ·Did you review any corporate documents of any of    22· · · ·Q.· ·Yeah, managed.
23· the named defendant entities before retaining Hoover          23· · · ·A.· ·I would imagine poorly, since some of them got
24· Slovacek?                                                     24· foreclosed on.
25· · · ·A.· ·I may have.· I'm not sure.                          25· · · ·Q.· ·Have you brought up or contacted any authority



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 58 of 111
OMAR KHAWAJA                                        October 03, 2024                                               222 to 225
78755
                                                       Page 222                                                          Page 224
·1· about any of these alleged fraudulent transfers?              ·1· · · · · · MR. BALLASES:· Objection.· Form.· To the extent
·2· · · ·A.· ·No.                                                 ·2· --
·3· · · · · · MR. BALLASES:· Objection.                           ·3· · · · · · THE DEPONENT:· Didn't we cover this already?
·4· BY MR. POPE:                                                  ·4· · · · · · MR. BALLASES:· Well, that's why I object to the
·5· · · ·Q.· ·Contact the police?                                 ·5· form.· But to the extent it gets into attorney-client
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· privilege or attorney work product privilege, I'm
·7· BY MR. POPE:                                                  ·7· instructing you not to divulge that information.
·8· · · ·Q.· ·Or the FBI, or anyone?                              ·8· BY MR. POPE:
·9· · · ·A.· ·No.· Are there crimes being committed here?         ·9· · · ·Q.· ·Have you ever filed a lis pendens that was
10· · · ·Q.· ·Have you spoken to Mr. Gil, or do you know          10· challenged and found to be improper?
11· Mr.                                                           11· · · · · · MR. BALLASES:· Objection.· Form.
· · · ·Gil?
                                                                  12· · · · · · THE DEPONENT:· I think maybe in one of the cases
12· · · · · · MR. BALLASES:· Objection.· Form.
                                                                  13· that we had, there was an improper lis pendens, or there
13· · · · · · THE DEPONENT:· Mr. Gil, I think is one of the
                                                                  14· was a determination that the lis pendens should be removed,
14· civil lawyers at the Department of Justice.
                                                                  15· yes.· Unfortunately, it was an incorrect decision, but --
15· BY MR. POPE:
                                                                  16· BY MR. POPE:
16· · · ·Q.· ·Have you spoken to him?
17· · · ·A.· ·I don't know if I'm able to get into that.          17· · · ·Q.· ·Did you appeal the decision?
18· · · ·Q.· ·How do you know him?                                18· · · ·A.· ·I didn't.
19· · · · · · MR. BALLASES:· Objection.· Form.                    19· · · ·Q.· ·Was it a case involving one of the named
20· · · · · · THE DEPONENT:· Because I know that he's on the      20· defendants?
21· petitions that have been filed against Mr. Choudhri.          21· · · · · · MR. BALLASES:· Objection.· Form.
22· BY MR. POPE:                                                  22· · · · · · THE DEPONENT:· No.· This was a -- yeah, it was.
23· · · ·Q.· ·Did you provide him any documents?                  23· Yes.
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· BY MR. POPE:
25· · · · · · THE DEPONENT:· I wouldn't -- I'm not -- I don't     25· · · ·Q.· ·And it was a lis pendens that you caused to be
                                                       Page 223                                                          Page 225
·1· think I'm allowed to get into that.· I'm not sure if I'm      ·1· filed that was removed in that litigation?
·2· able to.                                                      ·2· · · · · · MR. BALLASES:· Objection.· Form.
·3· · · · · · MR. POPE:· Can you mark the answer to that          ·3· · · · · · THE DEPONENT:· Yes.
·4· question --                                                   ·4· BY MR. POPE:
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· · · ·Q.· ·Do you know what a fraudulent lien is?
·6· · · · · · MR. POPE:· -- possibly for certification?           ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· · · · · · THE REPORTER:· Yes, sir.                            ·7· · · · · · THE DEPONENT:· Fraudulent lien?· A lien that's
·8· BY MR. POPE:                                                  ·8· filed fraudulent, I think.
·9· · · ·Q.· ·Do you have any evidence showing that Jetall        ·9· BY MR. POPE:
10· Companies failed to maintain separate books --                10· · · ·Q.· ·Have you taken the time to calculate the amount
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· of damages that you believe you are owed individually?
12· BY MR. POPE:                                                  12· · · · · · MR. BALLASES:· Objection.· Form.
13· · · ·Q.· ·-- from the other entities, separate from the       13· BY MR. POPE:
14· other entities?                                               14· · · ·Q.· ·Not in total filed the three of you, but what you
15· · · ·A.· ·I don't have it.· I think there's discovery that    15· are owed individually?
16· remains to be done.                                           16· · · · · · MR. BALLASES:· Objection.· Form.
17· · · ·Q.· ·Before you filed this complaint, did you have any   17· · · · · · THE DEPONENT:· I haven't, but I generally believe
18· evidence of -- that Shahnaz Choudhri did not maintain         18· it would be a third of the judgment.
19· separate books from the other named defendants?               19· BY MR. POPE:
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · ·Q.· ·You only have an interest in two of the three?
21· · · · · · THE DEPONENT:· I don't know that.· I don't think    21· · · ·A.· ·Yes.· That's what I meant.
22· we have that, no.· I don't know that I have that.             22· · · ·Q.· ·Okay.· At the time the lawsuit was filed, did you
23· BY MR. POPE:                                                  23· have any knowledge of how the entities named as defendants
24· · · ·Q.· ·Can you walk me through the steps you took to       24· were formed?
25· verify your right to file those lis pendentes?                25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 59 of 111
OMAR KHAWAJA                                        October 03, 2024                                               226 to 229
78755
                                                       Page 226                                                          Page 228
·1· · · · · · THE DEPONENT:· I don't understand the question.     ·1· affiliated with the entity.
·2· BY MR. POPE:                                                  ·2· BY MR. POPE:
·3· · · ·Q.· ·Did you know who formed them, who the members       ·3· · · ·Q.· ·And how do you know that?
·4· were before you named them as defendants?                     ·4· · · ·A.· ·The litigation against Mr. Choudhri, public
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· record.
·6· · · · · · THE DEPONENT:· Do I know who formed the             ·6· · · ·Q.· ·Which litigation gave you that information?
·7· entities· --                                                  ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· BY MR. POPE:                                                  ·8· · · · · · THE DEPONENT:· I think that was in Dalio Holdings
·9· · · ·Q.· ·-- before you filed your complaint?                 ·9· litigation or the MBK litigation.· I can't remember.
10· · · ·A.· ·-- before I filed my complaint?· I don't know       10· There's been -- I mean, there's voluminous lawsuits.
11· what that means.                                              11· BY MR. POPE:
12· · · ·Q.· ·Did you know who owned the entities before you      12· · · ·Q.· ·So do you know who formed Dalio Holdings I?
13· filed your complaint?                                         13· · · ·A.· ·I don't.
14· · · ·A.· ·I mean, I suspect we --                             14· · · · · · MR. BALLASES:· Objection.· Form.
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· BY MR. POPE:
16· · · · · · THE DEPONENT:· Yes.· I mean, it would be public     16· · · ·Q.· ·Do you know who its members are?
17· record.                                                       17· · · ·A.· ·I don't sitting here today.
18· BY MR. POPE:                                                  18· · · ·Q.· ·Do you know who formed Dalio Holdings II?
19· · · ·Q.· ·But did you know?                                   19· · · · · · MR. BALLASES:· Objection.· Form.
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · · · · THE DEPONENT:· It wasn't Ray Dalio.
21· · · · · · THE DEPONENT:· Except the ones that were Wyoming,   21· BY MR. POPE:
22· because I think there's a Wyoming entity that we didn't       22· · · ·Q.· ·Do you know who its members are?
23· know.· And the purpose of that Wyoming entity is to conceal   23· · · ·A.· ·I don't.
24· who the member is.· But the other ones, I -- you know, we     24· · · ·Q.· ·Do you know who Azeemeh Zaheer is?
25· did our general research, yes.                                25· · · ·A.· ·I do.
                                                       Page 227                                                          Page 229
·1· BY MR. POPE:                                                  ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·Q.· ·When you say we did our general research, who's     ·2· BY MR. POPE:
·3· the we?                                                       ·3· · · ·Q.· ·Who is she?
·4· · · ·A.· ·We meaning --                                       ·4· · · ·A.· ·She is a former business partner of Ali.
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· · · ·Q.· ·And how do you know that?
·6· · · · · · THE DEPONENT:· We as in the royal we.               ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· BY MR. POPE:                                                  ·7· · · · · · THE DEPONENT:· She -- she has got a lot of
·8· · · ·Q.· ·The royal we?                                       ·8· litigation against him.
·9· · · ·A.· ·Yes.                                                ·9· BY MR. POPE:
10· · · ·Q.· ·Explain the royal we.                               10· · · ·Q.· ·How did you meet her?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · ·A.· ·I met her in the context of her coming to me
12· · · · · · THE DEPONENT:· The royal we is we but singular.     12· complaining about him.
13· BY MR. POPE:                                                  13· · · · · · MR. BALLASES:· Objection.· Form.
14· · · ·Q.· ·Never been a royal.· When did you first become      14· BY MR. POPE:
15· aware of the corporate structure for Jetall Companies?        15· · · ·Q.· ·She came to you as a -- looking for legal counsel
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· or as a friend?
17· · · · · · THE DEPONENT:· Maybe 2013.                          17· · · ·A.· ·Legal counsel.· Legal counsel.
18· BY MR. POPE:                                                  18· · · ·Q.· ·When?
19· · · ·Q.· ·And how did you become aware of that?               19· · · ·A.· ·Not too long ago, I think 20 -- maybe '22, '23,
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· something like that.
21· · · · · · THE DEPONENT:· Just researched it.· It's gone       21· · · ·Q.· ·Are you aware of her having any agency agreements
22· through may iterations over the years.· So sometimes          22· with any of the named defendants?
23· Shahnaz Choudhri's part of it and sometimes his father was    23· · · ·A.· ·Yes.· Yes, with him.
24· a part of it.· Sometimes Brad Parker was a part of it.· So    24· · · ·Q.· ·With Mr. Choudhri individually?
25· there's been various people, people with agency agreements    25· · · ·A.· ·With Mr. Choudhri, mm-hmm.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 60 of 111
OMAR KHAWAJA                                        October 03, 2024                                               230 to 233
78755
                                                       Page 230                                                          Page 232
·1· · · ·Q.· ·Did she form any companies for him?                 ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · · · · THE DEPONENT:· No.
·3· · · · · · THE DEPONENT:· I don't know about all that.         ·3· BY MR. POPE:
·4· BY MR. POPE:                                                  ·4· · · ·Q.· ·Okay.· Other than what's currently stated in your
·5· · · ·Q.· ·Did she form Dalio I?                               ·5· pleadings, are you aware of any other theories of alter ego
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· or any other claims that you plan to bring in this case?
·7· · · · · · THE DEPONENT:· Could be.                            ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· BY MR. POPE:                                                  ·8· · · · · · THE DEPONENT:· I mean, I can't predict the
·9· · · ·Q.· ·Did she form Dalio Holdings II?                     ·9· future.· If I find out assets are being transferred to
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· someone else, we're going to have to make those claims.
11· · · · · · THE DEPONENT:· Could possibly.· I don't know.       11· BY MR. POPE:
12· BY MR. POPE:                                                  12· · · ·Q.· ·But are you aware of any right now as you sit
13· · · ·Q.· ·Has she ever been an agent of Ali Choudhri?         13· here today?
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · ·A.· ·No, not right now.
15· · · · · · THE DEPONENT:· It appears she was at some point.    15· · · ·Q.· ·Are there any additional factors or reasons that
16· BY MR. POPE:                                                  16· you haven't disclosed in your pleading that you're going to
17· · · ·Q.· ·Has she ever been an agent for any of the other     17· rely upon to pursue these claims?
18· entities?                                                     18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · · · · MR. BALLASES:· Objection.· Form.                    19· · · · · · To the extent you -- your question gets into
20· · · · · · THE DEPONENT:· I -- I think she has been, yes.      20· attorney-client or work product, legal privileges, then I
21· BY MR. POPE:                                                  21· would instruct the witness not to divulge that information.
22· · · ·Q.· ·Is there a reason why she's not a named             22· BY MR. POPE:
23· defendant?                                                    23· · · ·Q.· ·Are you aware of any other facts related to this
24· · · ·A.· ·Not sure, to be honest with you.                    24· case that are not pled in your pleadings?
25· · · ·Q.· ·Do you have some side agreement with her?           25· · · ·A.· ·I mean, I think we have people to depose.
                                                       Page 231                                                          Page 233
·1· · · ·A.· ·No.                                                 ·1· · · · · · THE REPORTER:· I'm sorry, what was that?
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · · · · THE DEPONENT:· We still have people to depose in
·3· BY MR. POPE:                                                  ·3· this case.
·4· · · ·Q.· ·Do you have any contingency agreement with her?     ·4· BY MR. POPE:
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· · · ·Q.· ·Well, as you sit here today, are you aware of any
·6· · · · · · THE DEPONENT:· No contingency.                      ·6· additional facts that are not pled in your --
·7· BY MR. POPE:                                                  ·7· · · ·A.· ·I don't know -- what --
·8· · · ·Q.· ·Do you have any agency agreements with her?         ·8· · · · · · MR. BALLASES:· Objection.· Form.
·9· · · ·A.· ·No.                                                 ·9· · · · · · THE DEPONENT:· -- I don't know, as Donald
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· Rumsfeld said.
11· BY MR. POPE:                                                  11· BY MR. POPE:
12· · · ·Q.· ·Do you have any agency agreements with any of her   12· · · ·Q.· ·So the answer's no?
13· entities?                                                     13· · · ·A.· ·The answer is no.
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · · · · MR. BALLASES:· Objection.· Form.
15· · · · · · THE DEPONENT:· No.                                  15· BY MR. POPE:
16· BY MR. POPE:                                                  16· · · ·Q.· ·Do you know Quanell X?
17· · · ·Q.· ·What entities does she have?                        17· · · · · · MR. BALLASES:· Objection.· Form.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· · · · · · THE DEPONENT:· Generally, yes.
19· · · · · · THE DEPONENT:· I'm not aware of any.                19· BY MR. POPE:
20· BY MR. POPE:                                                  20· · · ·Q.· ·How do you know him?
21· · · ·Q.· ·You're not aware of any?                            21· · · ·A.· ·He's on TV.
22· · · ·A.· ·No.· I think Naissance Galleria.· That's one of     22· · · ·Q.· ·Other than being on TV, do you know him outside
23· hers.                                                         23· of that?
24· · · ·Q.· ·Naissance Galleria?· Okay.· Does she have any       24· · · ·A.· ·I don't know.· I've said hi and bye to him a few
25· other entities that you're aware of?                          25· times.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 61 of 111
OMAR KHAWAJA                                        October 03, 2024                                               234 to 237
78755
                                                       Page 234                                                          Page 236
·1· · · ·Q.· ·Have you ever sent a text to him?                   ·1· · · ·Q.· ·You were representing Chris Wyatt in that
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· proceeding?
·3· · · · · · THE DEPONENT:· Quanell?                             ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· BY MR. POPE:                                                  ·4· · · · · · THE DEPONENT:· I was, yes.
·5· · · ·Q.· ·Mm-hmm.                                             ·5· BY MR. POPE:
·6· · · ·A.· ·I think maybe I have, yes.                          ·6· · · ·Q.· ·And Azeemeh Zaheer?
·7· · · ·Q.· ·Emails?                                             ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· · · · · · THE REPORTER:· I'm sorry.· What was that?
·9· · · · · · THE DEPONENT:· No, never -- never emailed him.      ·9· BY MR. POPE:
10· Does he have any?· I don't know if he has one.                10· · · ·Q.· ·Did you also represent Azeemeh Zaheer?
11· BY MR. POPE:                                                  11· · · ·A.· ·Yes.
12· · · ·Q.· ·What was the nature of the text?                    12· · · · · · THE REPORTER:· I'm sorry.· If I can please get
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· one at a time for a clear record.
14· · · · · · THE DEPONENT:· It was a -- I think it was a         14· BY MR. POPE:
15· community-type deal, like maybe someone in the Muslim         15· · · ·Q.· ·Did you also represent Azeemeh Zaheer in that
16· community that needed help or something like that,            16· proceeding?
17· community work.                                               17· · · · · · MR. BALLASES:· Objection.· Form.
18· BY MR. POPE:                                                  18· · · · · · THE DEPONENT:· Yes.
19· · · ·Q.· ·Did you ever text him about Chris Wyatt?            19· BY MR. POPE:
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · ·Q.· ·So you represented both Chris Wyatt and Azeemeh
21· · · · · · THE DEPONENT:· Chris Wyatt?· No.                    21· Zaheer at that proceeding?
22· BY MR. POPE:                                                  22· · · · · · MR. BALLASES:· Objection.· Form.
23· · · ·Q.· ·Did you ever text him about Ali Choudhri?           23· · · · · · THE DEPONENT:· I can't remember if it was the
24· · · ·A.· ·Never.                                              24· same hearing, but yes, I represented both of them.
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · · · · MR. BALLASES:· Ready for Number 2?
                                                       Page 235                                                          Page 237
·1· BY MR. POPE:                                                  ·1· · · · · · MR. POPE:· Not quite.· I think I need to take a
·2· · · ·Q.· ·Did you text him about Ali Choudhri's entity or     ·2· five-minute break to make sure the camera man can leave his
·3· any of the entity defendants?                                 ·3· stuff here.· He asked that question.· We had not cleared
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· that up.· I want to make sure he doesn't have an issue with
·5· · · · · · THE DEPONENT:· No, no, never.                       ·5· that.· He did ask me to make sure he could leave it there.
·6· BY MR. POPE:                                                  ·6· · · · · · THE VIDEOGRAPHER:· All parties agree we're going
·7· · · ·Q.· ·When did that text take place?                      ·7· off the record.
·8· · · ·A.· ·My text?                                            ·8· · · · · · THE REPORTER:· Stand by one moment while we go
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· off.
10· BY MR. POPE:                                                  10· · · · · · THE VIDEOGRAPHER:· We're going off record at 5:08
11· · · ·Q.· ·To Mr. Quanell?                                     11· p.m.
12· · · ·A.· ·I think it was a few years ago.· I can't            12· · · · · · (WHEREUPON, a recess was taken.)
13· remember.· Nothing related to this case at all.               13· · · · · · THE VIDEOGRAPHER:· Going back on the record at
14· · · ·Q.· ·Have you ever been present when Quanell X has       14· 5:24 p.m.
15· given testimony in a court?                                   15· BY MR. POPE:
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · ·Q.· ·Mr. Khawaja, so have you spoken to anyone at the
17· · · · · · THE DEPONENT:· I think I was once, yeah, Judge      17· Houston Police Department about Ali Choudhri?
18· Manor's court.                                                18· · · ·A.· ·No.
19· BY MR. POPE:                                                  19· · · · · · MR. BALLASES:· Objection.· Form.
20· · · ·Q.· ·Judge Manor's court?                                20· BY MR. POPE:
21· · · ·A.· ·Sorry?                                              21· · · ·Q.· ·Have you spoken to any constable about Ali
22· · · ·Q.· ·Judge Manor's court?                                22· Choudhri?
23· · · ·A.· ·Yes.· Yeah.                                         23· · · ·A.· ·No.
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· · · · · · MR. BALLASES:· Objection.· Form.
25· BY MR. POPE:                                                  25· BY MR. POPE:



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 62 of 111
OMAR KHAWAJA                                        October 03, 2024                                               238 to 241
78755
                                                       Page 238                                                          Page 240
·1· · · ·Q.· ·Anyone at the U.S. DOJ?                             ·1· · · ·A.· ·Yes.
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · ·Q.· ·What type of lawyer is he?
·3· · · · · · THE DEPONENT:· No.                                  ·3· · · ·A.· ·Prosecutor --
·4· BY MR. POPE:                                                  ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · ·Q.· ·Anyone in the Civil Division of U.S. DOJ?           ·5· · · · · · THE DEPONENT:· Prosecutor with the Department of
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· Justice.
·7· · · · · · THE DEPONENT:· If I did, I'm not sure if I'm able   ·7· BY MR. POPE:
·8· to disclose that.                                             ·8· · · ·Q.· ·Prosecutor with the Department of Justice.· Which
·9· BY MR. POPE:                                                  ·9· division?
10· · · ·Q.· ·If you did, who would it be?                        10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · · · · THE DEPONENT:· I think he's the District Attorney
12· · · · · · THE DEPONENT:· If I was able to disclose that, I    12· for the Southern District now.
13· would.                                                        13· BY MR. POPE:
14· BY MR. POPE:                                                  14· · · ·Q.· ·Okay.
15· · · ·Q.· ·So are you refusing to answer that question?        15· · · ·A.· ·Or he's a U.S. Attorney for the Southern
16· · · ·A.· ·I'm not going to answer that question.              16· District.
17· · · ·Q.· ·You're not going to answer that question.           17· · · ·Q.· ·And what did you talk to him about?
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· · · · · · MR. BALLASES:· Objection.· Form.
19· BY MR. POPE:                                                  19· · · · · · THE DEPONENT:· He's a friend.
20· · · ·Q.· ·Is there a reason why you're not going to answer    20· BY MR. POPE:
21· that question?                                                21· · · ·Q.· ·He's a friend?
22· · · ·A.· ·It could be subject to some sort of                 22· · · ·A.· ·Yes.
23· confidentiality.                                              23· · · ·Q.· ·Have you talked to him about Ali Choudhri?
24· · · ·Q.· ·Between you and whom?                               24· · · ·A.· ·No.
25· · · · · · MR. BALLASES:· The government investigating him.    25· · · · · · MR. BALLASES:· Objection.· Form.
                                                       Page 239                                                          Page 241
·1· · · · · · THE DEPONENT:· Yeah.· Exactly.                      ·1· BY MR. POPE:
·2· · · · · · MS. MACGEORGE:· Are we answering for our            ·2· · · ·Q.· ·Have you talked to him about any of the other
·3· deponents --                                                  ·3· named defendants?
·4· · · · · · MR. BALLASES:· I was just helping him.              ·4· · · ·A.· ·No.
·5· · · · · · MS. MACGEORGE:· -- or are we letting our            ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· deponents answer?                                             ·6· BY MR. POPE:
·7· · · · · · MR. BALLASES:· I was just answering for him.        ·7· · · ·Q.· ·Has your client here sued over 30 defendants?
·8· · · · · · MS. MACGEORGE:· I don't think we get to answer      ·8· · · · · · MR. BALLASES:· Objection.· Form.
·9· for our deponents.· Let's let our deponents answer the        ·9· · · · · · THE DEPONENT:· I don't know about that.
10· questions.                                                    10· BY MR. POPE:
11· BY MR. POPE:                                                  11· · · ·Q.· ·Has she sued more than 20 defendants?
12· · · ·Q.· ·Between you and whom?                               12· · · · · · MR. BALLASES:· Objection.· Form.
13· · · ·A.· ·A government agency.                                13· · · · · · THE DEPONENT:· No clue.
14· · · ·Q.· ·Which agency?                                       14· BY MR. POPE:
15· · · ·A.· ·Department of Justice.                              15· · · ·Q.· ·No clue?· Do you know Jeff Vise?
16· · · ·Q.· ·Okay.· Have you communicated in any way with a      16· · · · · · MR. BALLASES:· Objection.· Form.
17· Mr. Hamdani?                                                  17· · · · · · THE DEPONENT:· Yes, I do.
18· · · ·A.· ·No.                                                 18· BY MR. POPE:
19· · · · · · MR. BALLASES:· Objection.· Form.                    19· · · ·Q.· ·How do you know Jeff Vise?
20· BY MR. POPE:                                                  20· · · ·A.· ·He's a public adjuster.
21· · · ·Q.· ·Do you know Mr. Hamdani?                            21· · · ·Q.· ·Public adjuster.· Have you had any discussions
22· · · ·A.· ·Yes.                                                22· about Ali Choudhri with Mr. Vise?
23· · · ·Q.· ·How do you know Mr. Hamdani?                        23· · · · · · MR. BALLASES:· Objection.· Form.
24· · · ·A.· ·He's a lawyer in the community.                     24· · · · · · THE DEPONENT:· I think he may have asked me about
25· · · ·Q.· ·A lawyer in the community?                          25· doing business with him or his opinion of him.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 63 of 111
OMAR KHAWAJA                                        October 03, 2024                                               242 to 245
78755
                                                       Page 242                                                          Page 244
·1· BY MR. POPE:                                                  ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·Q.· ·And what did you say?                               ·2· · · · · · THE DEPONENT:· Not going to discuss that.
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· BY MR. POPE:
·4· · · · · · THE DEPONENT:· I said what I would tell anybody.    ·4· · · ·Q.· ·Do you know Mr. Shaitelman?
·5· Be careful.                                                   ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· BY MR. POPE:                                                  ·6· · · · · · THE DEPONENT:· I know that he's a prosecutor, or
·7· · · ·Q.· ·And when did you guys have that conversation?       ·7· a civil prosecutor on his case.
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· BY MR. POPE:
·9· · · · · · THE DEPONENT:· Maybe -- maybe last year sometime.   ·9· · · ·Q.· ·Do you know Mr. Gil's occupation?
10· BY MR. POPE:                                                  10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · ·Q.· ·Before or after you filed the complaint?            11· · · · · · THE DEPONENT:· Same thing, civil prosecutor.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· BY MR. POPE:
13· · · · · · THE DEPONENT:· I -- I think it would have been      13· · · ·Q.· ·Have you sent any emails to either of those
14· after.                                                        14· individuals?
15· BY MR. POPE:                                                  15· · · ·A.· ·Not to my knowledge.
16· · · ·Q.· ·After.· Okay.· Have you talked to Mr. Vise about    16· · · · · · MR. BALLASES:· Objection.· Form.
17· any of the other named defendants?                            17· BY MR. POPE:
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· · · ·Q.· ·Sent any text messages to either of those
19· · · · · · THE DEPONENT:· No.                                  19· individuals?
20· BY MR. POPE:                                                  20· · · ·A.· ·No.
21· · · ·Q.· ·How long have you known Mr. Vise?                   21· · · · · · THE REPORTER:· If I can please get one at at
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· time.· I'm starting to get some overlap, please.
23· · · · · · THE DEPONENT:· I've known him for -- probably       23· BY MR. POPE:
24· since 2013, 2014.                                             24· · · ·Q.· ·Have you sent any documents to either of those
25· BY MR. POPE:                                                  25· individuals?
                                                       Page 243                                                          Page 245
·1· · · ·Q.· ·How long have you known Mr. Hamdani?                ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · · · · THE DEPONENT:· Not that I recall, no.
·3· · · · · · THE DEPONENT:· I've known him longer.· I've known   ·3· BY MR. POPE:
·4· him since like 2005.· Since 9/11, actually.                   ·4· · · ·Q.· ·Have you provided any documents to those
·5· BY MR. POPE:                                                  ·5· individuals?
·6· · · ·Q.· ·How long have you known Mr. Gil?                    ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· · · · · · THE DEPONENT:· Actually, I'm not going to answer
·8· · · · · · THE DEPONENT:· I wouldn't be able to talk about     ·8· any questions about that.
·9· that.                                                         ·9· BY MR. POPE:
10· BY MR. POPE:                                                  10· · · ·Q.· ·Why not?
11· · · ·Q.· ·You can't talk about how long you've known          11· · · · · · MR. BALLASES:· Objection.· Form.
12· Mr. Gil?                                                      12· · · · · · THE DEPONENT:· Because I’m not going to.
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· BY MR. POPE:
14· · · · · · THE REPORTER:· I'm sorry.· Could I get a verbal     14· · · ·Q.· ·You don't have a confidentiality agreement with
15· answer for that?                                              15· either one, right?
16· · · · · · THE DEPONENT:· Yes.· I -- I'm not going to          16· · · · · · MR. BALLASES:· Objection.· Form.
17· discuss that.                                                 17· · · · · · THE DEPONENT:· I don't know about that.
18· BY MR. POPE:                                                  18· BY MR. POPE:
19· · · ·Q.· ·Do you have a confidentiality agreement with        19· · · ·Q.· ·You don't know.· Have you signed any agreements
20· Mr. Gil?                                                      20· with either one of them?
21· · · ·A.· ·I don't know.                                       21· · · ·A.· ·No.
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· · · · · · MR. BALLASES:· Objection.· Form.
23· BY MR. POPE:                                                  23· BY MR. POPE:
24· · · ·Q.· ·Do you have a confidentiality agreement with        24· · · ·Q.· ·So you haven't signed any agreements, so then you
25· Mr. Shaitelman?                                               25· would not have a confidentiality agreement; wouldn't that



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 64 of 111
OMAR KHAWAJA                                        October 03, 2024                                               246 to 249
78755
                                                       Page 246                                                          Page 248
·1· be correct?                                                   ·1· · · ·A.· ·Never.
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · · · · MR. BALLASES:· Objection.· Form.
·3· · · · · · THE DEPONENT:· Look, we can take it up with the     ·3· BY MR. POPE:
·4· judge, Mr. Pope.· I'm not going to talk about that.· So do    ·4· · · ·Q.· ·Have you ever sent him a text regarding any of
·5· you want to call the judge, we can call the judge.            ·5· the named defendants?
·6· BY MR. POPE:                                                  ·6· · · ·A.· ·No.
·7· · · ·Q.· ·So you're going to refuse to answer?                ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· · · ·A.· ·I'm refusing to answer that question or any line    ·8· BY MR. POPE:
·9· of questioning related to the Department of Justice.          ·9· · · ·Q.· ·Any entity that's owned by Ali Choudhri that may
10· · · · · · THE REPORTER:· And just as a reminder, counsel,     10· not be a named defendant, have you ever sent him a text
11· for a clear record, I will need one at a time so that each    11· regarding that?
12· person is heard.                                              12· · · ·A.· ·I have not.
13· · · · · · MR. BALLASES:· Sure.· Give me some time to          13· · · · · · MR. BALLASES:· Objection.· Form.
14· object.                                                       14· BY MR. POPE:
15· · · · · · THE DEPONENT:· Sure.· Sorry.                        15· · · ·Q.· ·Do you keep all your text message?
16· · · · · · MR. BALLASES:· Thank you.                           16· · · ·A.· ·I do.
17· BY MR. POPE:                                                  17· · · ·Q.· ·How many phones do you have?
18· · · ·Q.· ·So last question, then I'm moving on, just to       18· · · · · · MR. BALLASES:· Objection.· Form.
19· make sure it's clear for the record.· You're refusing to      19· · · · · · THE DEPONENT:· I just have one.
20· answer any questions regarding Mr. Gil or Mr. Shaitelman?     20· BY MR. POPE:
21· · · · · · MR. BALLASES:· Objection.· Form.                    21· · · ·Q.· ·Does your company keep a cell phone, or does
22· · · · · · THE DEPONENT:· That's correct.                      22· either of your companies keep a cell phone?
23· BY MR. POPE:                                                  23· · · · · · MR. BALLASES:· Objection.· Form.
24· · · ·Q.· ·Okay.· So let's move back to Mr. Hamdani.· Did      24· · · · · · THE DEPONENT:· No.· I mean, for me?· No.
25· you ever tell us what his occupation was?                     25· BY MR. POPE:
                                                       Page 247                                                          Page 249
·1· · · ·A.· ·He's the --                                         ·1· · · ·Q.· ·Is Jeff Vise also a friend, or just --
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · ·A.· ·Yeah, he's a friend.
·3· · · · · · THE DEPONENT:· -- U.S. Attorney for the Southern    ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· District of Texas.                                            ·4· BY MR. POPE:
·5· BY MR. POPE:                                                  ·5· · · ·Q.· ·Have you ever given Jeff Vise any documents
·6· · · ·Q.· ·And have you ever sent any documents to             ·6· relating to this case?
·7· Mr. Hamdani?                                                  ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· · · · · · THE DEPONENT:· Never.
·9· · · · · · THE DEPONENT:· Never.                               ·9· BY MR. POPE:
10· BY MR. POPE:                                                  10· · · ·Q.· ·Have you ever given Jeff Vise any documents
11· · · ·Q.· ·Have you ever sent any emails to Mr. Hamdani?       11· related to Ali Choudhri?
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· · · · · · MR. BALLASES:· Objection.· Form.
13· · · · · · THE DEPONENT:· No.                                  13· · · · · · THE DEPONENT:· I don't think so, no.
14· BY MR. POPE:                                                  14· BY MR. POPE:
15· · · ·Q.· ·Have you ever texted Mr. Hamdani?                   15· · · ·Q.· ·Any documents related to any of the named
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· defendants?
17· · · · · · THE DEPONENT:· Never.· Regarding this case?         17· · · · · · MR. BALLASES:· Objection.· Form.
18· BY MR. POPE:                                                  18· · · · · · THE DEPONENT:· Not to my knowledge.
19· · · ·Q.· ·In general.                                         19· BY MR. POPE:
20· · · ·A.· ·I mean, he's a friend.· I can -- I communicate      20· · · ·Q.· ·And what was his occupation again?
21· with my friends.                                              21· · · ·A.· ·He's a public adjuster.
22· · · ·Q.· ·Oh, he's a friend.                                  22· · · ·Q.· ·Public adjuster.
23· · · ·A.· ·Yes.                                                23· · · · · · MR. BALLASES:· Object to the form.
24· · · ·Q.· ·I forgot that one was a friend.· Okay.· So have     24· BY MR. POPE:
25· you ever sent him a text regarding this case?                 25· · · ·Q.· ·Do you have any business dealings with Mr. Vise?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 65 of 111
OMAR KHAWAJA                                        October 03, 2024                                               250 to 253
78755
                                                       Page 250                                                          Page 252
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· · · · · · THE DEPONENT:· I have not.
·2· · · · · · THE DEPONENT:· I think -- he refers me to work.     ·2· BY MR. POPE:
·3· BY MR. POPE:                                                  ·3· · · ·Q.· ·I think I asked you had you sent any texts to
·4· · · ·Q.· ·As an attorney or as one of your business           ·4· Mr. Vise, but has Mr. Vise sent any texts to you about Ali
·5· interests?                                                    ·5· Choudhri?
·6· · · ·A.· ·As an attorney.                                     ·6· · · ·A.· ·He has not.
·7· · · ·Q.· ·Okay.· Other than referring you work, do you have   ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· any business dealings with him?· Is he a partner to any of    ·8· BY MR. POPE:
·9· your entities?                                                ·9· · · ·Q.· ·And the same thing with Mr. Hamdani.· Has he sent
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· any texts to you about Mr. Choudhri?
11· · · · · · THE DEPONENT:· Not a partner.· I've sent him work   11· · · · · · MR. BALLASES:· Objection.· Form.
12· as well.                                                      12· · · · · · THE DEPONENT:· Never.
13· BY MR. POPE:                                                  13· BY MR. POPE:
14· · · ·Q.· ·As a public adjuster?                               14· · · ·Q.· ·Has he went any emails to you about Mr. Choudhri?
15· · · ·A.· ·Correct.                                            15· · · ·A.· ·Never done that.
16· · · ·Q.· ·Do you know Amir Zaman?                             16· · · · · · MR. BALLASES:· Objection.· Form.
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· · · · · · THE REPORTER:· I'm sorry.· I didn't catch your
18· · · · · · THE DEPONENT:· Yes.· He's my brother-in-law.        18· answer, sir.
19· BY MR. POPE:                                                  19· · · · · · THE DEPONENT:· Never done that, either.· Sorry.
20· · · ·Q.· ·He's your brother-in-law.· Okay. What's his         20· BY MR. POPE:
21· occupation?                                                   21· · · ·Q.· ·What kind of phone do you have?
22· · · ·A.· ·He's a public adjuster.                             22· · · · · · MR. BALLASES:· Objection.· Form.
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· · · · · · THE DEPONENT:· iPhone.
24· BY MR. POPE:                                                  24· BY MR. POPE:
25· · · ·Q.· ·He's also a public adjuster.· Same -- along with    25· · · ·Q.· ·How long have you had that particular iPhone
                                                       Page 251                                                          Page 253
·1· Mr. Vise, or are they separate?                               ·1· that's in your possession now?
·2· · · ·A.· ·They're separate.                                   ·2· · · · · · MR. BALLASES:· Objection.· Form.
·3· · · ·Q.· ·They're separate.· Have any business ventures       ·3· · · · · · THE DEPONENT:· Maybe a year or so.
·4· with Mr. Zaman?                                               ·4· BY MR. POPE:
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· · · ·Q.· ·Have you had any real estate deals with
·6· · · · · · THE DEPONENT:· No, not particularly.· I mean, I     ·6· Mr. Zaman, your brother-in-law?
·7· work with him.                                                ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· BY MR. POPE:                                                  ·8· · · · · · THE DEPONENT:· No.
·9· · · ·Q.· ·Has he ever been a member of any of your            ·9· BY MR. POPE:
10· entities?                                                     10· · · ·Q.· ·Does he have any interest in any judgments that
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· are subject of this lawsuit?
12· · · · · · THE DEPONENT:· No, he hasn't.                       12· · · · · · MR. BALLASES:· Objection.· Form.
13· BY MR. POPE:                                                  13· · · · · · THE DEPONENT:· No, he does not.
14· · · ·Q.· ·Have you ever talked to him about Mr. Choudhri?     14· BY MR. POPE:
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· · · ·Q.· ·Do you have any agreements with him to share any
16· · · · · · THE DEPONENT:· I mean, generally.                   16· of the funds you may recover from any of the judgments you
17· BY MR. POPE:                                                  17· have against Mr. Choudhri?
18· · · ·Q.· ·Have you talked to him about Mr. Choudhri as it     18· · · · · · MR. BALLASES:· Objection.· Form.
19· pertains to this case?                                        19· · · · · · THE DEPONENT:· Not at all.
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· BY MR. POPE:
21· · · · · · THE DEPONENT:· This case?· No.                      21· · · ·Q.· ·Do you pay referral fees?
22· BY MR. POPE:                                                  22· · · · · · MR. BALLASES:· Objection.· Form.
23· · · ·Q.· ·Have you talked to him about Mr. Choud -- any of    23· · · · · · THE DEPONENT:· No.
24· the other named defendants?                                   24· BY MR. POPE:
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · ·Q.· ·Have you gotten referral fees?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 66 of 111
OMAR KHAWAJA                                        October 03, 2024                                               254 to 257
78755
                                                       Page 254                                                          Page 256
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· · · ·Q.· ·Did you get a referral fee from that?
·2· · · · · · THE DEPONENT:· Yes.· I do pay referral fees, yes,   ·2· · · ·A.· ·I did not on that, no.
·3· I do.                                                         ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· BY MR. POPE:                                                  ·4· BY MR. POPE:
·5· · · ·Q.· ·You do pay referral fees?                           ·5· · · ·Q.· ·Did she ultimately retain him?
·6· · · ·A.· ·Yes.                                                ·6· · · ·A.· ·She did retain.
·7· · · ·Q.· ·Have you also received referral fees?               ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· · · · · · MR. BALLASES:· Objection.· Form.                    ·8· BY MR. POPE:
·9· · · · · · THE DEPONENT:· Yes.                                 ·9· · · ·Q.· ·In a case against Mr. Choudhri?
10· BY MR. POPE:                                                  10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · ·Q.· ·Do you know Bobby Newman?                           11· · · · · · THE DEPONENT:· Yes.
12· · · ·A.· ·Yes.                                                12· BY MR. POPE:
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· · · ·Q.· ·In a case against any of the other named
14· BY MR. POPE:                                                  14· defendants or just Mr. Choudhri?
15· · · ·Q.· ·Who is he?                                          15· · · ·A.· ·Just Mr. Choudhri.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · · · · MR. BALLASES:· Objection.· Form.
17· · · · · · THE DEPONENT:· He's a lawyer.                       17· BY MR. POPE:
18· BY MR. POPE:                                                  18· · · ·Q.· ·It's a family law case, I'm assuming?
19· · · ·Q.· ·What kind of lawyer is he?                          19· · · ·A.· ·Divorce case.
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · · · · THE DEPONENT:· He's a family law attorney.          21· BY MR. POPE:
22· BY MR. POPE:                                                  22· · · ·Q.· ·Have you talked to Mr. Newman about Mr. Choudhri?
23· · · ·Q.· ·Have you ever paid him a referral fee?              23· · · · · · MR. BALLASES:· Objection.· Form.
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· · · · · · THE DEPONENT:· I mean, if I did, it would have
25· · · · · · THE DEPONENT:· I may have.· I'm not sure, to be     25· been in the context of attorney-client sort of discussions,
                                                       Page 255                                                          Page 257
·1· honest with you.                                              ·1· so --
·2· BY MR. POPE:                                                  ·2· BY MR. POPE:
·3· · · ·Q.· ·Has he ever paid you a referral fee?                ·3· · · ·Q.· ·Okay.· Have you talked to Mr. Newman about any of
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· the other named defendants?
·5· · · · · · THE DEPONENT:· He has.                              ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· BY MR. POPE:                                                  ·6· · · · · · THE DEPONENT:· I mean, I wouldn't be able to get
·7· · · ·Q.· ·For what?                                           ·7· into that.
·8· · · ·A.· ·For cases I've referred to him.                     ·8· BY MR. POPE:
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· · · ·Q.· ·What year did you refer -- or when -- what year
10· BY MR. POPE:                                                  10· did you refer Hira Azhar to Bobby Newman?
11· · · ·Q.· ·Which cases?                                        11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· · · · · · THE DEPONENT:· Whenever they filed a divorce at
13· · · · · · THE DEPONENT:· I -- there's been so many. I         13· that time.
14· don't know.                                                   14· BY MR. POPE:
15· BY MR. POPE:                                                  15· · · ·Q.· ·Do you know Terry Fisher?
16· · · ·Q.· ·Have you referred any cases to him from Azeemeh     16· · · · · · MR. BALLASES:· Objection.· Form.
17· Zaheer?                                                       17· · · · · · THE DEPONENT:· Terry Fisher?· Yes, I do.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· BY MR. POPE:
19· · · · · · THE DEPONENT:· No, not to my knowledge, no.         19· · · ·Q.· ·How do you know Terry Fisher?
20· BY MR. POPE:                                                  20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · ·Q.· ·Hira Azhar?                                         21· · · · · · THE DEPONENT:· He -- he is a real estate guy who
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· I think Choudhri did business with.
23· · · · · · THE DEPONENT:· She met with him, yes.· She did      23· BY MR. POPE:
24· meet with him.                                                24· · · ·Q.· ·Where did you meet him?
25· BY MR. POPE:                                                  25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 67 of 111
OMAR KHAWAJA                                        October 03, 2024                                               258 to 261
78755
                                                       Page 258                                                          Page 260
·1· · · · · · THE DEPONENT:· I didn't meet -- I saw him on a      ·1· BY MR. POPE:
·2· Dolcefino video.                                              ·2· · · ·Q.· ·Have you ever had Mr. Dolcefino on the line as a
·3· BY MR. POPE:                                                  ·3· third party listening when you've had conversations
·4· · · ·Q.· ·Oh, you saw him on a Dolcefino video.               ·4· regarding this case?
·5· · · ·A.· ·Yes.                                                ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· · · ·Q.· ·So you've never met him in person?                  ·6· · · · · · THE DEPONENT:· No.
·7· · · ·A.· ·Never met him.                                      ·7· BY MR. POPE:
·8· · · ·Q.· ·Have you ever called him?                           ·8· · · ·Q.· ·Have you ever had Mr. Dolcefino on the line for
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· any conversation?
10· · · · · · THE DEPONENT:· No.                                  10· · · ·A.· ·No.
11· BY MR. POPE:                                                  11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · ·Q.· ·Have you ever sent him a text?                      12· BY MR. POPE:
13· · · · · · MR. BALLASES:· Objection.· Form.                    13· · · ·Q.· ·Have you ever had a three-way call with yourself,
14· · · · · · THE DEPONENT:· I don't think so, no.· I don't       14· Wayne Dolcefino and any third party?
15· think I called him, either.                                   15· · · · · · MR. BALLASES:· Objection.· Form.
16· BY MR. POPE:                                                  16· · · · · · THE DEPONENT:· No.
17· · · ·Q.· ·Have you ever sent him an email?                    17· BY MR. POPE:
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· · · ·Q.· ·And I think you might have covered this, but what
19· · · · · · THE DEPONENT:· No.                                  19· year did you first meet Mr. Quinlan?
20· BY MR. POPE:                                                  20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · ·Q.· ·Have you ever provided him with any documents?      21· · · · · · THE DEPONENT:· I think it was maybe just before
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· COVID.
23· · · · · · THE DEPONENT:· No.                                  23· BY MR. POPE:
24· BY MR. POPE:                                                  24· · · ·Q.· ·And where does Mr. Quinlan live, city, state,
25· · · ·Q.· ·Have you ever directed a third party to provide     25· country?
                                                       Page 259                                                          Page 261
·1· him with documents?                                           ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · · · · MR. BALLASES:· Objection.· Form.                    ·2· · · · · · THE DEPONENT:· I don't know.
·3· · · · · · THE DEPONENT:· No.                                  ·3· BY MR. POPE:
·4· BY MR. POPE:                                                  ·4· · · ·Q.· ·Does he live in the United States?
·5· · · ·Q.· ·Have you ever directed a third party to send him    ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· an email?                                                     ·6· · · · · · THE DEPONENT:· I think he lives in the United
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· States, yes.
·8· · · · · · THE DEPONENT:· No.                                  ·8· BY MR. POPE:
·9· BY MR. POPE:                                                  ·9· · · ·Q.· ·Does he live in Puerto Rico?
10· · · ·Q.· ·Have you ever directed a third party to send him    10· · · · · · MR. BALLASES:· Objection.· Form.
11· a text?                                                       11· · · · · · THE DEPONENT:· Possibly.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· BY MR. POPE:
13· · · · · · THE DEPONENT:· No.                                  13· · · ·Q.· ·Possibly?· Have you ever met with him in Puerto
14· BY MR. POPE:                                                  14· Rico?
15· · · ·Q.· ·Have you ever told anyone that Mr. Choudhri is      15· · · · · · MR. BALLASES:· Objection.· Form.
16· trying to kill you?                                           16· · · · · · THE DEPONENT:· No, but I'd like to.
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· BY MR. POPE:
18· · · · · · THE DEPONENT:· I don't think so.· I mean, I hope    18· · · ·Q.· ·Have you ever met with him anywhere other than
19· that's not the case.                                          19· Houston, Texas?
20· BY MR. POPE:                                                  20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · ·Q.· ·Have you ever told anyone that there's a murder     21· · · · · · THE DEPONENT:· No.
22· for hire situation involving yourself and Mr. Choudhri?       22· BY MR. POPE:
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· · · ·Q.· ·Has he ever been to your office?
24· · · · · · THE DEPONENT:· I mean, this is ridic -- pretty      24· · · · · · MR. BALLASES:· Objection.· Form.
25· ridiculous, but no.· I hope there isn't.                      25· · · · · · THE DEPONENT:· I don't think so.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 68 of 111
OMAR KHAWAJA                                        October 03, 2024                                               262 to 265
78755
                                                       Page 262                                                          Page 264
·1· BY MR. POPE:                                                  ·1· · · · · · THE DEPONENT:· I'm not aware of that.
·2· · · ·Q.· ·Has he ever been to your home?                      ·2· BY MR. POPE:
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· · · ·Q.· ·Do you know whether or not Mr. Quinlan is in the
·4· · · · · · THE DEPONENT:· No.                                  ·4· business of buying and selling judgments?
·5· BY MR. POPE:                                                  ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· · · ·Q.· ·Has he ever been to your parents' home?             ·6· · · · · · THE DEPONENT:· I'm not aware of that.
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· BY MR. POPE:
·8· · · · · · THE DEPONENT:· No.                                  ·8· · · ·Q.· ·Are you aware of whether or not Mr. Quinlan is in
·9· BY MR. POPE:                                                  ·9· any business?· Are you aware of what he does for a living?
10· · · ·Q.· ·Has he ever been to the home of anyone who you're   10· · · ·A.· ·I -- I think he's in real estate.
11· related to?                                                   11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· BY MR. POPE:
13· BY MR. POPE:                                                  13· · · ·Q.· ·He's in real estate.· Commercial or residential?
14· · · ·Q.· ·Sisters, brothers?                                  14· · · ·A.· ·I believe it's commercial.
15· · · ·A.· ·That I know of?                                     15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · ·Q.· ·That you know of.                                   16· BY MR. POPE:
17· · · ·A.· ·No.· I don't think so.· Unless he knows a bunch     17· · · ·Q.· ·National or international?
18· of Pakistanis that I’m not aware of, no.                      18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · ·Q.· ·Has Mr. Quinlan ever paid you for anything?         19· · · · · · THE DEPONENT:· National.
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· BY MR. POPE:
21· · · · · · THE DEPONENT:· Not yet.                             21· · · ·Q.· ·Have you ever picked up Hira Azhar from an
22· BY MR. POPE:                                                  22· airport?
23· · · ·Q.· ·Not yet.· Okay.· Do you have any business           23· · · · · · MR. BALLASES:· Objection.· Form.
24· dealings with Mr. Quinlan outside of this case?               24· · · · · · THE DEPONENT:· I don't think so, no.
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· BY MR. POPE:
                                                       Page 263                                                          Page 265
·1· · · · · · THE DEPONENT:· No.                                  ·1· · · ·Q.· ·Did you help support her get back to United
·2· BY MR. POPE:                                                  ·2· States of America?
·3· · · ·Q.· ·Do you and Mr. Quinlan have any other judgments     ·3· · · ·A.· ·Yes, I did.
·4· where you share ownership interest?                           ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · ·A.· ·No.                                                 ·5· BY MR. POPE:
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· · · ·Q.· ·And how did you do that?
·7· BY MR. POPE:                                                  ·7· · · ·A.· ·I mean, I think that's work product and attorney-
·8· · · ·Q.· ·Do you and Mr. Quinlan have any interest in real    ·8· client privilege information.· I can't talk about that.
·9· estate together?                                              ·9· She's my -- she's my client.
10· · · · · · MR. BALLASES:· Objection.· Form.                    10· · · ·Q.· ·Did you pay for her to fly here?
11· · · · · · THE DEPONENT:· We do not.                           11· · · · · · MR. BALLASES:· Objection.· Form.
12· BY MR. POPE:                                                  12· · · · · · THE DEPONENT:· I'm not going to talk about that.
13· · · ·Q.· ·Do you and Mr. Quinlan or any of your entities      13· BY MR. POPE:
14· share any interest in real estate?                            14· · · ·Q.· ·Do you know if she arrived here by plane?
15· · · · · · MR. BALLASES:· Objection.· Form.                    15· · · · · · MR. BALLASES:· Objection.· Form.
16· · · · · · THE DEPONENT:· We do not.                           16· · · · · · THE DEPONENT:· I mean, I don't think she came
17· BY MR. POPE:                                                  17· here by boat.
18· · · ·Q.· ·Are you aware whether or not Mr. Quinlan has any    18· BY MR. POPE:
19· entities?                                                     19· · · ·Q.· ·Where was she coming from?
20· · · · · · MR. BALLASES:· Objection.· Form.                    20· · · · · · MR. BALLASES:· Objection.· Form.
21· · · · · · THE DEPONENT:· I -- I'm not even aware of that.     21· · · · · · THE DEPONENT:· I don't -- Pakistan maybe.
22· BY MR. POPE:                                                  22· BY MR. POPE:
23· · · ·Q.· ·Are you aware of whether or not Mr. Quinlan has     23· · · ·Q.· ·Oh, Pakistan.· Okay.
24· any other judgments in which he is a judgment creditor?       24· · · · · · MR. BALLASES:· Earth.
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · · · · MR. POPE:· Could be the moon.· We have a new one



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 69 of 111
OMAR KHAWAJA                                        October 03, 2024                                               266 to 269
78755
                                                       Page 266                                                          Page 268
·1· that passed -- or well, an asteroid that's out there.         ·1· not -- that's false.
·2· · · · · · MR. BALLASES:· That's true.                         ·2· BY MR. POPE:
·3· · · · · · MR. POPE:· She could have been hanging onto it.     ·3· · · ·Q.· ·So you just called him but Wayne Dolcefino was
·4· BY MR. POPE:                                                  ·4· not on the line?
·5· · · ·Q.· ·When was that?· What year was that?                 ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· · · · · · THE DEPONENT:· No.· I don't recall, because I've
·7· · · · · · THE DEPONENT:· 2016, maybe, something like that.    ·7· -- I have called various people that have been affiliated
·8· BY MR. POPE:                                                  ·8· with Ali Choudhri, yes.
·9· · · ·Q.· ·And why did you help her come back to United        ·9· BY MR. POPE:
10· States from Pakistan?                                         10· · · ·Q.· ·And you called them for what?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · THE DEPONENT:· You know, she was in a bad           12· · · · · · THE DEPONENT:· To see -- to see what kind of
13· situation.                                                    13· fraud he's involved in.· I mean, your client's a habitual
14· BY MR. POPE:                                                  14· fraudster, so, you know, I have to --
15· · · ·Q.· ·What was that situation?                            15· BY MR. POPE:
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · ·Q.· ·And how many people -- I'm sorry.· Go ahead and
17· · · · · · THE DEPONENT:· She had been sent to Pakistan        17· finish.
18· under false pretenses, and her visa had been expired, and     18· · · ·A.· ·Yeah.· He's a habitual fraudster.· So it -- you
19· so she reached out to me for assistance with that.            19· know, I'm an attorney, and I'm going to reach out to people
20· BY MR. POPE:                                                  20· that have potential litigation against him.
21· · · ·Q.· ·Did you and Ms. Azhar have a -- are you married     21· · · ·Q.· ·For what purpose?
22· or single?                                                    22· · · · · · MR. BALLASES:· Objection.· Form.
23· · · ·A.· ·I'm married.                                        23· · · · · · THE DEPONENT:· To see if there's facts that I can
24· · · ·Q.· ·I can see your hand.· And do you assert that Ali    24· gather that will help advance potentially my litigation or
25· Choudhri is still married to Hira Azhar?                      25· my client's litigation, or any other general matter
                                                       Page 267                                                          Page 269
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· involving him.
·2· · · · · · THE DEPONENT:· I mean, we talked about this. I      ·2· BY MR. POPE:
·3· think he is, personally.                                      ·3· · · ·Q.· ·Which client in particular?
·4· BY MR. POPE:                                                  ·4· · · · · · MR. BALLASES:· Objection.· Form.
·5· · · ·Q.· ·Do you tell other people that?                      ·5· · · · · · THE DEPONENT:· Any -- any client.
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· BY MR. POPE:
·7· · · · · · THE DEPONENT:· I don't really talk about his        ·7· · · ·Q.· ·Any client?
·8· married life to other people.                                 ·8· · · ·A.· ·Any potential client.
·9· BY MR. POPE:                                                  ·9· · · ·Q.· ·How many clients do you have with claims
10· · · ·Q.· ·Have you ever told someone else that?               10· currently pending against Mr. Choudhri?
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · THE DEPONENT:· I don't think so, no.· To you.       12· · · · · · THE DEPONENT:· Currently pending?· I don't know.
13· BY MR. POPE:                                                  13· BY MR. POPE:
14· · · ·Q.· ·Well, today.                                        14· · · ·Q.· ·So do you solicit clients to file suits against
15· · · ·A.· ·Today.                                              15· Mr. Choudhri?
16· · · ·Q.· ·Isn't it true you called Mr. Terry Fisher about     16· · · · · · MR. BALLASES:· Objection.· Form.
17· Ali Choudhri?                                                 17· · · · · · THE DEPONENT:· No, absolutely not.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· BY MR. POPE:
19· · · · · · THE DEPONENT:· I don't think so.· Maybe I did. I    19· · · ·Q.· ·Do you solicit clients to file suits against any
20· don't recall.                                                 20· of Mr. Choudhri's entities?
21· BY MR. POPE:                                                  21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · ·Q.· ·And you had Wayne Dolcefino on the line when you    22· · · · · · THE DEPONENT:· No, absolutely not.
23· did that?                                                     23· BY MR. POPE:
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· · · ·Q.· ·So your purpose for calling people who may have
25· · · · · · THE DEPONENT:· No, that's not true.· That's         25· claims against Mr. Choudhri is just for investigative



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 70 of 111
OMAR KHAWAJA                                        October 03, 2024                                               270 to 273
78755
                                                       Page 270                                                          Page 272
·1· purposes?                                                     ·1· BY MR. POPE:
·2· · · ·A.· ·That's right.                                       ·2· · · ·Q.· ·How do you know Chris Ramey?
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· · · ·A.· ·He is a litigant against Mr. Choudhri and I think
·4· BY MR. POPE:                                                  ·4· other entities related to Mr. Choudhri.
·5· · · ·Q.· ·And what have you found in that investigation?      ·5· · · ·Q.· ·Are you his counsel in that litigation?
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· · · ·A.· ·No.
·7· · · · · · THE DEPONENT:· That he's -- found that he's a       ·7· · · · · · MR. BALLASES:· Objection.· Form.
·8· habitual fraudster.· He's a liar.· He's a forger.· He is      ·8· BY MR. POPE:
·9· someone who can't be trusted.                                 ·9· · · ·Q.· ·Are you a party to that litigation?
10· BY MR. POPE:                                                  10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · ·Q.· ·And --                                              11· · · · · · THE DEPONENT:· I am not.
12· · · ·A.· ·He's someone who will take your money.· Doesn't     12· BY MR. POPE:
13· matter what situation you're in.· Do you want me to go on?    13· · · ·Q.· ·Are you listed as a witness in that litigation?
14· · · ·Q.· ·Which potential person with a claim did you call    14· · · · · · MR. BALLASES:· Objection.· Form.
15· -- who did you call who told you that?                        15· · · · · · THE DEPONENT:· I could be.· I don't know.
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· BY MR. POPE:
17· · · · · · THE DEPONENT:· You know, it's been -- there's       17· · · ·Q.· ·Has that case already gone to trial?
18· been so many years of dealing with him that I can't --        18· · · · · · MR. BALLASES:· Objection.· Form.
19· there's -- I can't count the number of people that have       19· · · · · · THE DEPONENT:· Not to my knowledge.
20· told me he's ripped them off or that his family's ripped      20· BY MR. POPE:
21· them off.                                                     21· · · ·Q.· ·Do you know when it was filed?
22· BY MR. POPE:                                                  22· · · · · · MR. BALLASES:· Objection.· Form.
23· · · ·Q.· ·So you can't count the number of people you         23· · · · · · THE DEPONENT:· I don't.
24· called to talk about Ali Choudhri?                            24· BY MR. POPE:
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· · · ·Q.· ·Did you know Mr. Ramey before the litigation was
                                                       Page 271                                                          Page 273
·1· · · · · · THE DEPONENT:· That have called me.· I don't        ·1· filed?
·2· necessarily call people.                                      ·2· · · · · · MR. BALLASES:· Objection.· Form.
·3· BY MR. POPE:                                                  ·3· · · · · · THE DEPONENT:· I did not know him before that.
·4· · · ·Q.· ·How do they find out about you?                     ·4· BY MR. POPE:
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· · · ·Q.· ·Did he call you, or did you call him?
·6· · · · · · THE DEPONENT:· I don't know.· People find           ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· lawyers.                                                      ·7· · · · · · THE DEPONENT:· I think he called me.
·8· BY MR. POPE:                                                  ·8· BY MR. POPE:
·9· · · ·Q.· ·Well, it's your prior testimony that you actually   ·9· · · ·Q.· ·And how did he find out about you?
10· seek out the people who have claims against Mr. Choudhri.     10· · · · · · MR. BALLASES:· Objection.· Form.
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · · · · THE DEPONENT:· People find out about me.
12· · · · · · THE DEPONENT:· No.· I said as an investigative      12· BY MR. POPE:
13· matter, if there's someone that has a claim against Ali       13· · · ·Q.· ·Do you run any ads to let people know that you're
14· Choudhri or a pending litigation, I may pick up the phone     14· out here pursuing claims against Ali Choudhri?
15· and call them, which is what lawyers do.                      15· · · · · · MR. BALLASES:· Objection.· Form.
16· BY MR. POPE:                                                  16· · · · · · THE DEPONENT:· I don't, no.
17· · · ·Q.· ·How many times have you done that?                  17· BY MR. POPE:
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· · · ·Q.· ·Is it just known in the community that you pursue
19· · · · · · THE DEPONENT:· I -- I -- maybe half a dozen         19· claims against Ali Choudhri?
20· times.· I'm not sure.· It's part of the investigative         20· · · · · · MR. BALLASES:· Objection.· Form.
21· process of any attorney.                                      21· · · · · · THE DEPONENT:· I don't know that.
22· BY MR. POPE:                                                  22· BY MR. POPE:
23· · · ·Q.· ·Do you know Chris Ramey?                            23· · · ·Q.· ·Are there any listservs that you're a part of
24· · · · · · MR. BALLASES:· Objection.· Form.                    24· that talk about Ali Choudhri or any of his entities?
25· · · · · · THE DEPONENT:· Yes, I do.                           25· · · · · · MR. BALLASES:· Objection.· Form.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 71 of 111
OMAR KHAWAJA                                        October 03, 2024                                               274 to 277
78755
                                                       Page 274                                                          Page 276
·1· · · · · · THE DEPONENT:· Not that I’m aware of.               ·1· · · ·A.· ·Just my law office.
·2· BY MR. POPE:                                                  ·2· · · ·Q.· ·Just your law office.· Do you have any articles
·3· · · ·Q.· ·Any podcasts or social media platforms where you    ·3· that reference Mr. Choudhri on your law practice social
·4· discuss Ali Choudhri or any of his entities?                  ·4· media page?
·5· · · ·A.· ·No.                                                 ·5· · · · · · MR. BALLASES:· Objection.· Form.
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· · · · · · THE DEPONENT:· I do not.
·7· BY MR. POPE:                                                  ·7· BY MR. POPE:
·8· · · ·Q.· ·Do you have a social media page personally?         ·8· · · ·Q.· ·Do you have any articles that reference
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· Mr. Choudhri on your law firm's web page?
10· · · · · · THE DEPONENT:· Sure.                                10· · · · · · MR. BALLASES:· Objection.· Form.
11· BY MR. POPE:                                                  11· · · · · · THE DEPONENT:· No, I do not.
12· · · ·Q.· ·Do you talk about Ali Choudhri on your social       12· BY MR. POPE:
13· media page?                                                   13· · · ·Q.· ·Do you write any blogs about Mr. Choudhri?
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · · · · MR. BALLASES:· Objection.· Form.
15· · · · · · THE DEPONENT:· No, never do that.                   15· · · · · · THE DEPONENT:· No, I do not.
16· BY MR. POPE:                                                  16· BY MR. POPE:
17· · · ·Q.· ·Any of his entities?                                17· · · ·Q.· ·Have you written any blogs in the past -- I'm
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· sorry.· Have you written any blogs in the past?
19· · · · · · THE DEPONENT:· No.                                  19· · · · · · MR. BALLASES:· Objection.· Form.
20· BY MR. POPE:                                                  20· · · · · · THE DEPONENT:· I wouldn't waste my time doing
21· · · ·Q.· ·Do you keep a social media -- which social media    21· that.
22· platform do you have or do you utilize?                       22· BY MR. POPE:
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· · · ·Q.· ·Have you written -- made any posts or written any
24· · · · · · THE DEPONENT:· Facebook.                            24· blogs on either the social media or the website regarding
25· BY MR. POPE:                                                  25· any of the named defendants?
                                                       Page 275                                                          Page 277
·1· · · ·Q.· ·No Instagram?                                       ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·A.· ·I mean, I think I use Instagram, too.               ·2· · · · · · THE DEPONENT:· No.
·3· · · ·Q.· ·TikTok?                                             ·3· BY MR. POPE:
·4· · · ·A.· ·No.                                                 ·4· · · ·Q.· ·Are you aware of any police reports made against
·5· · · · · · MR. BALLASES:· Objection.· Form.                    ·5· Ali Choudhri?
·6· BY MR. POPE:                                                  ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· · · ·Q.· ·LinkedIn?                                           ·7· · · · · · THE DEPONENT:· Not that I’m aware of.
·8· · · ·A.· ·LinkedIn, yes.                                      ·8· BY MR. POPE:
·9· · · ·Q.· ·LinkedIn.· Snapchat?                                ·9· · · ·Q.· ·Are you aware of a murder for hire plot or ploy
10· · · ·A.· ·No.                                                 10· that involves Quanell X and Osama Abdullatif?
11· · · ·Q.· ·Locket?                                             11· · · · · · MR. BALLASES:· Objection.· Form.
12· · · · · · MR. BALLASES:· Objection.· Form.                    12· · · · · · THE DEPONENT:· I think I heard, yeah, some
13· · · · · · THE DEPONENT:· I don't even know what that is.      13· nonsense about that.
14· BY MR. POPE:                                                  14· BY MR. POPE:
15· · · ·Q.· ·And do you talk about Mr. Choudhri or any of his    15· · · ·Q.· ·And what did you hear?
16· entities on any of those platforms mentioned?                 16· · · ·A.· ·That Quanell said that Osama wanted to kill Ali
17· · · · · · MR. BALLASES:· Objection.· Form.                    17· or something stupid like that.
18· · · · · · THE DEPONENT:· No, I do not.                        18· · · ·Q.· ·And where did you hear that?
19· BY MR. POPE:                                                  19· · · · · · MR. BALLASES:· Objection.· Form.
20· · · ·Q.· ·Do you keep a social media platform for any of      20· · · · · · THE DEPONENT:· I think it was in court.· In court
21· your business entities?                                       21· maybe, in court.· I was at the court hearing.
22· · · ·A.· ·Yes, I do.                                          22· BY MR. POPE:
23· · · · · · MR. BALLASES:· Objection.· Form.                    23· · · ·Q.· ·At the court hearing?
24· BY MR. POPE:                                                  24· · · ·A.· ·Some silly stuff.
25· · · ·Q.· ·Which ones?                                         25· · · ·Q.· ·The same court hearing with -- before Judge



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 72 of 111
OMAR KHAWAJA                                        October 03, 2024                                               278 to 281
78755
                                                       Page 278                                                          Page 280
·1· Manor?                                                        ·1· BY MR. POPE:
·2· · · ·A.· ·Yes.                                                ·2· · · ·Q.· ·Based on what?
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· · · ·A.· ·Based on people filing claims that are -- I mean,
·4· BY MR. POPE:                                                  ·4· she's involved in the shenanigans, right?
·5· · · ·Q.· ·Where you were representing Chris Wyatt and         ·5· · · ·Q.· ·She's involved in his divorce?
·6· Azeemeh Zaheer?                                               ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· · · · · · THE DEPONENT:· She's involved in hiding assets
·8· · · · · · THE DEPONENT:· Yes.                                 ·8· for him, so if she were to -- and I don't know if she was
·9· BY MR. POPE:                                                  ·9· sued or not, but if she was, I'm sure there was a real
10· · · ·Q.· ·And you heard that from whom that day?              10· reason for it.
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· BY MR. POPE:
12· · · · · · THE DEPONENT:· I think Quantell testified to        12· · · ·Q.· ·You said you were not lead counsel.· Who was lead
13· that.                                                         13· counsel in that case?
14· · · · · · MR. POPE:· Mr. Perkins wants you back there.        14· · · · · · MR. BALLASES:· Objection.· Form.
15· · · · · · MR. LEYH:· Do they like lock them at 6:00 and we    15· · · · · · THE DEPONENT:· Bobby Newman.
16· can't get out?                                                16· BY MR. POPE:
17· · · · · · MR. POPE:· You can get out, but if you go out,      17· · · ·Q.· ·Did you move to recuse the judge in that case?
18· you can't get back in.                                        18· · · · · · MR. BALLASES:· Objection.· Form.
19· · · · · · MR. LEYH:· Got it.                                  19· · · · · · THE DEPONENT:· I wasn't -- I was not lead
20· BY MR. POPE:                                                  20· counsel.
21· · · ·Q.· ·In the divorce case, were you the lawyer between    21· BY MR. POPE:
22· Hira Azhar and Ali Choudhri?· Did you also sue Texas REIT     22· · · ·Q.· ·Did you file any motions in that case?
23· in that case?                                                 23· · · · · · MR. BALLASES:· Objection.· Form.
24· · · ·A.· ·I don't know.                                       24· · · · · · THE DEPONENT:· I didn't file anything, no.
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· BY MR. POPE:
                                                       Page 279                                                          Page 281
·1· BY MR. POPE:                                                  ·1· · · ·Q.· ·Did you go to court in that case?
·2· · · ·Q.· ·Did you sue any other parties in that case?         ·2· · · ·A.· ·I did.
·3· · · · · · MR. BALLASES:· Objection.· Form.                    ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· · · · · · THE DEPONENT:· I have no idea.                      ·4· BY MR. POPE:
·5· BY MR. POPE:                                                  ·5· · · ·Q.· ·You attended hearings in that case?
·6· · · ·Q.· ·You have no idea who you sued in the case?          ·6· · · ·A.· ·Yes.
·7· · · · · · MR. BALLASES:· Objection.· Form.                    ·7· · · ·Q.· ·Did you see Mr. Wyatt come to court in that
·8· BY MR. POPE:                                                  ·8· hearing or any of those proceedings with Mr. Choudhri?
·9· · · ·Q.· ·Did you assume --                                   ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· · · ·A.· ·I was not lead counsel.                             10· · · · · · THE DEPONENT:· Never saw him once, no.
11· · · ·Q.· ·You weren't lead counsel.· But you were a lawyer    11· BY MR. POPE:
12· on the case, correct?                                         12· · · ·Q.· ·You never saw him once in that proceeding?
13· · · ·A.· ·Sure.                                               13· · · ·A.· ·Mm-mmm.
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· · · ·Q.· ·How many judgments have you purchased that are
15· BY MR. POPE:                                                  15· related to Ali Choudhri?
16· · · ·Q.· ·Did you also -- was Ms. Shahnaz Choudhri also       16· · · · · · MR. BALLASES:· Objection.· Form.
17· sued in that case?                                            17· · · · · · THE DEPONENT:· I think two.
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· BY MR. POPE:
19· · · · · · THE DEPONENT:· I don't know, maybe.· If she was,    19· · · ·Q.· ·Just two?
20· she should have been.                                         20· · · ·A.· ·Yes.
21· BY MR. POPE:                                                  21· · · ·Q.· ·How many judgments have you purchased that are
22· · · ·Q.· ·If she was?                                         22· related to any of Mr. Choudhri's entities?
23· · · ·A.· ·If she was, it would have been appropriate to do    23· · · ·A.· ·The same two.
24· it.                                                           24· · · ·Q.· ·How many judgments have you purchased that are
25· · · · · · MR. BALLASES:· Objection.· Form.                    25· related to Shahnaz Choudhri?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 73 of 111
OMAR KHAWAJA                                        October 03, 2024                                               282 to 285
78755
                                                       Page 282                                                          Page 284
·1· · · ·A.· ·None.                                               ·1· · · · · · MR. BALLASES:· Objection.· Form.
·2· · · ·Q.· ·Or her entities?                                    ·2· · · · · · THE DEPONENT:· A little bit, not -- not a whole
·3· · · · · · THE REPORTER:· I'm sorry.· What was that?           ·3· lot.· Yeah.
·4· · · · · · THE DEPONENT:· I don't think she has any.           ·4· BY MR. POPE:
·5· BY MR. POPE:                                                  ·5· · · ·Q.· ·Do you know Cory Saddlejack?
·6· · · ·Q.· ·Have you ever bought any judgments other than the   ·6· · · · · · MR. BALLASES:· Objection.· Form.
·7· ones, the two that you have brought that involve              ·7· · · · · · THE DEPONENT:· No, but I'm going to look him up
·8· Mr. Choudhri?                                                 ·8· after this.
·9· · · ·A.· ·No.                                                 ·9· BY MR. POPE:
10· · · ·Q.· ·Why did you buy these judgments?                    10· · · ·Q.· ·So you're not aware that he's Chris Wyatt's
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· nephew?
12· · · · · · THE DEPONENT:· Why not?                             12· · · · · · MR. BALLASES:· Objection.· Form.
13· BY MR. POPE:                                                  13· · · · · · THE DEPONENT:· No.
14· · · ·Q.· ·I don't know.                                       14· BY MR. POPE:
15· · · ·A.· ·I mean, there is a judgment that's owed.· I can     15· · · ·Q.· ·Do you believe Quanell X to be an honest person?
16· buy a judgment from anybody I want, against anybody I want    16· · · · · · MR. BALLASES:· Objection.· Form.
17· to.                                                           17· · · · · · THE DEPONENT:· What kind of question is that?
18· · · ·Q.· ·I think your prior testimony was that for years,    18· You're going to go back and tell Quanell what I said?
19· you have a hard time collecting money from Mr. Choudhri, so   19· BY MR. POPE:
20· why would you buy judgments knowing going into it that you    20· · · ·Q.· ·Do you believe Quanell X to be an honest person?
21· think they'd be hard to collect?                              21· · · · · · MR. BALLASES:· Objection.· Form.
22· · · · · · MR. BALLASES:· Objection.· Form.                    22· · · · · · THE DEPONENT:· I believe he's honest, but not to
23· · · · · · THE DEPONENT:· Well, they're final judgments and,   23· the extent he said anything about Osama Abdullatif.
24· you know, I didn't think that -- they shouldn't be hard to    24· BY MR. POPE:
25· collect because I know he's hiding money.                     25· · · ·Q.· ·So when he testified about the murder for hire
                                                       Page 283                                                          Page 285
·1· BY MR. POPE:                                                  ·1· plot that involved Mr. Abdullatif, you felt he was not
·2· · · ·Q.· ·Is maybe one of them -- is one of the judgments     ·2· being honest?
·3· on appeal?                                                    ·3· · · · · · MR. BALLASES:· Objection.· Form.
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· · · · · · THE DEPONENT:· I mean, you're going to have to
·5· · · · · · THE DEPONENT:· I didn't buy that one.               ·5· ask him about that.
·6· BY MR. POPE:                                                  ·6· BY MR. POPE:
·7· · · ·Q.· ·You didn't buy that one.· But you're aware it's     ·7· · · ·Q.· ·But in your opinion, was he being honest or not?
·8· on appeal?                                                    ·8· · · ·A.· ·No.
·9· · · · · · MR. BALLASES:· Objection.· Form.                    ·9· · · · · · MR. BALLASES:· Objection.· Form.
10· · · · · · THE DEPONENT:· I don't know if it's on appeal.      10· BY MR. POPE:
11· If you say so.                                                11· · · ·Q.· ·In your opinion, he was lying?
12· BY MR. POPE:                                                  12· · · · · · MR. BALLASES:· Objection.· Form.
13· · · ·Q.· ·So you didn't investigate that one?                 13· · · · · · THE DEPONENT:· I don't -- I don't know.
14· · · · · · MR. BALLASES:· Objection.· Form.                    14· BY MR. POPE:
15· BY MR. POPE:                                                  15· · · ·Q.· ·Do you know R.J. Shannon?
16· · · ·Q.· ·Did you investigate that one?· Did you              16· · · · · · MR. BALLASES:· Objection.· Form.
17· investigate that case?                                        17· · · · · · THE DEPONENT:· No, but I'm going to look him up,
18· · · · · · MR. BALLASES:· Objection.· Form.                    18· too.
19· BY MR. POPE:                                                  19· BY MR. POPE:
20· · · ·Q.· ·Did you do any investigation on that judgment?      20· · · ·Q.· ·So you've never met R.J. Shannon?
21· · · ·A.· ·I did not.                                          21· · · · · · MR. BALLASES:· Objection.· Form.· He just said he
22· · · ·Q.· ·You did not?                                        22· didn't know him.
23· · · ·A.· ·No.                                                 23· · · · · · MR. POPE:· You said he just said what?
24· · · ·Q.· ·Did you research or review that case like you       24· · · · · · MR. BALLASES:· He just said he didn't know him,
25· reviewed the others?                                          25· so how could he meet him if he doesn't know him?



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 74 of 111
OMAR KHAWAJA                                        October 03, 2024                                               286 to 289
78755
                                                       Page 286                                                          Page 288
·1· · · · · · MR. POPE:· I don't know.                            ·1· · · · · · MR. BALLASES:· He -- you don't need the account
·2· BY MR POPE:                                                   ·2· information for a nonparty.
·3· · · ·Q.· ·What's your familiarity with TransAct Title?        ·3· · · · · · MR. POPE:· I didn't ask for it.· I just said if
·4· · · · · · MR. BALLASES:· Objection.· Form.                    ·4· it --
·5· · · · · · THE DEPONENT:· I know they're a title company,      ·5· BY MR. POPE:
·6· and Mansoor Chaudhry owns them.                               ·6· · · ·Q.· ·Who has an ownership in that entity?
·7· BY MR. POPE:                                                  ·7· · · ·A.· ·Just me.
·8· · · ·Q.· ·Do you have any ownership interest in that title    ·8· · · ·Q.· ·Just you.· Did anyone else ever have an ownership
·9· company?                                                      ·9· interest in it?
10· · · ·A.· ·No.                                                 10· · · ·A.· ·I think we talked about this already.
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· · · · · · MR. BALLASES:· Objection.· Form.
12· BY MR. POPE:                                                  12· BY MR. POPE:
13· · · ·Q.· ·Have you closed transactions for that title         13· · · ·Q.· ·Was that one with your parents?
14· company?                                                      14· · · ·A.· ·Yeah.
15· · · ·A.· ·I have.                                             15· · · ·Q.· ·Okay.· Did you buy them out?
16· · · · · · MR. BALLASES:· Objection.· Form.                    16· · · · · · MR. BALLASES:· Objection.· Form.
17· BY MR. POPE:                                                  17· · · · · · THE DEPONENT:· I think so, yes.
18· · · ·Q.· ·Which ones?                                         18· BY MR. POPE:
19· · · · · · MR. BALLASES:· Objection.· Form.                    19· · · ·Q.· ·When did you buy them out?
20· · · · · · THE DEPONENT:· Business transactions.· Why is --    20· · · · · · MR. BALLASES:· Objection.· Form.
21· how is that relevant?                                         21· · · · · · THE DEPONENT:· Years ago.
22· BY MR. POPE:                                                  22· · · · · · MR. POPE:· We're hitting 6 o'clock, so --
23· · · ·Q.· ·Any transactions that involved any of Ali           23· · · · · · THE DEPONENT:· Hey, I'm ready to continue, so I'd
24· Choudhri's properties?                                        24· like to get the Court involved if we need to finish up
25· · · ·A.· ·No.                                                 25· today.· I'm not coming back tomorrow, so we need to finish
                                                       Page 287                                                          Page 289
·1· · · · · · MR. BALLASES:· Objection.· Form.                    ·1· up today.
·2· BY MR. POPE:                                                  ·2· · · · · · MR. POPE:· We need to finish.
·3· · · ·Q.· ·Any transactions that involved any properties       ·3· · · · · · THE REPORTER:· We are at four hours and 51
·4· owned by any of the named defendants?                         ·4· minutes on the record.
·5· · · ·A.· ·None.                                               ·5· · · · · · MR. BALLASES:· James, I mean, how much longer do
·6· · · · · · MR. BALLASES:· Objection.· Form.                    ·6· you have with this witness?· Do you have any idea?
·7· BY MR. POPE:                                                  ·7· · · · · · THE REPORTER:· Do we want to go off the record
·8· · · ·Q.· ·Do you maintain books and records for Khawaja       ·8· before discussing --
·9· Partners, Limited?                                            ·9· · · · · · MR. POPE:· Yes.· Yes.
10· · · ·A.· ·Yes.                                                10· · · · · · THE VIDEOGRAPHER:· All parties agree to going off
11· · · · · · MR. BALLASES:· Objection.· Form.                    11· the record?
12· BY MR. POPE:                                                  12· · · · · · MR. POPE:· Yes.
13· · · ·Q.· ·Is there a bank account for those?                  13· · · · · · THE VIDEOGRAPHER:· We're going off the record at
14· · · · · · MR. BALLASES:· Objection.· Form.· You don't need    14· 6:00 p.m.
15· to answer that.                                               15· · · · · · (WHEREUPON, a recess was taken.)
16· BY MR. POPE:                                                  16· · · · · · THE VIDEOGRAPHER:· We're going on record.· It's
17· · · ·Q.· ·Who are the other -- are you not -- is your         17· 6:01 p.m.
18· lawyer instructing you not to answer?                         18· · · · · · MR. BALLASES:· This is Michael Ballases, counsel
19· · · · · · MR. BALLASES:· So that's misleading, harassing,     19· for the plaintiffs in this adversary proceeding.· Mr. Pope
20· and oppressive.· You don't -- I don't know why you're         20· has indicated it's about 6 o'clock now.· It's 6:02 and he's
21· asking for bank account information for my client.· You       21· indicated he wants to stop for the day.· We are willing to
22· don't need it -- he's not even a party to this matter.· So    22· continue, but he's got two days pursuant to the court
23· yeah, I'm instructing him not to answer.                      23· order, so we will be back tomorrow.· But the record needs
24· · · · · · MR. POPE:· The main question was just did one       24· to be clear that we're willing to continue today to allow
25· exist.· I didn't ask for the account information.             25· these depositions to reach their conclusion.



                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 75 of 111
OMAR KHAWAJA                                        October 03, 2024                                                290 to 293
78755
                                                       Page 290                                                          Page 292
·1· · · · · · MR. POPE:· And this is James Pope, and we are       ·1· · · · · · · · · · · · · ·CERTIFICATE

·2· going to continue in the morning with Mr. Khawaja starting    ·2

·3· at 10:00 a.m., unless the parties can agree to start a        ·3· · · ·I, Barbara Molina, do hereby certify that I reported

·4· little earlier.                                               ·4· all proceedings adduced in the foregoing matter and that

·5· · · · · · MR. BALLASES:· Okay.· We'll keep it at 10:00.       ·5· the foregoing transcript pages constitutes a full, true

·6· · · · · · MR. POPE:· Want to keep it at 10:00?                ·6· and accurate record of said proceedings to the best of my

·7· · · · · · MR. BALLASES:· Keep it at 10:00.                    ·7· ability.

·8· · · · · · MR. POPE:· Okay.· So we're going to Zoom tomorrow   ·8

·9· with Omar Khawaja at 10:00 a.m.· We're not passing.· We'll    ·9· · · ·I further certify that I am neither related to counsel

10· resume tomorrow.                                              10· or any party to the proceedings nor have any interest in

11· · · · · · THE REPORTER:· Okay.· And for this section of the   11· the outcome of the proceedings.

12· transcript, Mr. Pope, would you like to order a copy?         12

13· · · · · · MR. POPE:· Yes.· Bill to the client.                13· · · ·IN WITNESS HEREOF, I have hereunto set my hand this

14· · · · · · THE REPORTER:· Okay.· And Mr. Ballases, would you   14· 6th day of October, 2024.

15· like to order a copy?                                         15

16· · · · · · MR. BALLASES:· Yeah.· Do you not want to wait       16

17· till the end, or you're not going to be here?                 17

18· · · · · · THE REPORTER:· I won't be here tomorrow.            18

19· · · · · · MR. BALLASES:· Then yes.                            19

20· · · · · · THE REPORTER:· So you'll have this section, and     20· · · · · · · · · · · Barbara Molina

21· then we'll have a continuation.                               21

22· · · · · · MR. BALLASES:· Yes.· We do, please.                 22

23· · · · · · THE REPORTER:· I have that noted.                   23

24· · · · · · Ms. MacGeorge, do you want a copy of the            24

25· transcript, ma'am?                                            25

                                                       Page 291                                                          Page 293
·1· · · · · · MS. MACGEORGE:· We are all one and the same.· So    ·1· · · · · · · · · · CORRECTION SHEET

·2· just one for the other side.                                  ·2· Deposition of: Omar Khawaja· Date: 20-03-24

·3· · · · · · THE REPORTER:· Let's go off the record.             ·3· Regarding: Quinlan vs. Jetall Companiess

·4· · · · · · THE VIDEOGRAPHER:· This concludes the deposition    ·4· Reporter: Molina/Perkins/George/Hirth/Raposa/Sullivan

·5· of Omar Khawaja.· We're going off the record at 6:03 p.m.     ·5· ______________________________________________________

·6· · · · · · (WHEREUPON, a recess was taken.)                    ·6· Please make all corrections, changes or clarifications

·7· · · · · · THE REPORTER:· We are on the record.· The time is   ·7· to your testimony on this sheet, showing page and line

·8· 6:04 p.m.                                                     ·8· number.· If there are no changes, write "none" across

·9· · · · · · MR. POPE:· This is James Pope coming back on the    ·9· the page.· Sign this sheet and the line provided.

10· record just to say we are resuming tomorrow.· We're           10· Page· Line· Reason for Change

11· resuming at 9:00 a.m.?                                        11· ____· ____· __________________________________________

12· · · · · · MR. BELLASES:· That's correct.                      12· ____· ____· __________________________________________

13· · · · · · MR. QUINLAN:· I thought John said 8:00.             13· ____· ____· __________________________________________

14· · · · · · MR. BELLASES:· We agreed to 9:00.· I got to take    14· ____· ____· __________________________________________

15· my kid to school.· I can't be here that early.                15· ____· ____· __________________________________________

16· · · · · · MR. POPE:· So we're going to start tomorrow at      16· ____· ____· __________________________________________

17· 9:00 a.m., resuming with Omar Khawaja.· And the next in       17· ____· ____· __________________________________________

18· line will be John Quinlan.                                    18· ____· ____· __________________________________________

19· · · · · · MR. QUINLAN:· Thank you.                            19· ____· ____· __________________________________________

20· · · · · · MR. POPE:· And then ending with Osama Abdullatif.   20· ____· ____· __________________________________________

21· · · · · · THE REPORTER:· I have all of that noted.· We are    21· ____· ____· __________________________________________

22· off the record at 6:05 p.m.                                   22· ____· ____· __________________________________________

23· · · · · · (WHEREUPON, the deposition of Omar Khawaja was      23· · · · · · · · · Signature: ___________________________

24· concluded at 6:05 p.m.)                                       24· · · · · · · · · · · · · · ·Omar Khawaja

25                                                                25




                                                                                                                                    YVer1f
        Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 76 of 111
OMAR KHAWAJA                                       October 03, 2024              294
78755
                                                    Page 294
·1· · · · · · · · · · · · DECLARATION
·2· ·Deposition of: Omar Khawaja· · Date:
·3· ·Regarding: JOHN QUINLAN vs JETALL COMPANIES
·4· ·Reporter:
·5· ·______________________________________________________
·6
·7· ·I declare under penalty of perjury the following to be
·8· ·true:
·9
10· ·I have read my deposition and the same is true and
11· ·accurate save and except for any corrections as made
12· ·by me on the Correction Sheet herein.
13
14· ·Signed at ____________________________, ______________
15· ·on the ____________ day of __________________, 20____.
16
17
18
19
20
21
22
23
24· · · · · · · · · ·Signature: ___________________________
25· · · · · · · · · · · · · · · Omar Khawaja




                                                                                    YVer1f
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 77 of 111
OMAR KHAWAJA                                                                            295
78755                                                                Index: 1..713-344-6036
                                               207 148:17
      Exhibits                     2                                             4
                                               208-210 191:25
 EX001 WYATT UNS        2 236:25               20th 29:18 85:13       411 33:20,23 37:25
 WORN DECLARATI                                21 131:12
                        20 229:19 241:11                              4401 148:17
 ON 29:8,12,17,18
  30:15                 200,000 141:17         22 229:19              4521 147:3 148:11
                                               23 229:19               150:17
                        2005 243:4
             1          2008 90:20             23-03141 29:10
                                                                                 5
 1 29:8,12,18 30:15     2009 90:12             2401 35:10,13,16
                                                38:14,15              5 41:10 70:17,21
 1-16 41:18             2010 9:15 42:15
                         113:9 201:4,6,13,15   2425 33:10,18          50 31:21,23 37:25
 1-7 29:11                                      37:24,25 57:15
                        2011 55:19 201:19                              38:1 60:22,23
 1.2 84:25 111:12                              26L 24:10 26:12
                        2012 201:19                                   51 289:3
 10 55:20 90:12                                 27:14 38:19 147:21
                        2013 13:10,12 98:6                            5177 9:8 136:5
  194:2,6,10 221:6,8,                          2727 24:10 26:12
  9                      201:15 202:3                                 5700 32:1 38:1
                                                27:14,24 28:13
                         227:17 242:24
 10- 144:18                                     38:19 147:20          5:08 237:10
                        201341273 84:11         188:22 220:8
 10-minute 68:15                                                      5:24 237:14
                         98:18
  144:23                                       2:06 93:24
                        2014 98:6 242:24                                         6
 100 219:11
                        2016 266:7                        3
 1001 33:5,12,16                                                      6 179:25 288:22
  37:24,25              201679190 162:24
                                               3 8:4                   289:20
 1065 9:8               2017 141:5
                                               30 241:7               615 28:24
 10:00 290:3,5,6,7,9    201710832 84:17
                                               3201 24:5 26:11        6531 148:16
                         98:21
 11 113:9                                       27:13 38:18 147:4     6:00 278:15 289:14
                        2019 13:4               148:12 150:17
 11:03 8:5,9                                                          6:01 289:17
                        2020 13:4 121:7         151:22
 11:32 25:16                                                          6:02 289:20
                        202038738 85:7         334 45:16
 12:19 68:19             94:9 98:24                                   6:03 291:5
                                               3550 148:16
 12:33 69:2             2021 84:4                                     6:04 291:8
                                               37 29:19
 12:48 93:21            2022 84:5 121:5                               6:05 291:22,24
                                               3:02 145:3
 12:58 93:6             2023 121:1             3:22 145:6
 1415 35:21 38:16                                                                7
                        20238738 46:8          3rd 8:8
 15 40:2 41:10,17       2024 8:4,8 29:18                              713-344-6036
 187 30:11               68:11 85:13                                   135:15
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 78 of 111
OMAR KHAWAJA                                                                           296
78755                                                                    Index: 77056..Ali
 77056 9:9                284:23 285:1         actions 20:7           agency 52:7,10
                          291:20                                       53:1,4,7,16 54:3,5
                                               active 56:16 124:21
           8                                                           69:14 104:25 105:7
                         Abdullatif's 13:9      140:10,14 142:3
                                                                       227:25 229:21
                          63:23                 166:3
 8050 145:10                                                           231:8,12 239:13,14
                         abide 173:23          actively 124:21
 8098 145:10                                                          agent 69:14 230:13,
                                                205:2
                         Abrahim 209:11                                17
 8503 148:17                                   actor 52:2 187:5,6,8
                         absent 99:24                                 agree 39:1,8 145:1
 8:00 291:13              130:14,19 133:6      acts 99:13,24 100:1     153:18 237:6
                          154:22 155:1          123:5,15 155:5         289:10 290:3
           9                                    187:6,16
                         absolutely 107:10                            agreed 73:1 162:16
                          113:14 127:7         actual 21:17 111:20     291:14
 9 75:21                  164:17 269:17,22      185:6
                                                                      agreement 25:12
 9/11 243:4              access 96:9,13,14     add 25:7 187:18         53:2,8 54:5 65:15
 9/12/78 9:11             106:23                215:17                 68:18 84:7 93:17
                         account 16:10,12,     additional 232:15       105:3,4 133:23
 9201 24:7 26:11
                          13,15,20 17:17        233:6                  143:24 144:2,5,8
  27:13 28:9,12 38:18
                          86:17,21,23 87:4                             153:23 213:22
  173:8 177:1,15                               address 9:7,8
                          97:16 105:17 185:3                           230:25 231:4
  184:3 188:3,7                                 135:21 136:4,11
                          220:7,8 287:13,21,                           243:19,24 245:14,
 9:00 291:11,14,17                              191:23                 25
                          25 288:1
                                               adjuster 241:20,21     agreements 24:14
                         accountant 87:6
           A                                    249:21,22 250:14,      47:25 52:8,11 53:4,
                         accounting 87:5        22,25                  16 54:3,8 61:12
 a.m. 8:5,9 25:16        accounts 17:1 74:8    ADMP 11:23 12:2         69:14 104:25 105:7
  290:3,9 291:11,17       95:7,8,9 102:5,24                            133:18 134:5
                                               ads 273:13
 Abdul 210:6              103:6,8 105:24                               227:25 229:21
                          106:21,22 220:2,4,   advance 268:24          231:8,12 245:19,24
 Abdullatif 10:5 13:6,
                          10,20,25 221:3,9     advantage 78:2          253:15
  11,13 14:1 25:20
  28:20 44:24 45:14      accused 161:19        adversary 289:19       ahead 28:23 268:16
  54:23 57:18,21         accusing 162:4                               AIG 97:23 104:19
                                               advice 30:16 37:15
  61:13,24 62:19                                                       105:23 114:16
                         Acres 32:9 38:2        57:22 113:18
  63:14,16,22 64:8,16                                                  124:19
                                                152:19,24 176:7
  86:3 97:23 98:4        act 21:17 123:22       180:20                AIGWT 34:11 38:9
  105:22 109:23           155:11
  110:11 113:11                                advises 87:6           airport 264:22
                         acted 94:22 184:24
  114:16 119:7                                 affiliated 104:5       Akbar 15:14,15
  124:20 157:21          acting 187:8,13        215:2 228:1 268:7
  170:24 171:10                                                       Ali 27:15 28:2,5
                         action 49:5 129:1
  179:7 186:6 207:5                            affirm 8:19             36:15 38:20 45:15
                          152:13
  211:22 277:10                                affirmed 8:25           54:4 74:13 78:11
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 79 of 111
OMAR KHAWAJA                                                                           297
78755                                                             Index: Allan..assistance
  95:4,12 99:15          19 223:1              239:2,7               Ashish 165:2 196:6,
  100:22 101:8,23                                                     8
                        alter 16:6,8 25:10    answers 200:13
  105:5,13 106:15        42:6 87:8,12 94:17                          aspect 124:22
  107:13,20,24                                anticipate 127:20
                         98:11,13 99:15,19,
  110:12 113:13                                                      aspects 114:15
                         25 118:1,8 127:17,   Antonio 158:11
  116:23 121:23                                                      assert 110:6 126:11
                         18,24 128:18,25      Anwar 209:14
  122:19 123:10                                                       178:19 266:24
                         130:12,14,19
  125:2 130:16                                anymore 147:23
                         136:24 137:4                                asserted 125:19
  133:13 156:14          146:15,17 147:14     app 135:12
  160:15 169:23                                                      asserting 122:9,14
                         149:8,21 150:9
  178:3 179:7 181:19,                         appeal 56:5 94:15
                         152:13 154:23,24                            assertion 103:18
  22 198:19 199:22                             203:8 224:17 283:3,
                         155:2 156:15                                 215:25
  202:10 205:1,22                              8,10
                         166:25 167:5 172:1
  206:24 208:6,11                                                    asset 43:20 50:25
                         173:10,14 174:2,4,   appealed 55:25
  210:18 215:20                                                       51:11,16 69:13
                         18,21 175:1,13,16     140:12,13,18
  221:12 229:4                                                        77:25 154:14,19
                         178:2,20 198:6       appearance 26:5,16
  230:13 234:23                                                       184:13 188:12,18
                         200:21 202:14
  235:2 237:17,21                             appearances 25:21      assets 20:20 37:17
                         215:21 232:5
  240:23 241:22                                                       38:24 40:10 42:25
                        amassing 66:3         appearing 27:22
  248:9 249:11 252:4                                                  43:14 50:18 59:2,23
                                               28:4
  266:24 267:17         ambiguous 96:23                               69:9,16 80:1 81:11,
  268:8 270:24           102:1                appears 27:19 114:1     16 87:4 88:24
  271:13 273:14,19,                            230:15                 99:16,22 102:15,22,
  24 274:4,12 277:5,    amend 200:2
                                              Appellate 120:4,5       23 104:9,10,22
  16 278:22 281:15      America 265:2                                 106:15,19 107:4
  286:23                                      Arabella 24:5 26:11,
                        Amir 250:16                                   117:7,9 118:15
                                               21 27:13 38:18
 Allan 46:2 110:21                                                    119:13 123:9 124:1
                        amount 77:25 85:21     78:21 89:12 151:22
                                                                      132:22 154:5,17
 allegation 43:7         111:8,20 141:14       177:15 220:7
                                                                      155:9 158:10 177:1,
  197:3                  225:10               areas 12:17,20          17 183:21,25
 allegations 20:10      and/or 163:10          42:16                  219:17 232:9 280:7
  95:24                                       arguable 146:3
                        announce 25:25                               assign 84:11
 allege 155:20           26:15 27:18,25       arguably 147:8,11      assigned 49:11,12
 alleged 41:2,5 50:25   announced 25:23        148:1,23               84:7,17 108:2
  74:22 75:8 79:5        28:19 63:12          argue 72:17 73:6,10,    134:20 193:11
  123:22 124:4                                 18 146:5               199:16,18
                        another's 219:19
  128:25 143:14
                                              argument 73:17         assignment 47:2,5
  149:5,22 198:6,11     answer's 233:12
                                                                      83:13 85:6
  218:10,14 222:1       answerable 181:6,8    arm's 118:15
                                                                     assist 119:22
 alleging 66:2 94:17    answering 18:1,5      arrived 265:14          192:19
 allowed 28:25 73:7,     45:3,6 112:22        articles 276:2,8       assistance 266:19
  12 125:22 180:18,      136:1,2 180:4
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 80 of 111
OMAR KHAWAJA                                                                            298
78755                                                            Index: assistant..Ballases
 assistant 164:11        111:14,21,23 173:4     119:20 125:1,7          288:25 289:23
                         214:9                  133:7 151:19            291:9
 assisted 117:17,20,
                                                154:14 161:6,12,17,
  25 212:12,17          attorney- 47:5 64:20                           backed 75:18
                                                19,24 162:3,16,21,
                         265:7
 assume 123:13                                  23 163:23 165:13,      background 9:12
  279:9                 attorney-client 20:5    18 166:3 178:22        backwards 201:17
                         21:15 30:22 37:11      181:19,22 183:24
 assuming 92:7
                         47:4 61:22,25 66:19    185:22 192:3,9,10      bad 52:2 155:5,10
  256:18
                         204:6 224:5 232:20     193:9 194:25            187:5,6,8,16 266:12
 asteroid 266:1          256:25                 197:25 207:4,14,15,    badly 187:8,13
 ATM 74:14              attorney/client 82:4    22 212:10,23 213:2,
                                                                       BALLASE 198:13
                         109:25 110:7           9 227:15,19 229:21
 attached 29:10
                         122:10 125:20          231:19,21,25 232:5,    Ballases 25:17,18
  31:14 47:8 82:7
                         169:13,20 176:4        12,23 233:5 262:18      26:4,9,15 27:25
  83:14 169:15
                         178:10,12 183:15       263:18,21,23 264:1,     28:7,14,18 29:4
 attempt 99:17                                  6,8,9 274:1 277:4,7,    39:4,13,18,25 40:3
  102:12,13 103:21      attorneys 9:24,25       9 283:7 284:10          44:24 45:8 47:7,12
  182:11 193:22          21:1,5 40:12 41:6                              48:1,10,20,22 49:1
                         48:14 49:25 67:15     awareness 107:11
  194:21                                                                63:11 65:6 72:17,21
                         82:25 83:7,18         awhile 84:5              73:4,8,10,13,18
 attempted 132:25        134:13 139:18
                                               Azeemeh 17:24 18:8       93:12 94:11 95:17
  190:17 200:3           142:22 150:10
                                                44:23 53:11 54:19       96:1,4,19,23 97:9
 attempting 44:9,14      151:7                                          100:24 101:3,10,18,
                                                228:24 236:6,10,15,
  94:2 149:2 178:14     ATX 177:19 178:19                               24 103:13 104:1
                                                20 255:16 278:6
 attempts 105:13                                                        105:9,15 106:13
                        Austin 177:6,16        Azhar 17:22 18:8
  141:7                                                                 107:1,21 108:7,13
                        authority 221:25        55:1 117:20 119:22      109:1,9,11,15
 attended 281:5                                 120:12,13 192:4         110:5,15 111:1,10,
                        authorized 116:14,      212:7 255:21
 attorney 13:5,9 22:6                                                   18 112:1 113:24
                         18 148:20              257:10 264:21
  42:14 46:3 48:19                                                      114:8,12,23 115:3,
  54:15,16,17 59:6,9    Avenue 136:5            266:21,25 278:22        8,20 117:13,22
  83:8 120:12,16        avoid 216:5                                     118:4,11,23 119:24
  122:10 126:11                                          B              120:22 121:2,12,18,
                        Avondale 32:4 38:1                              24 122:9,22 123:1,
  142:18 160:20,21
                         112:17 144:14,17                               7,16 124:10,18
  165:5,6 169:20                               back 13:2 25:15
                         191:22,23,25 194:8                             125:4,11,18,23
  172:16 178:11                                 29:8 31:18 43:15
                         195:3 202:8,11                                 126:10,16 127:5,11,
  196:4 204:8 218:3                             69:1 73:25 74:9,12
  224:6 240:11,15       award 187:7             75:25 90:12,20          19,25 128:8,14,20
  247:3 250:4,6                                 93:16,23 97:4           129:3,18 130:4,11,
                        awarded 108:11
  254:21 268:19                                 114:14 123:25           18,25 131:7,17,23
  271:21                aware 20:19 43:5,6      124:9 145:5 201:8       132:11 133:1,10,16,
                         47:13 58:20,22 60:7    218:19 237:13           20,25 134:8,12,16,
 attorney's 66:2,11,     94:8,9,14,16 106:24    246:24 265:1 266:9      22 135:9,17,22
  21,23,24 67:3,6,11     107:8 109:17,19,22     278:14,18 284:18        136:16,21 137:1,8,
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 81 of 111
OMAR KHAWAJA                                                                          299
78755                                                                  Index: bank..basis
  13,25 138:4,10,15,    194:7,12,15,24         247:2,8,12,16          17:1 74:7 79:8,14
  20,25 139:4,8,16,25   195:4,9,12,20,25       248:2,7,13,18,23       81:21 88:15 95:7,8,
  140:9,20,24 141:9,    196:5,10,15,21,25      249:3,7,12,17,23       9 96:14,17 97:4,15
  15,21,24 142:7,12,    197:4,11,16,22         250:1,10,17,23         102:5,24 103:6,8
  23 143:1,5,8,11,17,   198:2,9,20,25          251:5,11,15,20,25      105:24 106:21,22
  21 144:1,9,15,20,25   199:3,8,12,20,24       252:7,11,16,22         113:25 114:3,25
  146:18 147:9,17       200:5,11,22 201:3,     253:2,7,12,18,22       124:3,17 184:14
  148:9 149:11 150:1,   9,23 202:4,15,21       254:1,8,13,16,20,24    185:3 200:18
  14,19,24 151:6,12,    203:10,18,23 204:4,    255:4,9,12,18,22       203:25 216:21
  18 152:17 153:17      11,17,22 205:7,13,     256:3,7,10,16,20,23    218:19,25 220:2,4,
  154:1 155:7,15,22     18,24 206:5,11,14,     257:5,11,16,20,25      7,8,10,20,25 221:3,
  156:3,11,16,21,25     18 207:1,8,12,16,21    258:9,13,18,22         9,17 287:13,21
  157:4,11,15,20        208:2,8,13,17,24       259:2,7,12,17,23      bankruptcy 27:21
  158:1,6,23 159:14,    209:5,12,15,21,24      260:5,11,15,20         166:4 168:5 198:1
  18,23 160:5,12,16,    210:4,8,15,20          261:1,5,10,15,20,24
  23 161:3,8,16,22      211:2,7,14,20          262:3,7,12,20,25      banks 44:4,7 72:2
  162:1,7,11,20,25      212:1,4,9,14,20,25     263:6,10,15,20,25      81:25 82:1 218:25
  163:6,12,17,25        213:5,12,15,20,24      264:5,11,15,18,23     base 95:6 103:11
  164:4,8,13,16,21,24   214:3,7,10,15          265:4,11,15,20,24      115:21 124:15
  165:9,15,25 166:5,    215:16,22 216:1,6,     266:2,6,11,16
  11,15,20 167:2,7,     13,18,25 218:5,11,     267:1,6,11,18,24      based 55:13,14,15
  10,21 168:3,8,18      16,21 219:1,7,15       268:5,11,22 269:4,     60:10 74:19,20 81:8
  169:4,11,18,24        220:3,11,21 221:13,    11,16,21 270:3,6,      89:14 92:17 107:6,7
  170:5,11,17,21,25     19 222:3,6,12,19,24    16,25 271:5,11,18,     113:25 139:17
  171:6,15,20 172:3,    223:5,11,20 224:1,     24 272:7,10,14,18,     145:17 146:7,8
  10,14,19 173:2,6,9,   4,11,21 225:2,6,12,    22 273:2,6,10,15,      147:11 148:5 150:8
  19 174:7,14,17,24     16,25 226:5,15,20      20,25 274:6,9,14,      152:19 174:16,18,
  175:4,11,14,22        227:5,11,16,20         18,23 275:5,12,17,     21 187:15 200:24
  176:3,11,18,24        228:7,14,19 229:1,     23 276:5,10,14,19      280:2,3
  177:10,20,25 178:5,   6,13 230:2,6,10,14,    277:1,6,11,19         bases 150:13
  9,16,21 179:2,9,15,   19 231:2,5,10,14,18    278:3,7,11,25
                                                                     basic 195:8,17
  22 180:2,5,7,11,14,   232:1,7,18 233:8,      279:3,7,14,18,25
                                                                      197:8,9
  15,16,20,23,25        14,17 234:2,8,13,      280:6,14,18,23
  181:5,9,11,21         20,25 235:4,9,16,24    281:3,9,16 282:11,    Basically 197:1
  182:2,6,17,21         236:3,7,17,22,25       22 283:4,9,14,18      basis 42:6 59:20
  183:2,8,13,22         237:19,24 238:2,6,     284:1,6,12,16,21       60:10 64:25 65:2,3
  184:10,18 185:9,15    11,18,25 239:4,7,19    285:3,9,12,16,21,24    66:15 69:18 70:12,
  186:1,15 187:4,14,    240:4,10,18,25         286:4,11,16,19         14 72:14 73:6,10,19
  20,24 188:5,10,16,    241:5,8,12,16,23       287:1,6,11,14,19       74:18 76:18,19
  23 189:5,9,14,23      242:3,8,12,18,22       288:1,11,16,20         85:1,10 91:4 96:22
  190:6,10,14,18,23     243:2,7,13,22          289:5,18 290:5,7,      116:25 122:8
  191:2,9,13,18         244:1,5,10,16          14,16,19,22            124:12 128:22
  192:6,11,15,21        245:1,6,11,16,22                              149:5,22 163:5
                                              bank 16:10,12,13,20
  193:2,8,13,19,25      246:2,13,16,21                                185:18,19 195:17
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 82 of 111
OMAR KHAWAJA                                                                         300
78755                                                                 Index: begin..case
  202:14,19              254:11 257:10        bunch 262:17          calling 269:24
                         280:15
 begin 19:23                                  business 10:2,6       calls 70:22 72:15
                        bond 108:11,24         14:17 21:24 24:14     76:20 108:8 159:8
 behalf 8:14,17 27:12
                         109:8                 62:6,18 63:1 69:6,    204:12 218:6
  44:17,18,21 58:9
                                               19,21 70:5,19,21
  180:12,24 181:3       books 223:10,19                             camera 237:2
                                               95:15,16 97:2
  191:12                 287:8
                                               100:21 105:25        campaign 209:9
 behavior 100:8,10      bought 108:2           106:1 107:7,18,19    capacity 22:18
                         134:15,17 282:6       108:15 114:15
 belief 70:18 124:15                                                 24:15 27:23 28:14
                        Brad 54:4 227:24       124:22 137:10         54:14 62:24 71:9
 believing 128:17                              160:22 168:16         112:18 113:5
                        breach 196:24          171:5 181:20,23
 BELLASES 291:12,
                                               182:8,11 198:23      Capital 83:14
  14                    break 25:11 68:15
                         93:14 144:19,23       204:20 205:1,11      capitalization 77:22,
 belong 106:15 124:1
                         237:2                 229:4 241:25          23 78:13,18,21,24
  146:5
                                               249:25 250:4,8
                        breakdown 85:4                              care 73:21
 belonged 121:23                               251:3 257:22
                        breaking 93:6          262:23 264:4,9       careful 242:5
 Belt 32:20 33:3,20
  37:25 38:5,6          Briar 31:23 38:1       275:21 286:20        case 19:18,20
                                              business' 62:25        22:15,16 24:17 25:7
 benefit 69:16 80:24    Bridge 188:8,25
                                                                     26:17 27:20 28:20,
  100:3 218:8                                 businesses 14:16
                        Bridgeco 151:25                              21,22 29:10,11
 BH 31:21 37:25          152:3 153:4,6,7,23    68:4 107:9
                                                                     31:1,3,5 44:10,15
                         190:4                buy 282:10,16,20       45:14,18,20 46:7,
 bias 106:7
                        briefly 43:17          283:5,7 288:15,19     14,19,23 47:3 54:11
 bill 67:15 290:13                                                   57:14,18,21 62:16
                        bring 232:6           buying 264:4
 billed 66:4 67:21                                                   69:25 77:13 81:23
                        bro 180:20            bye 233:24             83:22 88:23 90:6,7
 billing 36:3 38:17
                                                                     94:9 98:14,18,21,24
  66:6,8,9 67:20        broad 32:7 38:2
                                                        C            99:4,6,10 102:10
                         96:24 220:13
 bills 219:19                                                        103:2 107:25 108:1
                        brother 15:3          calculate 225:10       109:4,7 110:10
 birth 9:10
                        brother-in-law                               118:25 119:3,7
 bit 284:2                                    call 13:16 159:9
                         250:18,20 253:6                             120:6,8,11 123:9,24
                                               246:5 260:13
 BKLT 33:23                                                          127:18 140:15,17
                        brothers 14:22         270:14,15 271:2,15
                                                                     142:23 143:2
 blogs 276:13,17,18,     262:14                273:5
                                                                     145:11,12 153:24
  24                                          called 10:9 13:19
                        brought 133:13                               161:9 162:23
 Blossom 148:17          221:25 282:7          97:23 124:19 136:8    163:21 166:10,14,
                                               159:5 258:8,15        17 167:25 168:17,
 Board 32:9             building 182:10        267:16 268:3,7,10     24 169:16,17
 boat 265:17            built 154:13           270:24 271:1 273:7    172:13,18 173:20
 Bobby 214:1,5                                                       179:23 185:14
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 83 of 111
OMAR KHAWAJA                                                                             301
78755                                                                  Index: cases..clerk's
  193:20 194:14,22       check 75:2,9 86:10      166:17,22 169:1,23     53:5,11 54:5,18
  196:9,14,17,20,24       102:4 107:17           170:3 173:11,14        82:11 120:16
  197:8 200:16 203:8      182:25 183:3,6         174:19 178:3 179:8     122:11 125:1,10,15
  209:23 210:2 211:5                             181:19,22 182:7,25     126:10 161:7,13,19,
                         checks 69:9 71:5,12
  217:2 224:19 232:6,                            184:5,13,21,24         24 162:3,17,18,24
                          72:3 74:22 103:9
  24 233:3 235:13                                185:23 187:13          163:4,23 164:3,15
                          220:15
  244:7 247:17,25                                189:11 194:18,22       165:6,13 196:8
  249:6 251:19,21        chief 165:20            199:23 200:14          234:19,21 236:1,20
  256:9,13,18,19         choosing 18:14,15       201:18,22 202:3        271:23 272:2 278:5
  259:19 260:4            21:11 151:10 172:1,    204:2,15,21 205:1,     284:10
  262:24 272:17           8                      11,22 206:24          Christopher 18:8
  278:21,23 279:2,6,                             207:24 208:6,11
                         Choud 251:23                                   29:9 30:17 37:10
  12,17 280:13,17,22                             210:19 212:18          82:14,18
  281:1,5 283:17,24      Choudhri 13:15          215:2,21 221:12
                          25:5 27:15 28:1,2,5    222:21 223:18         cite 46:2
 cases 19:14,15,17,
                          29:2 36:15 38:20       228:4 229:24,25       city 135:19 260:24
  21,22 31:5 60:16,21
                          45:15 53:8,13 57:5     230:13 234:23
  74:9 90:1,4,8,11,17,                                                 civil 29:19 222:14
                          69:16 71:4,8 74:13     237:17,22 240:23
  22 224:12 255:8,11,                                                   238:5 244:7,11
                          76:3 78:11 84:22       241:22 248:9
  16
                          91:25 94:18,19,22,     249:11 251:14,18      claim 118:1 150:6
 cash 86:10,13,15         24,25 95:4,12,13,      252:5,10,14 253:17     156:14,19,20 166:9,
 casually 160:17,19       15,22 97:2,16,24       256:9,14,15,22         14,17,19 167:9,15
                          98:10,19,22,25         257:22 259:15,22       169:16 173:16
 catch 53:22 63:19                               266:25 267:17
                          99:13,15,24 100:12,                           179:13 198:6 200:3,
  163:18 201:10                                  268:8 269:10,15,25
                          14,23 101:8,9,23                              21 270:14 271:13
  252:17                                         270:24 271:10,14
                          103:19,24 104:5,8,                           claims 19:4,6 20:11
 caused 58:17             14,25 105:13 106:3,    272:3,4 273:14,19,
                                                                        42:6 57:23 60:5
  147:19 148:15           11 107:15,20,24        24 274:4,12 275:15
                                                                        62:15 104:14
  149:18 151:15           110:12 113:13,22       276:3,9,13 277:5
                                                                        134:15,17 142:3,5,6
  152:2 183:20            114:10 115:10,23       278:22 279:16
                                                                        198:7 232:6,10,17
  184:13 224:25           116:7,23,24 118:2,     281:8,15,25 282:8,
                                                                        269:9,25 271:10
                          9,18,21 119:3,7,13,    19
 cell 135:12,14                                                         273:14,19 280:3
                          23 120:24 121:23      Choudhri's 28:5
  248:21,22
                          122:18,19,25 123:5,                          clarification 24:11
                                                 55:8 97:6 102:13
 Center 168:16            10 124:1,12 129:11     105:13 106:9          clean 40:21 68:7
 certification 223:6      130:16 131:13,16,      150:17 151:5 200:9
                          21 132:4,10,15,18,                           clear 57:20 126:4
 CFO 165:21                                      201:14 227:23          153:9 184:4 236:13
                          25 133:14 141:8        235:2 269:20
                          142:10 143:14                                 246:11,19 289:24
 challenged 224:10                               281:22 286:24
                          145:18 146:9,10                              cleared 237:3
 Charleston 148:16                              Choudhri-affiliated
                          153:9 154:10
                                                 158:12                Clerk 60:16
 Chaudhry 135:2           155:10,16 156:5
  286:6                   157:22 159:21         Chris 18:3,9 30:21,    clerk's 182:20,23
                          160:2,10 165:14        25 31:6 44:23 45:13
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 84 of 111
OMAR KHAWAJA                                                                              302
78755                                                               Index: client..consulting
 client 21:22 25:10     commingled              21 76:13 77:1           conceal 52:8,11
  44:5 47:6 50:4         219:17,18              110:11,21 140:23         104:9,10 226:23
  52:10 56:23 59:1,22                           156:23 157:9 179:7
                        commingling 218:4                               concealed 51:5
  64:21 72:25 90:2,4                            248:21 286:5,9,14        69:15
  95:21 110:2 120:17,   commit 142:17
                                               competent 73:16
  18,21 121:16                                                          concept 218:4
                        committed 21:18
  126:11,12 140:5                              complaining 96:18
                         36:10 106:11 123:5                             concluded 291:24
  159:7 163:1 241:7                             229:12
                         142:10,15 143:14
  265:8,9 269:3,5,7,8                                                   concludes 291:4
                         155:5 222:9           complaint 21:4,7
  287:21 290:13                                 29:10,15 30:1 31:14     conclusion 43:2
                        committing 74:20
 client's 37:14 110:3                           40:16,17,19,23           70:22 72:15 76:21
                         123:11 187:6
  268:13,25                                     41:2,5,16,17 47:8,       87:14 150:11 218:6
                        communicate 135:8       11,13 66:2,20            289:25
 clients 28:19 56:15     247:20                 70:17,21 71:2 75:22     conclusions 42:10
  57:13 180:21 269:9,                           76:23 79:5,6,9,15,
  14,19                 communicated
                                                20,23 81:5 82:7         Condominium
                         110:8 192:13
 closed 157:13                                  83:25 87:17,24           147:21
                         204:19,23 239:16
  286:13                                        89:9,13,16,18,19,       conduct 200:14
                        communications          20,23 92:13,17 94:3
 clue 241:13,15          19:23                                          conference 30:7
                                                96:3 97:19,20 98:9
 co-mingled 69:9        community 186:5,        104:8,11,12,24          confidential 161:14
 co-mingles 81:15        11 199:4 234:16,17     105:20 106:3,24         confidentiality
  88:24                  239:24,25 273:18       107:6,9,15 111:24        238:23 243:19,24
                                                114:4,10,20 120:19       245:14,25
 co-mingling 71:3,17    community-type
                                                122:19,24 124:4,7,
  72:8,11 74:4           234:15                                         confirm 21:11
                                                16 131:13 142:15
 co-owns 188:8,25       companies 15:22         152:13 158:18           confusing 96:23
                         19:9 20:8 21:18,22,    159:13 163:5 175:9,
 collect 44:9,14 94:2                                                   connected 123:10
                         25 26:11,21 27:13,     16,17,21 176:2
  106:17 108:3 117:4     23 36:6 42:24 45:20    179:13,19 182:3,15      connection 9:23
  193:6,17,23 194:6      46:7 74:14 75:4        184:17 185:17            24:13 215:21
  204:2,9 282:21,25      78:12,14,18 104:18     189:13,20 191:5         consideration 205:6
 collecting 103:20,25    110:20 111:5 112:6,    193:1,7,12,18
  282:19                 7,10,13 113:6          198:16 199:10           consist 43:18
                         143:25 146:12,13,      200:19 202:14,19        conspired 97:24
 collection 141:7
                         14,15,16,21 147:12,    215:4,6,8 223:17
  192:19                                                                constable 237:21
                         15 148:6,7 149:7,8,    226:9,10,13 242:11
 collections 178:14      14 151:17 154:10                               constant 81:21
                                               complaints 90:25
 Collective 10:21        165:23 178:3
                                                94:6 185:20,22,25       Construction 34:13
  17:7,13                223:10 227:15
                                                186:2,4 198:11,12        35:1,23 38:9,12,16
                         230:1 248:22
 commercial 264:13,                            completely 172:12        consulted 159:6
  14                    company 10:9,12
                         14:3,23 15:7 45:14,   compound 87:23           consulting 120:12,
       Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 85 of 111
OMAR KHAWAJA                                                                              303
78755                                                                 Index: contact..Cypress
  16                    convey 131:20          counsel 8:11,24           224:3
                                                26:9,10 30:16,23
 contact 22:2 222:5     convicted 163:23                                covered 260:18
                                                37:15 38:25 45:18
 contacted 221:25       COO 165:21              46:13 50:1,4 57:4,      COVID 260:22
 contention 60:8        copy 30:4 290:12,       18 69:24 73:3           create 87:8
  156:13 178:25          15,24                  112:3,24,25 113:1,
                                                19 120:5,11 126:3       creates 87:12 169:1
  215:20                cordial 202:12          152:20,24 172:22        Creative 10:21 17:7,
 context 13:14 21:19,                           176:16 179:16
                        core 175:17                                      13
  20 22:3 112:14                                183:12 192:18
  123:8 229:11          corporate 10:13,14                              credible 106:4,5,6
                                                193:3 229:15,17
  256:25                 11:15 28:6,7,16
                                                246:10 272:5            credit 78:8
                         36:13,15 74:22,24
 contingency 57:23                              279:10,11 280:12,       creditor 19:7,8 49:8
                         75:2,5,8 77:6,7
  65:15 134:5 213:22                            13,20 289:18             50:11,13 99:17
                         79:22 80:1,4,8,9
  231:4,6                                      counsel's 176:6           102:14 106:14
                         81:11 86:21,23
 continuation 290:21     87:3,12 105:23                                  108:4 117:3 118:14
                                               count 270:19,23
                         131:14,16,22 132:3,                             119:14 123:24
 continue 117:12                               counter 22:9
                         10,13,16,20,22                                  124:2 145:18 146:8
  126:7 288:23
                         155:14,21 183:19      country 260:25            147:12 148:6 149:7
  289:22,24 290:2
                         190:8 219:22                                    154:21 179:21
 contract 130:5                                county 60:16 90:9         181:16,18 263:24
                         227:15
  196:24                                        120:3,4 142:8 177:5
                        corporation 22:24       188:18                  creditor's 216:15
 contracts 24:15         75:3,18,25 76:4                                 219:18
                                               court 8:12 26:3 29:7
 control 50:24 100:4    correct 10:8,15 14:2    36:19 55:25 56:2,7      creditors 86:1
  101:9,23,25 103:10     16:4 23:5 30:24        90:10 93:13 101:11,      94:23,25 95:1
  154:10                 46:5 48:25 55:12       14,17 120:4,5            102:16,17,18,20,21
                         57:19 88:1 94:3,4,     128:25 129:4             103:20,25 119:15
 Control's 102:3
                         19 95:5 96:5,7,10,     130:15 139:19            124:13 132:25
 controlled 95:10        15,18 99:20,21                                  133:9 153:10 154:6,
                                                142:8 201:16
  101:17 147:13          103:12 108:17,20,                               20 167:15,18,20
                                                203:16 235:15,18,
  185:2                  21,24 117:10 124:5                              169:1 172:5 179:20
                                                20,22 277:20,21,23,
 controlling 95:13       141:19 146:21,22       25 281:1,7 288:24        180:1,2 181:15
  132:2                  168:15 179:10,12       289:22                   183:10 184:25
                         193:24 216:23                                   185:4 200:15
 controls 97:17                                court's 29:18 191:5
                         246:1,22 250:15                                Creek 15:15,25
  100:23 114:18
                         279:12 291:12         courtroom 13:22
  132:22                                                                crimes 222:9
                        correctly 153:5        courts 41:20 52:16
 conversation 242:7                                                     Croix 155:1
                                                187:7
  260:9                 corrupt 37:2
                                               Cove 32:24 38:5          current 9:7,8 55:9,
 conversations          Cory 284:5                                       11 188:3,21
                                                214:19,22
  190:4,12 260:3        costs 111:16,21
                                               cover 12:18,21           Cypress 151:25
                                                                         153:5 188:8,24
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 86 of 111
OMAR KHAWAJA                                                                            304
78755                                                                  Index: dad..deponent
                          35:1,4,7,10,13,16,     20:9 24:16 25:7        184:25 185:20
           D              19,21 100:13           26:10 39:2,3,22        200:14
                          107:12,14,16           41:9,24 42:24 43:8    defrauded 97:21
 dad 137:20,21,22         160:22 202:10          47:19,25 49:5          112:15 114:16
  138:2,7,8,14 143:16     249:25 250:8           50:12,18,24 51:5,      115:23,24 117:2
  201:25                  262:24                 10,16,22 52:2 54:21    124:20 153:2
 dad's 23:14                                     56:17 57:5,24 58:4,
                         deals 253:5                                    201:16 202:2
                                                 13,18,23 59:14
 Dalio 24:20,22 26:12    debt 51:16 52:2         69:5,20 71:17,25      defrauding 94:25
  27:14 38:19 173:25      75:1,5,6 122:20        78:25 80:13,22         185:4
  174:5,11 175:20         136:15,20 137:23       81:3,14 90:24         delay 184:24
  228:8,12,18,20          141:6,23 183:20        92:24,25 113:16,19
  230:5,9                 184:6,13 193:23        117:18,21 127:3       Dennett 53:12 54:4
 damage 143:13           debtor 118:14 153:3     129:10 131:13,14      Department 222:14
                          219:6                  132:16 140:16          237:17 239:15
 damages 49:4
                                                 146:24 149:14          240:5,8 246:9
  187:3,7,9 225:11       debtor's 219:19         150:8 152:8,10,13
                                                                       depends 87:5
 Danny 64:8              debts 74:22,24 75:8     168:23 175:2
                          77:7 95:10 192:20      176:17 183:19,20,     depo 29:2 30:3
 Darjean 28:6,9,12
                                                 25 184:2 187:18       deponent 8:22
 date 8:8 9:10 67:4,7,   decent 180:9
                                                 197:20 198:1,8         14:12 16:22 17:19
  12                     decide 129:4            204:3 206:25           18:1,5,21 20:1,24
 Daughtry 46:3           decision 152:19,22      207:18 211:1 218:9     28:21 31:3 39:5
  110:21                  224:15,17              219:13 220:2 221:2     40:5,12,22 41:4,13,
                                                 223:19 224:20          19 42:1,9,20 43:2,
 David 135:4 189:6       declaration 29:9        225:23 226:4
  190:21                                                                10,20 44:4 46:11,
                          45:21 82:14,17         229:22 235:3 241:3,    16,21,25 47:21
 Davy 46:4 180:3          83:15 110:20           7,11 242:17 248:5      48:2,12 49:7,22
                         deed 129:22 130:6       249:16 251:24          50:15,20 51:2,7,13,
 day 40:1 105:25
                                                 256:14 257:4           19,24 52:5,10,16
  171:8 278:10           default 189:25
                                                 276:25 287:4           53:4,11,18,23 54:3,
  289:21
                         defaulted 91:22,24                             10,23 55:5,19,24
                                                defendants' 212:19
 days 93:12 181:10        92:2                                          56:4,19,23 57:7,13
  289:22                                        defer 150:10 151:7
                         defendant 20:21                                58:1,6,20,25 59:6,
                                                 172:22 176:6
 deal 39:23 234:15        22:6,8,9 47:16 48:8                           11,22 60:2,10,15,25
                                                 179:16 193:3
 dealing 270:18           70:5 71:3 98:19,22,                           61:5,9,15,22 62:2,6,
                          25 99:11 127:15,17    definition 218:3        10,15,21 63:3,25
 dealings 24:4,7,10,      151:17 176:2 178:8                            64:4,8,18,24 65:12,
                                                defraud 50:11,13
  12,14 25:8 30:17,19     192:5 197:15                                  18,22,25 66:6,13
                                                 94:23 97:25 99:14,
  31:21,23 32:1,4,7,9,    215:15 219:23                                 67:25 68:13,16
                                                 17 102:12,13
  11,14,17,20,22,24       221:18 230:23                                 69:8,24 70:8 71:19
                                                 105:22 106:16
  33:1,3,5,7,10,12,14,    248:10                                        74:6 76:17 77:5,17
                                                 124:12 132:25
  16,18,20 34:2,5,8,                                                    79:17 82:20,24
                         defendants 8:15         133:9 153:10
  11,13,16,18,21,23                                                     83:4,10,18,24 84:4,
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 87 of 111
OMAR KHAWAJA                                                                          305
78755                                                            Index: deponents..direct
  13,20 85:9,20 86:7,   15,23 176:6,12,19,     243:3,8,16 244:2,6,    101:6 180:22 181:4,
  12,20,25 88:5 89:7    25 177:11,21           11 245:2,7,12,17       7 291:4,23
  90:14 94:12 95:18     178:12,17,22 179:3,    246:3,15,22 247:3,    depositions 76:3
  96:5,20 97:10         10,16,23 180:15        9,13,17 248:19,24      289:25
  100:25 101:4,11,19,   181:3,22 182:3,7,23    249:8,13,18 250:2,
  25 103:14 104:2       183:3,9,14 184:19      11,18 251:6,12,16,    describe 9:18 20:7
  105:10,16 106:14      185:10 186:2,16        21 252:1,12,19,23     designated 29:21
  107:2,22 108:8,14     187:5,15,21,25         253:3,8,13,19,23
  109:2,10 110:16       188:11,17,24 189:6,    254:2,9,17,21,25      desk 54:10,14
  111:2,11 112:2        10,15,24 190:15,19,    255:5,13,19,23        details 195:2
  113:25 114:13         24 191:14,19 192:7,    256:11,24 257:6,12,
                                                                     determination
  115:4,9,21 117:14,    16,22 193:3,9,14,20    17,21 258:1,10,14,
                                                                      224:14
  23 118:5,12,24        194:1,8,16,25          19,23 259:3,8,13,
  119:25 120:23         195:5,10,21 196:1,     18,24 260:6,16,21     determine 48:13,19
  121:3,13,19,25        6,11,16,22 197:1,5,    261:2,6,11,16,21,25    66:3 167:19 169:9
  122:12 123:2,8,17     12,17,23 198:3,10,     262:4,8,21 263:1,      175:19,20,25
  124:11,19 125:7,12    21 199:4,25 200:6,     11,16,21 264:1,6,      176:23 187:23
  126:1,6 127:6,12,20   12,23 201:4,24         19,24 265:12,16,21     220:18
  128:1,9,15,21         202:5,16,22 203:11,    266:7,12,17 267:2,    determined 41:20,
  129:4,19 130:5,12,    19 204:23 205:8,14,    7,12,19,25 268:6,      21 89:14
  19 131:1,18,24        19,25 206:6,15,19      12,23 269:5,12,17,
  132:12 133:2,11,21    207:2,22 208:3,9,      22 270:7,17 271:1,    determining 129:13
  134:1,13,17,23        14,18 209:6,16,25      6,12,19,25 272:11,    develop 112:19,20
  135:10,24 136:17,     210:9,16,21 211:3,     15,19,23 273:3,7,
                                                                     developed 154:12
  22 137:2 138:5,11,    9,15,21 212:5,10,      11,16,21 274:1,10,
  16,21 139:9,17        15,21 213:6,16         15,19,24 275:13,18    developing 112:14,
  140:1,10,25 141:10,   214:11 215:11,17,      276:6,11,15,20         16 113:1 154:8,9
  16 142:8,13 143:4,    23 216:2,7,14,19       277:2,7,12,20         development 24:24
  10,18,22 144:2,10     217:1 218:6,12,17,     278:8,12 279:4,19      25:1 26:13,14 27:16
  150:2,4,20,25         22 219:2,8,16          280:7,15,19,24         34:14 35:24 38:10,
  151:7,13,19 152:18    220:4,12,22 221:14,    281:10,17 282:4,12,    17,21 113:3
  153:18 155:8,16,23    20 222:13,20,25        23 283:5,10 284:2,
  156:4,17 157:1,5,     223:21 224:3,12,22     7,13,17,22 285:4,     difference 95:2,4
  16,21 158:2,7,24      225:3,7,17 226:1,6,    13,17 286:5,20        dinner 13:22,24
  159:15,24 160:6,13,   16,21 227:6,12,17,     288:17,21,23
                                                                     direct 21:24 24:4,10,
  17,24 161:4,9,17      21 228:8,20 229:7     deponents 239:3,6,      11 30:17,19 31:21,
  162:12,21 163:1,7,    230:3,7,11,15,20       9                      23 32:1,4,7,9,11,14,
  13,20 164:1,5,9,17,   231:6,15,19 232:2,8
                                              depose 232:25           17,20,22,24 33:1,3,
  25 165:16 166:1,6,    233:2,9,18 234:3,9,
                                               233:2                  5,7,10,12,14,16,18,
  12,16,21 167:3,22     14,21 235:5,17
                                                                      20 34:2,5,8,11,13,
  168:4,9,19 169:5,25   236:4,18,23 238:3,    deposition 8:1,9        16,18,21,23 35:1,4,
  170:12 171:1,7,16,    7,12 239:1 240:5,      18:17 19:3,4 25:17     7,10,13,16,19,21,23
  21 172:4 173:3,10,    11,19 241:9,13,17,     28:4 31:13,15 72:22    36:1,3
  20 174:8,18 175:5,    24 242:4,9,13,19,23    73:14 76:5,9,10
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 88 of 111
OMAR KHAWAJA                                                                             306
78755                                                                 Index: directed..email
 directed 258:25        dismiss 26:17           82:7 84:13 85:2
  259:5,10               172:18                 181:8 219:17,22                 E
                                                222:23 244:24
 direction 158:21       dismissed 172:12
                                                245:4 247:6 249:5,     ear 27:1,4
 directly 29:21 42:25   dismissing 173:3,4      10,15 258:21 259:1     earlier 42:18 49:14
  49:4                  dispute 144:11         DOJ 238:1,5              57:17 62:13 63:12
 disclose 61:15          146:1,2,4 147:7,25                             79:14 137:15
                                               Dolcefino 18:24
  238:8,12               148:22 149:6,23                                203:13 290:4
                                                44:23 192:13
 disclosed 232:16       disrupting 50:7         196:13 205:5,17,22     early 291:15
 disclosing 161:14      dissuade 119:14         206:9 207:5 215:9,     earnest 97:25 98:7
                         204:20 205:11          12 258:2,4 260:2,8,
 discovery 20:25                                14 267:22 268:3        Earth 265:24
  30:7 40:13,14         distributing 102:6
                                               dollar 111:8            Eastern 14:3
  43:10,13,14,16,23,    District 27:21 60:16
  25 44:5 48:3,4                               dollars 66:13 98:8      easy 157:6
                         90:9 142:8 166:4
  50:20 54:11 69:8,                             124:21                 educational 9:12
                         173:16 182:20,23
  12,13 71:20 72:12      191:5 240:11,12,16    Donald 233:9            effort 104:9 127:13
  74:3,23 77:6,11,19     247:4                                          175:25 193:17,23
  78:15 79:4,19                                don’t 161:10 171:4
  80:16,24,25 81:21,    diversion 76:12                                 204:20 205:10
                                               doubt 199:11
  22 88:16 95:20,22,     77:1                                          efforts 133:8 154:19
  25 96:10,12 99:21                            dozen 271:19             175:20 193:6 200:2
                        diverted 42:24 43:8
  100:3 101:5 102:10                           dozens 90:1,4,14,17
                        division 238:5 240:9                           ego 16:6,8 42:6
  103:1,7,11,14                                 159:7 221:2,3           87:8,12 94:17
  104:4,20 106:22       divorce 55:24 57:14
                                               drafted 21:4 82:17       98:11,13 99:15,19,
  119:16 155:24          175:15 256:19
                                                89:20,23                25 118:1,8 127:17,
  185:11 192:24          257:12 278:21
                                                                        18,24 128:18 129:1
  200:19 203:25          280:5                 drafting 21:6
                                                                        130:12,14,19
  208:7,12 215:5
                        divulge 163:11         drawn 150:12             136:25 137:4
  216:22 217:1
                         224:7 232:21                                   146:15,17 147:14
  223:15                                       Drew 53:12 54:4
                        divulging 161:14                                149:21 150:9
 discuss 243:17                                Drinnon 135:6            152:13 154:23,24
                         162:19
  244:2 274:4                                  drive 24:7 26:11         155:2 156:15 167:1,
                        docket 30:10 90:16                              5 172:1 173:10,14
 discussed 30:21                                27:13 38:18 121:22
  187:16 207:11,14      document 29:11          122:15 125:2,10,15      174:2,4,18,21
                         41:18 69:25 75:11                              175:1,13,16 178:2
 discussing 172:16                             Due 29:18
                         82:3,16 83:15 85:3                             198:6 200:21
  289:8                                        duly 8:25                202:14 215:21
                         88:23 102:9 103:2
 discussion 203:14                             Dward 28:6               232:5
                        documents 29:20
  214:14 216:3                                                         egos 25:10 149:8
                         69:25 72:1,7 75:12,
 discussions 241:21      14 77:5,13,24 79:22                            178:20
  256:25                 80:3,24 81:20,22                              email 208:11 258:17
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 89 of 111
OMAR KHAWAJA                                                                            307
78755                                                                 Index: emailed..facts
  259:6                  70:19,21 71:3,12       124:19 138:8,14,19    Exec 34:21 38:11
                         72:2 74:8,14 80:4      140:4,5 146:24
 emailed 234:9                                                        Executive 34:23
                         81:16 87:25 88:12,     147:13 151:16          38:12
 emails 208:5 234:7      15 95:10,16 97:6,16    156:13,14 158:12
  244:13 247:11          100:2,3,5,6 102:6      165:22 166:22         exemplary 187:3,7,9
  252:14                 103:9 104:5,13,16      170:12 183:19,25      exhibit 29:8,12,16,
 employee 161:20         114:17,18 115:10,      185:2,5 207:18         17,24,25 30:15 40:2
                         12,25 116:4,23         214:21 215:2,20        41:10,14,16,17
 employment 9:18         123:9,25 124:23        220:13,14,15,19
  112:9,24 120:24        132:2,23 133:23,24     226:22,23 228:1       exhibits 40:19,22
                         134:4,6 139:7,23       235:2,3 248:9 288:6    87:17
 encountered
  103:15,17              140:3 141:8 147:13                           exist 142:22 287:25
                                               entity's 185:3
                         149:21 152:15
 encumbered 51:16                               220:14                existence 14:18
                         153:7,9,24 154:7
  119:13 184:1,6,13                            equally 86:4            15:9
                         155:5,10,14 160:3,
 encumbrance             6,8 161:2 165:24      estate 8:10 11:19,20   experience 108:10
  145:23,25 149:2,4,     168:5,7,14 169:1,10    14:23 15:20,21,25     expired 266:18
  15                     170:9,10,15 173:23     16:2,3 32:17 38:4
                         176:1,2,25 177:18                            explain 102:1
 end 196:1 290:17                               45:15 83:14 102:24,
                         178:15 190:5 192:5                            132:12 227:10
                                                25 110:12 129:10
 ending 291:20           196:19 200:9           139:14 144:11         extent 28:24 44:22
 enforce 145:23          204:21 205:12,23       151:13 154:7 161:2     127:6 176:4,9
  149:2,15               209:3 219:23           171:16,19 177:17,      178:10 204:12
                         223:13,14 225:23       18 253:5 257:21        224:1,5 232:19
 engagement 84:7
                         226:7,12 230:18        263:9,14 264:10,13     284:23
 engaging 72:21          231:13,17,25 250:9
                                               evade 102:16           extort 182:8
 ensure 156:23           251:10 263:13,19
                         269:20 272:4           127:13 169:1          eyes 33:22
 entered 44:17           273:24 274:4,17        200:15 216:14
  84:10,17 143:24        275:16,21 281:22      evading 95:1 183:9                  F
 enterprise 14:4         282:2                  188:1
  41:24                 entitled 187:2         evidence 29:21         f/k/a 46:4
 enterprises 34:18      entity 10:13,14,25      71:2,11 85:11,12      Facebook 274:24
  38:11 170:23           11:15 12:12 14:12      89:15 92:14 101:2
                                                102:11 104:19,23      fact 56:7 70:24 71:1
 entertainment 11:3      15:16 16:15 20:21                             146:8 155:20
                         22:20,21 39:14         155:13 219:13
 entities 16:4 17:3                             223:9,18              factors 232:15
                         62:23 63:25 64:2
  22:19 36:10,14,20,
                         69:5,19,21 70:5,8     EXAMINATION 9:2        facts 41:1,2,5 42:6
  22,24 37:2,7,17
                         71:9,10,12,17,25                              43:5,6 60:7 76:23
  39:9,16,20,21 40:2,                          examined 9:1
                         74:10 78:25 80:8,9,                           79:5 131:20 140:16
  8 41:9 43:15,20,22                           examples 20:19,20
                         12,22 81:3,13 91:2,                           195:8 197:8,9
  44:18 62:12 63:12,
                         10,15,20 92:24        excuse 27:8 219:18      232:23 233:6
  13,17,23 69:6
                         95:16 97:2,23 116:3                           268:23
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 90 of 111
OMAR KHAWAJA                                                                              308
78755                                                                     Index: failed..form
 failed 51:10 223:10     fiction 131:15,16,22      127:2 192:25 193:7,   Foods 14:6,10
                           132:3,10,13,16,20,      17 200:19 212:12,
 failures 79:25 81:10                                                    foreclosed 188:11
                           22 155:14,21            17 280:3               221:24
 fair 39:25 40:3
                         figure 142:16            filings 116:14,18      foreclosure 69:17
 faith 60:10 74:18
                         file 116:12 117:12       final 141:19,20         184:7 188:15,17
  104:22 107:3
                           127:9,23 128:9,18,       162:16 282:23         189:1 190:2
  124:12,15 128:22
                           24 145:9 152:14,22
  193:16                                          finances 221:18,20     foreclosures 189:21
                           166:14 185:25
 false 266:18 268:1        186:2 197:19           financial 17:6,17      forger 270:8
                           223:25 269:14,19         78:7,9
 falsified 47:16,19,25                                                   forgot 247:24
                           280:22,24              financially 75:17,25
 familiar 10:9 14:5                                                      form 16:18,21
  177:19,23 211:12,      filed 20:17 26:17        find 127:24 157:6       17:14,18,25 18:4,
  18 214:19,21             41:17 45:16 48:8         159:1 162:9 182:15    11,20 20:23 21:9
                           58:3,7,9,17,22 59:1,     220:1,9,19 232:9      31:2,7 37:20 39:4,
 familiarity 286:3         4,13 60:16,21 79:6,      271:4,6 273:9,11      13 40:11 41:3,12
 family 23:7 74:15         9,15,20,23 81:5                                42:2,6,8 43:1,9,19,
                           84:13 90:2,4 97:19,    finding 55:25 56:2
  254:21 256:18                                                           25 44:3 45:8 46:10,
                           20 104:8,11,12,24        98:13 99:19 127:18
 family's 270:20                                                          15,20,24 47:20
                           105:20 106:25            130:19 139:18
                                                                          48:1,9,10 49:6,21
 father 227:23             107:6,9,15 114:4,        162:4 202:14,24
                                                                          50:14,19 51:1,6,12,
                           11,20 116:6,9,25         203:4
 FBI 222:8                                                                18,23 52:4,9,15
                           122:24 124:5,7,16      findings 21:21          53:3,17 54:2,9,22
 Federal 29:19             142:6,22 145:9           36:19 202:19          55:18,23 56:3,11,
  139:19                   147:2,3,20 148:14,
                                                  finish 26:25 27:2       18,22 57:6,12,25
 fee 254:23 255:3          15 149:13,14,18,20                             58:5,11,15,19,24
                                                    46:1,2 53:9 93:8
  256:1                    150:7 151:1,15,21,                             59:5,10,16,21 60:1,
                                                    165:11 268:17
                           24 152:2 153:1                                 9,14,24 61:4,8,14,
 feel 127:9 129:17                                  288:24,25 289:2
                           158:19 162:23                                  21 62:1,5,9,14,20
  131:4                                           firm 9:19,21 28:22
                           166:4,9,16 169:16                              63:2,18,24 64:3,7,
 fees 66:3,4,11,21,        175:9,21 176:1,2         136:3,6,8             13,17,23 65:17,21
  23,24 67:3,6,11          184:17 185:14,17       firm's 276:9            66:5,12 67:24 68:12
  111:14,21,23             189:13,19,22 192:3                             69:7,23 70:7 71:18
  139:18 164:19,23         193:12,23 194:22       Fisher 257:15,17,19
                                                                          72:13 76:16 77:4,16
  214:9 253:21,25          200:3 213:2 215:4       267:16
                                                                          82:12 84:12,19
  254:2,5,7                222:21 223:17          five-minute 237:2       85:8,19 86:11,19,24
 Felipe 147:3 148:11       224:9 225:1,8,14,22                            87:18 88:4,18 90:13
                                                  Flex 38:3
  150:17                   226:9,10,13 242:11                             91:3 94:11 95:17
                           257:12 272:21          fly 265:10              96:4,19 97:9 100:24
 felon 163:24              273:1                  focus 50:8              101:3,10,18,24
 felt 285:1              filing 83:24 96:10                               103:13 104:1 105:9,
                                                  follow 186:16
 female 23:21              106:3 111:24 117:4,                            15 106:13 107:1,21
                           6,8,17,20 120:19       food 14:16              108:7,13 109:1,9
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 91 of 111
OMAR KHAWAJA                                                                         309
78755                                                                Index: formed..free
  110:15 111:1,10,18    20,25 178:5,9,16,21   233:8,14,17 234:2,     22 283:4,9,14,18
  112:1 113:24          179:2,9,15,22         8,13,20,25 235:4,9,    284:1,6,12,16,21
  114:12,23 115:3,8,    181:21 182:2,6,17,    16,24 236:3,7,17,22    285:3,9,12,16,21
  20 117:13,22 118:4,   21 183:2,8,13,22      237:19,24 238:2,6,     286:4,11,16,19
  11,23 119:24          184:10,18 185:9,15    11,18 239:19 240:4,    287:1,6,11,14
  120:22 121:2,12,18,   186:1,15 187:4,14,    10,18,25 241:5,8,      288:11,16,20
  24 122:22 123:1,7,    20,24 188:5,10,16,    12,16,23 242:3,8,     formed 156:2,4,9
  16 124:10,18 125:4,   23 189:5,9,14,23      12,18,22 243:2,7,      200:10 225:24
  11,18,21 127:5,11,    190:10,14,18,23       13,22 244:1,5,10,16    226:3,6 228:12,18
  19,25 128:8,14,20     191:2,9,13,18         245:1,6,11,16,22
  129:3,18 130:4,11,    192:6,11,15,21        246:2,21 247:2,8,     found 127:21 215:3
  18,25 131:7,17,23     193:2,8,13,19,25      12,16 248:2,7,13,      220:13 224:10
  132:11 133:1,10,16,   194:7,12,15,24        18,23 249:3,7,12,      270:5,7
  20,25 134:8,12,16,    195:4,9,20,25         17,23 250:1,10,17,    Foundation 11:23,
  22 135:9,17,22        196:5,10,15,21,25     23 251:5,11,15,20,     25
  136:16,21 137:1,8,    197:4,11,16,22        25 252:7,11,16,22
  13,25 138:4,10,15,    198:2,9,20,25         253:2,7,12,18,22      Fountain 35:10,13,
  20,25 139:4,8,16,25   199:3,12,20,24        254:1,8,13,16,20,24    16 38:14,15
  140:9,20,24 141:9,    200:5,11,22 201:3,    255:4,9,12,18,22      fourth 179:21
  15,21,24 142:7,12     9,23 202:4,13,15,21   256:3,7,10,16,20,23    181:16,17
  143:17,21 144:1,9,    203:10,18,23          257:5,11,16,20,25
                                                                    fraud 21:17,21 36:9
  15 146:18 147:9,17    204:17,22 205:7,13,   258:9,13,18,22
                                                                      41:8 61:5,10 74:20
  148:9 149:11 150:1,   18,24 206:5,11,14,    259:2,7,12,17,23
                                                                      106:11 123:11
  14,19,24 151:6,12,    18 207:1,8,12,16,21   260:5,11,15,20
                                                                      202:25 203:4
  18 152:17 153:17      208:2,8,13,17,24      261:1,5,10,15,20,24
                                                                      268:13
  154:1 155:7,15,22     209:5,12,15,21,24     262:3,7,12,20,25
  156:3,11,16,21,25     210:4,8,15,20         263:6,10,15,20,25     fraudster 268:14,18
  157:4,11,15,20        211:2,7,14,20         264:5,11,15,18,23       270:8
  158:1,6,23 159:14,    212:1,4,9,14,20,25    265:4,11,15,20        fraudulent 37:17,23
  18,23 160:5,12,16,    213:5,12,15,20,24     266:6,11,16 267:1,      38:24 40:10 48:8
  23 161:3,8,16,22      214:3,7,10 215:16,    6,11,18,24 268:5,       60:5 61:3 103:19,24
  162:1,7,11,20,25      22 216:1,6,13,18,25   11,22 269:4,11,16,      113:22 114:7
  163:5,6,12,17,25      218:5,11,16,21        21 270:3,6,16,25        115:19 117:6 118:3,
  164:4,8,13,16,21,24   219:1,7,15 220:3,     271:5,11,18,24          10,12,16 123:5,14,
  165:9,15,25 166:5,    11,21 221:13,19       272:7,10,14,18,22       22 142:23 143:2
  11,15,20 167:2,7,     222:6,12,19,24        273:2,6,10,15,20,25     155:3 187:25
  10,21 168:3,8,18      223:5,11,20 224:1,    274:6,9,14,18,23        202:19 218:10
  169:4,11,18,24        5,11,21 225:2,6,12,   275:5,12,17,23          222:1 225:5,7,8
  170:5,11,17,21,25     16,25 226:5,15,20     276:5,10,14,19
  171:6,15,20 172:3,    227:5,11,16,20        277:1,6,11,19         fraudulently 59:22
  10,14,19 173:6,9,19   228:7,14,19 229:1,    278:3,7,11,25           103:19 130:20,24
  174:7,14,17,24        6,13 230:1,2,5,6,9,   279:3,7,14,18,25        131:5
  175:4,11,14,22        10,14,19 231:2,5,     280:6,14,18,23        free 153:9 184:4
  176:3,18,24 177:10,   10,14,18 232:1,7,18   281:3,9,16 282:11,
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 92 of 111
OMAR KHAWAJA                                                                            310
78755                                                                   Index: friend..hide
 friend 15:4 97:21,22    Gene 28:13             great 11:22,25 93:14   harassing 287:19
   198:21 199:2                                  144:24
                         general 19:9 154:4                            hard 121:22 122:15
   208:21 210:16,18       184:20 185:18,19      Greenberg 189:6         125:1,10,15 282:19,
   229:16 240:19,21       195:17 226:25          190:21                 21,24
   247:20,22,24 249:1,    227:2 247:19
   2                                            Greenville 32:11       harmed 42:25
                          268:25                 38:3
 friends 201:25                                                        Harold 18:18,19
                         generally 225:17
   247:21                                       group 10:10 12:14,      44:24 134:25
                          233:18 251:16          17 16:11 17:6,12,17
 front 19:16 20:12                                                     Harris 60:15 90:9
                         Generation 11:22,       35:5 136:9
   40:18 70:1 72:18                                                     120:4 142:8 177:5
                          25
   73:13,20 75:14                               guess 39:14             188:17
   77:12 80:24 87:1,15   genuine 193:23         guilty 162:4           Harwin 32:14 38:3
   89:16 99:4,6 100:7    George 133:18,24
   103:1,3,5,8 105:3                            guy 257:21             HCAD 200:20,24
                          134:5,10,15,17,21
   115:4 116:5 119:16     191:11,14             guys 179:21 242:7      head 157:6 169:2
   131:2 154:16 203:6                                                   171:22 221:1
   219:2                 gesticulating 50:5
                                                         H             hear 28:11 63:9
 full 9:4                gesture 63:11                                  125:5 277:15,18
                         Gil 222:10,11,13       habitual 268:13,18
 Fund 34:2 38:7                                                        heard 52:21 166:6
                          243:6,12,20 246:20     270:8
 funds 17:12,16 43:7                                                    246:12 277:12
                         Gil's 244:9            half 271:19             278:10
  71:3,17 72:8 74:4,
  24 77:7 87:12,16       give 8:20 29:7 36:7,   Hamdani 239:17,21,     hearing 25:19
  102:6 193:17            18 44:5 88:8 186:12    23 243:1 246:24        236:24 277:21,23,
  219:18 253:16           246:13                 247:7,11,15 252:9      25 281:8
 furniture 15:8          giving 102:6           hand 8:19 266:24       hearings 281:5
 future 175:6 187:10     Glen 32:24 38:5        Hang 65:6              Heil 46:3 180:3
  232:9                   214:19,22             hanging 266:3          held 16:10
                         good 15:4 60:10        happen 102:8           helped 105:22
            G             74:18 83:11 104:21,
                          22 124:12,15          happened 93:4 98:1     helping 102:16
 gain 78:2 158:16         128:22 193:16          109:5,12 201:6,13,     106:16 123:9 143:1
                                                 15                     153:10 185:20
 gaining 79:3            Gotcha 99:12
                                                happening 187:9         239:4
 gains 87:12             government 238:25       220:18                helps 124:12
 Galleria 25:3 26:14      239:13
                                                happy 20:12            hey 103:3 205:1
  27:17 38:22 83:13      GP 32:22 34:14
                                                harass 122:24           288:23
  219:5 231:22,24         35:11,14 38:5,10,
                          13,14,17 154:5        harassed 181:23        hid 154:5
 gather 268:24
                          155:1                  182:5                 hide 105:13 123:9
 gave 80:7 82:22
                                                                        154:19 155:9
  83:2 228:6
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 93 of 111
OMAR KHAWAJA                                                                             311
78755                                                             Index: hiding..instructing
 hiding 99:16,22         23,25 151:5            279:4,6 289:6           113:5,7 131:21
  102:15,22,23                                                          132:1
                        honest 76:11 121:6     identification 29:13
  104:22 107:4           137:19 218:22                                 individually 19:10,
  158:10,13 173:12                             identified 26:2
                         221:10 230:24                                  11 42:25 87:4 92:1
  280:7 282:25                                 identify 26:1
                         255:1 284:15,20,22                             132:18,21 146:11
 hinder 184:24           285:2,7               II 24:22 25:1 26:13,     160:3,11 225:11,15
                                                 14 27:15,16 38:20,     229:24
 hindering 185:4        Hoover 8:16 9:23
                         19:22,24 44:25 46:7     21 228:18 230:9       individuals 19:2
 Hira 17:22 18:8 55:1
                         59:11 65:15 68:5,11   illegitimate 131:15      39:9 45:7 244:14,
  117:20 119:22
                         83:21 84:8 109:21,      132:17 156:2,6,9       19,25 245:5
  192:3 212:7 255:21
                         24 110:2 111:6
  257:10 264:21                                imagine 221:23          inflated 78:7
                         192:18 219:23
  266:25 278:22
                                               imply 100:16            information 96:11,
                        hope 259:18,25
 hire 259:22 277:9                                                      13 103:15,17 115:1
  284:25                hoping 216:5           improper 20:8            161:15,20 162:5,10,
                                                72:10,21 74:4,17        19 163:4,10,11
 hired 163:1 174:8      Hospitality 33:25       200:10 224:10,13        176:10 204:2,10
  176:16 192:18          38:7
                                               inadequate 77:21,        207:6 224:7 228:6
  204:8,14              hour 66:4 93:16         23 78:13,18,21,24       232:21 265:8
 history 9:18 114:14     144:19                                         287:21,25 288:2
  187:8,13 201:16                              incident 77:18 78:8
                        hourly 66:6,8                                  informing 63:11
 hitting 288:22                                incidents 72:7
                        hours 289:3                                    initial 109:20
 hold 19:5,6,11,14                             include 111:14,16,
                        houses 154:8            23 122:18 132:17       injunction 162:17
  57:23 69:15 129:7,9
  179:13,25 181:13      Houston 8:10 9:9       included 99:18          injury 12:19,22
                         32:17 34:23 35:11,     178:7                   42:20 108:17
 holder 25:3 26:14       14 38:4,11,14,15
  27:17 38:22 97:16                            including 116:24        inquire 112:12
                         45:15 110:12
  188:3 219:5            135:20 147:4          income 175:2,8          insider 50:18
 Holdings 24:20,22       148:18 237:17
                                               incorrect 224:15        Instagram 275:1,2
  26:12 27:14,15         261:19
  32:20 38:5,19,20                             incur 52:2 143:13       instance 31:1 100:9
                        HREP 179:8 203:13
  173:25 174:5,11                              incurred 49:4 67:4,     instances 20:20
  175:21 214:24         Huldy 27:16 38:21
                                                6,12                    72:10 74:3
  228:8,12,18 230:9     human 82:9 132:21
                                               independently           instruct 110:7
 holds 16:15            Hundreds 66:13          219:14                  169:12,19 176:5
 Hollow 31:24 38:1                                                      204:4,11 232:21
                                               indicted 221:12,14
 home 100:19,20                  I                                     instructed 18:13
                                               indirectly 29:22
  135:21 154:8,9,13                                                     21:12,15
  262:2,6,10            Ibrahim 14:25 15:2     individual 22:18
                                                                       instructing 224:7
                                                62:24 63:16 71:9
 homestead 150:18,      idea 85:17 215:17                               287:18,23
                                                75:17,25 76:13 77:2
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 94 of 111
OMAR KHAWAJA                                                                               312
78755                                                                  Index: intend..judgment
 intend 127:2 187:18    investigating 170:2    iphone 252:23,25           125:2 139:2,6 142:3
                         206:19 238:25                                    143:25 146:12,13,
 intended 50:12                                irrelevant 66:24
                                                                          14,15,16,20,21
                        investigation
 intensive 69:25                               IRS 75:1                   147:12,15 148:6,7
                         206:20,22 220:1
  75:12 88:23 103:2                                                       149:7,8,9,14,22
                         270:5 283:20          issue 237:4
 intent 50:10 152:25                                                      151:17 154:10,25
                        investigations         issues 71:4,12             161:6 165:23 172:1
  153:2 184:24
                         176:15                items 95:25                178:3 196:19,20,22
 intentional 99:13,24                                                     197:15,20 220:7
                        investigative 269:25   iterations 227:22
 intentionally 94:22     271:12,20                                        223:9 227:15
                                               I’m 219:11 245:12
 interact 200:25        investigator 170:3                               Jetall's 105:23
                                                 262:18 274:1 277:7
 interest 62:18 111:9    204:14                                          Jetall/croix 154:4,5
  129:7,9,11,12,14,25   Investment 33:7                    J              155:1
  130:1,7,9,17 138:9,    37:23 80:10                                     Jim 144:18,22
  14,19 145:15 148:2,                          J-A-M-A-L 23:22
                        investments 11:14                                JMLH 11:14 16:20
  24 149:6,23 150:6
                         16:20 62:6 64:15      J-A-W-A-D 23:24
  154:11 157:8 161:1                                                     job 112:25
                         171:23
  178:25 179:6,13                              Jamal 23:22
                                                                         John 10:1 12:23
  182:10 199:6,14       investors 32:12
                                               James 8:14 26:7,22         25:20 28:19 44:25
  225:20 253:10          38:3 200:14
                                                27:12 44:11 63:9          57:18,21 86:3 119:3
  263:4,8,14 286:8      invoice 67:17,19        289:5 290:1 291:9         181:19,23 183:12
  288:9
                        invoices 67:1          Javed 208:16               198:13 291:13,18
 interested 206:20
                        invoke 28:23,25         209:11                   John's 10:2
 interests 128:2
                        involve 282:7          Jawad 23:24               joined 25:17
  171:17,19 250:5
                        involved 56:24 57:3,   Jeff 241:15,19            joint 41:24 170:23
 interject 47:7
                         4 60:23 87:16 88:8,    249:1,5,10
                                                                         judge 72:18 73:13,
 international 32:15     11 97:6 100:21        Jennifer 27:22             20 85:12 122:16
  38:4 264:17            114:15 124:22                                    173:20,22 235:17,
                                               jet 112:5
 internet 206:6          159:10 183:1                                     20,22 246:4,5
                         268:13 280:4,5,7      Jetall 20:8,21 21:18,      277:25 280:17
 introduce 8:11
                         285:1 286:23 287:3     22,25 22:12 26:10,
 introduced 13:17,                              20 27:12,23 32:22        judge's 167:22
                         288:24
  18,20,22                                      33:7 34:13,16 35:23      judgement 127:16
                        involvement 97:5
 introducing 29:20                              37:23 38:5,9,10,16        151:1
                         105:14 107:7,8
  30:2                                          42:23 45:20 46:6
                                                                         judgements 133:13
                        involves 108:19         74:14 75:4 78:12,
 invalid 56:4,8          277:10                 14,18 80:10 88:20        judgment 19:7,8
 invest 138:3                                   89:2,10,11 104:18         47:2 49:7,8,10,18,
                        involving 57:14
                                                107:12 110:20             20 84:10,17 85:7
 investigate 204:15      146:1 200:14
                                                111:5 112:6,7,9,12        86:1 94:6,10 99:17
  283:13,16,17           211:22 224:19
                                                121:9,11 124:22           102:16,17,18
                         259:22 269:1
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 95 of 111
OMAR KHAWAJA                                                                            313
78755                                                          Index: judgment's..layperson
  106:14,16 108:2,4,5   Justice 222:14          knowing 282:20           187:12,15 188:14,
  109:21 110:3,10,17,    239:15 240:6,8                                  20 192:22 198:3
                                                knowingly 106:11
  19,23,25 111:5,20      246:9                                           200:8,25 202:22
  117:2,5 118:13                                knowledge 36:7,9,        207:2 218:8 225:23
  123:23 124:2                                   12,17,23,25 37:1,3,     244:15 249:18
                                    K
  127:13 139:2,6,15,                             4,5,6,9,16,22 38:23     255:19 272:19
  17,21,24 140:5,7,                              40:9,25 41:1,5,8,19,
                        Kasim 210:6
  12,13,17,22 141:7,                             23 42:4,5,12,13,23
                        Kelly 152:6 153:12                                        L
  14,19 143:15                                   43:7 47:15,17,18,
  145:18 146:6,8,10      190:12                  22,24 48:5,7 50:10,
                                                                        Ladamore 186:6,8
  147:12 148:6 149:7    Khawaja 8:2,9,18,25      11,17,23 51:4,9,15,
  154:22,25 162:3,17                             21 52:1,7,13,20,24     Land 16:2,3
                         9:4,6 10:10 12:7,11,
  171:11,12 174:6,12     14,15,17,21 14:22,      53:1,7,15 59:25        landlord 62:21,23,
  175:3,9 179:20,21      25 15:2 16:10 17:5,     67:11 69:4,18,20         25 63:14,17,22,23
  180:1,2,3 181:14,      12,17 22:22,23          70:4 71:16,22,24
                                                 72:9 73:25 74:2,21,    law 9:22 10:10
  15,16,17 188:1         23:11 25:20 28:21
                                                 25 75:7,10,13,16         12:10,14,17,20
  194:14,17 199:15,      29:15 63:6,12 94:1
                                                 76:1,7,14 77:3,9,14,     16:10 17:5,12,17
  16,17 203:3,4,5,7      136:7 139:9,11
                                                 18,22 78:3,13,17,        28:22 46:3 63:3,5,6,
  216:8,15 219:5         140:7 141:1,3,4
                                                 20,23 79:5 80:2,5,       12 136:3,6,7,8,9
  225:18 263:24          142:1,2,3 143:16
                                                 11,20 81:1,6,9           254:21 256:18
  282:15,16 283:20       145:8 237:16 287:8
                                                 82:20 88:20,25           276:1,2,3,9
 judgment's 117:10       290:2,9 291:5,17,23
                                                 89:2,10,17 91:1,8,     lawsuit 94:2 100:16
 judgments 19:14        kid 291:15               13,18 92:10,15,20,       116:7 140:10
  44:9,14,17 49:11,     kill 259:16 277:16       23 93:3 94:12,21         169:16 178:8
  13,14,16,17 81:18                              95:24 97:1,7,11,14,      187:19 195:18
                        kind 39:23 78:2
  85:15,18,22 94:3,14                            18,21 99:1,3,12,23       225:22 253:11
                         130:5 205:14
  95:1 98:9 108:19                               101:16,19,22
                         219:20 252:21                                  lawsuits 57:3 159:7,
  109:11,18,19,20                                102:12 103:11,23
                         254:19 268:12                                    20 197:19 228:10
  134:20 178:15                                  104:3,7,24 105:12,
                         284:17
  179:1,4,25 181:13                              19,20,21 106:2,8,10    lawyer 9:13,14
  192:25 193:11         Kirby 24:10 26:12        107:13 113:21            12:23 72:24 73:2,16
  199:7 200:15           27:14,24 28:13          114:6,19 115:18,22       108:10 113:13,15
  202:13,18,24           38:19 78:24 89:4,6      116:1 117:23 118:2,      151:13 165:7 171:4
  203:17 219:6           91:9,10,11,19,20,23     9 119:2,5,6,10,12,       209:16 213:16
  253:10,16 263:3,24     92:1,2,12 147:20        18 123:4,14,18,20,       214:6 239:24,25
  264:4 281:14,21,24     188:22 220:8            21 124:8 132:24          240:2 254:17,19
  282:6,10,20,23                                 133:8 134:2 150:12       278:21 279:11
                        Kirklin 27:2,5,24
  283:2                                          154:3,6,18 155:4,19      287:18
                         48:17 64:25 65:2,4
                         73:7,9,12,23 93:10      156:1,8 158:9,14,16    lawyers 174:8
 June 29:18 85:12
                         125:21 126:8,14         164:1 165:22,23,24       212:24 213:2,18
 juries 41:20                                    168:13,19 182:1
                         144:18,21                                        222:14 271:7,15
 jury 36:19 195:6,21,                            183:18 184:8,12,16,
                        kite 14:9                23 185:6,10,13         layperson 218:2
  24 197:12
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 96 of 111
OMAR KHAWAJA                                                                             314
78755                                                                     Index: lead..loans
 lead 43:5 131:20        52:4,9,15 53:3,9,17    Linkedin 275:7,8,9       24 192:14 194:2,5,
   200:9,20 279:10,11    54:2,9,22 55:4,18,                              8,10 195:2,3 197:14
                                                lis 58:3,17,22,25
   280:12,19             23 56:3,11,18,22                                202:6,8,11 211:21,
                                                  59:13 116:9,14,19,
                         57:6,12,25 58:5,11,                             24 212:3 225:1
 leave 29:1 237:2,5                               21 117:12,17,20
                         15,19,24 59:5,10,                               228:4,6,9 229:8
                                                  127:2,9,12,23
 Lee 133:19,24           16,21 60:1,9,14,24                              268:20,24,25
                                                  128:9,18,24 129:17
  134:5,10,15,18,21      61:4,8,14,21 62:1,5,                            271:14 272:5,9,13,
                                                  130:10,16 145:9
  191:11,14              9,14,20 63:2,8,18,                              25
                                                  147:2,19,20 148:14,
 left 120:24 217:1       24 64:3,7,13,17,23       15,19 149:13,19       litigations 68:4
                         65:1,5,8,11,17,21,
 legal 42:9 43:2                                  150:7,22 151:4,15,
                         23 66:5,12,17,19,                              live 135:16 260:24
   57:22 63:13 70:22                              21,24 152:3,14,22
                         22,25 67:5,8,24                                  261:4,9
   72:15 76:20 87:14                              153:1,15,20 156:24
                         68:12,17 69:7,23                               lives 148:12,13
   113:18 125:20                                  157:13 189:22
                         70:7,13,16,22 71:18                              261:6
   150:11 152:19                                  192:3 212:7,13,17
                         72:13,15 73:15,18,
   164:11,19,23 171:1                             213:3 223:25 224:9,   living 32:5 38:2
                         20 74:5 76:16,20
   172:23,25 173:1                                13,14,25                264:9
                         77:4,16 79:11 80:17
   197:8 208:6,12        82:4,12,19,23 83:3,    list 27:11,19 29:8      LLC 10:22 11:14,23
   218:6 229:15,17       9,17,23 84:3,12,19       39:6                   12:2 14:4,6,10,22
   232:20                85:8,11,19 86:6,11,    listed 36:21 39:20       15:5,15,25 17:7,13
 legally 127:6,9         19,24 87:18 88:4,18      41:9 87:17 94:3        22:23 24:5,8,18,20,
                         89:5 90:13 91:3,5        97:15 115:25           22 26:11,12,13,14
 Lenard 28:3
                         278:15,19                124:24 159:12          27:13,14,15,16,17,
 Lending 34:2,5,16                                199:10 272:13          19 31:21,24 32:2,5,
                        Leyh's 72:20
  38:7,8,10                                                              7,9,12,15,18,20,22,
                        liabilities 51:17       listening 260:3
 length 118:15                                                           24 33:1,3,5,14,16,
                          119:14                listing 26:19            18,20,23,25 34:3,6,
 lent 153:8                                                              9,21,24 35:2,5,11,
                        liability 41:24 52:3    lists 26:17
 letting 239:5            139:18 150:9                                   14,17,19,21 36:1,4
                                                listservs 273:23         37:24,25 38:1,2,3,4,
 Leyh 8:16 14:7,11      liar 270:8
                                                litigant 272:3           5,6,7,8,9,11,12,13,
  16:18,21 17:8,14,
                        Licensed 9:16                                    14,15,16,17,18,19,
  18,25 18:4,11,20                              litigated 142:4          20,21,22 45:14,15,
  19:25 20:5,23 21:9,   lien 47:16 48:8
                                                litigating 13:14         21 83:13 131:25
  14 25:11,23 28:22       184:1 225:5,7
                                                                         152:4 153:6 154:4
  29:6,17 30:2,6,9,11   liens 47:19             litigation 22:3,11
                                                                         168:17 177:19,23
  31:2,7 37:11,20                                 56:16,24,25 107:13
                        life 267:8                                       178:19 179:7
  40:11 41:3,12,14,25                             108:12,15,17
                                                                         214:19,22,24
  42:2,8,17 43:1,9,19   limitations 218:15        112:22,25 113:1
  44:3,11 45:1,4,9                                120:1,3 144:3,6,7,8   LLP 46:7
                        limited 27:23 35:17
  46:10,15,20,24                                  159:3,4,11 160:10     loan 92:8 162:18,24
                          38:15 287:9
  47:20 48:9,11,21,24                             167:23,25 168:2        177:16
  49:6,21 50:14,19      lines 100:17              183:1 189:10,17
  51:1,6,12,18,23                                 191:16,17,19,21,22,   loans 184:5
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 97 of 111
OMAR KHAWAJA                                                                            315
78755                                                               Index: located..members
 located 188:7,21                               201:13 232:10         martialed 40:13
  189:3                           M             237:2,4,5 246:19      Mary 14:9
 location 136:12                               makes 15:8 80:3
                        M-A-H-M-O-O-D                                 matter 8:10 268:25
                                                187:2
 lock 278:15             23:15                                         270:13 271:13
                                               making 72:25 73:5       287:22
 Locket 275:11          Macgeorge 26:2
                                                118:2,9 127:13
                         27:4,7,22 65:10                              matters 29:21
 long 9:14 12:25                                152:22
  13:8,11,21 14:17       72:24 73:15 93:11                            Maya 177:23 178:19
                         109:13 143:3,7,9      Malcolm 148:17
  15:9 42:14 229:19
                         180:4,6,9,12,15,19,                          MBK 228:9
  242:21 243:1,6,11                            male 23:21,22,24
  252:25                 21,24 181:2,7,10                             Mccubbin 28:13,16
                         239:2,5,8 290:24      man 237:2
 longer 166:25 243:3                                                  MCITBE 154:3,22
                         291:1                 managed 11:11,12
  289:5                                                               meaning 227:4
                        machine 74:14           221:18,22
 looked 11:6 21:1                                                     means 39:16 129:25
                        made 17:6 26:4,16      Management 34:9
  40:22 43:17 77:11                                                    132:4 204:1,9
                         36:13 51:22 68:10      38:9
  177:18                                                               226:11
                         80:7 81:21 86:18      manager 11:11,12
 Loop 25:3 26:14         87:25 99:13 103:19,                          meant 216:9,14
                                                104:18
  27:17 33:5,10,12,25    21,24 104:8 113:22                            225:21
  37:24 38:7,22 57:15                          Manages 11:19,20
                         115:7,9 133:9,18                             Med 14:3
  219:5                  139:23 144:5          managing 10:19
 loser 108:22            150:25 153:23          11:9 12:3 132:2       media 274:3,8,13,21
                         201:6 202:18                                  275:20 276:4,24
 losses 78:9                                   manner 94:22
                         207:18,24 276:23                             medical 32:11 36:3
 lost 41:17 108:23       277:4                 Manor 278:1             38:3,17 199:22,25
  184:6 188:25                                 Manor's 235:18,20,
                        Magnolia 152:3                                meet 13:3,13 201:18
 lot 25:22 54:12         153:6                  22                     229:10 255:24
  56:23 61:9 67:25                             Mansoor 135:2,3         257:24 258:1
                        Mahendru 165:2
  68:4 131:10 171:22                            286:6                  260:19 285:25
                         196:6,8
  217:1 219:12 229:7
  284:3                 Mahmood 23:15          Marathon 10:21         member 10:17,19
                                                17:6,13                11:7,9 12:3,5 16:4
 lots 39:15             main 287:24                                    97:5 114:17 115:25
                                               mark 29:8 31:17
 LP 33:10,12 35:8,24    maintain 223:10,18                             124:24 132:2,3
                                                223:3
  37:24 38:13,15,17      287:8                                         226:24 251:9
  154:4 155:1                                  marked 29:12
                        make 42:9 65:7                                member-managed
 lunch 13:24 93:7        68:5,6 86:9 87:3,14   marriage 55:14,15       11:11
                         103:21 131:12          56:4,8
 lying 285:11                                                         members 11:4,20
                         132:9 136:24 137:4,   married 55:17,22        12:4 14:20,24
                         7,10 175:20,25         56:9 266:21,23,25      15:11,17 23:7 226:3
                         178:14 183:9 193:6,    267:8                  228:16,22
                         16,22 198:15 200:2
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 98 of 111
OMAR KHAWAJA                                                                            316
78755                                                       Index: Memorial..non-privileged
 Memorial 24:7 26:11    misrepresentations     Montrose 144:11         22,25 113:16,19
  27:13 28:9,12 32:24    36:13                                         116:3 117:18,21
                                               moon 265:25
  33:1 38:5,6,18                                                       127:3 129:10
                        missed 198:16
  78:24 88:21 91:15,                           morning 290:2           131:14 146:24
  16 173:8 177:2,15     mistaken 11:13                                 149:14,17 150:8
                                               mortgage 161:25
  184:4 188:4,7         MKZ 14:6                162:4 184:1            151:16 152:8,10,12
  214:19,22                                                            175:2 183:19 184:2
                        mm-hmm 44:20           mortgages 80:7          197:15,20,25 198:8
 memory 20:15            229:25 234:5          mother 28:5 53:13       204:3 206:25
  178:24
                        Mm-mmm 281:13           74:13 94:18 99:22      210:25 211:24
 mentioned 37:18                                143:24 170:3           212:18 215:14
  39:2 57:17 106:20     MO 182:7
                                                204:15                 218:9 219:23
  133:14 149:20         mom 136:14,19                                  223:19 224:19
  275:16                                       mother's 75:1
                         137:11 138:19                                 225:23 226:4
 mere 87:11 200:20,      143:16                motion 26:17            229:22 230:22
  23                    mom's 23:10 75:5,6     motions 280:22          241:3 242:17 248:5,
                         102:12,13                                     10 249:15 251:24
 message 248:15                                Mountain 168:16         256:13 257:4
 messages 244:18        moment 20:14 50:3                              276:25 287:4
                                               move 198:13 214:15
                         145:22 237:8
 met 13:1,14 98:6                               246:24 280:17         names 23:9 153:5
  113:11 201:19         monetary 49:4                                  186:13
                                               moving 246:18
  206:9,10,21 229:11     108:19
                                               multiple 72:7 97:6     Nason's 83:13,14
  255:23 258:6,7        money 74:9 77:25
  261:13,18 285:20       85:21 88:9 97:25      murder 259:21          National 264:17,19
                         98:7 104:4 105:16,     277:9 284:25          nature 234:12
 Metro 34:23 38:11
                         23 106:21 108:3,6     Muslim 234:15
 Michael 25:18 44:24                                                  necessarily 271:2
                         117:7,14 118:14,19,
  289:18                 21 119:4,8,9 123:24                          needed 143:6
                                                        N              234:16
 middle 72:22            133:3,6 136:14,19
                         137:22 138:2,7,8,                            negotiations
 Mikaram 160:15                                Naissance 231:22,
                         13,18 153:3,8,11                              194:18,21
                                                24
 million 84:25 98:8      166:17,21,22
  111:12                 167:14,16 172:5,6,    named 20:21 39:10,     nephew 210:9,11,13
                         9,21,24 173:8,11,      14 42:24 47:19,25      284:11
 millions 98:8 124:20
                         17,25 174:5,9,11       48:8 49:5 50:12,18,   net 175:20,25
 mind 181:2              185:1,2 186:11         24 51:5,10,16,22
                                                52:2 54:21 55:3       Newman 214:1,5
 mine 15:4               205:5 270:12
                                                56:16 57:5 58:13,      254:11 256:22
                         282:19,25
 minute 144:19 190:1                            18,23 59:14 62:12      257:3,10 280:15
                        monies 88:7
 minutes 289:4                                  69:5,19 70:5 71:17,   NLW 35:21 38:16
                        month 68:11             25 78:25 80:12,22
 misleading 96:24                                                     non-entity 176:17
                        monthly 67:20,21,       81:3,13 90:24
  287:19                                                              non-privileged
                         22,23                  92:24,25 98:9,19,
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 99 of 111
OMAR KHAWAJA                                                                          317
78755                                                          Index: nonparty..objection
  176:9                  126:9                 121:2,12,18,24        24 188:5,10,16,23
                                               122:22 123:1,7,16     189:5,14,23 190:6,
 nonparty 288:2         objection 16:18,21
                                               124:10,18 125:4,11,   10,14,18,23 191:2,
                         17:14,18,25 18:4,
 Nonresponsive                                 18,21 127:5,11,19,    9,13,18 192:6,11,
                         11,20 19:25 20:23
  71:14                                        25 128:8,14,20        15,21 193:2,8,13,
                         21:9 31:2,7 37:11,
 nonsense 277:13                               129:3,18 130:4,11,    19,25 194:7,12,15,
                         20 39:4 40:11 41:3,
                                               18,25 131:7,17,23     24 195:4,9,20,25
 Norman 85:12            12,25 42:8,17 43:1,
                                               132:11 133:1,10,16,   196:5,10,15,21,25
                         9,19 44:3 45:8
 North 33:3,20,23                              20,25 134:8,12,16,    197:4,11,16,22
                         46:10,15,20,24
  35:4,7 37:25 38:6,                           22 135:9,17,22        198:2,9,20,25
                         47:20 48:1,9,10
  13                                           136:16,21 137:1,8,    199:3,8,12,20,24
                         49:6,21 50:14,19
                                               13,25 138:4,10,15,    200:5,11,22 201:3,
 note 25:3 26:14         51:1,6,12,18,23
                                               20,25 139:4,8,16,25   9,23 202:4,15,21
  27:17 38:22 47:16      52:4,9,15 53:3,17
                                               140:9,20,24 141:9,    203:10,18,23
  219:5                  54:2,9,22 55:18,23
                                               15,21,24 142:7,12     204:17,22 205:7,13,
                         56:3,11,18,22 57:6,
 noted 290:23 291:21                           143:17,21 144:1,9,    18,24 206:5,11,14,
                         12,25 58:5,11,15,
 notes 47:19                                   15 146:18 147:9,17    18 207:1,8,12,16,21
                         19,24 59:5,10,16,21
                                               148:9 149:11 150:1,   208:2,8,13,17,24
 notice 145:9 147:2      60:1,9,14,24 61:14,
                                               19,24 151:6,12,18     209:5,12,15,21,24
  148:14,15              21 62:1,5,9,14,20
                                               152:17 153:17         210:4,8,15,20
                         63:2,18,24 64:3,7,
 number 19:18,20                               154:1 155:7,15,22     211:2,7,14,20
                         13,17,23 65:4,17,21
  23:21 29:10 30:10,                           156:3,11,16,21,25     212:1,4,9,14,20,25
                         66:5,12,16 67:24
  15 46:8 85:1,4 94:9                          157:4,11,15,20        213:5,12,15,20,24
                         68:12 69:7,23 70:7,
  98:18,21,24 99:4                             158:1,6,23 159:14,    214:3,7,10 215:16,
                         12,15 71:6,14,18
  135:14 236:25                                18,23 160:5,12,16,    22 216:1,6,13,18,25
                         72:13,14 73:5,11,19
  270:19,23                                    23 161:3,8,16,22      218:5,11,16,21
                         74:5 76:16,18,19
                                               162:1,7,11,20,25      219:1,7,15 220:3,
 numbers 99:6            77:4,16 79:11 80:18
                                               163:6,12,17,25        11,21 221:13,19
                         82:4,12,19,23 83:3,
 Numerous 219:3                                164:4,8,13,16,21,24   222:3,6,12,19,24
                         9,17,23 84:3,12,19
                                               165:9,15 166:5,11,    223:5,11,20 224:1,
                         85:8,10,19 86:11,
           O                                   15,20 167:2,7,10,21   11,21 225:2,6,12,
                         19,24 87:18 88:4,18
                                               168:3,8,18 169:4,     16,25 226:5,15,20
                         90:13 91:3,4 94:11
 Oaks 32:2,7 38:1                              11,18,24 170:5,11,    227:5,11,16,20
                         95:17 96:1,4,19,22
                                               17,21,25 171:6,15,    228:7,14,19 229:1,
 Oakum 46:3,4            97:9 100:24 101:3,
                                               20 172:3,10,14,19     6,13 230:2,6,10,14,
                         10,18,24 103:13
 object 39:13 48:17                            173:2,6,9,19 174:7,   19 231:2,5,10,14,18
                         104:1 105:9,15
  55:4 86:6 110:5,6                            14,17,24 175:4,11,    232:1,7,18 233:8,
                         106:13 107:1,21
  126:13 150:14                                14,22 176:3,18,24     14,17 234:2,8,13,
                         108:7,13 109:1,9
  165:25 224:4                                 177:10,20,25 178:5,   20,25 235:4,9,16,24
                         110:15 111:1,10,18
  246:14 249:23                                9,16,21 179:2,9,15,   236:3,7,17,22
                         112:1 113:24 114:8,
                                               22 181:21 182:2,6,    237:19,24 238:2,6,
 objected 29:24          12,23 115:3,8,20
                                               17 183:2,8,13,22      11,18 239:19 240:4,
                         117:13,22 118:4,11,
 objecting 29:17                               184:10,18 185:9,15    10,18,25 241:5,8,
                         23 119:24 120:22
  48:14,15,19,24                               186:1,15 187:4,20,    12,16,23 242:3,8,
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 100 of 111
OMAR KHAWAJA                                                                              318
78755                                                                 Index: objections..paid
  12,18,22 243:2,7,     objections 72:17        290:9 291:5,17,23       overtalk 53:22
  13,22 244:1,5,10,16    73:1                  open 56:16               owe 118:18,21
  245:1,6,11,16,22      obligations 71:13                                164:23,25
  246:2,21 247:2,8,                            operate 219:14
                         74:10
  12,16 248:2,7,13,                                                     owed 117:7,15
                                               Operates 14:16
  18,23 249:3,7,12,17   obtain 47:2 78:8                                 141:6 153:3 167:15
  250:1,10,17,23         95:21 107:11          operating 12:13           225:11,15 282:15
  251:5,11,15,20,25     obtained 47:5 83:19    operations 165:20        owes 118:14 119:3,
  252:7,11,16,22         87:4 95:25 100:2                                7,9 133:3,7 153:10
                                               opinion 73:21
  253:2,7,12,18,22       101:5 102:10 104:4,                             166:17,22 185:1,2
                                                104:22 218:2
  254:1,8,13,16,20,24    20 110:10,20 111:5     241:25 285:7,11         owned 89:3,5,12
  255:4,9,12,18,22       124:4 134:21
  256:3,7,10,16,20,23                          opposed 93:6              91:9,14,15,19 92:11
                         140:22,25 141:1,4
  257:5,11,16,20,25                                                      116:22 127:3
                         161:6,12 188:25       oppressive 287:20
  258:9,13,18,22                                                         129:10 146:13,15,
                         194:14,16 199:22
  259:2,7,12,17,23                             Optum 161:25              16,20,21,23 147:15
                         208:6,12
  260:5,11,15,20                                162:4,18,24              148:7 149:9 151:22,
  261:1,5,10,15,20,24   obtaining 81:19                                  25 152:3,15 153:9
                                               order 29:18 30:4,8
  262:3,7,12,20,25       114:3 200:18                                    177:18 183:25
                                                59:1 78:2,7,10
  263:6,10,15,20,25                                                      192:4 226:12 248:9
                        occupation 244:9        85:11,12 93:13
  264:5,11,15,18,23                                                      287:4
                         246:25 249:20          161:7,13 167:22
  265:4,11,15,20         250:21                 187:5 289:23            owner 188:20,21
  266:6,11,16 267:1,                            290:12,15
                        occur 189:21,24                                 owners 64:6 143:16
  6,11,18,24 268:5,
                        occurred 189:25        orders 163:11            ownership 111:4
  11,22 269:4,11,16,
  21 270:3,6,16,25       190:1,2               Organization 34:6         138:9,14 157:8
  271:5,11,18,24                                38:8                     161:1 199:6 263:4
                        October 8:4,8
  272:7,10,14,18,22                                                      286:8 288:6,8
                        offer 84:21            original 29:25
  273:2,6,10,15,20,25                                                   owns 97:3 129:11,
  274:6,9,14,18,23      offhand 111:22         Osama 10:5 13:5,8,
                                                                         15 130:12 154:7,8
  275:5,12,17,23                                11 25:20 28:20
                        office 16:2,3 33:3                               160:3 168:5,9 189:6
  276:5,10,14,19                                44:24 45:14 57:18,
                         34:8,18 35:1,4,7                                211:13 286:6
  277:1,6,11,19                                 21 62:19 64:15 86:3
                         38:6,8,10,12,13        110:11 170:23
  278:3,7,11,25
                         63:3,5 124:23          171:10 179:6                     P
  279:3,7,14,18,25
                         206:13 261:23          211:22 277:10,16
  280:6,14,18,23
                         276:1,2                284:23 291:20           P-O-P-E 8:14 26:8
  281:3,9,16 282:11,
  22 283:4,9,14,18      Offices 9:22 12:10,                              27:12
                                               Otisco 100:6 104:17
  284:1,6,12,16,21       14,20 63:6 136:7       158:9,12                p.m. 68:19 69:2
  285:3,9,12,16,21      offsetting 141:6                                 93:21,24 145:3,6
                                               outlined 20:11
  286:4,11,16,19                                                         237:11,14 289:14,
  287:1,6,11,14         Omar 8:2,9,25 9:6      overlap 244:22            17 291:5,8,22,24
  288:11,16,20           12:10,14,20 25:20
                         28:21 63:6 136:7      overly 96:24             paid 49:8,10 66:11
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 101 of 111
OMAR KHAWAJA                                                                          319
78755                                                 Index: Pakastani-american..personal
  74:22,24 75:2,8      participate 46:18       8 122:19 136:14,20      269:10,12 271:14
  84:14,16,21 85:17,                           137:23 140:4
                       parties 19:21 25:12                            people 25:22 54:12
  20,21 89:3,10,11                             166:22 167:15
                        26:16,18 39:15                                 115:24 157:16
  91:2,10,15,20,21                             253:21 254:2,5
                        68:18 93:17 145:1                              159:8 166:22 182:8
  92:12,23,24 95:10                            265:10
                        237:6 279:2 289:10                             185:21 186:5,10
  117:10,14 127:4       290:3                 paying 65:20 88:21       205:3 227:25
  139:21 140:7                                 141:23 142:1            232:25 233:2 267:5,
  143:15 164:15,19     partner 10:2,6 23:3,
                                               220:14                  8 268:7,16,19
  185:3 205:5 207:5     4 35:17 38:15 154:4
                                                                       269:24 270:19,23
  214:9 216:9 219:19    198:23 229:4 250:8,   payment 68:5 86:4,9
                                                                       271:2,6,10 273:11,
  254:23 255:3          11                     90:3 139:23
                                                                       13 280:3
  262:19               partners 22:22,23      payments 68:10
                                                                      people's 73:21
 Pakastani-american     23:6,16,17 139:9,11    80:4 87:3 92:3,4,5,8
  186:10                140:7 141:1,3,4                               percent 219:12
                                              payoff 84:22 111:11
                        142:1,2,3 143:16
 Pakistan 265:21,23                                                   percentage 111:4
                        287:9                 payroll 220:14
  266:10,17                                                           perjury 8:19
                       partnership 22:25      Peace 11:22,25
 Pakistanis 262:18                                                    Perkins 278:14
                        23:1 137:16 139:12    penalty 8:19
 paralegal 164:7                                                      permanent 162:17
                       party 22:7 28:20,21    pendens 59:1
  165:14                45:13,20 46:6,13       117:12,18 127:10,      person 20:22 81:24
 Pardon 67:5            49:15 57:4 58:9        12,23 128:9,18,24       82:8 91:10 108:23
                        88:3 105:1 120:8,11    129:17 130:10,16        246:12 258:6
 parents 23:8 137:16
                        127:15,24 128:25       145:9 147:2,19,20       270:14 284:15,20
  201:21,24 288:13
                        159:4,5 211:24         148:14,15,19
 parents' 23:9          258:25 259:5,10                               personal 12:19,22
                                               149:19 150:7,23
  100:19,20 262:6       260:3,14 272:9                                 17:16 36:7,9,12,17,
                                               151:5 153:1,15,21
                        287:22                                         23,25 37:1,3,4,5,6,
 Park 33:1 35:4,7                              156:24 157:14           9,16,22 38:23 40:9,
  38:6,13              Parvine 186:6,8         189:22 192:3 212:7,     25 41:1,4,8,19,23
                                               13,18 213:3 224:9,
 Parker 54:4 227:24    passed 266:1                                    42:4,5,12,13,20,23
                                               13,14,25                43:6 47:15,17,18,
 Parkins 26:22,24      passing 290:9          pendenses 58:3,17,       21,24 48:5,7 50:10,
  27:6,8,10 28:3
                       past 21:22 170:19       22 59:13 116:9,15,      11,17,23 51:4,9,15,
 part 10:25 20:25       206:15 276:17,18       19,21 117:21 127:2      21 52:1,7,13,19,23
  21:6 62:15 63:20                             149:13 151:16,21,       53:1,7,15 58:7
                       pattern 74:20 93:1
  88:16 104:19                                 24 152:3,14,23          59:25 69:4,20 70:4
                        100:8,10 200:13
  105:23,25 107:19                                                     71:2,13,16,22,24
                                              pendentes 223:25
  114:15 137:16        Paul 27:24                                      72:9 73:25 74:2,9,
  145:11,12 156:15                            pending 22:3 56:25       21,22,24,25 75:7,9,
                       pause 211:10
  175:17 206:20                                60:5 120:1,3 140:15     13,16 76:1,7,13,14
  227:23,24 271:20     pay 67:21,22,23         144:3 160:13            77:2,3,7,9,14,22
  273:23                71:13 77:7 78:10       167:23 194:10           78:3,7,9,12,17,20,
                        84:10 85:6,15 92:7,    197:14 202:6            23 79:4 80:1,4,5,11,
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 102 of 111
OMAR KHAWAJA                                                                                320
78755                                                                   Index: personally..Pope
  20 81:1,6,9,11 82:3   phone 135:12,14         podcasts 274:3             65:3,10,11,14,19
  87:12 88:20,25         248:21,22 252:21                                  66:1,7,15,18,20,23
                                                point 21:17 23:7,18
  89:2,10,17 90:25       271:14                                            67:3,6,9,10 68:2,8,
                                                 89:18 92:16 103:3
  91:8,13,18 92:10,                                                        9,15 69:3,10 70:3,
                        phones 248:17            104:18 105:24
  15,19,22 93:3 94:21                                                      10,12,14,17,23,25
                                                 143:22 194:17
  97:1,7,11,13,18,20    pick 96:24 271:14                                  71:6,7,14,15,21
                                                 206:22 213:10,11
  99:12,23 100:1,13     picked 264:21                                      72:14,16,20 73:24
                                                 230:15
  101:16,19,22                                                             74:11 76:18,22,24
  102:11 103:23         piece 103:4             pointing 50:5              77:8,20 79:13,18
  104:3,7,23 105:12,    place 154:19 188:15     police 222:5 237:17        80:19 82:6,13,21
  20,21 106:2,8,10       235:7                   277:4                     83:1,5,12,20 84:1,6,
  108:17 113:21,22                                                         15,23 85:10,14,23
                        plaintiff 22:8,9        political 209:9
  114:6,7,19 118:2,9                                                       86:8,14,22 87:2,20
                         41:18 181:13
  119:2,5,6,10,12,18                            Polk 18:18,19 44:24        88:6,19 89:6,8
  123:4,14,17,20,21     plaintiffs 8:17 25:19    134:25                    90:15 91:4,7 93:16,
  124:8 132:24 133:8     56:13 140:16                                      19,25 94:13 95:23
                                                poorly 221:23
  154:3,6,18 155:4,19    179:21,25 181:13                                  96:2,6,22,25 97:12
  156:1,8 158:9,14,16    289:19                 Pope 8:14 9:3 14:9,        101:1,7,13,21 102:2
  176:15 182:1                                   14 16:19,24 17:10,        103:16 104:6
                        plan 117:12 197:19
  183:18 184:8,12,16,                            11,15,21 18:2,6,12,       105:11,18 106:18
                         232:6
  23 185:6,13 187:12                             23 20:2,6 21:3,10,        107:5,23 108:9,16
  188:14 200:8          plane 265:14             16 26:7,10,19,23          109:3,16 110:9,18
  209:18 218:8          platform 274:22          27:9,11,12 28:17          111:3,13,19 112:4
                         275:20                  29:3,5,7,14,25 30:4,      114:2,9,24 115:6,11
 personally 58:6
                                                 7,10,12,13 31:4,8,        116:2 117:16,24
  60:8 63:22 69:11,12   platforms 274:3          17,20 37:12,21            118:7,17 119:1
  100:11 101:8 102:5     275:16                  39:7,17,19 40:1,4,7,      120:2,25 121:4,14,
  116:16 190:24
                        Plaza 32:14              15,24 41:7,16,22          21 122:2,13,23
  191:1 193:22
                                                 42:3,11,18,22 43:4,       123:3,12,19 124:14,
  203:21 267:3 274:8    pleading 181:6
                                                 12,21 44:6,13 45:2,       25 125:9,14,24
                         232:16
 pertained 81:13                                 5,11 46:12,17,22          127:1,8,14,22
                        pleadings 90:21          47:1,9,23 48:6,13,        128:4,10,16,23
 pertains 80:21 81:2
                         232:5,24                18,23 49:2,3,9,24         129:6,21 130:8,13,
  251:19
                        pled 232:24 233:6        50:16,22 51:3,8,14,       22 131:3,8,19
 petition 19:16                                  20,25 52:6,12,18          132:6,14 133:5,12,
  20:11,12 25:9 42:7    plenty 99:21 104:19      53:6,14,19,24 54:7,       17,22 134:3,9,14,
  49:13,15,23 96:10      125:21                  13,25 55:6,21 56:1,       19,24 135:11,18,25
  131:1 142:22 169:5,   PLLC 10:10,14            6,12,20 57:2,8,16         136:18,23 137:3,9,
  15 198:10              12:11,14,15,17,21       58:2,8,12,16,21           14 138:1,6,12,17,22
 petitions 222:21        16:11 17:6,12,17        59:3,8,12,17,24           139:1,5,10,20
                                                 60:3,12,18 61:1,6,        140:2,11,21 141:2,
 PH 24:5 26:11 27:13    plot 277:9 285:1
                                                 11,17,23 62:3,7,11,       11,18,22,25 142:9,
  38:18 151:22          ploy 277:9               17,22 63:4,7,10,15,       14 143:12,19,23
                                                 21 64:1,5,10,14,19        144:4,12,16,23
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 103 of 111
OMAR KHAWAJA                                                                           321
78755                                                            Index: popped..preventing
  145:7 146:19          12 202:1,7,17,23       253:4,9,14,20,24      possibly 108:23
  147:10,18 148:10      203:12,15,20,24        254:4,10,14,18,22      119:9 163:7 203:1
  149:12 150:3,5,15,    204:7,13,18 205:4,     255:2,6,10,15,20,25    221:5 223:6 230:11
  21 151:3,9,14,20      9,15,20 206:2,8,12,    256:4,8,12,17,21       261:11,13
  152:21 153:19         16,23 207:3,9,13,      257:2,8,14,18,23      post-complaint
  154:2 155:12,18,25    17,23 208:4,10,15,     258:3,11,16,20,24      215:5
  156:7,12,18,22        19,25 209:7,13,17,     259:4,9,14,20
  157:2,7,12,18,23      22 210:1,5,10,17,24    260:1,7,12,17,23      post-judgment
  158:3,8,25 159:16,    211:4,11,17,23         261:3,8,12,17,22       192:19,24
  19 160:1,7,14,18,25   212:2,6,11,16,22       262:1,5,9,13,22       posts 276:23
  161:5,11,18,23        213:1,8,13,17,21,25    263:2,7,12,17,22
  162:2,8,13,22         214:4,8,12,17,18       264:2,7,12,16,20,25   potential 268:20
  163:3,8,14,22         215:13,19,24 216:4,    265:5,13,18,22,25      269:8 270:14
  164:2,6,10,14,18,22   10,16,20 218:1,7,      266:3,4,8,14,20       potentially 153:10
  165:1,10,17 166:2,    13,18,24 219:4,9,21    267:4,9,13,21          268:24
  8,13,18,24 167:4,8,   220:6,17,24 221:16,    268:2,9,15 269:2,6,
                                                                     Power 35:19 38:16
  12,24 168:6,12,22     21 222:4,7,15,22       13,18,23 270:4,10,
  169:6,14,22 170:1,    223:3,6,8,12,23        22 271:3,8,16,22      practical 95:2,3
  6,13,18,22 171:3,9,   224:8,16,24 225:4,     272:1,8,12,16,20,24   practice 12:17,20
  18,24 172:7,11,17,    9,13,19 226:2,8,18     273:4,8,12,17,22       42:19 93:1 276:3
  20 173:7,13,24        227:1,7,13,18          274:2,7,11,16,20,25
  174:10,15,20,25       228:2,11,15,21         275:6,14,19,24        practiced 42:16
  175:7,12,18,24        229:2,9,14 230:4,8,    276:7,12,16,22        practicing 63:13
  176:8,14,21 177:4,    12,16,21 231:3,7,      277:3,8,14,22
                                                                     practitioner 9:19,20
  13,22 178:1,6,13,     11,16,20 232:3,11,     278:4,9,14,17,20
  18,23 179:5,11,18,    22 233:4,11,15,19      279:1,5,8,15,21       predict 232:8
  24 180:18 181:12,     234:4,11,18,22         280:1,11,16,21,25     prefer 144:20
  25 182:4,14,18,24     235:1,6,10,19,25       281:4,11,18 282:5,
  183:5,11,17,23        236:5,9,14,19          13 283:1,6,12,15,19   preliminary 70:23
  184:11,22 185:12,     237:1,15,20,25         284:4,9,14,19,24      prepared 205:21
  16 186:3 187:1,11,    238:4,9,14,19          285:6,10,14,19,23
                                                                     present 76:5 98:1,2
  17,22 188:2,6,13,19   239:11,20 240:7,13,    286:1,2,7,12,17,22
                                                                      235:14
  189:2,7,12,16         20 241:1,6,10,14,18    287:2,7,12,16,24
  190:3,7,11,16,20,25   242:1,6,10,15,20,25    288:3,5,12,18,22      pressure 122:19
  191:3,10,15,20        243:5,10,18,23         289:2,9,12,19         pretenses 266:18
  192:8,12,17,23        244:3,8,12,17,23       290:1,6,8,12,13
  193:5,10,15,21        245:3,9,13,18,23       291:9,16,20           pretty 83:11 152:5
  194:4,9,13,20         246:4,6,17,23                                 220:13 259:24
                                              popped 159:2
  195:1,7,13,15,16,23   247:5,10,14,18                               prevent 59:1
  196:3,7,12,18,23      248:3,8,14,20,25      posed 65:10             103:20,24 117:6,8
  197:2,6,13,18,24      249:4,9,14,19,24      position 154:8          152:25 153:2
  198:5,15,18,22        250:3,13,19,24                                161:14 187:6,9
  199:1,5,9,13,21       251:8,13,17,22        possession 50:24
  200:1,7,17 201:1,5,   252:2,8,13,20,24       253:1                 preventing 162:17,
       Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 104 of 111
OMAR KHAWAJA                                                                                322
78755                                                                 Index: previous..question
  18                     process 271:21          130:2,9,16,21 131:4       21,24
                                                 138:3 144:13
 previous 23:6 39:1,     produced 29:23                                   purported 69:15,17
                                                 145:10,15,19,24
  16 100:16 115:22        95:20 205:16
                                                 146:2,13,20,21,23        purpose 28:4
  124:11 200:13          producing 29:20         147:2,3,7,15,20,25        131:15 132:17
 previously 39:1,20                              148:3,7,11,25             156:2,5 200:10
                         product 122:10
  74:7 101:5 184:20                              149:3,6,15,23             220:15,16 226:23
                          125:20 126:12
                                                 150:7,16 151:21,24        268:21 269:24
 primary 213:16           169:13,20 172:16
                          176:4,13 178:11        152:3 154:11             purposes 94:25
 principals 112:13                               156:24 157:13
                          204:5,12 224:6                                   156:9 270:1
  170:14                                         158:4,11,17 159:1
                          232:20 265:7
                                                 168:9 177:15 184:3       pursuant 93:12
 prior 39:9 81:19
                         production 29:22        188:7,21 189:3            289:22
  83:24 96:10 106:2
  107:15 111:21          productive 194:19       191:23 192:2             pursue 172:2,4,8
  119:23 120:18                                  211:12,16,19 212:8,       232:17 273:18
                         profits 76:13 77:2
  165:19 193:6                                   13
                                                                          pursuing 174:1
  202:11 215:6,7         prohibited 29:20
                                                prosecutor 42:21           273:14
  271:9 282:18           promises 207:19,25      240:3,5,8 244:6,7,
                                                                          purview 173:5
 private 170:2 204:14    promissory 47:16,       11
                                                                          put 17:16 108:23
 privilege 30:22 47:4,    19                    protect 128:2,5
                                                                           109:8 122:19
  6 61:22 66:19 82:5     proof 90:3 166:9       prove 67:1 155:24          130:10,16 150:22
  110:7 122:10,14         200:2
                                                provide 82:11 85:4         151:4
  125:20 126:12
  169:13,21 176:5        proper 195:10           113:18 222:23
  224:6 265:8            properties 8:10         258:25                            Q

 privileged 21:8,9,15     32:18 38:4 45:15      provided 44:4 57:22
                          116:10,12,15,21                                 Qadeer 209:14
  65:23,25 176:12                                82:10,15 85:2 95:22
  183:15                  127:3 130:23           245:4 258:21             Qadeer's 210:12
                          148:16,22,25 149:9
 privileges 232:20                              public 41:21 60:11,       qualifies 97:10,13
                          152:15,25 153:8,14,
                                                 13 78:4,5 79:24          Quanell 233:16
 problem 17:10 27:9       20 154:4 155:1
                                                 81:15,17 89:14,24,        234:3 235:11,14
                          177:5,12,14,16
 Procedure 29:19                                 25 96:8,11,12             277:10,16 284:15,
                          184:6 189:21 192:1,
                                                 104:15 176:19,22          18,20
 proceed 8:24             4 212:19 286:24
                                                 200:20 226:16
                          287:3                                           Quantell 278:12
 proceeding 94:18                                228:4 241:20,21
  236:2,16,21 281:12     property 88:21 89:3,    249:21,22 250:14,        question 17:5,9,23
  289:19                  11 91:1,9,14,15,19     22,25                     18:1,5,22,25 20:4
                          92:6,8,11,23 103:4                               30:14 31:9,10,11,16
 proceedings 211:10                             Puerto 261:9,13
                          110:12 112:14,16,                                38:25 39:17,19
  281:8
                          19 113:2,3,23 114:7   puppeteer 95:13            40:6,8 42:18 43:3
 proceeds 100:2           128:2,3,6,19 129:7,    137:7                     45:10,12 50:1,3
  102:6                   9,14,17,20,23,25      purchased 281:14,          56:14 61:18 63:20
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 105 of 111
OMAR KHAWAJA                                                                             323
78755                                                           Index: questioning..referred
  69:22 70:20 71:10                             171:16,19 177:17        27:10,18 29:4 40:21
  74:1,7 75:19,20                R              253:5 257:21 263:8,     41:21 48:24 57:20
  76:25 79:13 86:12                             14 264:10,13 280:9      60:11 68:7,19 69:2
  87:19,22 91:6         R.J. 285:15,20                                  73:1,23 78:4,5
                                               realize 153:14
  102:19 109:13         racketeering 36:24                              79:24 81:15 89:14,
  114:5 117:25 118:6                           Realty 33:8 37:23        24,25 93:18,20,24
  119:17 122:1,4,5      Rahim 15:5,12,13        80:10                   96:8,11,13 104:15
  125:17,25 126:2       Rahim's 15:13          reason 104:21 107:3      126:5 145:2,3,5
  132:7 149:19,24,25                            117:1 135:23            176:20,22 203:14
                        raise 8:18 73:16,17
  151:10 165:11                                 145:20,21 152:14        214:14 216:3
  172:23,25 183:24      Ramey 271:23            153:13 166:16           226:17 228:5
  199:15 201:11          272:2,25               169:15 178:7            236:13 237:7,10,13
  208:9 214:20 223:4    Ray 228:20              179:12 197:7            246:11,19 289:4,7,
  226:1 232:19 237:3                            207:10 215:14           11,13,16,23 291:3,
  238:15,16,17,21       rdx 100:6 104:17                                5,7,10,22
                                                230:22 238:20
  246:8,18 284:17        158:9
                                                280:10                 records 60:13 81:17
  287:24                re-ask 40:5
                                               reasonable 51:10         96:15,17 97:5,15
 questioning 66:24      reach 128:3 154:6,                              158:17 199:22,25
  246:9                                        reasons 232:15           200:18,20 287:8
                         20 190:17 268:19
 questions 16:17,23,     289:25                recall 13:24 43:23      recover 253:16
  25 17:20 18:7 39:20                           54:6 67:25 68:3,14
                        reached 266:19                                 recuse 280:17
  44:22 45:6,12                                 84:5 105:4 117:19
  112:22 126:9 180:8,   read 20:12 75:21        120:23 189:19          refer 41:6 97:4
  9,23,25 181:1,3        76:9,12 90:16,21       245:2 267:20 268:6      112:3 142:18 153:6
  206:22,24 210:22       182:3,16,19 191:5                              257:9,10
                                               receive 51:10 88:7
  239:10 245:8          reading 30:5 76:22      122:15 125:10,15       reference 19:1
  246:20                 89:9                                           49:23 79:12 81:20,
                                               received 67:17
 quiet 65:9             ready 29:3,5 198:13     124:17 163:10           21 85:25 147:25
                         214:15 236:25          200:19 218:9,20         148:22 276:3,8
 Quinlan 8:10 10:1
  12:23 25:20 28:19      288:23                 254:7                  referenced 19:15
  44:25 57:18,21        real 8:10 11:19,20     recently 198:21          40:9 46:7 72:11
  64:21,22 86:3          14:23 15:20,21,25      213:7,9                 79:3,20,23 90:17
  118:21 119:3           16:2,3 32:17 38:4                             references 66:20
                                               recess 25:14 68:20
  181:19,23 182:9,12     45:15 83:14 88:21                              87:25 179:19
                                                93:22 145:4 237:12
  183:12 207:4           89:3,11 91:9,14,19
                                                289:15 291:6           referencing 194:17
  260:19,24 262:19,      92:6,11,23 102:24,
  24 263:3,8,13,18,23    25 110:12 129:7,8,9   recite 20:17             195:3
  264:3,8 291:13,18,     139:14 144:11         recognize 25:22         referral 253:21,25
  19                     145:15,24 146:1,2      29:15 30:15             254:2,5,7,23 255:3
 quote 70:18 75:24       148:3,25 149:3,6,15                            256:1
                         150:7 151:13 154:7    record 8:7 9:5
                                                25:13,15,21 26:5,6     referred 79:14
                         158:17 161:2
                                                                        183:12 255:8,16
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 106 of 111
OMAR KHAWAJA                                                                              324
78755                                                                 Index: referring..round
 referring 250:7        relevance 31:2 65:5    reports 90:16 277:4      resuming 291:10,
                         66:17,18 70:16                                  11,17
 refers 250:2                                  represent 8:12
                        relevant 31:12 70:20    25:19 30:25 31:5        retain 83:21 196:4
 refresh 178:24
                         286:21                 54:12 57:21 83:22        256:5,6
 refuse 246:7                                   134:10,25 135:2,3,
                        religious 199:4                                 retained 50:24
 refusing 18:7 61:18                            4,6 208:22 213:14        69:17
                        rely 83:19 200:12       236:10,15
  120:10 122:6
                         232:17                                         retaining 219:23
  125:24 195:12                                representations
  238:15 246:8,19       relying 99:5            75:17,24 207:19,24      review 75:15 79:8,
                                                                         13,19,22 89:22 90:8
 regard 71:8 176:5      remains 223:16         representative 28:8,      97:15 167:19 177:8,
 regularly 182:25       remember 13:1,18,       16 36:13,15              9,11 184:14 200:20,
  183:3                  21,23 19:17,20        representatives           23 216:21 219:16,
                         206:21 228:9           190:8                    22 221:17 283:24
 Reit 24:18 27:18
                         235:13 236:23
  33:14 37:24 49:18                            represented 54:18,       reviewed 40:14,16,
  166:3,25 167:5        reminder 40:20 68:6     20 55:1 56:13 57:13      17,19 43:16 48:4
  168:4,5,7 169:17       126:4 246:10           209:1 236:20,24          69:12 75:11 82:24
  172:1,24 173:14                                                        83:7 89:19 124:17
                        reminding 72:22        representing 25:24
  198:1 200:3 203:3,                                                     158:18 176:22
                        remove 118:8            27:20 37:10 56:15
  5,8 211:13 278:22                                                      177:8 203:25 221:4
                                                62:23 72:25 113:15
 relate 61:2 205:22     removed 224:14                                   283:25
                                                212:3 236:1 278:5
                         225:1                                          reviewing 21:2 69:8
 related 29:22 74:10                           request 218:25
  116:23 232:23         Renee 46:3,4                                     79:4
                                               requested 203:16,
  235:13 246:9          rep 28:6,7                                      Richard 46:3
                                                21
  249:11,15 262:11
                        repeat 75:19 103:22                             Richmond 9:8 136:5
  272:4 281:15,22,25                           requests 29:22
                         132:7 214:20                                   Rico 261:9,14
 relates 36:20 80:12                           research 226:25
                        reporter 8:12,18,23     227:2 283:24            ridic 259:24
 relating 249:6          26:3 28:10 29:7
                         31:17,19 40:20        researched 227:21        ridiculous 259:25
 relation 10:5 35:23
  36:1,3 61:24 147:7     53:21 63:19 68:6      residential 264:13       rightly 182:12
                         73:3 125:5 126:3
 relationship 9:25                             response 63:11           righty 69:4 94:1
                         142:25 163:18
  20:9 21:24 22:2                               72:20                     145:8
                         182:22 201:10
  61:25 62:2,19 64:21    211:8 215:10 223:7    responsible 72:25        ripped 270:20
  109:20,22,24           233:1 236:8,12
  115:22 184:20                                restraining 161:6,13     Rodney 135:6
                         237:8 243:14
  209:19 210:14                                result 49:5 102:22       Rodrigo 148:16
                         244:21 246:10
 relationships 62:4      252:17 282:3 289:3,    143:13                  room 25:22,25
  64:22                  7 290:11,14,18,20,    results 216:8             28:17
                         23 291:3,7,21
 release 117:11                                resume 290:10            round 39:19
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 107 of 111
OMAR KHAWAJA                                                                            325
78755                                                                 Index: royal..solicit
 royal 227:6,8,10,12,   sell 131:10 182:10      244:4 246:20          single 39:6 169:2
  14                                                                   266:22
                        selling 264:4          shake 182:11
 Rubio 28:3                                                           singular 227:12
                        send 259:5,10          sham 69:5,21 70:6,
 rule 28:23 29:19                               18,19,20 97:2         sir 8:23 31:19 63:20
                        separate 80:1 81:11
                                                                       201:17 223:7
 ruled 56:7 128:25       116:6 220:2,4,20,     Shannon 285:15,20
                                                                       252:18
  130:15                 22,25 223:10,13,19    share 253:15 263:4,
                         251:1,2,3                                    sister 12:5
 rules 72:23                                    14
                        September 68:11                               sister's 12:6
 Rumsfeld 233:10                               Sheena 64:9
                        server 121:22                                 Sisters 262:14
 run 273:13                                    shenanigans 280:4
                        Services 35:2 38:12                           sit 48:5 92:19,22
                                               Shepherd- 27:15
          S                                                            100:22 121:15,17,
                        Servicing 162:18,24     38:20
                                                                       19 171:25 232:12
                        session 109:14         Shepherd-huldy          233:5
 S-O-V-A-T 12:9,10
                                                24:24 25:1 26:13
                        set 195:24                                    sitting 70:1,9 77:17
 Saddlejack 284:5                               27:16 38:21 189:4
                        settle 172:13 194:1                            78:19 79:1 80:23
 Sajid 198:19                                  shoes 180:1 181:14      81:4 89:15 90:7
                        settlement 194:18,                             92:18 119:20
 SAL 177:19 178:19                             show 26:20 43:14
                         21                                            154:15 155:8 216:7
 sale 156:23 168:4                              49:22 72:2,7 74:8,
                        severed 27:19           23 75:12 77:6,19,24    228:17
 San 147:3 148:11                               78:15 80:3,25 102:5
                        Shahnaz 25:5 27:15                            situation 87:8,13
  150:17 158:11                                 124:24 219:17
                         28:4 38:20 53:12                              259:22 266:13,15
 satisfy 146:6 174:5,    94:18 95:4,13,15      showed 78:8,9           270:13
  12 175:3,9             97:2 98:10,18,21,24
                                               showing 223:9          slip 99:10
 school 291:15           99:13,24 100:14,23
                         101:9,23 102:13       shows 71:11 81:15      Slovacek 8:16 9:23
 Schurmier 148:17        103:18,24 104:8,25     99:22 104:4,21         19:22,24 44:25 46:7
 scope 18:17 19:2        105:5,13 106:3,9,11                           59:11 65:16 68:5,11
                                               sibling 23:21,23,25     83:21 84:8 109:21,
                         107:14 113:22
 scratch 42:5 106:9                            siblings 23:17,19       25 110:2 111:6
                         114:10 116:7,24
  117:25 147:1                                  138:23                 192:19 219:24
                         118:2,9,18,21
 scrutinizing 173:21,    119:3,7,13,22         side 230:25 291:2      SLS 64:4,6
  22                     122:18,24 123:5
                                               signatures 220:9       Snapchat 275:9
 section 70:24           131:15,21 132:10,
  290:11,20              18,24 142:10          signed 245:19,24       social 274:3,8,12,21
                         184:12,24 185:22                              275:20 276:3,24
 seek 112:9 192:24                             significant 67:16
                         187:12 194:22
  271:10                                                              sold 153:1,14,20
                         200:9 207:24          silly 180:8 277:24
                                                                       154:12 168:10,11
 seeking 112:24          223:18 227:23         Simple 117:11           188:18
  205:2                  279:16 281:25
                                               simply 128:17 150:8    solicit 269:14,19
                        Shaitelman 243:25
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 108 of 111
OMAR KHAWAJA                                                                             326
78755                                                             Index: solo..T-E-S-K-E-E-N
 solo 9:19,20           spoken 191:14          Steve 28:22 55:5        sued 168:23 241:7,
                         198:19 222:10,16                               11 279:6,17 280:9
 Solutions 36:4                                Steven 8:16
                         237:16,21
  38:18                                                                sufficient 174:5,12
                                               stole 125:1 162:19
                        spreadsheet 44:1                                175:2,8
 Somebody's 174:9                              stolen 163:10
                        stage 197:17                                   Sugar 15:15,25
 someone's 204:24,                             stop 27:10 50:5          16:2,3
  25                    stand 180:1 181:14      289:21
                         237:8                                         suing 100:17 119:22
 son 100:17 102:15,                            strategy 173:3
  16 106:7 107:4,17,    start 27:11 37:9                               suit 116:6 193:23
  20 124:21 133:3,6      201:6,13 290:3        Street 147:3 148:12,     196:4
  185:1,2,4,20 186:12    291:16                 16,17,18 150:17
                                                                       Suite 9:8
  209:6                                        strike 56:14 96:12
                        Startex 35:19 38:15                            Suites 34:24 38:12
 son's 102:17,20                                169:7
                        starting 26:7 29:2
  185:4 209:9,10                                                       suits 269:14,19
                         244:22 290:2          structure 105:24
 sort 130:6 151:2                               227:15                 supersedeas
                        state 8:12 9:4,16
  238:22 256:25                                                         108:11,23 109:8
                         20:14 135:19 198:7    stuff 181:5 219:20
 sounded 87:22           260:24                 237:3 277:24           superseded 94:7,10
                                                                        108:5 109:12
 Sounds 16:5            stated 76:3 101:4      stupid 180:23,25
                         221:11 232:4           181:1 277:17           supplement 198:17
 Southern 240:12,15
  247:3                 statement 70:23        style 22:16             support 43:7 60:8
                         71:1 76:2,8,12,15,                             103:18 167:17,20
 Sovat 12:7 24:1                               subject 31:15
                         22 77:1,3,10,15,21                             265:1
                                                112:21 119:25
 speak 63:8              78:7,9,11 79:3,25      128:2 144:2 163:10     supports 76:1,8,14
 speaks 82:16 84:14      80:2,6,12,21 81:2,     195:6 202:5 238:22      77:15 80:2,6,21
                         10 82:11 131:12        253:11                  81:2
 specific 20:7,25
  21:17 70:8 75:10      statements 79:8,14     subpoena 44:7           supposed 65:9,11
  77:18 88:22 115:1,     81:21 88:15 113:25     81:23                   126:6,8
  18                     114:3 115:1 124:3,
                         17 184:14 204:1       subpoenaed 204:1        surprised 150:16,20
 specifically 68:14      216:21 218:19,25                               162:9,15
                                               subpoenas 44:2,4
  72:6 84:5 91:12        221:17                                        surveillance 169:23
  93:5 104:3                                   subsequent 187:25
                        states 77:25 261:4,7                           suspect 226:14
 speculation 37:3                              substantial 85:21
                         265:2 266:10
  95:19 108:8                                                          swear 8:13
                                               successful 142:5
                        status 24:16
 spell 12:8 23:12                                                      SWF 15:15,25
                                               succumb 182:12
                        statute 87:15 218:15
 spend 40:1                                    sue 22:18 107:17,
                        stealing 161:20                                            T
 spite 56:7                                     20,24 128:12 153:4,
                         162:5
                                                5,12 168:16 169:10
 split 86:4                                                            T-E-S-K-E-E-N
                        steps 223:24            182:9 196:19
                                                                        23:13
                                                278:22 279:2
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 109 of 111
OMAR KHAWAJA                                                                               327
78755                                                                   Index: table..transfer
 table 50:3               267:16                Things 104:14 177:3       121:15,17,19
                                                                          154:15 155:13
 tactics 72:22           Teskeen 23:11          thinks 182:8
                                                                          156:13 171:25
 tag-teaming 48:16       testified 9:1 278:12   third-party 127:16        174:9 216:7 228:17
                          284:25                                          232:13 233:5
 Tahir 208:16                                   thought 140:3 143:6
                         testify 63:7 164:15     291:13                   267:14,15 288:25
 talk 22:4 27:2 39:6                                                      289:1,24
  73:12 78:12 183:15     testimony 8:20         Thousand 32:2 38:1
  191:4,7,11,16           52:16,21 78:6 80:7                             today's 8:8 19:2
                                                thousands 66:13
  209:23 240:17           137:15 165:19                                  Todd 46:3
                                                 72:1 77:12
  243:8,11 246:4          235:15 271:9
                                                threat 182:13            told 47:12 49:25
  265:8,12 267:7          282:18
                                                                          98:2,3 105:22 110:2
  270:24 273:24                                 threatened 182:9
                         Texas 9:9,17 24:18                               177:7 210:22
  274:12 275:15           27:18,21 33:14        three-way 260:13          259:15,21 267:10
 talked 30:20 190:21      37:24 49:18 135:20                              270:15,20
  203:11,13 210:18,       148:18 166:3,25       Thursday 8:4,8
                                                                         tomorrow 288:25
  25 211:5 240:23         167:5 168:4,5,7       Tiktok 275:3
                                                                          289:23 290:8,10,18
  241:2 242:16            169:17 171:25
                                                till 290:17               291:10,16
  251:14,18,23            172:24 173:14
  256:22 257:3 267:2      198:1 200:3 203:3,    time 8:8 13:21 23:16     top 144:19 157:5
  288:10                  5,8 211:12 247:4        39:6 40:21 68:7         169:2 171:22 221:1
                          261:19 278:22           73:5 81:5,6 98:6
 talking 73:8,9 91:23,                                                   tort 142:10,20
                                                  126:4 141:19 159:8
  25 92:1,6 98:7         text 234:1,12,19,23                              143:14
                                                  180:7 201:20
  107:25 110:4 126:7      235:2,7,8 244:18
                                                  225:10,22 236:13       torts 142:16,19,21
  172:16                  247:25 248:4,10,15
                                                  244:22 246:11,13        171:7
                          258:12 259:11
 Tang 135:4                                       257:13 276:20          total 111:11 225:14
                         texted 205:21            282:19 291:7
 tapping 37:6
                          247:15                                         Tower 32:11 35:4,7
 target 127:12,15                               timely 29:23              38:3,13
                         texts 252:3,4,10
 tax 89:3                                       times 101:12,14,15       Transact 286:3
                         That'd 144:24            233:25 271:17,20
 taxes 78:10 88:21                                                       transaction 24:14
                         theories 197:8         title 45:21 110:20
  89:11 90:3 91:1,9,                                                       88:14 105:14
                          232:5                   146:1,2,4,5 147:6,
  14,19,21 92:6,8,11,                                                      118:15 173:22
  23                     theory 99:25 118:8       24 148:22 149:6,23
                                                  156:23 157:8 286:3,    transactions
                          130:14 133:2,6
 telling 73:5 99:5                                5,8,13                   286:13,20,23 287:3
                          146:7 147:11 150:9
  143:5
                          154:23,24 155:2       today 15:23 27:20        transcript 76:10
 ten 115:16,17            174:2,4,21 175:1,      30:3 31:13,15 39:21       290:12,25
 term 171:2               13,16                  44:16 48:5,15 70:2      transcripts 76:9
                         thing 103:7 129:24      77:17 78:19 79:1          203:16
 terminated 121:8,11
                          244:11 252:9           90:7 92:18,19,22
                                                                         transfer 37:17 50:25
 Terry 257:15,17,19                              100:22 109:12
                                                                           51:5,22 52:8 60:6
      Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 110 of 111
OMAR KHAWAJA                                                                               328
78755                                                                 Index: transferred..wife
  74:16 86:9,17 87:16
  96:18 117:7,8                    U                      V                       W
  118:13,16 142:23
  143:2 155:3 202:20     U.S. 238:1,5 240:15    vague 96:23 101:25       wait 45:9 290:16
  216:8,11,12,17          247:3                 vaguely 105:4            waiting 101:6
 transferred 17:12       ultimately 256:5        177:21 214:23           walk 223:24
   20:20 38:24 40:10     UMBS 38:17             valuations 176:16
   43:15 50:18 51:11                                                     wanna 112:18
   100:4 123:25 128:3    UMBSGP 36:1            values 177:2,11          wanted 277:16
   130:24 131:5 138:8,   underlying 192:25      ventures 251:3           warranted 200:21
   13,18 232:9            202:13,18 203:17      verbal 243:14            waste 276:20
 transferring 59:2       understand 14:7        verdicts 36:19
   130:20                 17:9 44:12 45:9                                wasting 180:7
                          73:4 75:20 79:11      verify 223:25
 transfers 17:6 37:23                                                    watch 170:12
   43:20 52:11 59:23      87:19 91:5 118:5      versa 95:11 102:7
                          121:9 208:9 226:1                              watching 170:3,9,14
   61:3 69:13 72:2                              versus 45:15,23           201:7,14
   87:24,25 88:3,8,11    undisclosed 130:6       46:2 110:11,21
   103:19,24 113:22                                                      Wayne 18:24 44:23
                         unencumbered            111:5 179:7 189:20
   114:7,25 115:2,19                                                      192:13 196:13
                          184:4                 VGRP 214:24               205:5,16,22 206:9
   118:3,10,14 124:4
   188:1 216:5,22        unfamiliar 106:1                                 207:5 215:9,11
                                                vice 95:10 102:7
   218:10,14 222:1                                                        260:14 267:22
                         Uniform 36:3 38:17     victor 108:11             268:3
 Treasurer 209:6,8       Unit 147:4,21          video 215:9,12           web 276:9
 treats 156:17            148:12 150:17          258:2,4
                                                                         website 182:20,23
 trial 195:6,21,24       United 261:4,6         videos 205:10,14,         191:6 276:24
   197:12 272:17          265:1 266:9            16,21
                                                                         West 33:5,10,12,25
 true 94:5 108:10        Unlimited 34:19        View 35:10,13,16          37:24 38:7 57:15
   266:2 267:16,25        38:11                  38:14,15
                                                                         westbound 95:16
 trusted 270:9           unquote 70:19          Villas 32:7 38:2
                          75:24                                          Western 27:21
 truth 8:20,21 9:1                              violation 29:19           166:4 173:16
                         unsworn 29:9            151:2
 turn 132:15                                                             Westheimer 145:10
                          82:14,17 83:14
 turned 207:19,25                               visa 266:18               168:9 211:15,19
                         untrue 207:20,25
 turns 108:5                                    Vise 241:15,19,22        Whatsapp 135:8
                         usury 197:3             242:16,21 249:1,5,
 TV 233:21,22                                                            whatsoever 207:10
                         utilize 274:22          10,25 251:1 252:4
 type 240:2                                                              whisper 26:25 27:1
                         utilized 52:8 131:14   voluminous 219:17
                          132:16                 228:10                  whispering 50:5
                                                                         wife 55:8,9,11
     Case 23-03141 Document 410-23 Filed in TXSB on 12/19/24 Page 111 of 111
OMAR KHAWAJA                                                                          329
78755                                                               Index: Williams..Zoom
 Williams 152:6,16    written 61:12 107:17
  153:12 190:13        208:5 276:17,18,23             Z
 win 108:6            wrong 92:9 198:4
                                             Zaheer 17:24 18:8
 wire 37:6 86:9       wrongfully 121:8,10     44:23 53:12 54:19
 withdraw 200:3       WT 97:23 104:19         228:24 236:6,10,15,
                       105:23 114:16          21 255:17 278:6
 withdrawing 166:19
                       124:19                Zaman 250:16 251:4
  167:9
                      Wyatt 18:3,9 29:9       253:6
 withdrew 166:12
                       30:18,21,25 31:6      zebra 14:10
 witnessed 52:16       37:10 44:23 45:13
                                             Zoom 290:8
 witnesses 28:24       53:5,11 54:5,18
                       82:11,14,15,18
 WLGP 33:16,18         120:16 122:11
  37:25                125:1,10,16 161:7,
 wondering 63:13       13,19,24 162:4,9,
  142:24 143:2,9       17,19,24 163:5,23
                       164:3,15 165:13
 word 142:20
                       196:8 234:19,21
 work 9:19 112:18      236:1,20 278:5
  122:10 125:20        281:7
  126:12 164:3
                      Wyatt's 126:11
  169:13,20 172:16
                       165:6 284:10
  176:4,13 178:11
  194:3 204:5,12      Wyoming 226:21,
  224:6 232:20         22,23
  234:17 250:2,7,11
  251:7 265:7                  Y
 worked 112:5,6,7
  161:24 165:18       year 13:3 14:19
                       15:10,11 84:2 196:2
 working 112:12
                       242:9 253:3 257:9
 Worldwide 34:2,5,8    260:19 266:5
  38:7,8
                      years 13:2 103:15,
 worth 77:25 111:9     18 107:12 194:2,6,
  174:1 176:17         10 200:24 201:2
 worthless 78:1        227:22 235:12
                       270:18 282:18
 Wows 15:5             288:21
 write 102:4 276:13
 writing 220:15
